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            1                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
            2           BEFORE THE HONORABLE MIRANDA DU, DISTRICT JUDGE
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            3

            4    AMARIN PHARMA, INC., and          :
                 AMARIN PHARMACEUTICALS            :
            5    IRELAND LIMITED,                  :
                                                   :   No.   2:16-cv-02525-MMD-NJK
            6                    Plaintiffs,       :
                                                   :   January    17, 2020
            7             -vs-                     :
                                                   :   Reno, Nevada
            8    HIKMA PHARMACEUTICALS USA         :
                 INC., et al.,                     :   Volume 4
            9                                      :
                                 Defendants.       :
           10                                      :

           11

           12                        TRANSCRIPT OF BENCH TRIAL

           13   APPEARANCES:

           14   FOR THE PLAINTIFFS:            MEAGAN P. KEANE, CHRISTOPHER N.
                                               SIPES, MICHAEL KENNEDY, JEFFREY
           15                                  ELIKAN, JOSEPH KENNEDY, ELAINA M.
                                               WHITT, BARBARA KURYS, HAN PARK,
           16                                  DANIEL J. FARNOLY and ERIC R.
                                               MR. SONNENSCHEIN:
           17                                  Attorneys at Law,
                                               Washington, D.C.
           18

08:37:23   19   FOR DEFENDANT HIKMA:           CHARLES B. KLEIN and
                                               CLAIRE A. FUNDAKOWSKI,
           20                                  Attorneys at Law
                                               Washington, D.C.
           21

           22   Reported by:                   Kathyrn M. French, CCR #392, RPR
                                               Official Reporter
           23                                  U.S. District Court
                                               Reno, Nevada
           24

           25   (Appearances continue on next page.)
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            1   APPEARANCES CONTINUED:

            2

            3   FOR DEFENDANT HIKMA:         ALISON M. HEYDORN
                                             Attorney at Law
            4                                Chicago, Illinois

            5                                EIMERIC REIG-PLESSIS
                                             Attorney at Law
            6                                San Francisco, California

            7                                W. WEST ALLEN
                                             Attorney at Law
            8                                Las Vegas, Nevada

            9

08:37:38   10   FOR DEFENDANT DR.            CONSTANCE S. HUTTNER and
                REDDY'S LABORATORIES:        JAMES BARABAS
           11                                Attorneys at Law
                                             Madison, New Jersey
           12
                                             MICHAEL D. ROUNDS
           13                                Attorney at Law
                                             Reno, Nevada
           14

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08:18:19    1         RENO, NEVADA, FRIDAY, JANUARY 17, 2019, 8:35 A.M.

08:18:22    2                                 --o0o--

08:18:38    3

08:35:24    4                  THE COURT:    Good morning.    Please be seated.

08:35:34    5                  All right.    Counsel, are you ready to call the

08:35:37    6   next witness for defendants?

08:35:38    7                  MR. REIG-PLESSIS:      Your Honor, Eimeric Reig for

08:35:44    8   the defendants.

08:35:45    9                  Before we call our next witness, we have just

08:35:48   10   one housekeeping matter.     There is an exhibit that was

08:35:51   11   discussed during the direct examination of Dr. Sheinberg that

08:35:56   12   we inadvertently did not move into evidence.        My understanding

08:36:00   13   had been mistakenly that it was already in evidence.

08:36:02   14                  We conferred with plaintiff's counsel and

08:36:04   15   understand there's no objection to its admittance at this

08:36:08   16   time, although I'll let them confirm.       But we would move into

08:36:11   17   evidence DX 1960 at this time, if that's all right.

08:36:14   18                  MS. KEANE:    No objection, Your Honor.

08:36:15   19                  THE COURT:    All right.    DX 1960 is admitted.

08:36:15   20                         (Defendant's Exhibit 1960 received in
08:36:15                               evidence.)
08:36:21   21                  MR. REIG-PLESSIS: Thank you.

08:36:30   22                  MS. HUTTNER:    Your Honor, defendant's call

08:36:36   23   Dr. Edward Fisher.

           24                  THE CLERK:    Do you have binders for him to use?

           25                  MS. HUTTNER:    Yes.
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            1                      EDWARD A. FISHER, M.D.,
                       called as a witness on behalf of the Defendant,
            2                was sworn and testified as follows:
08:37:21
08:37:21    3                  THE CLERK:    Please be seated.

08:37:23    4                  State for the record your full name and spell

08:37:25    5   your last name.

08:37:26    6                  THE WITNESS:    Full name is Edward A. Fisher,

08:37:31    7   F-i-s-h-e-r.

08:37:53    8                  MS. HUTTNER:    Good morning, Dr. Fisher.

08:37:55    9                  THE WITNESS:    Good morning.

08:37:55   10                           DIRECT EXAMINATION

08:37:55   11   BY MS. HUTTNER:

08:37:56   12    Q   Dr. Fisher, where are you currently employed?

08:37:59   13    A   The New York University School of Medicine.

08:38:02   14    Q   And what is your position there?

08:38:03   15    A   I am the Leon H. Charney Professor of Cardiovascular

08:38:05   16   Medicine.

08:38:06   17    Q   Now, you are testifying here as a rebuttal witness for --

08:38:09   18   or actually you're testifying here on behalf of both

08:38:12   19   defendants in this case, Hikma and Dr. Reddy's?

08:38:15   20    A   I am.

08:38:15   21    Q   And specifically you're testifying in response to the

08:38:18   22   opinions expressed by Amarin's experts, Drs. Ismail and Mason

08:38:24   23   and, to a certainly extent, Dr. Toth, concerning certain

08:38:28   24   alleged objective evidence of nonobviousness in this case?

08:38:32   25    A   I am.
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08:38:32    1    Q   And am I correct in understanding that Dr. Ismail's

08:38:42    2   opinions relate to alleged objective evidence of

08:38:46    3   nonobviousness that he discusses in his report?

08:38:48    4    A   Yes.

08:38:48    5    Q   And am I also correct in understanding that Dr. Mason's

08:38:52    6   opinions relate to the beneficial -- what he calls the

08:38:55    7   beneficial physiological properties of purified EPA which he

08:39:00    8   claims were unknown in 2008 and were likely responsible for

08:39:06    9   the cardiac benefits observed in the REDUCE-IT study?

08:39:06   10    A   Yes.

08:39:07   11    Q   Now, Dr. Fisher, did you work with the attorneys today to

08:39:12   12   prepare some slides to assist you with your presentation?

08:39:15   13    A   I did.

08:39:15   14    Q   And before we get into your substantive testimony, I want

08:39:20   15   to ask you some questions about your background and

08:39:21   16   experience.

08:39:22   17    A   Okay.

08:39:23   18                    MS. HUTTNER:   So let's start, Mr. Gross, if you

08:39:26   19   can bring up DX 2295.

08:39:26   20   BY MS. HUTTNER:

08:39:30   21    Q   Can you identify DX 2295 for the record.

08:39:33   22    A   That's my CV.

08:39:35   23                    MS. HUTTNER:   Your Honor, we would move DX 2295

08:39:39   24   into evidence.

08:39:39   25                    MR. SIPES:   No objection, Your Honor.
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08:39:41    1                    THE COURT:   DX 2295 is admitted.

08:39:41    2                           (Defendant's Exhibit 2295 received in
08:39:41                                 evidence.)
08:39:41    3   BY MS. HUTTNER:

08:39:45    4    Q   All right.     So let's start your education.

08:39:47    5                    MS. HUTTNER:   Mr. Gross, if you could blow that

08:39:49    6   up, please.    Can we get the whole thing on one?

08:39:49    7   BY MS. HUTTNER:

08:40:01    8    Q   Okay.    So starting after your graduation from

08:40:07    9   undergraduate in 1971, can you describe your educational

08:40:10   10   background to the Court.

08:40:11   11    A   Yes.     In 1975, I received my medical degree from NYU

08:40:18   12   School of Medicine, and then, in 1978, after my residency at

08:40:23   13   Duke, I went over to the University of North Carolina in

08:40:26   14   Chapel Hill and studied epidemiology and received a master's

08:40:31   15   of public health.

08:40:32   16                And then from there I went up to MIT and received a

08:40:36   17   Ph.D in the area of lipoprotein metabolism.        My thesis advisor

08:40:43   18   was Dr. Jan Breslow who subsequently became a president of the

08:40:49   19   American Heart Association.

08:40:51   20                The MA degree was actually required to be given to

08:40:59   21   me when I was a professor at Oxford so I would be qualified to

08:40:59   22   teach their undergraduates.

08:41:00   23    Q   And can you explain why you pursued the degrees that you

08:41:04   24   pursued after you received your medical degree.

08:41:09   25    A   My parents asked me that question, yeah.
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08:41:10    1                The clinical training when I was a resident, during

08:41:15    2   that time I realized I was more interested in an academic

08:41:21    3   research career in medicine, and epidemiology is the basis of

08:41:26    4   designing and interpreting clinical trials, and I thought this

08:41:29    5   would be good education going forward to help me in my own

08:41:34    6   work and evaluating that of others.

08:41:37    7                And while I was in public health school, I kept in

08:41:41    8   touch with my mentor at Duke who was chief of the metabolism

08:41:46    9   division and pointed out to me this program at MIT for people

08:41:51   10   like me who are MDs and had done residencies and were

08:41:55   11   interested in metabolism, and I applied and was accepted.

08:41:58   12                And in a survey course of different areas of

08:42:01   13   metabolism, Professor Breslow gave his lecture on VLDL

08:42:06   14   metabolism, and I decided to enter his lab to do my Ph.D

08:42:11   15   training, and this has set in motion the major interests that

08:42:16   16   I have pursued in my independent career.

08:42:19   17    Q      Now, we've heard a little bit about, I think, VLDL in

08:42:24   18   this case, but what -- can you just explain what that is.

08:42:28   19    A      VLDL is the lipoprotein particle assembled in the liver

08:42:32   20   that is then secreted and transports to the different cells in

08:42:37   21   our body both the cholesterol it carries and triglycerides as

08:42:42   22   well.

08:42:43   23    Q      All right.   What about your academic experience and your

08:42:46   24   professional experience prior to NYU?

08:42:50   25                    MS. HUTTNER:   Mr. Gross, can we go down to that
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08:42:52    1   on the CV, please.

08:43:01    2                  THE WITNESS:    Prior to NYU, I was a professor of

08:43:05    3   medicine in the Cardiology Division at the Mount Sinai School

08:43:10    4   of Medicine.   I was head of the Lipoprotein Research Section

08:43:12    5   of the Cardiovascular Research Institute which was headed by

08:43:16    6   Dr. Valentin Fuster, another former president of the American

08:43:21    7   Heart Association.

08:43:21    8                  And before that, I was in Philadelphia.        I was

08:43:26    9   an Associate Professor of Biochemistry where I did my

08:43:32   10   laboratory research program but also had clinical appointments

08:43:37   11   in pediatrics and medicine.

08:43:39   12                  And it was there that I started a family-based

08:43:43   13   clinic for the treatment of lipid disorders.        I partnered with

08:43:48   14   people in endocrinology in the Department of Medicine, and I

08:43:52   15   would see the kids, and they would see the adults, and we

08:43:55   16   would formulate a plan for the whole family together.

08:43:58   17                  Prior to the Medical College of Pennsylvania, I

08:44:01   18   was at the University of Pennsylvania specifically at the

08:44:05   19   Genetics Division of the Children's Hospital of Philadelphia.

08:44:09   20                  I was recruited there by Jean Cortner, the late

08:44:14   21   Jean Cortner, who had started a lipid treatment and research

08:44:18   22   program at the hospital, and, given my previous training with

08:44:22   23   Professor Breslow, thought I would be a good recruit for both

08:44:26   24   the research part of the program as well as the clinical.         So

08:44:29   25   that was my first faculty job.
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08:44:32    1                    MS. HUTTNER:   Can I have DX 9.108, please,

08:44:32    2   Mr. Gross.

08:44:32    3   BY MS. HUTTNER:

08:44:43    4    Q   This slide contains some information that's excerpted

08:44:46    5   from your CV; is that correct?

08:44:48    6    A   Yes.

08:44:48    7    Q   Can you explain -- I think most of these relate to your

08:44:53    8   current position at NYU; is that correct?

08:44:55    9    A   Yes, it does.

08:44:56   10    Q   Can you explain what the Leon H. Carney Professor of

08:45:00   11   Cardiovascular Medicine is at NYU.

08:45:03   12    A   Yes, that's an endowed chair.      We heard a little bit

08:45:06   13   about endowed chairs, I think, from Dr. Budoff.

08:45:10   14                An endowed professorship is a special distinction

08:45:15   15   that is conferred on people who are recognized with special

08:45:16   16   expertise, in my case, in cardiovascular medicine.

08:45:21   17                I also direct the preclinical research program in

08:45:27   18   vascular biology and disease which refers to cholesterol,

08:45:32   19   triglyceride, metabolism, atherosclerosis.

08:45:37   20                I have also appointments within cardiology, that's

08:45:41   21   my primary home at NYU.     I also have what are called secondary

08:45:47   22   appointments in pediatrics and cell biology.

08:45:50   23                In order to be a graduate school mentor, you need an

08:45:57   24   appointment in a basic science department so cell biology is

08:45:57   25   one of those for me.
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08:45:58    1               And I was the -- still am, the founding director,

08:46:04    2   I'm the former director of the Preventive Cardiology Center at

08:46:07    3   NYU which is a component of the Cardiology Division.

08:46:10    4               I transitioned this after 16 years of leading it to

08:46:10    5   a career faculty member, passing the torch over this past

08:46:20    6   year, and I assumed the position of the Director of

08:46:22    7   Translational Research for the center.

08:46:25    8               And then the last thing that's listed is my ongoing

08:46:29    9   relationship in cardiovascular medicine at the University of

08:46:32   10   Oxford.

08:46:33   11               As we already noted, I was what's called the Eastman

08:46:36   12   Professor at Oxford, and my appointment there was in the

08:46:41   13   cardiovascular medicine department, and after I did my term, I

08:46:44   14   was awarded a visiting position which has resulted in a number

08:46:48   15   of research paper collaborations, as well as my co-authoring

08:46:52   16   the chapter on atherosclerosis in the Oxford Textbook of

08:46:57   17   Medicine.

08:46:58   18    Q   And is the appointment at the University of Oxford, is

08:47:02   19   that considered an honor for a person in your field?

08:47:04   20    A   Yes, it is.    It's -- it has to be approved on their end,

08:47:09   21   and there has to be perceived some value in continuing the

08:47:15   22   interaction.

08:47:16   23               In fact, one the things that has happened since then

08:47:20   24   is that I was awarded from the Royal Society, the British

08:47:24   25   Royal Society, an exchange grant to pay for travel back and
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08:47:31    1   forth to keep collaborating, as well as trainees to go between

08:47:36    2   laboratories to learn from both institutions.

08:47:39    3    Q   All right.    Now, you've mentioned on here that you are

08:47:43    4   the -- you were the founding director of the Center for the

08:47:47    5   Prevention of Cardiovascular Disease; is that right?

08:47:50    6    A   That's correct, when I came to NYU in 2003.

08:47:52    7    Q   Now, your residency, your certification is in pediatrics;

08:47:56    8   is that correct?

08:47:56    9    A   Yes.

08:47:56   10    Q   Can you explain how you went from -- how you became the

08:48:00   11   head of preventive cardiology at NYU.

08:48:03   12    A   Yes, I can.

08:48:04   13               I mentioned before that within pediatrics, I had

08:48:10   14   experienced an interest in disorders of lipid metabolism that

08:48:15   15   actually started in my residency because, again, my mentor was

08:48:19   16   head of metabolism and had a very strong unit at Duke.

08:48:22   17               And this was reinforced actually in public health

08:48:26   18   school as well where I was housed in the component that was

08:48:29   19   led by the late Herman Tyroler who was well-known in the -- in

08:48:36   20   the cardiovascular disease world as being the principal

08:48:42   21   investigator of one of the first intervention trials, the

08:48:47   22   lipid research center trials in the '70s.

08:48:51   23               And so when I went to my first, as we would say,

08:48:53   24   real job at Penn, I entered, as you heard, the component of

08:49:00   25   the designated lipid heart research center.
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08:49:06    1              And so -- and when I was at the Medical College of

08:49:08    2   Pennsylvania, did the family clinic.       So I've had strong

08:49:12    3   clinical interest.

08:49:13    4              But when I got to Mount Sinai, Dr. Fuster, my boss,

08:49:18    5   said that it would be a good opportunity for me to expand my

08:49:24    6   expertise from the pediatric age group into the adult.

08:49:28    7              And I already had an appointment in cardiology at

08:49:33    8   Mount Sinai so it was easy to arrange this because the head of

08:49:38    9   preventive cardiology at that time, Professor Donald Smith,

08:49:42   10   was a well-recognized expert in preventive cardiology and took

08:49:46   11   me for advanced training, on-the-job training, for about two

08:49:52   12   years.

08:49:53   13              And then when he felt I was sufficiently qualified,

08:49:57   14   I now began my own practice, an outpatient practice in

08:50:01   15   preventive cardiology, focused on adults at Mount Sinai.

08:50:05   16              And I went through the accreditation process to be

08:50:08   17   appointed to the medical staff in that area at Mount Sinai,

08:50:12   18   and I have been continued to be credentialed at NYU for this

08:50:16   19   purpose as well.

08:50:17   20    Q   We heard a little bit, I think, from Dr. Budoff about

08:50:19   21   what preventive cardiology -- what that field involves.            But

08:50:23   22   at NYU, what does the Preventive Cardiology Division, what

08:50:27   23   kinds of things does that division do?

08:50:29   24    A   Well, it has a wide range, from basic research projects

08:50:36   25   that people like me do, to clinical research projects, and
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08:50:41    1   then direct clinical care, both inpatient and outpatient.

08:50:46    2              And the goal for the clinical component, the

08:50:50    3   clinical care, is to manage the modifiable risk factors for

08:50:56    4   heart disease.

08:50:57    5              So that some of our patients have not had an event,

08:51:01    6   like a heart attack or a stroke, and so they are in what's

08:51:05    7   called the primary prevention group, but those who have had an

08:51:09    8   event, were documented, coronary heart disease in particular,

08:51:13    9   they, of course, are in the secondary prevention group.

08:51:17   10              So the major risk factors are lipids, sugar, and

08:51:21   11   blood pressure.    So we focus on those.

08:51:24   12              We are a referral center so we do tend to get some

08:51:28   13   more difficult cases from referring physicians that are

08:51:30   14   typical, and we also get a lot of self-referrals because,

08:51:35   15   according to the NYU webmaster, our website is popular so

08:51:40   16   people will self-refer themselves to us as well.

08:51:45   17    Q   You said you were the Director of Translational Research

08:51:48   18   in the Cardiology Division at NYU?

08:51:50   19    A   In the center.

08:51:51   20    Q   The center.

08:51:52   21    A   The prevention center.

08:51:54   22    Q   Can you explain what translational research is, please.

08:51:57   23    A   That's a general term.      It's widely used to take the

08:52:00   24   discoveries that are preclinical to the clinic.

08:52:04   25              So as you know, your medical treatment is only as
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08:52:08    1   good as yesterday's research, and so for advances in medical

08:52:13    2   treatment, we have to translate discoveries that we make in

08:52:16    3   more typical model systems such as cells and animals.

08:52:21    4                And so I oversee a portfolio of projects that we

08:52:27    5   hope to attract funding to do some limited local clinical

08:52:33    6   trials.

08:52:33    7                And then the usual thing that happens after that, if

08:52:36    8   you have something that does show some success, the school

08:52:40    9   looks for partners, outside partners, to invest to make this a

08:52:44   10   larger study.

08:52:45   11    Q   And how often do preclinical discoveries or experiments

08:52:50   12   translate into something that you can use in the clinic?

08:52:53   13    A   It's rare.    It's rare.

08:52:57   14    Q   You mentioned that you do research currently.

08:52:58   15    A   I do.

08:52:59   16    Q   And you've done research throughout your professional

08:53:02   17   career?

08:53:02   18    A   I have.

08:53:03   19    Q   What kind of -- what is your research focused on, what

08:53:07   20   topics?

08:53:08   21    A   Lipoprotein metabolism and atherosclerosis.

08:53:12   22                    MS. HUTTNER:   And if we could call up DDX 9.112.

08:53:12   23   BY MS. HUTTNER:

08:53:17   24    Q   And, again, Dr. Fisher, this is taken from your CV, the

08:53:21   25   information on DDX 9.112?
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08:53:23    1    A   Yes.

08:53:23    2    Q   Can you describe what is shown on this slide.

08:53:27    3    A   These are two examples of current grants that I direct,

08:53:32    4   and I pulled these out because they're in the areas that are

08:53:35    5   relevant to the issues we'll be discussing today.

08:53:39    6               The first is a federal grant from the National

08:53:45    7   Heart, Lung, Blood Institute, NHLBI, which is a component of

08:53:50    8   the National Institutes of Health.       This -- the total funding

08:53:54    9   over five years is 12 and-a-half million dollars.

08:53:59   10               The topics as you see listed there are macrophage,

08:54:05   11   macrophage dysfunction in obesity, diabetes and

08:54:10   12   atherosclerosis.

08:54:10   13               We'll hear more about macrophages later, but they

08:54:14   14   are the central inflammatory cell of an atherosclerotic plaque

08:54:16   15   that is -- causes the danger of a heart attack.

08:54:21   16               I am the overall director of that project, of that

08:54:26   17   program project grant, and I also have my own -- within it, my

08:54:29   18   own research project.

08:54:32   19               These are carved up into different areas.       So I am

08:54:35   20   director of Project 1, and the overall director means that I'm

08:54:39   21   also head of Core A which is always the administrative core of

08:54:44   22   a federal PPG is what it's called, program project grant.

08:54:52   23               The second grant is actually from the American Heart

08:54:58   24   Association.    It was just started actually this month.

08:55:01   25               The AHA has identified diabetes as a particularly
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08:55:07    1   important problem to focus more attention on, and so we were

08:55:14    2   one of four centers in the country who were funded to take a

08:55:21    3   multifaceted approach to the problem of atherosclerosis and

08:55:26    4   heart disease in people with diabetes.       I am head of the basic

08:55:31    5   science project.

08:55:32    6              We also have a clinical project headed by Dr. --

08:55:37    7   well, headed by a physician at Mount Sinai.        It's hard to

08:55:42    8   spell the name.    It's Giannerelli; G-i-a-n-n-e-r-e-l-l-i.

08:55:48    9              And we have a clinical project at NYU headed by

08:55:53   10   Dr. Jeffrey Berger, and this started -- this is a four-year

08:55:57   11   grant, and it's total funding of about $4 million.

08:56:00   12    Q    Is it competitive to get grants?

08:56:03   13    A    Very competitive.

08:56:04   14    Q    Does your CV also describe the publications that you have

08:56:09   15   had in relation to your research?

08:56:11   16    A    Yes, it does.

08:56:12   17    Q    How many publications approximately are listed on your

08:56:15   18   CV?

08:56:15   19    A    A little over 300.

08:56:17   20    Q    And do any of your publications relate to triglycerides

08:56:23   21   or omega-3 fatty acids?

08:56:25   22    A    Yes, they do.    I've been funded since 1993 to study,

08:56:31   23   among other things, how fish oils, fatty acids, DHA and EPA,

08:56:36   24   regulate the production of VLDL and the triglycerides that it

08:56:42   25   carries in the blood.
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08:56:45    1    Q   Have you prepared a slide that highlights some of your

08:56:45    2   publications that you believe are particularly relevant to

08:56:49    3   this case?

08:56:49    4    A   I did.

08:56:50    5                    MS. HUTTNER:   Can I have DDX 9.114.

08:56:50    6   BY MS. HUTTNER:

08:56:55    7    Q   Can you explain what's presented on this slide,

08:56:58    8   Dr. Fisher.

08:56:59    9    A   Okay.    So these are just some samples out of the 300 or

08:57:02   10   so, and I chose them -- I'll go through -- not in great

08:57:07   11   detail, of course, but some highlights.

08:57:09   12                The very first one listed is my first paper in the

08:57:14   13   area of the effect of fatty acids on the levels of VLDL

08:57:25   14   cholesterol and triglycerides in humans.

08:57:30   15                This was a clinical study that I undertook for my

08:57:32   16   Ph.D working under Professor Breslow, so just -- it's to

08:57:35   17   demonstrate a long-term interest and experience and the

08:57:38   18   effects of fatty acids on lipoprotein metabolism.

08:57:39   19                Then I featured some of the work that focused on EPA

08:57:45   20   and DHA through the years, and sort of a third of the way

08:57:52   21   down, the paper, first author, Parathath, P-a-r-a-t-h-a-t-h,

08:58:00   22   this was actually not only my first work in diabetes and

08:58:05   23   atherosclerosis using a mouse model, this was the first model

08:58:11   24   in the literature, the research literature, that showed that

08:58:13   25   we can recapitulate in mice the same problem that's seen in
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08:58:17    1   people with diabetes that, in spite of lipid lowering, it's

08:58:22    2   hard to resolve the inflammation in an atherosclerotic plaque.

08:58:28    3               So in this case we decided that human beings were a

08:58:32    4   good model for mice, and we then proceeded on through the

08:58:35    5   years to learn more from this model.

08:58:37    6               As you can see, it's published in the journal -- the

08:58:39    7   official journal of American Diabetes Association called

08:58:44    8   Diabetes.

08:58:44    9               And then most recently there is a paper there,

08:58:48   10   Barrett, B-a-r-r-e-t-t, et al., this was just published in the

08:58:54   11   journal Circulation.     We've heard about this.     This is the

08:58:58   12   most prestigious journal of the American Heart Association.

08:59:04   13               It's also about diabetes, atherosclerosis,

08:59:06   14   inflammation, HDL, covers a number of topics, and it has

08:59:12   15   received wide recognition as reflected by an editorial by Dan

08:59:18   16   Rader who is one of the major preventive cardiologists in the

08:59:22   17   U.S.   He wrote an editorial in the journal about the

08:59:25   18   importance of this work.

08:59:26   19               I included two other papers just to show that I am

08:59:32   20   considered an expert in the inflammatory processes that occur

08:59:37   21   in atherosclerosis in the plaques and the arteries, and one is

08:59:41   22   in a well-known journal, it's a part of the Nature family of

08:59:49   23   journals.   Nature reviews cardiology, and the other is in a

08:59:52   24   relatively new review journal Frontiers in Cardiovascular

08:59:57   25   Medicine?
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08:59:57    1    Q   Have you received any honors or recognition in your

09:00:01    2   career for your work in lipidology and preventive cardiology?

09:00:06    3    A   I have.

09:00:06    4    Q   And are those described in your CV as well?

09:00:09    5    A   They are.

09:00:10    6                    MS. HUTTNER:   Can I have DDX 9.110, please.

09:00:10    7   BY MS. HUTTNER:

09:00:14    8    Q   Can you explain what's presented on this slide.

09:00:16    9    A   These are some examples that I think are most relevant,

09:00:19   10   again, to the issues that we'll be discussing.

09:00:22   11              On the top is the distinguished achievement award of

09:00:27   12   the American Heart Association given by the council that is

09:00:30   13   most related to atherosclerosis and lipoprotein metabolism.

09:00:37   14   This is the ATVB Council, arteriosclerosis, thrombosis,

09:00:43   15   vascular biology.

09:00:43   16              And as I noted, or I might have already said, this

09:00:46   17   is highest honor the council gives, and it's in recognition of

09:00:46   18   my contributions to the field of lipoprotein metabolism and

09:00:50   19   atherosclerosis.

09:00:52   20              We also heard about the National Lipid Association

09:00:57   21   from other witnesses.     They gave me the lifetime achievement

09:01:02   22   award, and the citation reads -- it's one of my favorites --

09:01:06   23   remarkable accomplishments in the field of lipidology.

09:01:10   24              The next two involved organizing and chairing two of

09:01:16   25   the major conferences in atherosclerosis.
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09:01:20    1              They cover both clinical research and basic

09:01:24    2   preclinical research topics, the Keystone series of research

09:01:30    3   symposia, as well as the Gordon conference, a series going on

09:01:36    4   for many years, they are in many different areas, and they're

09:01:39    5   considered in any field to be the most prestigious in those

09:01:44    6   areas, and I was very honored to be asked to organize and

09:01:48    7   chair these two research conferences in atherosclerosis.

09:01:53    8              I mentioned before the George Eastman Professorship.

09:01:57    9   This was a program started in the '20s, by George Eastman of

09:02:04   10   Eastman-Kodak.

09:02:04   11              One of the first Eastman Professors, they're not all

09:02:08   12   scientists, I should say, I point out, since we're in a

09:02:08   13   courtroom, is Justice Felix Frankfurter before he want to the

09:02:08   14   Supreme Court.

09:02:17   15              And of the scientists, 12 of my predecessors won the

09:02:21   16   Nobel Prize.    So this is considered one the most distinguished

09:02:25   17   types of faculty appointments not only at Oxford but in

09:02:29   18   universities in general.

09:02:30   19              And the last two is concerning again my activities

09:02:36   20   in the field, or recognition for my expertise in preventive

09:02:42   21   cardiology and lipoprotein metabolism and atherosclerosis.

09:02:46   22              I was the associate editor and then editor-in-chief

09:02:48   23   of the major American Heart Association journal in this field

09:02:53   24   that has the same acronym, ATVB, as the council because it's

09:02:57   25   the official research publication of the council.
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09:03:00    1              Then I was also selected by the American College of

09:03:04    2   Cardiology with sponsorship from Pfizer as the visiting

09:03:08    3   professor in preventive cardiology at the University Virginia.

09:03:11    4    Q   What are professional memberships, are you a member of

09:03:15    5   the American Heart Association or any other professional

09:03:18    6   organization?

09:03:18    7    A   Yeah, I'm fellow of the American Heart Association which

09:03:22    8   is -- means it's a recognition of my senior standing in the

09:03:32    9   field.

09:03:32   10              I'm a member of American University -- Association

09:03:35   11   of University Cardiologists.      I'm one of the few non chiefs of

09:03:38   12   cardiology who was elected to that association.

09:03:41   13              I'm also a member of the American Association of

09:03:44   14   Physicians which is an organization that has, as its members,

09:03:52   15   people with significant accomplishments in research who are

09:03:56   16   also physicians.    So it's a group of physician scientists.

09:04:00   17              I should just point out one thing that's not on here

09:04:03   18   because it's related to the Center for the Prevention of

09:04:08   19   Cardiovascular disease.     The Langone Medical Center, which is

09:04:10   20   the name of our clinical center at NYU, has been ranked in the

09:04:15   21   top ten by U.S. News World Report.

09:04:17   22              Many of you are familiar with that rating system,

09:04:20   23   and it is a great pleasure in the last two years, that singled

09:04:24   24   out as part of the reason for this excellence was the Center

09:04:27   25   for the Prevention of Cardiovascular Disease.
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09:04:30    1                So that's an honor I don't take as an individual,

09:04:33    2   but I'm very proud of the accomplishments of the center, and

09:04:37    3   it's been recognized now nationally.

09:04:39    4    Q   Do you -- just to go back to the center for a moment, in

09:04:42    5   your current position, do you still see patients?

09:04:45    6    A   I do.

09:04:46    7    Q   And can you explain what -- how that works for you in

09:04:50    8   your current position.

09:04:51    9    A   Okay.    I should just back up and just say that from 1997,

09:04:59   10   at Mount Sinai, to 2010 I had an office practice in preventive

09:05:05   11   cardiology focusing on lipids.

09:05:08   12                When I went to Oxford, of course, my patients had to

09:05:11   13   be assigned to my colleagues because I wasn't going to be in

09:05:14   14   New York.

09:05:14   15                And when I came back -- after this sabbatical, I

09:05:17   16   came back refreshed with ideas for expanding the center

09:05:21   17   further which required recruiting more people, more

09:05:25   18   fundraising, more administrative work.

09:05:27   19                So I gave up my office practice then, but because I

09:05:30   20   had started by that time one of the few fellowships in

09:05:35   21   preventive cardiology, I started to take my turn as what's

09:05:39   22   called an attending physician in preventive cardiology in

09:05:43   23   which I worked with a fellow to see patients that are coming

09:05:47   24   through our intervention service in cardiology to give them a

09:05:51   25   comprehensive assessment of their risk factors and suggested
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09:05:55    1   treatment plan to them and their referring physician so --

09:05:59    2   simply so we don't see them back in the hospital anytime soon.

09:06:03    3              So, I do this, I take the rotation with my

09:06:06    4   colleagues about every five weeks.       So that's about ten weeks

09:06:11    5   a year since I returned in 2011, I see patients as a

09:06:17    6   consultant on the inpatient service.

09:06:19    7    Q   Is this the first time you've served as an expert witness

09:06:23    8   in a patent case?

09:06:24    9    A   This is the second.

09:06:26   10    Q   What was the first?

09:06:26   11    A   It was Amgen versus Sanofi Regeneron in a patent

09:06:33   12   infringement case over antibodies for what's called PCSK9.

09:06:42   13    Q   And what is PCSK9?

09:06:45   14    A   This is a protein in our bodies that degrades, promotes

09:06:52   15   the degradation of the LDL receptor.       So with fewer LDL

09:06:58   16   receptors on the surface of our cells, particularly liver

09:07:02   17   cells, less LDL -- fewer LDL particles are taken up.

09:07:07   18              So it was reasoned from genetic studies that if you

09:07:13   19   could inhibit the PCSK9 protein, then you would have less

09:07:19   20   degradation or destruction of LDL receptors, there would be

09:07:24   21   more available to take up the LDL particles and LDL

09:07:28   22   cholesterol would go down.

09:07:30   23              And, indeed, that has been developed into a

09:07:32   24   biological agent used by preventive cardiologists to lower LDL

09:07:38   25   cholesterol.
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09:07:38    1    Q   And what was your role in the case?

09:07:40    2    A   I was working with the counsel for Amgen for the

09:07:43    3   plaintiffs on the issue of obviousness of the patent.

09:07:47    4    Q   Now, do you have any financial relationship or have you

09:07:52    5   ever had any financial relationship with either of the

09:07:57    6   defendants aside from your work on this case?

09:07:59    7    A   No.

09:07:59    8    Q   Going back to your medical experience, what kinds of

09:08:08    9   lipids -- what kind of lipid disorders have you treated over

09:08:12   10   the years?

09:08:12   11    A   Well, we've heard about the common ones.        There are

09:08:16   12   people with elevations of cholesterol, people with elevations

09:08:20   13   of triglycerides, and, very frequently, mixed dyslipidemia

09:08:25   14   which means they have elevations of both cholesterol and

09:08:29   15   triglycerides.

09:08:30   16    Q   And have you treated patients with very high

09:08:34   17   triglycerides?

09:08:35   18    A   Meaning 500 or more?

09:08:38   19    Q   Yes.

09:08:38   20    A   Yes.

09:08:38   21    Q   And, by the way, if I say very high triglycerides or

09:08:42   22   severe hypertriglyceridemia, will you understand both of those

09:08:47   23   to mean patients over 500 milligrams per deciliter?

09:08:50   24    A   I will do my best.

09:08:51   25    Q   Okay.   I will do my best to pronounce the words without
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09:08:57    1   stumbling.

09:08:58    2                Have you seen diabetic patients with elevated

09:09:03    3   triglycerides?

09:09:03    4    A   I have.

09:09:04    5    Q   Have you seen diabetic patients with severely elevated

09:09:10    6   triglycerides over 500?

09:09:10    7    A   I have.

09:09:11    8    Q   And what proportion of your patients over the years have

09:09:14    9   been diabetic patients?

09:09:16   10    A   About a third.

09:09:17   11    Q   And are diabetic patients particularly prone to lipid

09:09:22   12   disorders?

09:09:22   13    A   They are.    They most frequently have this mixed

09:09:26   14   dyslipidemia that I mentioned before, which in fact the

09:09:30   15   classic they call it a triad.      The classic is elevated LDL

09:09:36   16   cholesterol, elevated triglycerides, and low HDL cholesterol.

09:09:40   17    Q   And how often have you seen patients with very high

09:09:44   18   triglycerides over the years?

09:09:45   19    A   They're rare, and so I would say at least a dozen.            But,

09:09:49   20   but they are rare as we've heard.

09:09:51   21    Q   And has that rare patient group that you've seen included

09:09:57   22   diabetics with very high triglycerides?

09:09:59   23    A   Yes.

09:09:59   24                    MS. HUTTNER:   Your Honor, we would offer

09:10:01   25   Dr. Fisher as expert in field of preventive cardiology and the
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09:10:04    1   investigation and treatment of lipid disorders and

09:10:07    2   atherosclerosis and diabetics and other patients.

09:10:10    3                   MR. SIPES:   No objection, Your Honor.

09:10:10    4                   THE COURT:   The motion is granted.

09:10:10    5   BY MS. HUTTNER:

09:10:13    6    Q   All right, sir.     At the beginning of your testimony we

09:10:16    7   talked about the fact that your role here is to respond to the

09:10:20    8   opinions of Dr. Mason and Dr. Ismail and, to a limited extent,

09:10:26    9   Dr. Toth, correct?

09:10:27   10    A   Yes.

09:10:27   11    Q   And it's little bit unusual here -- maybe not unusual,

09:10:31   12   but we have not heard from those gentlemen yet in this case,

09:10:34   13   correct?

09:10:34   14    A   Yes.

09:10:34   15    Q   So your testimony is in relation to the opinions that

09:10:37   16   they have set forth in their expert reports?

09:10:40   17    A   Yes.

09:10:44   18    Q   And how did you -- let me just ask you, you've been in

09:10:46   19   the courtroom since the beginning of case, correct?

09:10:48   20    A   Yes.

09:10:48   21    Q   And you've heard all of the prior witness testimony?

09:10:50   22    A   I have.

09:10:51   23    Q   How did you go about evaluating the opinions of Dr. Mason

09:10:58   24   and Dr. Ismail and Dr. Toth?

09:11:00   25    A   Well, I read -- sorry.      I read their reports.     I also
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09:11:04    1   read the literature that they were citing in support of their

09:11:08    2   statements, and, in some cases, went to citations within those

09:11:12    3   citations that go more deeply.

09:11:17    4               I have extensive experience in this area, so I also

09:11:23    5   used my own knowledge base and papers that I was familiar

09:11:27    6   with, and then I also used materials that counsel pointed out

09:11:32    7   to me.

09:11:33    8    Q   And did you review the patents that are being asserted by

09:11:37    9   Amarin in this case?

09:11:38   10    A   I did.

09:11:38   11    Q   And the claims of those patents?

09:11:40   12    A   I did.

09:11:41   13    Q   Now, in connection with your work on this case, did

09:11:45   14   counsel explain to you certain legal principles that are

09:11:48   15   applicable to the analysis of obviousness and objective

09:11:52   16   evidence of nonobviousness?

09:11:53   17    A   Yes.

09:11:54   18    Q   And were you here in court when Dr. Heinecke testified

09:11:58   19   about the legal standards he was told to apply in connection

09:12:01   20   with his evaluation of obviousness?

09:12:03   21    A   Yes.

09:12:03   22    Q   And did you apply those same legal principles in

09:12:07   23   connection with your work on this case?

09:12:08   24    A   I did.

09:12:10   25    Q   Did you also hear Dr. Heinecke testify about his
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09:12:12    1   definition of the level of ordinary skill in this case?

09:12:16    2    A   I did.

09:12:16    3    Q   And you heard -- also heard Dr. Heinecke testify about

09:12:20    4   Dr. Toth's definition of ordinary skill in this case?

09:12:24    5    A   I did.

09:12:24    6    Q   And do you agree with Dr. Heinecke's definition of

09:12:27    7   ordinary skill?

09:12:28    8    A   I do.

09:12:29    9    Q   And is that the standard you applied in your analysis?

09:12:31   10    A   I did.

09:12:32   11    Q   What is the principle difference, as you understand it,

09:12:36   12   between Dr. Toth's definition of ordinary skill and

09:12:40   13   Dr. Heinecke's?

09:12:40   14    A   Dr. Toth's includes nurse practitioners and physician

09:12:45   15   assistants.

09:12:45   16    Q   And do you agree that nurse practitioners and physician's

09:12:49   17   assistants who meet the other criteria in Dr. Toth's

09:12:51   18   definition of ordinary skill should be included?

09:12:54   19    A   No.    I think the issues are more sophisticated than I

09:13:01   20   would expect people with that training to have to be able to

09:13:05   21   evaluate.

09:13:06   22    Q   Now, do you qualify as a person of ordinary skill in the

09:13:10   23   art under either the definition that Dr. Heinecke put forth or

09:13:14   24   Dr. Toth put forth?

09:13:15   25    A   I do.
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09:13:15    1    Q   And does it make any difference in terms of the opinions

09:13:18    2   that you're going to testify to whether the Court adopts

09:13:21    3   Dr. Heinecke's definition or Dr. Toth's definition of ordinary

09:13:28    4   skill?

09:13:28    5    A   No.

09:13:28    6    Q   Your opinions would be the same either way?

09:13:31    7    A   Yes.

09:13:33    8    Q   Okay.   You mentioned that you've treated diabetic and

09:13:38    9   nondiabetic patients with elevate triglycerides, right?

09:13:41   10    A   Yes.

09:13:42   11    Q   And we've heard in this case about classifications of

09:13:44   12   elevated triglycerides, the various buckets into which they're

09:13:48   13   decided currently under ATP III.

09:13:50   14    A   Yes.

09:13:51   15    Q   And you're familiar with those guidelines -- those

09:13:54   16   classifications.

09:13:54   17    A   I am.

09:13:55   18    Q   And you're familiar with the ATP guidelines -- ATP III

09:13:58   19   guidelines as well?

09:13:59   20    A   Yes.

09:14:01   21                   MS. HUTTNER:    Can I have DX 1876, please.

09:14:05   22                   And Your Honor, DX 1876 is already in evidence.

09:14:08   23                   THE COURT:   Thank you.

09:14:08   24   BY MS. HUTTNER:

09:14:10   25    Q   Can you -- let me just ask you this.        Do you have -- 1876
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09:14:15    1   is a copy of the ATP III guidelines, correct?

09:14:17    2    A   Yes.

09:14:17    3    Q   And it's a fairly large document?

09:14:19    4    A   The full -- the full version is hundreds of pages.

09:14:23    5                    MS. HUTTNER:   All right.   Mr. Gross, can you

09:14:24    6   pull up table II.3-1 which is entitled Classification of Serum

09:14:32    7   Triglycerides at the top of page 25, and can you blow up that

09:14:35    8   table, please.

09:14:35    9   BY MS. HUTTNER:

09:14:40   10    Q   Okay.   Table II.3-1 is entitled "Classification of Serum

09:14:45   11   Triglycerides," and this is little bit different than the

09:14:48   12   table that we looked at before because it includes the ATP II

09:14:52   13   levels as well, correct?

09:14:53   14    A   Yes.

09:14:53   15    Q   And ATP -- am I correct in understanding that ATP II was

09:14:57   16   the predecessor to ATP III?

09:14:59   17    A   Yes.

09:15:00   18    Q   And ATP III was adopted, I think we heard, around 2002?

09:15:04   19    A   It was published then, but I think the first summary was

09:15:09   20   distributed in 2001.     But -- and then it was published in

09:15:14   21   various formats and journals over the next year.

09:15:18   22    Q   Now, are there differences between the boundaries for the

09:15:22   23   different triglyceride categories between ATP II and ATP III?

09:15:28   24    A   Yes, there are.

09:15:29   25    Q   And under ATP II -- well, why don't you explain what the
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09:15:32    1   differences are.

09:15:33    2    A   Well, in ATP II, the normal range was considered to be

09:15:37    3   less than 200.    In ATP III, that was lowered to less than 150.

09:15:43    4              And I won't keep repeating the units, but they're

09:15:46    5   all milligrams per deciliter.      That means milligrams per

09:15:51    6   hundred MLs of your blood.

09:15:53    7              The borderline high triglycerides in ATP II was 200

09:15:58    8   to 399, whereas in ATP III, as we see, 150 to 199.

09:16:05    9              The high triglyceride group in ATP II was 400 to

09:16:10   10   1000; in ATP III, 200 to 499.

09:16:16   11              And the very high or severely high triglyceride

09:16:19   12   levels in ATP II were classified as greater than a thousand,

09:16:23   13   and greater than five -- or greater than or equal to 500 in

09:16:29   14   ATP III.

09:16:30   15    Q   And do you have an understanding of why those -- the

09:16:33   16   boundaries of those various triglyceride categories changed

09:16:36   17   between ATP II and ATP III?

09:16:39   18    A   Well, the document did make mention that by taking into

09:16:42   19   account ongoing research, I think ATP II was 7 or 8 years

09:16:47   20   prior to ATP III, and they reconvened these committees to

09:16:53   21   bring in new findings.

09:16:55   22              And it was the feeling of the committee that in

09:17:00   23   general there needed to be, in recognition of certain studies,

09:17:05   24   a more conservative classification system so that the risk of

09:17:13   25   both the coronary artery disease in the -- in the categories
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09:17:20    1   below the very high triglycerides were adjusted to reflect

09:17:24    2   some clinical studies that had been published.

09:17:27    3               And the risk of pancreatitis, that is what's most

09:17:35    4   important in the treatment of very high triglycerides, we

09:17:38    5   should start becoming more concerned about that risk at a

09:17:41    6   lower level of triglycerides because once you get to thousand,

09:17:46    7   the risk of pancreatitis, acute pancreatitis, is much higher

09:17:53    8   and -- than at 500.

09:17:56    9               So to give, I think, a more conservative heads-up,

09:18:01   10   so to speak, that this could be a potential problem, that was

09:18:04   11   incorporated into the new classifications as well.

09:18:07   12    Q   Focusing on the -- in this exhibit on the ATP III

09:18:13   13   triglyceride categories?

09:18:14   14    A   Yes.

09:18:15   15    Q   Is the same nomenclature and the same boundaries, if you

09:18:20   16   will, do those apply to diabetic patients?

09:18:23   17    A   Yes, they do.

09:18:25   18    Q   So there's nothing different as between diabetic patients

09:18:27   19   and nondiabetic patients in terms of whether they're looked at

09:18:31   20   as having high triglycerides or very high triglycerides?

09:18:34   21    A   That is correct.

09:18:35   22    Q   And we've heard some testimony previously about the way

09:18:40   23   in which patients with very high triglycerides are typically

09:18:44   24   treated.

09:18:46   25               Do doctors treat diabetic patients with very high
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09:18:50    1   triglycerides the same way they treat nondiabetic patients

09:18:54    2   with very high triglycerides?

09:18:56    3    A   Yes, with one wrinkle, that they have poor glycemic

09:19:02    4   control.    That also needs to be addressed while you're trying

09:19:05    5   to get the triglycerides down with medications.

09:19:07    6    Q   And glycemic control refers to sugar management?

09:19:13    7    A   Yes, sugar metabolism, yes.

09:19:14    8    Q   We also heard some testimony in this case, and I think

09:19:17    9   you mention pancreatitis as well, but is that an equally

09:19:20   10   serious condition in diabetic patients?

09:19:23   11    A   Yes, it is.

09:19:24   12    Q   How do you treat diabetic patients with very high

09:19:27   13   triglycerides to avoid the risk of pancreatitis?

09:19:30   14    A   We treat them typically with -- with the fish oils or

09:19:34   15   fibrates.   Years ago we also used niacin, but that has fallen

09:19:41   16   out of favor because it has been shown to impair the sugar

09:19:49   17   metabolism in some diabetics.

09:19:51   18    Q   Now, have you -- you mentioned, I think, fibrates and

09:19:55   19   fish oils, correct?

09:19:55   20    A   Yes.

09:19:56   21    Q   And of -- fibrates, again, we've heard something about

09:20:01   22   this already from the other witnesses, but briefly, can you

09:20:03   23   remind us what fibrate drugs are.

09:20:05   24    A   So these are small molecule drugs.        We heard a little bit

09:20:11   25   from Dr. Heinecke about some of the potential mechanisms at
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09:20:16    1   the molecular level.     But I think in general they're thought

09:20:19    2   to stimulate the action of lipoprotein lipase which we have

09:20:34    3   also heard is a key player in reducing triglyceride levels in

09:20:35    4   blood.

09:20:35    5              So that's their principal action and why it's

09:20:39    6   thought that they are effective in lowering triglyceride

09:20:42    7   levels.

09:20:42    8    Q   And when you refer to fish oils in your prior answer, can

09:20:45    9   you explain what fish oils you were referring to.

09:20:48   10    A   These are typically combinations, back in 2008 or before,

09:20:59   11   of EPA and DHA.

09:21:01   12    Q   And are you referring only to prescription fish oils?

09:21:04   13    A   No, the over-the-counter fish oils were typically

09:21:09   14   combinations of EPA and DHA as well.

09:21:12   15    Q   And what kinds of fish oils did you prescribe or

09:21:15   16   recommend to patients with very high triglycerides to lower

09:21:19   17   their triglycerides?

09:21:20   18    A   Well, prior to 2004, when Lovaza was approved, we would

09:21:28   19   use the best quality as far as we can determine of fish oils

09:21:33   20   that were available over the counter.

09:21:35   21              But I would say that our usual approach was to use

09:21:42   22   fenofibrate, fibrates, because of their effectiveness and

09:21:48   23   their ease of use.     There was a lot of experience using

09:21:57   24   fibrates for lowering very high triglyceride levels.

09:22:01   25              We would turn to fish oils, for example, in patients
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09:22:06    1   who would not want to take a prescription drug.         There are

09:22:11    2   many patients who feel taking something from nature, more

09:22:16    3   natural is better.

09:22:18    4               And so we sometimes would make decisions on the

09:22:23    5   therapy based on patient considerations, including the

09:22:26    6   occasional patients who couldn't tolerate the fibrates also.

09:22:32    7   All drugs have some side effects, so that would occasionally

09:22:35    8   be an issue.

09:22:36    9    Q   Have you prescribed or recommended prescribing both

09:22:40   10   Vascepa and Lovaza to diabetic patients?

09:22:43   11    A   Yes.

09:22:43   12    Q   And, I apologize, I think there's some controversy as to

09:22:46   13   whether it's Lovaisa or Lovaza.      I think it is Lovaza, I'll

09:22:51   14   try to remember that.

09:22:53   15               Have you prescribed Lovaza -- I'm sorry, when you

09:22:55   16   have prescribed Lovaza to -- well, how do you instruct

09:22:57   17   patients to take Lovaza?

09:23:01   18    A   Well, they -- it's -- the indication is 4 grams a day, so

09:23:07   19   typically taking two capsules twice a day.

09:23:10   20    Q   And when a patient comes into the center with very high

09:23:16   21   triglycerides, do you write them a prescription or do you

09:23:24   22   recommend lifestyle modification?

09:23:26   23    A   Well, as we discussed, the use of drugs is also -- is

09:23:30   24   always -- to lower lipids is always an adjunct to recommending

09:23:35   25   lifestyle changes, and so we -- we do both.
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09:23:40    1               In practice, when someone has severely high

09:23:44    2   triglycerides, though, that you worry so much about the risk

09:23:47    3   of the acute pancreatitis, is that you instruct them about the

09:23:53    4   need for lifestyle changes.

09:23:55    5               But in our center, for example, we have a

09:23:58    6   nutritionist, we have exercise physiologists, they need expert

09:24:03    7   guidance to modify their life in ways that they understand why

09:24:08    8   they're doing these things.

09:24:09    9               And it can take -- just like any other clinical

09:24:12   10   center, it can take weeks or as long as a month before they

09:24:17   11   can get an appointment with these people.

09:24:20   12               So we feel that we can't wait to withhold the drug

09:24:23   13   when we're concerned about a volcano erupting, so to speak,

09:24:29   14   because you can't predict when the pancreatitis attack will

09:24:32   15   occur.

09:24:33   16               So we always recommend the lifestyle changes, but

09:24:37   17   we'll start the prescription drug at the same time.

09:24:41   18    Q   Now, did you prescribe fibrates to diabetic patients with

09:24:47   19   very high triglycerides before 2008?

09:24:49   20    A   Yes.

09:24:49   21    Q   And are fibrates still used in diabetic patients to lower

09:24:55   22   triglycerides?

09:24:55   23    A   They are.

09:24:56   24                    MS. HUTTNER:   Can I have DDX 9.8, please.

09:24:56   25
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09:24:56    1   BY MS. HUTTNER:

09:25:05    2    Q   DDX 9.8 is a blowup of paragraph 29 from Dr. Ismail's

09:25:12    3   expert report.    Do you recall this paragraph?

09:25:15    4    A   Yes.

09:25:15    5    Q   And in this paragraph, Dr. Ismail says that fibrates are

09:25:19    6   bad because they can cause an increase in LDL-C in diabetic

09:25:23    7   patients, and I think we've heard that from some of the

09:25:26    8   witnesses here as well.     Do you recall that?

09:25:27    9    A   Yes.

09:25:28   10    Q   Does the ADA recommend the use of fibrates in diabetic

09:25:34   11   patients with very high triglycerides?

09:25:36   12    A   They do.

09:25:38   13                    MS. HUTTNER:   Can I have DDX 9.128, please.

09:25:38   14   BY MS. HUTTNER:

09:25:41   15    Q   Can you identify DX 2124 which is in the background here.

09:25:48   16    A   Yes.     That is a publication in the Journal of Diabetes

09:25:55   17   Care which includes the current standards of care, medical

09:26:02   18   care for people with diabetes.

09:26:06   19               That is put together by the American Diabetes

09:26:10   20   Association, and I believe the date that is covered up partly

09:26:13   21   is 2019 so this is their most recent iteration of these

09:26:18   22   guidelines.

09:26:19   23    Q   And is DX 2124 one of the documents that you considered

09:26:22   24   in connection with your opinions in this case?

09:26:24   25    A   I did.
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09:26:24    1    Q      And it's discussed and disclosed in your expert report?

09:26:28    2    A      Yes.

09:26:29    3                    MS. HUTTNER:   Your Honor, we would move DX 2124

09:26:31    4   into evidence.

09:26:32    5                    MR. SIPES:   No objection, Your Honor.

09:26:32    6                    THE COURT:   2124 is admitted.

09:26:32    7                           (Plaintiff's Exhibit 2124 received in
09:26:32                                 evidence.)
09:26:32    8   BY MS. HUTTNER:

09:26:36    9    Q      Now, on DDX 9.128, there is a snapshot of an excerpt

09:26:42   10   that's on page 120 of DX 2124.      Can you explain what is shown

09:26:47   11   here.

09:26:47   12    A      Yes, this is just highlighting the recommendations with

09:26:53   13   people, diabetics who have severe hypertriglyceridemia defined

09:26:58   14   as fasting triglycerides equal or greater than 500, and they

09:27:05   15   may warrant pharmacologic therapy, and they mention two

09:27:08   16   agents, specifically fibric acid derivatives and/or fish oil,

09:27:14   17   to reduce the risk of acute pancreatitis.

09:27:16   18    Q      And is fibric acid derivatives, that's the same as

09:27:21   19   fibrates?

09:27:21   20    A      Yes.

09:27:22   21    Q      And the fish oil that's referred to here, does the ADA

09:27:25   22   with respect to diabetics with very high triglycerides, do

09:27:29   23   they have a recommendation one way or the other as between

09:27:32   24   Lovaza and Vascepa?

09:27:33   25    A      No.
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09:27:33    1    Q   Now, we've heard some testimony as I mentioned about

09:27:42    2   fibrates raising LDL-C, correct?

09:27:45    3    A   Yes.

09:27:45    4    Q   And you heard that testimony as well.

09:27:48    5    A   I did.

09:27:48    6    Q   Does every diabetic patient with very high triglycerides

09:27:53    7   experience an increase in LDL-C when they take a fibrate?

09:27:57    8    A   Every single one, no.      On average, yes, but not every

09:28:02    9   single one.

09:28:02   10    Q   So we've also heard I think from a number of witnesses

09:28:05   11   that an increase in LDL-C is considered an indication of an

09:28:09   12   increased risk of heart disease.      Is that your understanding

09:28:12   13   as well?

09:28:12   14    A   Yes.     But in the context of severely high triglycerides,

09:28:19   15   the treatment goal is the -- reducing the risk of acute

09:28:24   16   pancreatitis, and the cardiovascular risk is not of concern in

09:28:30   17   that setting.

09:28:30   18    Q   Is that true with respect to diabetic patients who are at

09:28:36   19   an increased risk of heart disease?

09:28:38   20    A   It's independent of that.

09:28:40   21    Q   So in diabetic patients is the treatment goal any

09:28:43   22   different for patients with very high triglycerides than it is

09:28:48   23   in nondiabetic patients?

09:28:50   24    A   No, it's same goal to reduce the risk of acute

09:28:54   25   pancreatitis.
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09:28:54    1    Q   Now, why is it that the ADA is not concerned in the case

09:28:59    2   of patients with very high triglycerides about giving them a

09:29:02    3   medication that can increase their LDL?

09:29:05    4    A   Well, the one thing that's not mentioned here is that the

09:29:09    5   standard of care since the heart protection study in 2002 or

09:29:14    6   so, the standard of care is that independent of a diabetic's

09:29:19    7   LDL cholesterol levels, they should all be on at least a

09:29:23    8   moderate-intensity statin.

09:29:25    9                And when a patient is on a moderate-intensity statin

09:29:29   10   or high-intensity statin, the increase in LDL cholesterol is

09:29:36   11   not of concern because the statin is lowering the levels of

09:29:40   12   LDL cholesterol because of the way statins work.

09:29:42   13    Q   Now, do you attend any medical meetings?

09:29:45   14    A   I do.

09:29:45   15    Q   How often do you attend them?

09:29:47   16    A   I go to two or three a year.

09:29:49   17    Q   And how long have you been doing that?

09:29:50   18    A   A long time; at least 20 years.

09:29:53   19    Q   And at any of these meetings prior to 2008, did you ever

09:29:58   20   hear anyone raise a concern about giving fibrates to diabetic

09:30:03   21   patients with very high triglycerides because of the

09:30:05   22   possibility that the drug would increase their LDL-C level?

09:30:09   23    A   I don't recall that.

09:30:10   24    Q   And in your practice, have you ever seen an increase in

09:30:15   25   LDL-C in a severely hypertriglyceridemic diabetic patient that
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09:30:21    1   you have given a fibrate drug to?

09:30:23    2    A   I'm not -- could you repeat that?

09:30:26    3    Q   Yeah, in your own practice, have you ever seen a

09:30:31    4   clinically concerning rise in LDL-C in a diabetic patient with

09:30:37    5   severe triglyceridemia that you've treated with fibrate drugs?

09:30:43    6    A   No, because we have them on statins.

09:30:45    7                   MS. HUTTNER:    Now, if we can go back to DDX 9.8,

09:30:49    8   please.

09:30:49    9   BY MS. HUTTNER:

09:30:51   10    Q   This is, again, the slide that we looked at earlier from

09:30:56   11   Dr. Ismail's corrected opening expert report.        This is

09:31:00   12   paragraph 29, and in this paragraph Dr. Ismail claims that

09:31:06   13   fibrates are disfavored because they increase the risk of

09:31:10   14   muscle breakdown.    Do you see that there?

09:31:12   15    A   Yes, I do.

09:31:13   16    Q   And do you agree with that statement?

09:31:15   17    A   In part.     The particular fibrate that had that problem,

09:31:23   18   or has that problem is gemfibrozil which is noted earlier in

09:31:28   19   this paragraph as the prescription drug Lopid, L-o-p-i-d.

09:31:36   20              That was a form of a fibrate that was known to have

09:31:42   21   this complication of increased risk of rhabdomyolysis

09:31:49   22   particularly when used in combination with statins, but

09:31:53   23   particularly with one specific statin as I think he notes

09:31:58   24   here, cerivastatin.     Actually, I don't see if it's there.

09:32:12   25   Cerivastatin is c-e-r-i-v-a-s-t-a-t-i-n.
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09:32:12    1                That statin was withdrawn from the market and, with

09:32:15    2   the fenofibrates also being available, Tricor is one that's

09:32:21    3   mentioned here, that without the same increased risk the

09:32:26    4   overwhelming use of fibrates has become fenofibrates.

09:32:32    5                And the last data that I saw on the percentage of

09:32:39    6   patients who were on the combination of a statin with a

09:32:43    7   fenofibrate that had rhabdomyolysis was about 0.12 percent

09:32:51    8   which I don't think is materially different from the rate that

09:32:55    9   you get with some statins alone.      So the rate is very -- is

09:33:01   10   very low.

09:33:02   11    Q   He also mentions, Dr. Ismail, in paragraph 29, what he

09:33:06   12   calls other safety concerns related to the use of fibrates,

09:33:11   13   and he mentions hepatotoxicity, decline in renal function,

09:33:18   14   dyspepsia, gastrointestinal complaints, and gallstones.            Do

09:33:22   15   you so see that?

09:33:24   16    A   I do.

09:33:24   17    Q   Do those concerns have anything to do or did they

09:33:26   18   influence your decision whether or not to prescribe a fibrate

09:33:30   19   drug to a patient with very high triglycerides?

09:33:33   20    A   No, these are all at very low percentages.

09:33:36   21                If any of you has been brave enough to read the full

09:33:39   22   prescribing information for anything that you're taking,

09:33:42   23   you'll see a whole list of potential adverse events that have

09:33:48   24   to be listed, and they are typically at very low levels.

09:33:53   25                So this has not been any impediment to me or my
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09:33:56    1   colleagues from using fibrates, particularly fenofibrates.

09:34:01    2    Q   Before we leave the topic of fibrates, I want to ask you

09:34:05    3   about something that Dr. Budoff said during his testimony that

09:34:08    4   I did not fully understand, and this is on -- this is from the

09:34:13    5   day two rough transcript at pages 36 to 38, and I'm not going

09:34:20    6   to read through all of it.

09:34:21    7                    MS. HUTTNER:   Can you blow up the highlighted

09:34:23    8   portions?

09:34:24    9                    THE COURT:   And I want to make sure the record

09:34:26   10   reflects that the rough transcript is not the official

09:34:29   11   transcript.

09:34:29   12                    MS. HUTTNER:   Understood, Your Honor.

09:34:29   13   BY MS. HUTTNER:

09:34:47   14    Q   Okay.    So just for context, the discussion pertained to

09:34:51   15   what Dr. Budoff was describing as the downside of fibrate

09:34:55   16   drugs, and I want to direct your attention --

09:34:58   17                    MS. HUTTNER:   And, Mr. Gross, if you could bring

09:35:00   18   up the question.

09:35:00   19   BY MS. HUTTNER:

09:35:02   20    Q   "Can you characterize how often you describe" -- I think

09:35:05   21   it should be prescribe "fibrates to STG patients earlier in

09:35:09   22   your career compared to now."

09:35:11   23                And Dr. Budoff responded -- do we have that up

09:35:18   24   there?   Yeah.

09:35:18   25                He responds, and he says that,
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09:35:20    1                  "After 2016, the Food and Drug Administration

09:35:23    2        opined that you cannot use a fibrate and a statin

09:35:23    3        together.    So now I can't use fibrates in most cases

09:35:31    4        of severe hypertriglyceridemia."

09:35:34    5                    And focusing on that question and answer, is it

09:35:37    6   your understanding that the FDA has opined that you should not

09:35:41    7   give fibrate drugs to patients on statins?

09:35:45    8    A   In general, no.     There was a specific consideration here.

09:35:50    9    Q   Which was what?

09:35:51   10    A   In my reading of that document, the FDA was not allowing

09:35:58   11   an indication to be granted to a combination drug of a

09:36:03   12   fenofibrate and a statin.

09:36:06   13              The company wanted an indication for the changes in

09:36:11   14   HDL cholesterol and reduction in cardiovascular risk, and FDA

09:36:17   15   did not think that evidence warranted such an indication.

09:36:20   16   There was absolutely no mention in that document of any safety

09:36:23   17   issue in using the combination.

09:36:24   18    Q   And are you aware of any safety issue of using the

09:36:28   19   combination of fibrates and statin drugs?

09:36:29   20    A   No.   I mean, we monitor patients like any other

09:36:34   21   preventive cardiology section.

09:36:37   22              These patients are on a lot of medications,

09:36:39   23   particularly the diabetics, and we do periodic blood tests to

09:36:46   24   make sure there are no side effects or adverse actions, but

09:36:51   25   that's just routine.     They get no more than the routine
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09:36:56    1   surveillance that we do with all patients.

09:36:58    2    Q   Let's change topics a bit and let's talk -- if we can go

09:37:02    3   to DDX 9.127.    I want to shift focus to Lovaza.

09:37:10    4               Dr. Ismail's opening report also discusses Lovaza,

09:37:13    5   correct?

09:37:14    6    A   Yes.

09:37:14    7    Q   And in paragraph 28, he says that,

09:37:19    8                   "Lovaza was also known to significantly

09:37:21    9        increase LDL-C in the severely hypertriglyceridemic

09:37:26   10        patient populations."

09:37:27   11                   And he goes on to say, "In a study reported

09:37:30   12        in the Lovaza label, the increase in LDL-C as shown

09:37:33   13        to be 49.3 percent compared with placebo."

09:37:37   14                    And we've heard testimony from other witnesses

09:37:39   15   in this court that Lovaza can raise LDL-C in some patients

09:37:43   16   with very high triglycerides; is that right?

09:37:45   17    A   Yes.

09:37:45   18    Q   Now, Dr. Ismail in paragraph 28 goes on to say that, that

09:37:52   19   the rise -- that this rise in LDL-C or potential rise with

09:37:57   20   Lovaza is clinically concerning.      Do you agree with that?

09:38:01   21    A   No, I do not.

09:38:03   22    Q   Can you explain why.

09:38:05   23    A   Well, again, the -- in the short-term what you really

09:38:09   24   want to avoid is pancreatitis, and that is the indication for

09:38:14   25   using Lovaza in severely high hypertriglyceridemic patients to
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09:38:21    1   get the triglycerides levels below 500.

09:38:26    2                   Again, in the -- in the diabetic population in

09:38:32    3   particular, they are on statins already which will also be

09:38:37    4   protective against LDL cholesterol.

09:38:40    5                   The general pattern is that the cardiovascular risk

09:38:48    6   of the LDL only becomes a factor in the treatment plan after

09:38:52    7   you have gotten out of the dangerous situation of bringing the

09:38:58    8   triglycerides down.       So it's not -- it's not a consideration.

09:39:01    9    Q      Has the fact that Lovaza can raise LDL-C in some patients

09:39:08   10   with very high triglycerides particularly diabetic patients,

09:39:12   11   has that deterred you in any way from prescribing Lovaza to

09:39:18   12   diabetic patients with very high triglycerides?

09:39:18   13    A      No.

09:39:19   14    Q      Prior to -- I'm sorry, prior to 2008, did you ever hear

09:39:23   15   anyone in the medical community express concerns or publish an

09:39:28   16   article in which they expressed concerns about giving Lovaza

09:39:31   17   to diabetic patients with very high triglycerides because of

09:39:35   18   the possibility that that their LDL-C would go up?

09:39:38   19    A      No.   Again, I think in part -- in large part because

09:39:41   20   standard of care was to have all those patients on statins.

09:39:45   21    Q      And has there been -- to your knowledge, has the ADA

09:39:50   22   issued any cautions about using Lovaza in diabetic patients?

09:39:56   23    A      No, we saw in the 2019 guidelines that they just say fish

09:40:00   24   oils.

09:40:00   25    Q      Okay.    Let's move on to Dr. Ismail's opinions about
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09:40:06    1   alleged objective evidence of nonobviousness in this case.

09:40:09    2                   MS. HUTTNER:    And if we can go to DDX 9.13.

09:40:09    3   BY MS. HUTTNER:

09:40:13    4    Q   This is -- DDX 9.13 is from the corrected opening report

09:40:20    5   of Dr. Ismail, specifically paragraph 7.        Does this paragraph

09:40:26    6   summarize Dr. Ismail's opinions at least as he articulated

09:40:31    7   them in his report?

09:40:32    8    A   Yes, it does.

09:40:33    9    Q   And the call-out on DDX 9.13 has three bullets, correct?

09:40:39   10    A   Yes.

09:40:40   11    Q   And is it your understanding that these represent the

09:40:43   12   opinions that Dr. Ismail plans to testify about in court?

09:40:47   13    A   That's my understanding.

09:40:48   14    Q   All right.    The first opinion in paragraph 7 is that

09:40:52   15   Vascepa met a long-felt but unmet need for method of treating

09:40:57   16   diabetic patients with very high triglycerides without causing

09:41:00   17   serious side effects or an increase in the patient's so-called

09:41:04   18   bad cholesterol or LDL-C and also decreasing apo B.

09:41:10   19               Is it that your understanding -- is it your

09:41:12   20   understanding Dr. Ismail has that opinion?

09:41:14   21    A   Yes, it's my understanding.

09:41:15   22    Q   And the next two opinions, the second opinion is -- in

09:41:19   23   Dr. Ismail's report is that Vascepa met a long-felt but unmet

09:41:25   24   need for a treatment that would lower cardiovascular risk in

09:41:28   25   the diabetic patient population.      Is that your understanding
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09:41:31    1   as well?

09:41:32    2    A      Yes.

09:41:32    3    Q      And he also adds that others had failed, in his opinion,

09:41:36    4   to develop a triglyceride-lowering treatment that also reduced

09:41:42    5   cardiovascular, correct?

09:41:42    6    A      Yes.

09:41:43    7    Q      And Dr. Ismail's last opinion is that Vascepa

09:41:46    8   unexpectedly lowers cardiovascular risk in diabetic patients,

09:41:50    9   correct?

09:41:50   10    A      Yes.

09:41:51   11    Q      All right.   So let's talk about each of those in turn.

09:41:55   12   And let's focus first on Dr. Ismail's first opinion that

09:41:59   13   Vascepa met a long-felt but unmet need for method of treating

09:42:04   14   diabetic patients with -- that would not increase LDL-C and

09:42:08   15   would lower apo B.

09:42:11   16                  First of all, are you aware -- well, first of all,

09:42:13   17   do you agree with that opinion?

09:42:14   18    A      No, I don't.

09:42:16   19    Q      Are you aware of any evidence before 2008 that supports

09:42:20   20   Dr. Ismail's claim that there was such a long-felt but unmet

09:42:24   21   need?

09:42:24   22    A      No, and I don't believe he cited evidence for that.

09:42:27   23    Q      And did you point that out in your responsive report in

09:42:31   24   this case?

09:42:31   25    A      I did.
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                                                                                    967



09:42:32    1    Q      And in paragraph -- and you pointed out what -- what did

09:42:37    2   you point out?

09:42:37    3    A      There was no citation that was given to support that

09:42:40    4   statement.

09:42:41    5    Q      And in -- did Dr. Ismail submit a reply report in this

09:42:46    6   case?

09:42:46    7    A      He did.

09:42:46    8    Q      And in that reply report did Dr. Ismail cite to any

09:42:51    9   support for his opinion about long-felt need?

09:42:53   10    A      Yes, he cited an article.

09:42:55   11                      MS. HUTTNER:   And can I have DX 1624, please.

09:42:55   12   BY MS. HUTTNER:

09:43:06   13    Q      Can you identify DX 1624.

09:43:08   14    A      Yes.    This is the article that was cited by Dr. Ismail.

09:43:13   15    Q      In his reply report.

09:43:15   16    A      In his reply report.

09:43:17   17    Q      And what is the date of this article?

09:43:18   18    A      2016.

09:43:20   19    Q      And this article is called the Tajuddin article; is that

09:43:25   20   correct?

09:43:25   21    A      Yes.

09:43:25   22    Q      And you reviewed that article?

09:43:27   23    A      I did.

09:43:28   24                      MS. HUTTNER:   Your Honor, we would move DX 1624

09:43:31   25   into evidence.
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09:43:32    1                   MR. SIPES:   No objection, Your Honor.

09:43:32    2                   THE COURT:   1624 is admitted.

09:43:32    3                          (Defendant's Exhibit 1624 received in
09:43:32                                evidence.)
09:43:37    4                   MS. HUTTNER: Now, if we can go to DDX 9.10,

09:43:37    5   please.

09:43:37    6   BY MS. HUTTNER:

09:43:41    7    Q   DDX 9.10 is a -- from page -- the snapshot is from page 7

09:43:48    8   of the Tajuddin article.     It says it's important to avoid

09:43:54    9   compromising LDL-C treatment goals particularly in these

09:43:58   10   patients?

09:43:58   11               First, let me ask you, when the article says these

09:44:01   12   patients, do you have an understanding of what patients are

09:44:05   13   being referred to?

09:44:06   14    A   Not always.     One of the problem I had in following this

09:44:09   15   article is the lumping together in some cases the high

09:44:12   16   triglycerides with very high triglycerides and it was

09:44:17   17   confusing in a number of places on that point.

09:44:21   18    Q   And is it your understanding -- I may have asked you

09:44:23   19   this, if I did I apologize, but is it your understanding that

09:44:26   20   this snippet that you have at the slide here is what

09:44:32   21   Dr. Ismail is relying on in the Tajuddin article?

09:44:36   22    A   Yes.

09:44:36   23    Q   The snippet goes on to say,

09:44:39   24                  "The EPA-only formulation offers an option

09:44:47   25        that is effective but does not complicate management.
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09:44:47    1        While products containing both EPA and DHA may raise

09:44:51    2        LDL-C, the EPA-only product, icosapent ethyl, does

09:44:56    3        not."

09:45:01    4                    To your understanding, did Amarin have anything

09:45:03    5   to do with writing -- getting this article published the

09:45:09    6   Tajuddin article?

09:45:10    7    A   They had deep involvement in this article, it's creation

09:45:14    8   and publication.

09:45:15    9                    MS. HUTTNER:    Can we go to DDX 9.88.

09:45:15   10   BY MS. HUTTNER:

09:45:19   11    Q   Again, this is an excerpt from the Tajuddin article from

09:45:24   12   page 8?

09:45:24   13    A   Yes.

09:45:25   14    Q   And what is shown here?

09:45:26   15    A   Shown in the acknowledgements and disclosures are some of

09:45:30   16   the influences of Amarin.       The medical writing itself,

09:45:35   17   assistance was provided by a company that they frequently use

09:45:39   18   for editorial assistance to authors.

09:45:45   19                There are inputs into the editorial content by an

09:45:50   20   employee of Amarin, Joy Bronson, as well as some input from

09:45:57   21   one of their consultants, a Dr. Chowdhury, C-h-o-w-d-h-u-r-y.

09:46:05   22                And in the disclosures, one the authors, Amir

09:46:10   23   Hassan, is shown to have received grant research support from

09:46:15   24   the company and, furthermore, is a shareholder, holds stock in

09:46:21   25   Amarin.
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09:46:26    1                    MS. HUTTNER:   We can take that down, Mr. Gross.

09:46:26    2   BY MS. HUTTNER:

09:46:28    3    Q   Do you consider the Tajuddin article to be an

09:46:31    4   authoritative source?

09:46:33    5    A   No.    It comes, frankly, across more as a promotional

09:46:37    6   piece on behalf of Amarin.

09:46:39    7                The table of studies that are shown are not

09:46:45    8   discussed I think fairly in the text, and, again, the text

09:46:50    9   frequently conflates the categories of high triglycerides and

09:46:55   10   very high triglycerides in that patient population.

09:46:58   11    Q   Okay.    Now, Vascepa was approved, I think we've heard, in

09:47:03   12   2012; is that correct?

09:47:04   13    A   Yes.

09:47:05   14    Q   And it began to be sold, I think, in 2013, correct?

09:47:09   15    A   Yes.

09:47:09   16    Q   And is Vascepa any better than Lovaza or fibrates at

09:47:14   17   lowering triglycerides in diabetic patients with very high

09:47:19   18   triglycerides?

09:47:19   19    A   No.

09:47:20   20    Q   Are there any differences between those?

09:47:22   21    A   No, they're all pretty equivalent in that regard.

09:47:26   22    Q   And when Vascepa was approved, did the fact that Vascepa

09:47:34   23   does not affect LDL-C levels, did that play any role in your

09:47:39   24   decision whether or not to -- you know, whether to pick Lovaza

09:47:42   25   or Vascepa or fibrates to give to reduced triglycerides in
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09:47:47    1   severely hypertriglyceridemic diabetic patients?

09:47:51    2    A      No.

09:47:52    3    Q      And after Vascepa was approved, did you switch any of

09:47:58    4   your diabetic patients with very high triglycerides from

09:48:01    5   Lovaza to Vascepa?

09:48:03    6    A      No, I did not.

09:48:04    7    Q      What about new patients, did you preferentially recommend

09:48:09    8   or prescribe Vascepa over Lovaza in diabetic patients with

09:48:15    9   very high triglycerides?

09:48:15   10    A      Well, I would say I continued to probably use more often

09:48:22   11   fenofibrate, and then concerning the fish oil preparations, as

09:48:27   12   you know, as has been mentioned, that Lovaza became generic in

09:48:33   13   2015.    So that cost consideration for some patients was quite

09:48:40   14   significant.

09:48:40   15                 So, depending on the context that when I did use

09:48:47   16   fish oils, a consideration was to cost as well as my previous

09:48:54   17   experience.     If I had good success with Lovaza in the past,

09:48:57   18   and I didn't feel that it was automatically necessary for me

09:49:03   19   to switch to Vascepa.

09:49:05   20    Q      And what about after the REDUCE-IT study results came out

09:49:09   21   in November 2019, has that had an impact on which drugs you

09:49:13   22   prescribe to diabetic patients with very high triglycerides?

09:49:17   23    A      With very high triglycerides, no.

09:49:19   24    Q      And why is that?

09:49:20   25    A      Well, because the goal is to get the triglycerides down
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09:49:25    1   below 500, and the LDL cholesterol is just not part of that

09:49:30    2   consideration, as, again, the ADA, the most authoritative body

09:49:34    3   recommending treatment to diabetics is neutral on the -- or

09:49:40    4   agnostic, whatever, on which fish oil preparation to use in

09:49:47    5   that patient population.

09:49:49    6              It's different in the high triglyceride category

09:49:52    7   because that is a different focus than the severely

09:49:59    8   triglyeridemic patient.

09:50:00    9    Q   What is the focus in the high triglyceride category?

09:50:04   10    A   It's reduction of cardiovascular risk and having a paper

09:50:07   11   in the New England Journal that shows there's a reduction in

09:50:11   12   cardiovascular risk.

09:50:14   13              And people with lower levels of triglycerides --

09:50:16   14   we're in the age of evidence-based medicine so that it does

09:50:20   15   influence, can influence prescribing habits when you have a

09:50:23   16   study that is demonstrated to show a decrease in

09:50:28   17   cardiovascular risk in the type of patients you're seeing in

09:50:32   18   your office.

09:50:33   19    Q   Now, let's switch gears and talk about apo B, which I

09:50:37   20   think we've heard less about in this case than LDL-C.

09:50:41   21              Apo-B is a type of lipoprotein; is that correct?

09:50:46   22    A   Actually, Dr. Budoff I think used that term, it's an

09:50:49   23   apolipoprotein.    A lipoprotein is the combination of the

09:50:56   24   protein and the lipo which is the lipid.

09:50:57   25              When it -- when the protein component is not
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09:50:59    1   associated with the particle, it's an apo.        Apo just means

09:51:04    2   there's something missing.      It's an apolipoprotein, so it's an

09:51:09    3   incomplete particle.

09:51:10    4              But not to get too technical, but I've been

09:51:14    5   studying, apo-B for about 30 years so I'm particular about its

09:51:20    6   nomenclature.

09:51:21    7    Q   Is apo B -- just very briefly, what does apo B do?            What

09:51:26    8   is its function?

09:51:28    9    A   Well, it is required to -- in the liver and also in our

09:51:34   10   intestine to form the triglyceride-rich lipoprotein.         So it's

09:51:39   11   bit of a scaffold.     It's a protein that has many extended

09:51:44   12   parts to it that like to have lipids stick to it, and this is

09:51:49   13   called hydrophobic interactions.

09:51:53   14              And so as the apo B protein is made in our cell,

09:51:58   15   it's like flypaper, lipids start getting stuck to it, and at

09:52:03   16   the end of this process, you now have this ball-like structure

09:52:08   17   that has the triglycerides and cholesterol that are on the

09:52:13   18   VLDL particle when the particle is made in the liver, in the

09:52:18   19   intestine, from the fats that we eat that are absorbed.            They

09:52:23   20   are packaged into the related particles, but they're called

09:52:26   21   chylomicrons.    I believe Dr. Heinecke mentioned chylomicrons,

09:52:30   22   c-h-y-l-o-m-i-c-r-o-n-s.

09:52:36   23    Q   Dr. Budoff testified that I think he said he does not

09:52:41   24   typically measure apo B in his hypertriglyceridemic patients.

09:52:47   25   Is that consistent with your own practice?
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09:52:49    1    A   Yes.

09:52:50    2    Q   And is the practice any different when you see diabetic

09:52:54    3   patients with very high triglycerides?

09:52:56    4    A   No, in their initial visit and evaluation, we do not

09:53:01    5   measure apo B in diabetics.

09:53:04    6    Q   And why is that?

09:53:08    7    A   Well, the standard lipid panel that's been used for years

09:53:13    8   and continues to be used is total cholesterol, total

09:53:18    9   triglycerides, HDL cholesterol, LDL cholesterol.

09:53:23   10               Apo B has some role in what we call advanced lipid

09:53:28   11   testing if there are some unusual features that the patient

09:53:33   12   has clinically or in the laboratory going forward.

09:53:38   13               So we assume with the initial evaluation and

09:53:44   14   treatment plan for a patient that they will be more or less

09:53:47   15   like the other patients.

09:53:48   16               But, occasionally, there's reason to suspect that

09:53:53   17   the dose of drug we're using is not enough or there are some

09:54:00   18   unusual properties of their lipoprotein particles and there

09:54:03   19   are number of -- what are called advanced lipid testing that's

09:54:08   20   used in that group down the line.

09:54:11   21                   MS. HUTTNER:    Now, if we could go to DDX 9.11

09:54:15   22   please.

09:54:15   23   BY MS. HUTTNER:

09:54:16   24    Q   This is again an excerpt from Dr. Ismail's opening

09:54:19   25   report, paragraph 26.     And he says that,
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09:54:23    1                  "In the 2009 Standards of Medical Care in

09:54:28    2        Diabetes, the authors explained 'a consensus panel

09:54:31    3        convened by ADA and the American College of

09:54:35    4        Cardiology recommended a greater focus on non-HDL

09:54:38    5        cholesterol and apolipoprotein B in patients who are

09:54:43    6        likely to have small LDL particles.        Such as people

09:54:47    7        with diabetes.'"

09:54:49    8                   The recommendation of the consensus panel that

09:54:53    9   Dr. Ismail discusses in paragraph 26, to your knowledge, has

09:54:56   10   that ever been adopted by either the American College of

09:55:00   11   Cardiology or the American Diabetic Association?

09:55:03   12    A   No.   As an official treatment goal, no.

09:55:06   13    Q   And are you aware of anyone in your field who said or

09:55:14   14   wrote prior to 2008 that there was a long-felt need for a

09:55:18   15   triglyceride-lowering medication in diabetic patients with

09:55:21   16   severe hypertriglyceridemia that would reduce apo B?

09:55:26   17    A   No, not to my knowledge.

09:55:28   18    Q   Can I have -- well, have you prepared a slide summarizing

09:55:32   19   the reasons why you disagreed with Dr. Ismail's opinion about

09:55:37   20   an alleged long-felt need for a triglyceride-lowering drug

09:55:41   21   that would not affect LDL-C and would lower apo B?

09:55:46   22    A   I have.

09:55:47   23                   MS. HUTTNER:    Can I have DX 9.12, please.

09:55:47   24   BY MS. HUTTNER:

09:55:50   25    Q   Is this the slide that you prepared?
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09:55:52    1    A   It is.

09:55:52    2    Q   Can you just summarize, walk us through the bullets of

09:55:56    3   this slide, please.

09:55:57    4    A   Yes, on the top is the statement that in diabetic

09:56:02    5   patients with triglycerides equal or greater than 500, the

09:56:07    6   primary goal is to lower triglycerides to reduce the risk of

09:56:11    7   pancreatitis.

09:56:13    8              And the standard of care for diabetic patients is

09:56:17    9   statin therapy, regardless of LDL cholesterol levels,

09:56:21   10   therefore increases in LDL cholesterol are not clinically

09:56:26   11   concerning especially as compared to the risk of pancreatitis.

09:56:30   12              And the third is apo B is not typically monitored

09:56:34   13   and is not a target for therapy in diabetic patients with very

09:56:39   14   high triglycerides.

09:56:39   15                   MS. HUTTNER:    Okay.   Let's move on to

09:56:41   16   Dr. Ismail's other opinions.      If we can, Mr.    Gross, take us

09:56:44   17   back to DDX 9.14.

09:56:44   18   BY MS. HUTTNER:

09:56:46   19    Q   This is, again, the same summary slide from paragraph 7

09:56:49   20   of Dr. Ismail's opening report that we looked at earlier.

09:56:52   21              We've talked about Dr. Ismail's first opinion, and I

09:56:56   22   would like to now talk about Dr. Ismail's opinions about

09:57:03   23   Vascepa being an unmet need for a treatment that would lower

09:57:06   24   cardiovascular risk and stating that it was unexpected that

09:57:10   25   Vascepa would do so.
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09:57:12    1                And I want to, I guess, take those in reverse order.

09:57:16    2   Let's start with the third bullet point in paragraph 7, which

09:57:20    3   is Dr. Ismail's opinion that Vascepa unexpectedly lowers

09:57:25    4   cardiovascular risk in diabetic patients a result that

09:57:30    5   numerous other treatments have failed to produce.

09:57:32    6                First of all, do you agree with Dr. Ismail it was

09:57:35    7   unexpected in 2008 that Vascepa would lower cardiovascular

09:57:39    8   risk in diabetic patients?

09:57:41    9    A   I do not agree.

09:57:42   10    Q   All right.    Let me show you DX 1553, please.

09:57:53   11                DX 1553 which is in evidence is the Yokoyama paper

09:57:57   12   that we've -- I think we've heard about from other witnesses

09:58:00   13   in this proceeding, and you've read this article as well,

09:58:03   14   correct?

09:58:03   15    A   Yes, I have.

09:58:04   16    Q   And does this article, Yokoyama, discuss the results of

09:58:06   17   the JELIS study?

09:58:08   18    A   It does.

09:58:08   19    Q   Do you rely on this article in connection with your

09:58:15   20   opinion that there was -- that it was not unexpected that

09:58:19   21   Vascepa would lower cardiovascular risk in diabetic patients?

09:58:22   22    A   I do.

09:58:23   23    Q   And specifically what do you rely on here in this

09:58:33   24   document?

09:58:33   25    A   Well, this showed that highly-purified EPA reduced the
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09:58:42    1   risk of major cardiovascular events in a population of

09:58:50    2   patients that included diabetic patients.

09:58:55    3    Q   And in paragraph 40 of Dr. Ismail's opening report,

09:59:02    4   Dr. Ismail commented that the JELIS study did not show a

09:59:10    5   statistically significant cardiac risk reduction in the

09:59:13    6   diabetic patients enrolled in that study.

09:59:20    7                On the slide that's up now is DDX 9.115, this is an

09:59:25    8   excerpt from paragraph 40 of Dr. Ismail's opening expert

09:59:32    9   report.

09:59:32   10                And Dr. Ismail says there that the JELIS study was

09:59:35   11   unable to establish a statistically significant reduction in

09:59:39   12   the risk of major coronary events in a subanalysis of the

09:59:43   13   Japanese hypercholesterolemic patient population with

09:59:47   14   diabetes, and then he lists in parentheses both the hazard

09:59:53   15   ratio and the confidence interval relating to that ratio.

09:59:56   16                Do you recall this statement in Dr. Ismail's report?

09:59:58   17    A   I do.

09:59:59   18    Q   And let me direct you to Table 2 from the Yokoyama

10:00:05   19   article, which I think we have in DDX 9.16, please.

10:00:09   20                And just to orient ourselves, the hazard ratio

10:00:15   21   referred in Dr. Ismail's report is highlighted for diabetic

10:00:21   22   patients in this slide, correct?

10:00:22   23    A   Yes.

10:00:23   24    Q   And absent means they don't have diabetes, and present

10:00:26   25   means they do, correct?
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10:00:28    1    A   Yes, as a physician diagnosis criteria.

10:00:33    2    Q   So if I look at the hazard ratio for diabetic patients.

10:00:37    3   It goes from 0.65 to 1.15, correct?

10:00:42    4    A   Yes.

10:00:42    5    Q   And the fact that it goes above 1 means that it's not

10:00:46    6   statically significant as to that particular cohort?

10:00:50    7    A   That is correct.

10:00:52    8    Q   There's another value in Table 2 called interaction P.

10:00:56    9    A   Yes.

10:00:57   10    Q   Can you explain what that means.

10:00:59   11    A   An interaction test is typically used to see whether a

10:01:06   12   condition or a factor that a patient would have would

10:01:12   13   interfere or influence the effect of the treatment.

10:01:17   14               So in this case, what the interaction was testing is

10:01:24   15   whether or not EPA would have a different effect in the

10:01:27   16   patients in the population, the study population who had or

10:01:31   17   did not have diabetes.

10:01:34   18               So the interaction being nonsignificant, that .62 is

10:01:40   19   not significant, means that the effects of EPA were equivalent

10:01:45   20   in the patients with diabetes or without.        In other words,

10:01:50   21   cannot distinguish one group from the other in terms of the

10:01:54   22   effect of EPA.

10:01:55   23    Q   And based on the interaction P value, would you expect

10:01:59   24   that diabetics would get the same benefit from EPA as

10:02:04   25   nondiabetic patients?
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10:02:05    1                   MR. SIPES:   Objection, Your Honor.      None of this

10:02:07    2   is in his report.

10:02:07    3                   THE COURT:   Ms. Huttner?

10:02:09    4                   MR. SIPES:   There's no discussion of interaction

10:02:11    5   P values.

10:02:12    6                   MS. HUTTNER:    Your Honor --

10:02:12    7                   THE COURT:   The objection is the testimony here

10:02:14    8   exceeds the scope of his report.

10:02:15    9                   MR. SIPES:   Correct.

10:02:17   10                   MS. HUTTNER:    Dr. Fisher does discuss the

10:02:20   11   Yokoyama disclosure with respect to diabetic patients in his

10:02:23   12   report, and he also discusses the reference in response to

10:02:27   13   Dr. Ismail's opinions that the results in Yokoyama are not

10:02:31   14   statistically significant.

10:02:34   15                   This is Table 2 from the Yokoyama article which

10:02:36   16   is part of what informed Dr. Fisher's opinions.

10:02:39   17                   THE COURT:   Do you have the excerpts from

10:02:42   18   Dr. Fisher's report that you're relying on?

10:02:45   19                   MS. HUTTNER:    I do.

10:02:48   20                   Can I have a copy of Dr. Fisher's report.

10:03:26   21                   May I approach, Your Honor?

10:03:27   22                   THE COURT:   Yes.

10:03:29   23                   MS. HUTTNER:    It's paragraph 126, Your Honor.

10:03:33   24                   THE COURT:   Twenty-six?

10:03:34   25                   MS. HUTTNER:    126.    Actually, it starts at
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10:03:43    1   paragraph 125, so it's 125 and 126, and it continues on.           This

10:03:50    2   topic continues on through, I believe, 127.

10:03:58    3                   MR. SIPES:   And, Your Honor, one thing I would

10:04:00    4   note to inform your reading, 126 which refers to the Sato

10:04:05    5   paper I believe is a different later paper that was not

10:04:07    6   identified for use today by defendants.

10:04:11    7                   MS. HUTTNER:    It's on our exhibit list.

10:04:13    8                   MR. SIPES:   It is not on the list of exhibits

10:04:15    9   you identified for use today with Dr. Fisher, the Saito paper.

10:04:15   10                   MS. HUTTNER:    I don't believe -- well, I don't

10:04:21   11   want to argue with you, but the disclosures were of the

10:04:23   12   demonstratives that we planned to use.

10:04:26   13                   MR. SIPES:   And you can see that, Your Honor,

10:04:28   14   because --

10:04:28   15                   THE COURT:   Would you give me a moment to read

10:04:30   16   it.

10:04:30   17                   MR. SIPES:   Sure.

10:04:31   18                   THE COURT:   Then you can tell me what is missing

10:04:33   19   here, Mr. Sipes.

10:04:34   20                   MR. SIPES:   Yes.

10:05:22   21                   THE COURT:   (Court reviews the document.)

10:05:24   22                   All right.   So, Mr. Sipes, what do you want me

10:05:26   23   to know?

10:05:27   24                   MR. SIPES:   Couple of things.     The two

10:05:29   25   paragraphs that are identified in 125 and 126 is discussing a
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10:05:32    1   different paper, that you can see at the end of paragraph 125,

10:05:35    2   it's citing Saito 2008.      That is not the Yokoyama 2007 paper,

10:05:41    3   and it was -- the Saito 2008 paper was not identified by

10:05:45    4   defendants for use today with Dr. Fisher.

10:05:48    5                   Of course, in addition, there's no discussion of

10:05:50    6   the interaction P values even in this discussion of the Saito

10:05:54    7   paper.   It's -- this discussion that they're pointing to isn't

10:05:58    8   even about the reference that they're having the witness

10:06:01    9   discuss.   This is completely outside his expert report.

10:06:04   10                   MS. HUTTNER:    Your Honor, I'm not sure I

10:06:06   11   understand the comment.

10:06:07   12                   In paragraph 126 -- I'm sorry, paragraph 125,

10:06:12   13   Dr. Fisher is discussing the Yokoyama studies responding to

10:06:16   14   Dr. Ismail's discussion about Yokoyama in his report which I

10:06:19   15   showed you a moment ago, and he is commenting on the

10:06:23   16   statistical significance of the reduction in diabetic

10:06:27   17   patients, and he specifically refers to Yokoyama.

10:06:29   18                   The Saito article which is referenced in

10:06:32   19   paragraph 126 also pertains to the JELIS study and to the same

10:06:36   20   patient population that's discussed in Yokoyama.

10:06:39   21                   So I'm not really sure what the issue is here or

10:06:42   22   why there is any surprise here.

10:06:45   23                   MR. SIPES:    Your Honor, first of all, there is

10:06:47   24   no disclosure of any testimony by Dr. Fisher about the

10:06:50   25   interaction P values an the Yokoyama 2007 paper.
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10:06:55    1                   Even this discussion of Saito which is about a

10:06:59    2   completely different analysis in a different paper doesn't

10:07:02    3   talk about interaction P values.      None of this disclosure has

10:07:07    4   anything do with the testimony they're now putting up about

10:07:10    5   interaction P values in Yokoyama 2007.

10:07:14    6                   MS. HUTTNER:    Your Honor, I just would note --

10:07:16    7                   THE COURT:   Ms. Huttner, point out the portion

10:07:18    8   in the report that discusses interaction of the P values that

10:07:22    9   Dr. Fisher has testified to.

10:07:24   10                   MS. HUTTNER:    There is no specific discussion of

10:07:27   11   interaction P value.     What there is is a statement that he

10:07:31   12   disagrees with Dr. Ismail's statement that the Yokoyama

10:07:37   13   results, the JELIS study results as to diabetics are

10:07:41   14   essentially of no value.

10:07:43   15                   THE COURT:   But, in explaining -- let me try to

10:07:46   16   understand because this is complex and I don't want to miss

10:07:49   17   something here.

10:07:49   18                   So in explaining why he disagrees -- so I'm

10:07:52   19   looking paragraph 125.     In explaining why Dr. Fisher disagrees

10:07:56   20   with Dr. Ismail's statement about -- that JELIS did not find a

10:08:02   21   statistically significant reduction in CV events in diabetes

10:08:10   22   patients is incorrect, he criticized that statement by

10:08:14   23   Dr. Ismail and said that the Yokoyama paper cite doesn't

10:08:22   24   support that proposition.

10:08:23   25                   And then he went on to say -- to identify that
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10:08:26    1   one of the authors of Yokoyama, Saito, the author, performed

10:08:35    2   another subanalysis, and they he explained what the

10:08:38    3   subanalysis is.

10:08:39    4                   So, in a way, Dr. Fisher's report explained why

10:08:43    5   he disagrees with Dr. Ismail's reliance on the Yokoyama paper.

10:08:48    6   So I agree with that.     At least he referenced that and

10:08:53    7   explained why he disagreed, but in explaining why he

10:08:56    8   disagrees, he doesn't reference the P value.

10:08:58    9                   MS. HUTTNER:    Right.   So Dr. Ishmail referred --

10:09:00   10   I think I showed the paragraph where he refers to this hazard

10:09:05   11   ratio which comes from this table that we're looking at in the

10:09:08   12   exhibit, and same table contains the interaction P value which

10:09:12   13   pertains to the same portion of Yokoyama that Dr. Ismail was

10:09:17   14   discussing in his report.

10:09:19   15                   THE COURT:   So this is part of the problem

10:09:21   16   because I haven't heard Dr. Ismail's testimony.

10:09:23   17                   MS. HUTTNER:    It makes it a little bit

10:09:25   18   difficult, Your Honor, as you can imagine.

10:09:28   19                   But I think I showed you -- and it's in

10:09:30   20   paragraph -- I'm sorry, if we can put up DDX 9.115.

10:09:36   21                   So if you look -- this is from Dr. Ismail's

10:09:41   22   report.   He references that hazard ration and the confidence

10:09:46   23   interval, that comes from the table that was presented in

10:09:50   24   DDX 9.116 which also contains the interaction P value.

10:09:53   25                   So all of these values are to be looked at
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10:09:56    1   together.

10:09:56    2                    He was deposed I would note, Dr. Fisher, on this

10:09:59    3   very point, and Mr. Sipes had every opportunity to ask for

10:10:03    4   further explanation or what else it was in this article that

10:10:08    5   Dr. Fisher was relying on the so I don't think there's any

10:10:11    6   surprise here.

10:10:12    7                    THE COURT:   Hang on.   Did Dr. Fisher testify to

10:10:14    8   this issue in his deposition regardless of what's in his

10:10:19    9   report?   You said he was deposed on this issue.

10:10:21   10                    MS. HUTTNER:   He was asked about the confidence

10:10:24   11   interval that Dr. Ismail cited in his report, and he was not

10:10:28   12   asked any questions specifically about the interaction P

10:10:31   13   value.

10:10:31   14                    THE COURT:   And that's the objection here is

10:10:33   15   that the report does not disclose interactions between P

10:10:36   16   values, and apparently he was not asked about that in his

10:10:39   17   deposition, and now he's testifying to this issue for the

10:10:42   18   first time.

10:10:43   19                    MS. HUTTNER:   Well, I think the point is that

10:10:44   20   you can only discuss the significance of the confidence

10:10:50   21   interval by taking into account all of the information that's

10:10:53   22   presented in the same table which includes the interaction P

10:10:56   23   value.

10:10:56   24                    And, as I said, this is the table that

10:11:01   25   Dr. Ismail was discussing in his report.        And so all that
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10:11:03    1   Dr. Fisher is going to explain is that you have to look at the

10:11:06    2   data as a whole.

10:11:07    3                   MR. SIPES:   Your Honor, as the one who deposed

10:11:10    4   Dr. Fisher, the point here that's come out of this it's very

10:11:13    5   clear is that Dr. Ismail clearly disclosed his opinions in his

10:11:17    6   report, and Dr. Fisher responded in his report.

10:11:20    7                   In responding, he did not respond in any way by

10:11:23    8   identifying the interaction P values.       Instead he responded by

10:11:26    9   pointing to yet a different article, an article that is not

10:11:30   10   being discussed today that does not discuss interaction P

10:11:33   11   values.

10:11:33   12                   I had no opportunity to depose Dr. Fisher about

10:11:36   13   interaction P values at all because it was not identified --

10:11:40   14   you cannot find in his report the term interaction P values at

10:11:44   15   all.   I had no opportunity to go into this.       This is a

10:11:47   16   completely new blindsiding testimony about interaction P

10:11:51   17   values.

10:11:52   18                   MS. HUTTNER:    I just -- I don't see how that

10:11:54   19   could be true, Your Honor, because --

10:11:54   20                   THE COURT:   Well, can you point to anywhere in

10:11:56   21   his report or his deposition testimony where he testified to

10:11:59   22   the interactions between the P values?

10:12:01   23                   MS. HUTTNER:    No, Your Honor, that did not come

10:12:03   24   up.

10:12:03   25                   THE COURT:   All right.    Then I sustain the
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10:12:04    1   objection.

10:12:05    2                   I agree that Dr. Ismail in his report at

10:12:09    3   paragraph 125 and 126 did discuss the Yokoyama paper and point

10:12:16    4   out why he disagrees with Dr. Ismail's reliance on that paper

10:12:20    5   in referring to the Saito paper.

10:12:23    6                   But given the acknowledgement that he did not

10:12:26    7   testify to the interactions between P values, and no where in

10:12:29    8   his report does he specifically address this issue, I agree

10:12:32    9   that the testimony exceeds the scope of the disclosure in his

10:12:36   10   report, therefore this objection is sustained.

10:12:38   11                   MR. SIPES:   Thank you, Your Honor.

10:12:38   12   BY MS. HUTTNER:

10:12:42   13    Q   Dr. Fisher, was there a subsequent analysis -- after the

10:12:45   14   publication of Yokoyama, was -- was there a subsequent paper

10:12:50   15   that looked at the -- the situation in Yokoyama with respect

10:12:56   16   to -- in the JELIS study, rather, with respect to diabetic

10:13:00   17   patients?

10:13:00   18    A   Yes, there was.

10:13:01   19    Q   And that paper was the Saito paper?

10:13:04   20    A   Yes.

10:13:05   21    Q   When was that published?

10:13:07   22    A   In 2008.

10:13:08   23    Q   And did you rely on the Saito paper in your report in

10:13:11   24   relation to the meaning of the JELIS study as far as it

10:13:16   25   pertained to diabetic patients?
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10:13:18    1    A   I did.

10:13:18    2    Q   And what is it -- can you describe what's discussed in

10:13:21    3   Saito.

10:13:22    4    A   Well, Saito did subgroup analyses using the data from the

10:13:28    5   original population in JELIS which was in total about 18,000

10:13:37    6   subjects.

10:13:37    7               And by creating subgroups which included patients

10:13:41    8   with diabetes, patients with different lipid profiles,

10:13:46    9   patients who were obese, he separately evaluated the

10:13:51   10   effectiveness of EPA to reduce the cardiovascular events as

10:13:57   11   related to those -- to those factors.

10:14:00   12    Q   And what did he conclude in that regard, Dr. Saito?

10:14:05   13    A   He concluded that the group that had mixed dyslipidemia,

10:14:12   14   which was defined as elevated triglycerides and low HDL, was

10:14:18   15   particularly enriched in patients with diabetes, and that

10:14:24   16   group, subgroup, had a risk reduction that was 53 percent and

10:14:30   17   was statistically very significant.

10:14:34   18    Q   Now, in Dr. Ismail's report, he also criticizes the

10:14:40   19   design of the JELIS study, correct?

10:14:42   20    A   Yes.

10:14:43   21    Q   And I believe that's in paragraph 40 of his opening

10:14:46   22   report?

10:14:46   23    A   Yes.

10:14:47   24                   MS. HUTTNER:    Can we see DDX 9.18, please.

10:14:47   25
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10:14:47    1   BY MS. HUTTNER:

10:14:53    2    Q   Did you prepare a slide that summarizes your

10:14:56    3   understanding of Dr. Ismail's issues with the JELIS study?

10:15:00    4    A   Yes, this is the slide.

10:15:01    5    Q   Briefly, if you could just explain what Dr. Ismail's --

10:15:05    6   or your understanding of Dr. Ismail's opinions or criticisms

10:15:09    7   of the JELIS study design.

10:15:10    8    A   Yes, he points out these factors as undercutting the

10:15:15    9   significance of the study, the validity of the study.

10:15:19   10              One, the fact that it was not placebo-controlled

10:15:24   11   was -- was mentioned by him.

10:15:26   12              The other, the Japanese population consumes a higher

10:15:31   13   amount of fish.

10:15:32   14              The third, the Japanese population uses lower doses

10:15:36   15   of statins.

10:15:37   16              And the last one is that JELIS used a lower dose of

10:15:41   17   purified EPA, 1.8 grams per day, than the indication of

10:15:47   18   Vascepa or Lovaza which is 4 grams a day.

10:15:49   19    Q   And did Dr. Mason -- I'm not going to go through the

10:15:53   20   specifics, but did Dr. Mason also express criticism of the

10:15:58   21   JELIS study in his report?

10:16:00   22    A   He did.

10:16:00   23    Q   And were his criticisms substantially along the lines set

10:16:03   24   forth in Dr. Ismail's report?

10:16:05   25    A   Yes, they were.
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10:16:05    1    Q   Do you agree with Dr. Ismail's and Dr. Mason's criticisms

10:16:11    2   of the JELIS study design?

10:16:13    3    A   That these are factors that invalidate JELIS, I do not

10:16:17    4   agree.

10:16:17    5    Q   Are these statements correct that the JELIS was not

10:16:21    6   placebo-controlled, Japanese consumed more fish, and used

10:16:25    7   lower doses of statin, and that the dose was lower in JELIS,

10:16:32    8   those are all true, right?

10:16:33    9    A   Those are all true.

10:16:34   10    Q   Do you regard those as flaws in the design of JELIS?

10:16:37   11    A   No.

10:16:38   12    Q   And do you regard these factors as having any negative

10:16:40   13   impact on the finding in JELIS that EPA resulted in a

10:16:45   14   19 percent risk reduction in patients on stable statin

10:16:49   15   therapy?

10:16:49   16    A   No.

10:16:50   17    Q   And, to your understanding, is there any difference

10:16:53   18   between EPA and Vascepa from a chemical point of view?

10:16:57   19    A   No, they're both highly-purified forms.

10:17:01   20    Q   Now, did you -- as part of your work on this case, did

10:17:03   21   you review certain materials that Amarin submitted to FDA in

10:17:08   22   connection with what's been referred to in these proceedings

10:17:12   23   as a special protocol assessment agreement with FDA?

10:17:16   24    A   I did.

10:17:16   25    Q   And did you also review certain materials that Amarin
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10:17:19    1   submitted to FDA in connection with the FDA's evaluation of

10:17:25    2   whether or not to continue that special protocol assessment

10:17:29    3   agreement?

10:17:29    4    A   I reviewed that.

10:17:30    5    Q   And in connection with Amarin's appeal from their

10:17:33    6   decision to terminate that agreement?

10:17:35    7    A   That as well.

10:17:37    8    Q   And, in your opinion, were the statements that Amarin --

10:17:42    9   let me just ask you the foundation question.        Did those

10:17:45   10   materials discuss the JELIS study?

10:17:47   11    A   They did.

10:17:47   12    Q   And were Amarin's statements to FDA about JELIS in those

10:17:52   13   materials that you reviewed consistent with Dr. Ismail's

10:17:56   14   criticisms of JELIS as set forth in DDX 9.18?

10:18:00   15    A   They were not consistent with his criticisms.

10:18:04   16                    MS. HUTTNER:   Can we go to DX 2106, please.

10:18:09   17   Actually, let's go to DDX 9.19.

10:18:09   18   BY MS. HUTTNER:

10:18:15   19    Q   Okay.   This slide is taken -- the snapshot is taken from

10:18:22   20   DX 2106, which is the transcript from October 16th, 2013

10:18:29   21   meeting of the FDA Advisory Committee that was convened in

10:18:34   22   connection with Amarin's special protocol assessment

10:18:37   23   agreement.   Is this one of the documents you read, sir?

10:18:39   24    A   Yes.

10:18:40   25    Q   And do you rely on it in your report in this case?
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10:18:43    1    A      I do.

10:18:44    2                       MS. HUTTNER:   Your Honor, we would move DX 2106

10:18:47    3   into evidence.

10:18:48    4                       MR. SIPES:   No objection, Your Honor.

10:18:48    5                       THE COURT:   2106 is admitted.

10:18:48    6                              (Defendant's Exhibit 2106 received in
10:18:48                                    evidence.)
10:18:48    7   BY MS. HUTTNER:

10:18:52    8    Q      Okay.    So in the snapshot on the right, you have pulled

10:18:56    9   out some testimony that appears on pages 217 to 219 of DX

10:19:03   10   2106, and let me ask you, who is speaking in this transcript?

10:19:09   11    A      Dr. Eliot Brinton.

10:19:11   12    Q      Who is Dr. Eliot Brinton?

10:19:14   13    A      He's a well-known lipidologist.     I think he's based in

10:19:18   14   Utah.

10:19:18   15    Q      It says -- in the first paragraph he says, "I'm on the

10:19:23   16   REDUCE-IT steering committee and am receiving travel

10:19:30   17   reimbursement from Amarin."

10:19:32   18                   Is it your understanding that Dr. Brinton was one of

10:19:35   19   the people in charge of the REDUCE-IT study?

10:19:38   20    A      Well, the steering committee does oversee the overall

10:19:42   21   study so, yes.

10:19:43   22    Q      And did -- is Dr. Brinton also one of the co-authors of

10:19:50   23   the article that we've seen a few times in this case that

10:19:55   24   Dr. Bhatt published, Dr. Bhatt is the lead author, that was

10:19:58   25   published in the New England Journal of Medicine concerning
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10:20:02    1   the REDUCE-IT study?

10:20:04    2    A   Yes, he is a co-author.

10:20:06    3    Q   Okay.    In this transcript he's testifying why he thinks

10:20:09    4   that -- that the FDA should continue the special protocol

10:20:14    5   agreement, correct?

10:20:14    6    A   Yes.

10:20:15    7    Q   And the first thing he says is, "I think we need to

10:20:18    8   consider more of the data on JELIS."

10:20:22    9                And in the highlighted paragraphs he goes on to say,

10:20:25   10                   "My rationale for approving the expanded

10:20:27   11        indication for Vascepa is basically the clinical

10:20:30   12        trial evidence for JELIS, which is a pure EPA study,

10:20:33   13        therefore very similar to and I think relevant to

10:20:37   14        Vascepa."

10:20:37   15                    And then he goes on, "Does Vascepa actually

10:20:40   16        equal Epadel?     They're both greater than 98 percent

10:20:44   17        pure EPA ethyl ester.      There's no known chemical

10:20:47   18        difference between the two.       So I think that JELIS is

10:20:51   19        very relevant to the question today."

10:20:52   20                    In the last paragraph he says, "Therefore,

10:20:54   21        in my opinion, even though PROBE design open label is

10:20:58   22        potentially problematic, I think that it is much less

10:21:00   23        problematic than it would have been if that had not

10:21:03   24        been the case.     So I think it's important to realize

10:21:06   25        that hard MACE was definitely reduced in this study."
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10:21:10    1                    Is it your understanding -- what is your

10:21:12    2   understanding of what Dr. Brinton is saying here regarding the

10:21:16    3   relationship between JELIS and Vascepa?

10:21:18    4    A   Well, he is saying that the results that were obtained in

10:21:23    5   JELIS should be obtained in the REDUCE-IT study because it's

10:21:29    6   essentially the same compound that's being tested.

10:21:32    7    Q   Did Dr. Brinton in his remarks to the advisory committee

10:21:38    8   discuss -- or did he indicate that he felt that the JELIS

10:21:42    9   study was flawed?

10:21:43   10    A   No.   He's speaking about it in a very positive way, and

10:21:49   11   particularly on the point -- Dr. Ismail's first point about

10:21:52   12   the placebo control.

10:21:54   13              He brings up the -- this issue, although it may not

10:21:58   14   be immediately obvious, particularly to the nonspecialist,

10:22:01   15   when he discusses the PROBE design.

10:22:04   16              So the PROBE design is an established clinical

10:22:09   17   research method which stands for Prospective Randomized Open

10:22:19   18   Labeled Blinded Endpoint design, and what that means is that

10:22:24   19   it simulates actually what happens in his doctor's office.

10:22:28   20              And some people believe actually these are much more

10:22:32   21   relevant to the ultimate application of the findings because

10:22:36   22   patients will be getting the drug in the context of the

10:22:38   23   doctor's office and they clearly know who's getting the drug

10:22:41   24   and who isn't.

10:22:43   25              So the fact that it was open label, which means that
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10:22:46    1   both the treatment group and the nontreatment group knew they

10:22:51    2   were on or off the EPA was not a concern to him because what's

10:22:57    3   most important is the determination of the end points.

10:23:01    4               So the P -- the BE, blinded endpoint, means that the

10:23:06    5   cardiovascular events were what's called adjudicated by

10:23:12    6   experts, they weren't just patient reports, and the experts

10:23:16    7   didn't know whether the event occurred in one group or the

10:23:21    8   other, and so there's no bias in determining what the endpoint

10:23:24    9   is, which is why he uses the word hard MACE, hard major

10:23:32   10   adverse cardiovascular events, because these essentially were

10:23:36   11   certified by experts.

10:23:38   12               So he takes the evidence in JELIS to indicate that

10:23:44   13   by his criteria that these hard end points were definitely

10:23:50   14   reduced in this study which used the same agent as what's

10:23:56   15   being used in REDUCE-IT.

10:23:59   16    Q   Do you agree with just Dr. Brinton's statements about

10:24:03   17   JELIS in his testimony to the FDA?

10:24:05   18    A   Yes.

10:24:05   19    Q   And, by the way, do you know whether Dr. Brinton was

10:24:08   20   under oath?

10:24:09   21    A   Yes, he was.

10:24:12   22    Q   In your opinion, is Dr. Brinton's testimony to FDA about

10:24:18   23   JELIS consistent with Dr. Ismail's opinions in this case?

10:24:22   24    A   Not at all.

10:24:23   25    Q   Let's go to page 47 of this same transcript, DX 2106, and
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10:24:32    1   we're looking DDX 9.20.     Is this another excerpt from the

10:24:37    2   transcript of the advisory committee hearing?

10:24:39    3    A   It is.

10:24:40    4    Q   And who is speaks in this portion of the transcript?

10:24:41    5    A   Dr. Michael Miller.

10:24:42    6    Q   I think, as we've heard, Dr. Miller was a claim

10:24:45    7   construction for Amarin in this case, correct?

10:24:48    8    A   Yes.

10:24:45    9    Q   Claim construction expert for Amarin in this case.

10:24:45   10    A   Yes.

10:24:49   11    Q   Is that your understanding as well?

10:24:50   12    A   Yes.

10:24:51   13    Q   Do you know Dr. Miller?

10:24:52   14    A   I know him through the field.       He's a well-known

10:24:57   15   lipidologist based in Maryland.

10:24:59   16    Q   And what did Dr. Miller tell the FDA Advisory Committee

10:25:04   17   about the design of the JELIS study and results of the JELIS

10:25:07   18   study as they relate to Vascepa?

10:25:10   19    A   Well, if we look in the top left, he's clearly advocating

10:25:16   20   that more attention is paid to the JELIS study in order to

10:25:21   21   support the application that Amarin has made.

10:25:26   22    Q   Are you referring to Dr. Miller's statement that,

10:25:30   23                  "I would like to discuss the JELIS study in

10:25:33   24        some more detail since this is the study that has

10:25:37   25        demonstrated additional cardiovascular benefit of a
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10:25:40    1        therapy added to a statin.      And this study used EPA,

10:25:44    2        the active ingredient used in the ANCHOR study"?

10:25:48    3    A   Yes, and, as we know, the same active ingredient is used

10:25:52    4   in the REDUCE-IT study as well.

10:25:54    5    Q   Just so we have a context here, do you have an

10:25:57    6   understanding what Dr. Miller was referring to here when he

10:26:01    7   used the term ANCHOR study?

10:26:03    8    A   This was a study, not an endpoint study, but this was a

10:26:08    9   lipid efficacy study that was done in patients with -- that

10:26:14   10   were in the high triglyceride groups that had -- were treated

10:26:19   11   with a statin.

10:26:20   12                So this was looking at the combination of a statin

10:26:24   13   and highly-purified EPA on the lipid profile in those

10:26:30   14   patients.

10:26:30   15    Q   The highly-purified EPA that was examined in the ANCHOR

10:26:36   16   study was Vascepa, correct?

10:26:37   17    A   Yes.

10:26:39   18    Q   And the ANCHOR study was an Amarin study?

10:26:41   19    A   Yes, it is, was.

10:26:42   20    Q   And do you have an understanding as to whether there's

10:26:45   21   any connection between the ANCHOR study and REDUCE-IT?

10:26:48   22    A   Yes.    The same type of patients were then studied in

10:26:52   23   REDUCE-IT but now from the perspective of cardiovascular risk

10:26:55   24   reduction.

10:26:56   25    Q   And Dr. Miller also said in this excerpt from the
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10:27:04    1   transcript that,

10:27:04    2                   "While looking at patients with elevated

10:27:06    3           baseline triglyceride levels similar to those seen in

10:27:09    4           ANCHOR, we see an even more pronounced effect."

10:27:13    5                    And he goes on to state, "Dr. Saito found

10:27:15    6           that mixed dyslipidemia patients with triglycerides

10:27:19    7           greater than 150 milligrams per deciliter gained an

10:27:24    8           even greater clinical benefit from the addition of

10:27:26    9           EPA therapy."

10:27:28   10                    Is it your understanding that Dr. Miller is

10:27:30   11   referring in this portion of the transcript to the same Saito

10:27:34   12   article that you discussed in your testimony?

10:27:36   13    A      Yes, it's the same article.

10:27:37   14    Q      And what is he saying about what -- the findings in Saito

10:27:40   15   here?

10:27:40   16    A      Well, that they are very relevant to ANCHOR and then, by

10:27:45   17   extension, to REDUCE-IT because in the patient population of

10:27:48   18   similar characteristics there was a very significant reduction

10:27:55   19   in cardiovascular events.

10:27:58   20                And as we reviewed a few minutes ago, this was a

10:28:02   21   53 percent reduction in that particular group in the JELIS

10:28:05   22   study.

10:28:06   23    Q      And then in the last paragraph, if we can go back to DDX

10:28:10   24   9.20, in the last paragraph that you've excerpted --

10:28:14   25                    MS. HUTTNER:   The whole paragraph, please,
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10:28:16    1   Steven.

10:28:16    2   BY MS. HUTTNER:

10:28:20    3    Q   In the last paragraph of his remarks that you've

10:28:25    4   excerpted in DDX 9.20, Dr. Miller goes on to discuss the Saito

10:28:30    5   study in some more detail, correct?

10:28:32    6    A   Yes.

10:28:32    7    Q   And he says,

10:28:33    8                   "Over 950 dyslipidemic patients who had

10:28:36    9        baseline triglycerides similar to ANCHOR demonstrated

10:28:40   10        a 53 percent reduction in major coronary events over

10:28:44   11        statin therapy alone.      These results suggest that

10:28:48   12        long-term treatment with EPA has a morbidity benefit

10:28:51   13        for patients with elevated triglycerides when

10:28:54   14        combined with statin and diet therapy."

10:28:58   15                    And do you understand him to talking there -- to

10:29:00   16   be suggesting there that the combination of the JELIS and

10:29:03   17   Saito to him means that -- suggests to him that EPA would have

10:29:08   18   a potential benefit in all patients with elevated -- severely

10:29:14   19   elevated triglycerides?

10:29:16   20    A   Yes, he says --

10:29:16   21    Q   I'm sorry, elevated triglycerides.

10:29:19   22    A   With elevated -- yeah, with elevated triglycerides when

10:29:22   23   combined with statin and diet therapy, because refers to EPA,

10:29:27   24   and it's the same EPA in the JELIS as it is in ANCHOR as it is

10:29:31   25   in REDUCE-IT.    So he just attributes this effect to EPA.
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10:29:36    1    Q   Do you agree, by the way, with what Dr. Miller said to

10:29:39    2   FDA about JELIS --

10:29:39    3    A   I do.

10:29:40    4    Q   -- as it relates to Vascepa?

10:29:42    5    A   I do.

10:29:43    6    Q   In your opinion, are Dr. Ismail's opinions about JELIS

10:29:46    7   consistent with Dr. Miller's testimony about JELIS to FDA?

10:29:49    8    A   No.

10:29:52    9                    MS. HUTTNER:   Your Honor, I'm about to move on.

10:29:54   10   I don't know if you want to take the mid morning break now or

10:29:57   11   you want me to continue.

10:29:58   12                    THE COURT:   I think you read my mind.     Let's

10:29:59   13   take our morning break at this time.       Thank you.

10:47:51   14                           (A recess was taken.)

10:47:51   15                    THE COURT:   Please be seated.

10:47:54   16                    MS. HUTTNER:   May I resume, Your Honor?

10:47:56   17                    THE COURT:   Yes.

10:47:58   18                    MS. HUTTNER:   May I have DDX 9.21, please.

10:47:58   19   BY MS. HUTTNER:

10:48:08   20    Q   Dr. Fisher, DDX 9.21 is an excerpt from DX 1836, which is

10:48:16   21   in evidence, and this particular excerpt is from page 81 of DX

10:48:23   22   1836, correct?

10:48:24   23    A   Yes.

10:48:24   24    Q   And this is a part of Amarin's February 2014 dispute

10:48:32   25   resolution request in connection with the -- I'm sorry,
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10:48:40    1   special protocol assessment agreement that Amarin had with

10:48:45    2   FDA?

10:48:45    3    A     Yes.

10:48:46    4    Q     And in this excerpt that you've pulled out, Amarin says,

10:48:51    5                  "Plasma EPA levels that resulted in JELIS

10:48:55    6          from EPA 1.8 grams per day in a Japanese population

10:49:00    7          are approximately equal to the plasma EPA levels

10:49:04    8          observed in the ANCHOR study with 4 grams per day

10:49:07    9          Vascepa in United States-based population."

10:49:12   10                   Does that understanding, to your understanding,

10:49:12   11   pertain to one of the aspects of the JELIS study that

10:49:18   12   Dr. Ismail criticized in his report?

10:49:18   13    A     Yes, it does.

10:49:19   14    Q     Which one does it pertain to, which criticism?

10:49:21   15    A     That the dose was 1.8 grams per day, which is lower than

10:49:27   16   the 4 grams per day of Vascepa in the ANCHOR study.

10:49:32   17    Q     And am I correct in understanding that Dr. Ismail felt

10:49:35   18   that the dose was too low to make the JELIS comparable or

10:49:39   19   predictive of the outcomes of the REDUCE-IT study?

10:49:42   20    A     Yes.

10:49:42   21    Q     And in this statement Amarin goes on to say,

10:49:48   22                  "Furthermore, there is a precedent set by the

10:49:52   23          ACC/AHA for applying results from an exclusively

10:49:55   24          Japanese population to a United States-based

10:49:57   25          population," and goes on to conclude, "These points
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10:50:01    1           strongly support the consideration of JELIS study

10:50:05    2           results in evaluating the potential CV benefits of

10:50:10    3           Vascepa therapy."

10:50:11    4                    The second sentence there that talks about the

10:50:14    5   precedent set by the ACC and AHA for applying the results of a

10:50:17    6   study exclusively conducted in Japanese patients, does that

10:50:21    7   relate to another of Dr. Ismail's criticisms of JELIS?

10:50:27    8    A      Yes, it does.

10:50:28    9    Q      And that criticisms was that you can't extrapolate from

10:50:32   10   the results of -- in a 100 percent Japanese population to what

10:50:33   11   results you'd get in a western population?

10:50:34   12    A      Right, that was his implication.

10:50:36   13    Q      And is Amarin -- in this statement to FDA is Amarin

10:50:39   14   agreeing with Dr. Ismail's opinion?

10:50:42   15    A      They are not.

10:50:43   16    Q      Can you explain why you say that.

10:50:45   17    A      Well, for the first criticism about the dose, what they

10:50:51   18   point out is that the achieved levels in the plasma or the

10:50:56   19   blood are actually the same in the JELIS study and the ANCHOR

10:50:59   20   study, and that, of course, is the effective concentration of

10:51:05   21   the compound that the cells in the body will see.

10:51:07   22                So on the basis of what the exposure of the cells is

10:51:12   23   in either study to highly-purified EPA, they are nearly the

10:51:19   24   same.

10:51:20   25                The second point, I think we'll talk about that
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10:51:24    1   study soon, so-called MEGA study, this was a study that was

10:51:35    2   looking at a primary prevention strategy in the Japanese

10:51:42    3   population that turned out to be one of only three studies

10:51:47    4   that were used by the ACC and AHA, and that stands for the

10:51:53    5   American College of Cardiology and American Heart Association,

10:51:57    6   two extremely influential organizations.

10:52:01    7               So that was taken as evidence for their

10:52:06    8   recommendations in the U.S. population.       So, in other words,

10:52:10    9   the results in that study done in Japan were judged by the ACC

10:52:16   10   and AHA to be relevant to the United States population.

10:52:21   11    Q   And do you agree with Amarin's statements in -- that are

10:52:26   12   called out in DDX 9.21, do you agree with what Amarin was

10:52:31   13   telling FDA about the JELIS study?

10:52:33   14    A   Yes, these are statements of fact.

10:52:35   15    Q   All right.     Let me direct your attention to page 73 of

10:52:44   16   the same document, and that is DDX 9.23.

10:52:51   17    A   Yes.

10:52:52   18    Q   We need to put it up on the screen first.

10:52:57   19               Okay.   This is the excerpt from page 73 of DX 1836?

10:53:04   20    A   Yes.

10:53:04   21    Q   And in this same document, what is Amarin discussing with

10:53:12   22   FDA in this snapshot?

10:53:14   23    A   This is on the point of the dose of the statin that was

10:53:23   24   used in JELIS, that it was relevant to an appropriate --

10:53:30   25   relevant to the, again, studies in the U.S. and was
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10:53:35    1   appropriate.

10:53:38    2    Q   Do these comments relate to Dr. Ismail's criticism that

10:53:42    3   the statin dose used in JELIS was too low?

10:53:45    4    A   Yes.

10:53:46    5    Q   And can you explain, I see the -- in the second paragraph

10:53:49    6   it says -- it refers to the MEGA trial; is that right?

10:53:53    7    A   Yes.

10:53:54    8    Q   That's the same study you discussed a moment ago?

10:53:57    9    A   Yes.

10:53:57   10    Q   Amarin concludes in this statement,

10:53:59   11                  "Taken together, these points demonstrate

10:54:02   12        that the JELIS patients were on a dose of pravastatin

10:54:05   13        that is recognized as adequate to treat LDL-C

10:54:08   14        according to contemporary Japanese- and United

10:54:11   15        States-based guidelines."

10:54:12   16                   Is that statement accurate?

10:54:18   17    A   Yes, it is.

10:54:18   18    Q   Do Amarin's comments to FDA in this document about the

10:54:22   19   adequacy of the statin dose in the JELIS trial, are they

10:54:26   20   consistent with Dr. Ismail's opinions in this case?

10:54:29   21    A   They are not.

10:54:30   22    Q   And can you explain Amarin's reference to the Japanese-

10:54:37   23   and United States-based guidelines, do you have an

10:54:40   24   understanding what they're referring to there?

10:54:44   25    A   Yes.   The first part is essentially acknowledging that
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10:54:49    1   JELIS followed the guidelines that were in place by the

10:54:55    2   authoritative organization, the Japanese Atherosclerosis

10:54:59    3   Society.

10:55:00    4               And the second part is that the guidelines that were

10:55:07    5   in effect in Japan that influenced the design of the MEGA

10:55:13    6   trial, were found -- the results of that trial were found

10:55:19    7   relevant to primary prevention guidelines that the ACC and AHA

10:55:28    8   formulated.

10:55:29    9               So that's why it's taken together, that the

10:55:32   10   guidelines that were followed in Japan were adjudged to be

10:55:38   11   relevant to not only the U.S. population, but formed the basis

10:55:43   12   for guidelines in the U.S., which meant that the dose of the

10:55:50   13   pravastatin was recognized as adequate or appropriate to treat

10:55:54   14   LDL cholesterol according to contemporary Japanese- and

10:55:59   15   U.S.-based guidelines.

10:55:59   16    Q   And, in your opinion, were the patients enrolled in the

10:56:02   17   JELIS study on stable statin therapy?

10:56:05   18    A   Yes, they were.

10:56:06   19    Q   Now, FDA -- or do you understand that FDA eventually

10:56:10   20   rejected -- that rescinded the special protocol assessment

10:56:14   21   agreement, and there was an appeal by Amarin which was

10:56:17   22   ultimately lost?

10:56:18   23    A   Yes, I understand that.

10:56:19   24    Q   And that happened in about 2013; is that correct?

10:56:23   25    A   Yes.
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10:56:23    1    Q      In that time frame?

10:56:24    2                Have you seen any statements by any of Amarin's

10:56:27    3   experts in this case about JELIS since Amarin lost their

10:56:31    4   appeal of the FDA's -- of the special protocol assessment

10:56:35    5   agreement?

10:56:35    6    A      I have seen it.

10:56:38    7                     MS. HUTTNER:   Can I have DDX -- I'm sorry, DDX

10:56:38    8   9.25.

10:56:38    9   BY MS. HUTTNER:

10:56:45   10    Q      DDX 9.25 is an excerpt from DX 12 -- I'm sorry, DX 2139,

10:56:57   11   and I want to identify DX 2139.      What is DX 2139?

10:57:04   12    A      This is a transcript of a meeting that was organized by a

10:57:12   13   company called Slingshot in which they invite experts, opinion

10:57:20   14   leaders in different areas, to interact with investors.

10:57:22   15    Q      And is this one of the documents -- DX 2139, is this one

10:57:27   16   the documents that you relied on in your expert report?

10:57:30   17    A      It is.

10:57:31   18    Q      And you've reviewed this document?

10:57:32   19    A      I have.

10:57:34   20                     MS. HUTTNER:   Your Honor, we would move DX 2139

10:57:36   21   into evidence.

10:57:37   22                     MR. SIPES:   No objection, Your Honor.

10:57:39   23                     THE COURT:   DX 2139 is admitted.

10:57:39   24                             (Defendant's Exhibit 2139 received in
10:57:39                                   evidence.)
10:57:39   25
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10:57:39    1   BY MS. HUTTNER:

10:57:44    2    Q   Now, in this particular interview, the interviewee was

10:57:48    3   Dr. Matthew Budoff, correct?

10:57:48    4    A   Yes, it is.

10:57:49    5    Q   And that's the same Dr. Budoff has testified earlier

10:57:52    6   these proceedings?

10:57:52    7    A   Yes.

10:57:53    8    Q   And the call leader asks Dr. Budoff, he says,

10:57:57    9                  "I think you had mentioned early in the call

10:58:00   10        a Japanese outcome study.      I can read a little bit

10:58:04   11        about it.    Let's see, it was a low-density

10:58:06   12        prescription pure EPA added to statin therapies has

10:58:11   13        been shown to produce cardiovascular event reduction

10:58:14   14        with moderately elevated triglycerides by 19 percent

10:58:18   15        in the overall population and 53 percent in the

10:58:21   16        subgroup in patients similar to the population of

10:58:25   17        REDUCE-IT.    So I was just wondering, is that

10:58:27   18        something that influences your thinking on

10:58:28   19        REDUCE-IT?"

10:58:29   20                    And just -- then he goes on to say, "I was

10:58:33   21        just wondering on if you had any view on what the

10:58:37   22        Japanese study means."

10:58:39   23                    Do you recall the call leader there to be

10:58:44   24   referring to the JELIS study?

10:58:44   25    A   Yes, he is.
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10:58:45    1    Q   And Dr. Budoff in response to the question asking for his

10:58:48    2   views on how the JELIS study relates to REDUCE-IT says,

10:58:51    3                   "Yeah, absolutely.   No, I'm not expecting 53

10:58:54    4        percent.    But I do think that there's likelihood of

10:58:57    5        the trial being more positive somewhat on that

10:58:59    6        analysis."

10:59:02    7                    What -- what is your -- based on your review of

10:59:06    8   this article, is it your impression that Dr. Budoff believed

10:59:12    9   in 2017 -- by the way, 2017 -- this interview took place

10:59:16   10   before the results of REDUCE-IT were announced, correct?

10:59:18   11    A   Yeah, two years before.

10:59:19   12    Q   Okay.    And what is your understanding of what Dr. Budoff

10:59:22   13   was saying here insofar as what emphasis he felt should be

10:59:28   14   placed on the JELIS study in relation to the expected outcome

10:59:33   15   of REDUCE-IT?

10:59:33   16    A   He felt that the results were quite positive, and he

10:59:38   17   would expect a positive result in REDUCE-IT.

10:59:42   18                But, of course, until he had the actual numbers, he

10:59:45   19   couldn't predict whether it was going to be 53 percent or some

10:59:49   20   other number, but it would be a positive study based on the

10:59:53   21   success of the -- in the patient subgroup that most resembled

10:59:58   22   the REDUCE-IT population.

10:59:59   23    Q   And Dr. Budoff was not only an expert witness here, but

11:00:03   24   he was actually involved in the REDUCE-IT trial, was he not?

11:00:05   25    A   Yes.
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11:00:06    1    Q   Now, Dr. Budoff gave a second interview to Slingshot

11:00:14    2   Insights in 2018, correct?

11:00:16    3    A   Yes.

11:00:16    4    Q   And that interview took place on July 17th, 2018?

11:00:21    5    A   Uh --

11:00:23    6    Q   We can look.

11:00:24    7    A   Yeah, I have to look at the date of the transcript.

11:00:28    8                    MS. HUTTNER:   Okay.   Could we have DDX 9.37,

11:00:32    9   please.

11:00:32   10   BY MS. HUTTNER:

11:00:33   11    Q   Okay, and, again, let's identify for the record, DX 2140

11:00:38   12   is a copy of a second Slingshot interview from July 17th,

11:00:46   13   2018, that you relied on in your expert report?

11:00:48   14    A   Yes.

11:00:48   15    Q   And you've reviewed that article?

11:00:50   16    A   I have.

11:00:51   17                    MS. HUTTNER:   Your Honor, we would move DX 2140

11:00:54   18   into evidence.

11:00:55   19                    MR. SIPES:   No objection, Your Honor.

11:00:56   20                    THE COURT:   2140 is admitted.

11:00:56   21                           (Defendant's Exhibit 2140 received in
11:00:56                                 evidence.)
11:00:56   22   BY MS. HUTTNER:

11:01:00   23    Q   Okay.   Now, in this transcript which is -- it's about

11:01:04   24   almost a year later after the first interview, right?

11:01:08   25    A   Yes.
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11:01:08    1    Q   At this point in time, in July of 2018, we still had no

11:01:11    2   results publically announced yet from REDUCE-IT yet, correct?

11:01:15    3    A   It was still a year off, yes.

11:01:16    4    Q   And it was a blinded study so Dr. Budoff wouldn't have

11:01:19    5   access to the data from the REDUCE-IT study, correct?

11:01:23    6    A   Correct.

11:01:23    7    Q   So in this interview, in the snapshot, which is from

11:01:29    8   page 15 of DX 2140, the call leader says,

11:01:34    9                   "If you had to put odds on this coming out as

11:01:36   10        a win for Vascepa and the REDUCE-IT study, a

11:01:39   11        statistically significant, clinically meaningful risk

11:01:43   12        reduction, zero to 100 percent, what sort of odds of

11:01:47   13        success would you give this study?"

11:01:49   14                   How did Dr. Budoff respond to that question?

11:01:52   15    A   He said he'd give it about 85 percent.

11:01:55   16    Q   And, in your experience, is that a robust prediction when

11:01:59   17   you're talking about clinical trials?

11:02:00   18    A   Well, we're in Reno, Nevada.       If someone gave me an

11:02:05   19   85 percent prediction, I would go across to the casino very

11:02:08   20   quickly.   So, yes, to be more formal, this is a very high

11:02:12   21   degree of optimism.

11:02:15   22                    MS. HUTTNER:   If we can go now to PX 272, which

11:02:22   23   is -- actually, let's go to DDX 9.24.

11:02:22   24   BY MS. HUTTNER:

11:02:28   25    Q   Okay.   Now, on the left in DDX 9.24 is a picture of the
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11:02:33    1   front page from PX 272 which is in evidence.        Do you recognize

11:02:39    2   that as the Bhatt article this was published in 2019

11:02:42    3   announcing the findings in the REDUCE-IT study?

11:02:46    4    A   I do.

11:02:46    5    Q   And you read that article?

11:02:48    6    A   I did.

11:02:48    7    Q   And in this excerpt that is in the snapshot, is Dr. Bhatt

11:02:54    8   discussing the JELIS article?

11:02:55    9    A   He is.

11:02:56   10    Q   And Dr. Bhatt -- by the way, what was his role in

11:03:00   11   relation so REDUCE-IT as far as you're aware?

11:03:02   12    A   He was the study leader.

11:03:04   13    Q   And what does -- what does Dr. Bhatt -- what does

11:03:09   14   Dr. Bhatt say in this New England Journal of Medicine article

11:03:15   15   about the JELIS study in relation to REDUCE-IT?

11:03:19   16    A   Well, first, he emphasizes its, we'll say, credibility

11:03:23   17   because he says,

11:03:24   18                  "JELIS...showed that the risk of the ischemic

11:03:28   19        events was significantly lower in the group that

11:03:30   20        received the combination treatment than in the group

11:03:34   21        that received statin therapy alone."

11:03:37   22                   Then he goes on to compare JELIS to REDUCE-IT

11:03:45   23   and basically implying that REDUCE-IT confirms the results in

11:03:52   24   the previous study.

11:03:54   25                   And one reason for this, as we discussed a few
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11:03:58    1   minutes ago, is that the similarity in the blood levels of

11:04:03    2   EPA, they were essentially the same in JELIS as they are in

11:04:11    3   the ANCHOR study, as well as what was achieved in the

11:04:16    4   REDUCE-IT study.

11:04:17    5    Q      In your opinion, are Dr. Bhatt's statements about JELIS

11:04:21    6   in PX 272 consistent with Dr. Ismail's criticism of JELIS in

11:04:28    7   his report?

11:04:28    8    A      No.

11:04:30    9                     MS. HUTTNER:   All right.   Let's go back to

11:04:33   10   DDX 9.116.     We've seen this slide a couple times before.

11:04:33   11   BY MS. HUTTNER:

11:04:38   12    Q      This is the summary of Dr. Ismail's opinions in this

11:04:42   13   case.    And I want to talk now about Dr. Ismail's opinion that

11:04:48   14   the results in REDUCE-IT were unexpected because other

11:04:53   15   clinical trials in diabetics involving triglyceride-lowering

11:04:57   16   agents had failed to show a cardiac benefit.

11:05:02   17                 First of all, do you agree with Dr. Ismail that the

11:05:06   18   results of the REDUCE-IT study were unexpected?

11:05:10   19    A      No, I do not agree.

11:05:11   20    Q      I'm sorry.   And -- would you agree with Dr. Ismail that

11:05:15   21   the failure, as he calls it, of other cardiac outcome studies

11:05:22   22   involving triglyceride-lowering agents was a basis upon which

11:05:27   23   one would project that the REDUCE-IT study would fail?

11:05:31   24    A      No, I don't agree with that either.

11:05:33   25    Q      All right.   Now, the studies -- what are the studies, the
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11:05:38    1   prior studies, that Dr. Ismail characterizes as a failure?

11:05:42    2    A   There were four.     One is ACCORD, the other one is FIELD,

11:05:48    3   there's ASCEND, and there's ORIGIN.

11:05:52    4    Q   Okay.    Now, let's talk first about the ACCORD trial.

11:05:57    5   First of all, what was the ACCORD trial looking at?

11:06:00    6    A   First -- all those trials I just mentioned were done in

11:06:04    7   diabetics just so I don't keep repeating that.

11:06:07    8                The ACCORD trial was looking at the benefit of using

11:06:12    9   a fenofibrate to reduce the risk of cardiovascular events in a

11:06:20   10   diabetic population.

11:06:22   11    Q   And was that in combination with a statin?

11:06:24   12    A   Yes, there was statin use as well.

11:06:27   13    Q   What was the dose used in the ACCORD study?

11:06:30   14    A   The dose --

11:06:31   15    Q   I'm sorry, you said it was fenofibrate study?

11:06:35   16    A   Yes.

11:06:36   17    Q   I'll withdraw the question.

11:06:37   18                Did Amarin discuss the ACCORD trial in any of its

11:06:41   19   submissions to FDA relating to the special protocol assessment

11:06:45   20   agreement?

11:06:46   21    A   It did.

11:06:56   22                    MS. HUTTNER:   Can we go back to DX 1836, and can

11:07:00   23   you pull up DDX 9.27, Mr. Gross.

11:07:00   24   BY MS. HUTTNER:

11:07:02   25    Q   DX 1836 is in evidence, and this is from page 44 of that
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11:07:06    1   exhibit, correct?

11:07:06    2    A   Yes.

11:07:07    3    Q   And the snapshot on the screen are Amarin's comments

11:07:15    4   about the ACCORD study to FDA, correct?

11:07:19    5    A   Yes.

11:07:19    6    Q   What did Amarin tell FDA about the ACCORD study as far as

11:07:24    7   whether it was relevant to their consideration of a cardiac

11:07:29    8   indication for Vascepa?

11:07:30    9    A   It's a little complicated, as we'll go through, but

11:07:33   10   basically Amarin is telling the FDA that there are certain

11:07:38   11   features of the ACCORD study that made it not very relevant to

11:07:46   12   REDUCE-IT.

11:07:47   13    Q   Okay.   And in this snapshot, Amarin says,

11:07:53   14                  "There are two unusual design components of

11:07:56   15        the Accord lipid protocol that minimize the relevance

11:07:58   16        of this study and are relevant to this discussion."

11:08:00   17                   And it goes on in the next sentence to talk

11:08:03   18   about the ACCORD study, right?

11:08:08   19    A   Yes.

11:08:08   20    Q   And it says there that the.

11:08:11   21                  "...open-label simvastatin therapy was

11:08:14   22        initiated at randomization (baseline) and 40 percent

11:08:18   23        of patients were statin-naive at baseline."

11:08:23   24                   In simple terms, what is Amarin saying there.

11:08:25   25    A   Well, the difference between ACCORD and, say, ANCHOR or
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11:08:29    1   REDUCE-IT, is that the patients before the study actually

11:08:33    2   began with the EPA, there was a stabilized use of the statin.

11:08:38    3              Here, they point out that the simvastatin use was

11:08:44    4   initiated at randomization, but that 40 percent of the

11:08:52    5   patients were statin-naive at baseline, and then, as the study

11:08:56    6   progressed, there were more people who became statin treated.

11:09:00    7   So it was a bit of a moving target, so to speak.

11:09:04    8              So they -- they don't have comparable statin

11:09:07    9   stabilized values at baseline in the ACCORD study.

11:09:12   10                   THE COURT:   Might I interject for moment?

11:09:16   11                   Dr. Fisher, does statin-naive at baseline mean

11:09:17   12   they were not on statin at baseline?

11:09:21   13                   THE WITNESS:    Yes, that's what that means.

11:09:21   14   BY MS. HUTTNER:

11:09:24   15    Q   Amarin goes on in this same excerpt, and I'm focusing now

11:09:31   16   on the next highlighted portion, to say,

11:09:34   17                  "In fact, statin-treated (placebo)

11:09:36   18        triglycerides levels at four months dropped to

11:09:39   19        approximately 150 milligrams per deciliter and

11:09:42   20        continued to drop" -- I'm sorry, "and continued to

11:09:45   21        drop over the course of the study, meaning even fewer

11:09:47   22        patients had triglycerides levels above normal and

11:09:50   23        further minimizing the relevance of this study in

11:09:53   24        establishing the CV benefit of TG-lowering in

11:09:56   25        patients with persistent hypertriglyceridemia despite
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11:09:59    1        statin therapy."

11:10:01    2                   And then in the last sentence Amarin says,

11:10:03    3        "In light of there being no baseline

11:10:05    4        statin-stabilized triglycerides levels for this

11:10:08    5        study, it is difficult to understand how DMEP

11:10:11    6        justifies using it to establish a lack of CV benefit

11:10:14    7        to TG-lowering in statin-treated patients with

11:10:17    8        persistent hypertriglyceridemia."

11:10:20    9                   In reference to that statement, what -- what

11:10:24   10   is -- what is the gist of Amarin is saying here about

11:10:28   11   triglyceride levels in the ACCORD study as compared to the

11:10:33   12   REDUCE-IT study?

11:10:34   13    A   Right.    Well, in the placebo or control group, there were

11:10:39   14   fewer and fewer subjects who had hypertriglyceridemia, so you

11:10:44   15   couldn't really compare the effects of the treatment with

11:10:49   16   regard to the effects on triglyceride levels because, as he

11:10:54   17   points out, that they were -- there was a continued drop over

11:11:00   18   the course of the study in the triglyceride levels.

11:11:03   19    Q   So based on those triglyceride levels in the ACCORD

11:11:07   20   study, would you be anticipating cardiac risk?

11:11:11   21    A   It would be hard to establish it.       I agree with the --

11:11:15   22   with the Amarin statement that given these considerations, it

11:11:21   23   would be hard to establish a lack of CV benefit to TG-lowering

11:11:27   24   in statin-treated patients.

11:11:29   25    Q   In the last sentence where Amarin says to FDA,
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11:11:33    1                  "It's difficult to understand how DMEP

11:11:36    2        justifies using the ACCORD study to establish a lack

11:11:39    3        of CV benefit to TG-lowering in statin-treated

11:11:43    4        patients,"

11:11:44    5   the DMEP, do you know what that's referring to there?

11:11:47    6    A   That's the division they were on, the advisory documents,

11:11:50    7   committee documents, that's the Division of the FDA that

11:11:54    8   oversees endocrinology metabolism agents.

11:12:01    9                   MS. HUTTNER:    Now, if we can go to DDX 9.28.

11:12:01   10   BY MS. HUTTNER:

11:12:07   11    Q   This is an excerpt from the same exhibit we've been

11:12:10   12   talking about, is that correct, DX 1836?

11:12:13   13    A   Yes.

11:12:14   14    Q   And this particular excerpt is from page 45 of that

11:12:17   15   document?

11:12:18   16    A   Yes.

11:12:18   17    Q   Is that correct?

11:12:19   18               In this snapshot Amarin says, "A prespecified" --

11:12:25   19   well, let me ask you this.      This is still talking about the

11:12:28   20   ACCORD study here, right?

11:12:31   21    A   Yes, this is the ACCORD study.

11:12:33   22    Q   In this particular snapshot Amarin says,

11:12:35   23                  "A prespecified subgroup analysis of subjects

11:12:38   24        with both high baseline triglycerides, greater than,

11:12:41   25        204 and low baseline HDL-C, less than or equal to 34,
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11:12:47    1         suggested a benefit to fenofibrate therapy in this

11:12:50    2         subgroup with a 31 percent reduction in the primary

11:12:54    3         endpoint (P equals 0.057 for the interaction)."

11:13:00    4                    The subgroup here, this is a subgroup from the

11:13:05    5   ACCORD study, correct?

11:13:06    6    A    Yes.

11:13:06    7    Q    And why was Amarin focusing the FDA on the fact that the

11:13:12    8   subgroup that's described in the statement in the ACCORD study

11:13:15    9   actually showed a positive cardiac benefit from treatment with

11:13:23   10   fenofibrate and statin?

11:13:24   11    A    Because these were the lipid levels that were included in

11:13:27   12   the patients in the ANCHOR and REDUCE-IT study.         So this most

11:13:36   13   resembled the patients within the ACCORD study that had this

11:13:41   14   lipid profile that demonstrated the benefit of fenofibrate

11:13:49   15   therapy.     Their characteristics resembled patients in the

11:13:53   16   ANCHOR and REDUCE-IT study.

11:13:55   17    Q    And did you compare the lipid profile of the ACCORD

11:13:58   18   subgroup that Amarin mentions in this statement to the lipid

11:14:02   19   profile in patients reviewed in the REDUCE-IT study?

11:14:04   20    A    Yes, I did.

11:14:05   21                    MS. HUTTNER:   Can I show you DDX 9.84, please.

11:14:05   22   BY MS. HUTTNER:

11:14:09   23    Q    Is this the comparison you made?

11:14:11   24    A    Yes.

11:14:11   25    Q    And what did -- how do they compare, the ACCORD subgroup
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11:14:16    1   that Amarin was focusing on and the REDUCE-IT population?

11:14:20    2    A    So, we've already gone over the ACCORD subgroup data, but

11:14:26    3   we then go to the right column and look at the comparable

11:14:29    4   values for triglycerides and HDL cholesterol, and we see that

11:14:34    5   these patients in the ACCORD subgroup would be accommodated in

11:14:38    6   the REDUCE-IT population as well.       They would be included in

11:14:40    7   the REDUCE-IT population.

11:14:42    8    Q    In your opinion, Dr. Fisher, were Amarin's arguments to

11:14:46    9   FDA about the ACCORD study consistent with Dr. Ismail's

11:14:51   10   suggestion that based on the failure of that study to show

11:14:55   11   overall cardiac benefit that one would not have predicted the

11:14:59   12   outcome in REDUCE-IT?

11:15:00   13    A    No, they are not consistent with Dr. Ismail's statement.

11:15:04   14    Q    Okay.   Let's move on to the ASCEND study which is another

11:15:08   15   study Dr. Ismail characterized as a failure.         First of all,

11:15:11   16   what was the ASCEND study?

11:15:13   17    A    That was another study in diabetics, in this case,

11:15:18   18   looking at two treatments, either single or in combination,

11:15:26   19   low-dose aspirin versus low-dose or 1 gram of Lovaza on

11:15:33   20   cardiovascular endpoints.

11:15:35   21    Q    And have you seen any public discussion by Amarin about

11:15:39   22   the ASCEND study?

11:15:41   23    A    Yes, I have.

11:15:42   24                   MS. HUTTNER:    Can we have DDX 9.94, please.

11:15:42   25
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11:15:42    1   BY MS. HUTTNER:

11:15:49    2    Q      Okay.    And, again, just for the record in the background

11:15:51    3   is the source document which is DX 2142, and the snapshots are

11:15:56    4   taken from pages 1 and 2 of that document.

11:15:59    5                   Focusing on DX 2142, is this one of the documents

11:16:03    6   that you relied on in your expert report?

11:16:05    7    A      It is.

11:16:05    8    Q      And did you obtain this document from Amarin's website?

11:16:09    9    A      Yes.

11:16:11   10                       MS. HUTTNER:   Your Honor, we would move DX 2142

11:16:14   11   into evidence.

11:16:15   12                       MR. SIPES:   No objection, Your Honor.

11:16:15   13                       THE COURT:   2142 is admitted.

11:16:15   14                              (Defendant's Exhibit 2142 received in
11:16:15                                    evidence.)
11:16:15   15   BY MS. HUTTNER:

11:16:20   16    Q      Okay.    Now, in DDX 9.94 you have a couple of statements

11:16:24   17   that you've pulled out of this Web publication, and just in

11:16:28   18   general, what was Amarin talking about here?

11:16:31   19    A      Well, the differences between ASCEND and REDUCE-IT that

11:16:38   20   would essentially make the result of the ASCEND trial not

11:16:48   21   relevant to the REDUCE-IT study.

11:16:53   22    Q      All right.    In the second call-out on DDX 9.94, Amarin

11:16:59   23   says,

11:16:59   24                      "Amarin believes that these differences in

11:17:01   25           study drug, design, and execution clearly
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11:17:06    1         differentiate REDUCE-IT from the ASCEND clinical

11:17:09    2         trial," correct?

11:17:11    3    A    That is correct.

11:17:11    4    Q    And the differences that they're talking about in study

11:17:16    5   drug, design, and execution, does DX 2142 say what those

11:17:23    6   differences are?

11:17:23    7    A    Yes, they do.

11:17:25    8                   MS. HUTTNER:    And, actually, if we can just call

11:17:27    9   up DDX 9.29, please.

11:17:27   10   BY MS. HUTTNER:

11:17:32   11    Q    This chart is a chart that was part of DX 2142 at page 2?

11:17:40   12    A    Yes.

11:17:41   13    Q    So in other words this -- the chart in DDX 9.29 is

11:17:46   14   something you took from DX 2142 without the highlighting,

11:17:51   15   right?

11:17:51   16    A    Yes.

11:17:51   17    Q    Okay.   And what is the purpose of this chart?        What is

11:17:55   18   Amarin showing here?

11:17:56   19    A    The differences between the two studies, which would

11:17:59   20   argue that the failure in ASCEND to achieve a positive

11:18:05   21   endpoint is not relevant, would not be predictive of what's

11:18:09   22   going on with the REDUCE-IT trial.

11:18:12   23    Q    And what were the differences that they focused on?

11:18:14   24    A    Well, so highlighted we see the patient populations are

11:18:18   25   different in REDUCE-IT.      They're statin-treated so they have
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11:18:22    1   to be statin-treated.

11:18:24    2               And they have high CV risk, a high percentage were

11:18:28    3   in the secondary prevention group.       That means they already

11:18:32    4   had documented cardiovascular disease, and their triglycerides

11:18:36    5   were in the high range, 150 to 499.

11:18:39    6               In the ASCEND, the patients had diabetes without

11:18:43    7   evidence of cardiovascular disease, and then, in terms of

11:18:47    8   statin-therapy, as I mentioned already, but just to repeat,

11:18:53    9   that statin use was mandated for all patients, and in the

11:18:56   10   ASCEND statin use was not mandated.

11:18:59   11               And the results, again, the difference between hard

11:19:03   12   and soft endpoints in REDUCE-IT, these are hard endpoints that

11:19:08   13   are monitored and adjudicated by experts, where in the ASCEND

11:19:12   14   study, the events were self-reported by questionnaires that

11:19:18   15   the patients filled out.

11:19:20   16    Q    And we don't have it highlighted, but is there a

11:19:23   17   difference in the doses of fish oil products that were used in

11:19:27   18   those two studies?

11:19:28   19    A    Yes, in the REDUCE-IT it's Vascepa pure EPA of 4 grams

11:19:32   20   per day, and there are two notable differences in ASCEND, it's

11:19:36   21   not only a mixture of EPA and DHA, of Omacor which then became

11:19:42   22   the name Lovaza, Lovaisa, Lovaza, and that was at 1 gram a day

11:19:49   23   as opposed to 4 grams a day.

11:19:52   24    Q    And is there another portion --

11:19:54   25                   MS. HUTTNER:    Let's go to DDX 9.93.
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                                                                                    1023



11:19:54    1   BY MS. HUTTNER:

11:19:59    2    Q    This again is from an excerpt from the Web publication

11:20:04    3   DX 2142?

11:20:06    4    A    Yes.

11:20:06    5    Q    From Amarin's website?

11:20:08    6    A    Yes.

11:20:08    7    Q    In this snapshot on DDX 9.93, Amarin says,

11:20:13    8                  "As the article published in JAMA titled

11:20:16    9         'Associations of omega-3 Fatty Acids Supplement Use

11:20:22   10         With Cardiovascular Disease Risks Reported,' most of

11:20:25   11         the studies included in this meta-analysis concerned

11:20:28   12         mixed EPA and DHA omega-3 products administered daily

11:20:34   13         at a low dose and were not positive.       The only trial

11:20:37   14         conducted were a different drug and dose level was

11:20:37   15         the JELIS trial which showed a statistically

11:20:40   16         significant positive result."

11:20:43   17                   Can you just explain what the JAMA article that

11:20:47   18   Amarin is referring to here?

11:20:50   19    A    Well, a meta-analysis -- meta-analysis means that in this

11:20:56   20   article a number of studies were analyzed to see what the

11:21:03   21   general pattern of results would be so that -- no single study

11:21:09   22   is necessarily definitive, so frequently meta-analysis experts

11:21:15   23   will take a step back and take into account the results from a

11:21:20   24   variety of studies.

11:21:22   25    Q    Okay.   And what was -- what point do you understand
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                                                                                    1024



11:21:25    1   Amarin to be making in this snapshot?

11:21:28    2    A    So that when there's a meta-analysis of studies in which

11:21:31    3   mixed EPA and DHA omega-3 products were given at a low dose,

11:21:41    4   as we just went over in ASCEND, they were not positive.

11:21:47    5                And then drawing a sharp distinction between those

11:21:51    6   studies and the only trial conducted with a different drug and

11:21:57    7   dose level was the JELIS trial which showed a statistically

11:22:00    8   significant positive result.

11:22:01    9                And they point out that this was the trial in which

11:22:05   10   pure EPA was used and which resulted in a demonstrated

11:22:11   11   relative risk reduction of 19 percent on top of statin therapy

11:22:17   12   compared to statin therapy alone.

11:22:19   13    Q    In your opinion, Dr. Fisher, were Amarin's remarks on its

11:22:23   14   website about the ASCEND trial consistent with Dr. Ismail's

11:22:29   15   suggestion that because the ASCEND trial was not -- was -- did

11:22:33   16   not show a positive result, that therefore that persons of

11:22:41   17   ordinary skill in the art would also expect the REDUCE-IT

11:22:43   18   study to fail?

11:22:44   19    A    No, this is not consistent with Dr. Ismail's criticism.

11:22:50   20    Q    Let's move on to the FIELD study, which is another one of

11:22:56   21   the studies that Dr. Ismail characterizes as a failed study in

11:23:01   22   his report, correct?

11:23:02   23    A    Yes.

11:23:03   24                    MS. HUTTNER:   Let's have DDX 9.31.

11:23:03   25
           Case 2:16-cv-02525-MMD-NJK Document 368 Filed 02/05/20 Page 107 of 347
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11:23:03    1   BY MS. HUTTNER:

11:23:09    2    Q    Okay.    And on DDX 9.31, on the left, we have the

11:23:14    3   underlying source document which is DX 2126, and on the right

11:23:22    4   we have an excerpt from page 9 from DX 2126.         So let's start

11:23:29    5   with DX 2126, and can you identify that exhibit for the

11:23:33    6   record, sir?

11:23:34    7    A    Yes.    This is an article after both the ACCORD and FIELD

11:23:41    8   studies were reported looking at the implications of those

11:23:46    9   studies for the treatment of dyslipidemia in Type 2 diabetes

11:23:54   10   mellitus.

11:23:54   11    Q    Okay.    And on left-hand side of DX 2121 there's name,

11:23:59   12   Marshall Elam.    Is he is the lead author of this article?

11:24:07   13    A    Yes, he's the first author.

11:24:07   14    Q    Okay.    Now, in this article -- the article is called the

11:24:10   15   ACCORD Lipid Only, and it goes with a few more words I can't

11:24:14   16   read right now, but did this article actually discuss the

11:24:18   17   FIELD study as well as the ACCORD study?

11:24:20   18    A    Yes.

11:24:21   19                    MS. HUTTNER:   Your Honor, I would move DX 2126

11:24:24   20   into evidence.

11:24:25   21                    MR. SIPES:   No objection, Your Honor.

11:24:25   22                    THE COURT:   2126 is at admitted.

11:24:25   23                           (Defendant's Exhibit 2126 received in
11:24:25                                 evidence.)
11:24:25   24   BY MS. HUTTNER:

11:24:30   25    Q    In the first highlighted portion Dr. Elam discusses the
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11:24:33    1   FIELD study, correct?

11:24:34    2    A    Yes.

11:24:34    3    Q    What is his description of the FIELD study?

11:24:37    4    A    That it was a placebo-controlled mixed primary and

11:24:42    5   secondary prevention trial which meant it had patients in both

11:24:46    6   primary and secondary prevention groups, using fenofibrate in

11:24:53    7   9,795 patients with Type 2 diabetes mellitus and it was

11:24:58    8   conducted in Australia, Finland, and New Zealand.

11:25:06    9    Q    In the FIELD study, the overall study did not a positive

11:25:12   10   outcome; is that correct?

11:25:13   11    A    That is correct?

11:25:13   12    Q    In the last highlighted sentence on the snapshot on

11:25:17   13   DDX 9.31, Amarin -- I'm sorry, Dr. Elam says,

11:25:21   14                  "In subsequent post hoc analyses of the

11:25:25   15         influence of various components of the metabolic

11:25:29   16         syndrome on CHD outcomes in FIELD, a subset

11:25:32   17         (21 percent) of participants with the baseline

11:25:35   18         characteristics of combined low HDL-C levels of less

11:25:38   19         than 1.04 millimoles per liter in men and less than

11:25:42   20         1.3 millimoles per liter in women (which equates to

11:25:46   21         less than 40 and less than 50 milligrams per

11:25:49   22         deciliter respectively) and hypertriglyceridemia

11:25:51   23         experienced 27 percent fewer cardiovascular events

11:25:55   24         with fenofibrate treatment."

11:25:59   25                   So what is Dr. Elam pointing out there?
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11:26:04    1    A    Well, first, higher up, it's not highlighted, but he does

11:26:08    2   say among previous fibrate trials, FIELD is most similar to

11:26:14    3   ACCORD lipid.

11:26:14    4                And as we reviewed in ACCORD lipid, when you look at

11:26:17    5   the subgroup with elevated triglycerides and low HDL, there

11:26:21    6   was a significant effect.

11:26:22    7                And he's making the same point here in FIELD that if

11:26:25    8   we separately analyze those subjects in FIELD that had these

11:26:30    9   lipoprotein characteristics of elevated triglycerides and low

11:26:36   10   HDL, in this case using gender specific cutoff points, there

11:26:41   11   was a significant reduction, 27 percent reduction in

11:26:46   12   cardiovascular events with fenofibrate treatment.

11:26:49   13    Q    And have you compared the lipid profiles of the patients

11:26:55   14   that Dr. Elam was discussing in this last highlighted portion

11:27:02   15   with the lipid profile patients enrolled in the REDUCE-IT

11:27:04   16   study?

11:27:05   17    A    Yes.

11:27:05   18    Q    Can I show you DDX 9.32?

11:27:08   19    A    Yes.

11:27:09   20    Q    Is this the chart that you prepared?

11:27:11   21    A    Yes, it is.

11:27:11   22    Q    And how do the lipid profiles of the patients that

11:27:18   23   Dr. Elam commented on in the FIELD study, how do they compare

11:27:22   24   to the patients in REDUCE-IT?

11:27:24   25    A    Well, we already went over the FIELD results, and just
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11:27:29    1   comparing them now to REDUCE-IT, we see both in terms of the

11:27:32    2   triglycerides and the HDL-C, these characteristics are very

11:27:38    3   similar to what is in the REDUCE-IT trial.

11:27:42    4                The median baseline HDL cholesterol in REDUCE-IT of

11:27:47    5   40 milligrams per deciliter is considered low whether it's a

11:27:52    6   man or a woman.     So it basically means the same thing in both

11:27:58    7   studies, that the baseline HDL was on the low side and the

11:28:02    8   triglycerides were elevated.

11:28:04    9    Q    All right.    Let's talk about the last study that

11:28:08   10   Dr. Ismail discusses, or the last study that he characterized

11:28:12   11   as a failed study, and that's the ORIGIN study.

11:28:15   12                What was the ORIGIN study about?

11:28:18   13    A    So that was another study in diabetics and looking at two

11:28:25   14   different factors in terms of cardiovascular risk.         The two

11:28:29   15   factors was that use of a particular insulin called Glargine,

11:28:34   16   and the fish oil that was tested was, again, a 1 gram dose of

11:28:41   17   Lovaza.

11:28:42   18    Q    And how -- did the participants in the ORIGIN study have

11:28:47   19   elevated triglycerides?

11:28:48   20    A    No, they did not.     They actually had a normal level of

11:28:53   21   triglycerides and their HDL levels were also normal.

11:28:58   22    Q    What about their LDL-C levels, were they also normal?

11:29:02   23    A    Yes.

11:29:02   24    Q    And would you expect to see -- in a cardiac outcomes

11:29:06   25   trial, would you expect it to be able to detect a reduction in
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11:29:09    1   cardiac risk -- in cardiac risk in patients with essentially

11:29:14    2   normal lipid levels?

11:29:16    3    A    No, these would be considered to be low risk population.

11:29:21    4    Q    And do you view the -- the negative outcome of the ORIGIN

11:29:26    5   study, do you view that as predictive of what would happen in

11:29:29    6   REDUCE-IT which was in a population of patients with elevated

11:29:33    7   triglycerides and low HDL-C and mildly elevated LDL-C?

11:29:39    8    A    No.    There are obvious differences in the patient

11:29:43    9   characteristics as well as, again, the dose and the type of

11:29:47   10   fish oil that was used.

11:29:49   11    Q    In your opinion, would a POSA have viewed the negative

11:29:49   12   outcome of the ORIGIN study as an indication that Vascepa

11:29:49   13   would also fail to show a cardiac benefit in REDUCE-IT?

11:29:59   14    A    I don't think a person of ordinary skill would have come

11:30:03   15   to that conclusion based on that study.

11:30:05   16    Q    Do you think it's fair to compare the ORIGIN study to

11:30:09   17   REDUCE-IT?

11:30:09   18    A    No, it's not fair.

11:30:10   19    Q    All right.    Let's move on to Dr. Mason's opinions.          You

11:30:14   20   also reviewed Dr. Mason's reports in this case, right?

11:30:17   21    A    I did.

11:30:17   22    Q    And Dr. Mason summarized his opinions in his opening

11:30:21   23   expert report in this case?

11:30:23   24    A    He did.

11:30:24   25                    MS. HUTTNER:   Can we have DDX 9.35, please.
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11:30:24    1   BY MS. HUTTNER:

11:30:29    2    Q    DDX 9.35 is a blowup of paragraph 5 from Dr. Mason's

11:30:35    3   opening report, correct?

11:30:36    4    A    Yes.

11:30:36    5    Q    And in paragraph 5, Dr. Mason set -- summarized the

11:30:42    6   opinions that he plans to testify to in this case, correct?

11:30:44    7    A    Yes.

11:30:45    8    Q    And let's start with Dr. Mason's opinions.

11:30:54    9                His first opinion, he says,

11:30:55   10                   "In this report, I offer my opinion that

11:30:58   11         administration of Vascepa as described in the

11:31:01   12         asserted claims is unexpectedly associated with the

11:31:04   13         following beneficial physiological effects."

11:31:07   14                    And then he goes on to list those physiological

11:31:10   15   effects as stabilization of membrane, improvement of

11:31:16   16   endothelial functions, stabilization and/or regression of

11:31:19   17   plaque, and anti-inflammatory effects including a reduction of

11:31:22   18   high sensitivity C reactive protein.

11:31:25   19                    And then he continues, he says,

11:31:28   20                   "In my opinion, these physiological effects

11:31:31   21         are likely responsible for Vascepa's unexpected

11:31:34   22         reduction in cardiovascular risks."       And then he says

11:31:37   23         "In addition, those effects would likely apply to

11:31:39   24         patients with triglyceride levels above or equal to

11:31:43   25         greater then 500, and there is a strong basis to
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11:31:46    1         conclude that the cardiovascular risk reduction with

11:31:48    2         Vascepa observed in a clinical trial called REDUCE-IT

11:31:51    3         applies to patients with triglyceride levels above

11:31:55    4         500."

11:31:56    5                     Does that paragraph, as far as you're aware,

11:31:59    6   accurately set forth Dr. Mason's opinions in this case?

11:32:02    7    A    Yes.

11:32:08    8    Q    All right.    Let's start with Dr. Mason's opinion that the

11:32:11    9   four physiological benefits that he identifies in paragraph 5,

11:32:17   10   and to use his words, are "likely responsible" for the

11:32:19   11   reduction in cardiac risk shown in REDUCE-IT.

11:32:23   12                 First of all, do you agree with Dr. Mason's opinion?

11:32:25   13    A    No.

11:32:34   14    Q    Why not?

11:32:35   15    A    Because, as the Bhatt article points out, that the

11:32:39   16   mechanism for the effects of EPA are unknown.

11:32:43   17                     MS. HUTTNER:   Let's go to the Bhatt article.

11:32:47   18   Can I have DDX 9.36, please.

11:32:47   19   BY MS. HUTTNER:

11:32:53   20    Q    This is what you were referring to in your prior answer,

11:32:56   21   Dr. Fisher?

11:32:56   22    A    Yes.

11:32:57   23    Q    All right.    So this is PX 272 at page 10 which is the

11:32:57   24   Bhatt article announcing the REDUCE-IT study results.

11:33:03   25                 And Dr. Bhatt says in the snapshot,
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11:33:07    1                   "Mechanisms responsible for the benefit of

11:33:09    2         icosapent ethyl observed in REDUCE-IT are currently

11:33:12    3         not known."

11:33:13    4                    Does that statement square with Dr. Mason's

11:33:19    5   opinion that the mechanisms he identifies are the likely cause

11:33:24    6   of the cardiac benefits in REDUCE-IT?

11:33:27    7    A    No, it's inconsistent with his statement.

11:33:31    8                    MS. HUTTNER:   If we can go now to DDX 9.45.

11:33:37    9                   DDX 9.45 is an excerpt from the clinical

11:33:43   10   pharmacology section of PX 1186, which I believe is in

11:33:50   11   evidence, Your Honor.     This is the current Vascepa label with

11:33:53   12   the additional cardiac indication.

11:33:55   13                    THE COURT:   Yes, it is.

11:33:55   14   BY MS. HUTTNER:

11:33:57   15    Q    Dr. Fisher, what -- under the heading Clinical

11:34:00   16   Pharmacology, there's a subheading that says Mechanism of

11:34:05   17   Action.   What is your understanding of what Amarin is doing in

11:34:07   18   this section?

11:34:08   19    A    Well, they're trying to explain how EPA does what it does

11:34:15   20   at a cellular level.

11:34:17   21    Q    And, to your understanding, does the FDA require drug

11:34:21   22   manufactures to disclose whatever they know about the

11:34:24   23   mechanism of action of drugs that they're selling?

11:34:26   24    A    Yes.

11:34:27   25    Q    So is it your expectation that is Amarin's best
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                                                                                    1033



11:34:30    1   understanding of how Vascepa works to provide cardiac

11:34:33    2   benefits?

11:34:33    3    A      Yes, it is.

11:34:34    4    Q      And Amarin, in the snapshot from section 12.1 of their

11:34:39    5   current label, says,

11:34:40    6                   "The mechanisms of action contributing to

11:34:43    7           reduction of cardiovascular events with Vascepa

11:34:46    8           (icosapent ethyl) are not completely understood but

11:34:50    9           are likely multifactorial."

11:34:51   10                    What does that mean?

11:34:53   11    A      Well, not completely understood is just plain English

11:34:58   12   that they don't know, and -- but whatever they are, it's

11:35:06   13   likely to involve a number of mechanisms working in

11:35:12   14   combination.

11:35:13   15    Q      Now, in section 12.1 the of Vascepa label, Amarin also --

11:35:18   16   at the very beginning talks about some of the things that

11:35:23   17   studies suggest that EPA can do, right?

11:35:25   18    A      Yes.

11:35:26   19    Q      And does Amarin, either there or anywhere else in the

11:35:31   20   clinical pharmacology section, does it refer to any of the

11:35:36   21   physiological benefits that Dr. Mason identifies in paragraph

11:35:40   22   5 of his report?

11:35:41   23    A      No.

11:35:42   24    Q      In the last highlighted sentence on this exhibit, Amarin

11:35:48   25   says,
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11:35:49    1                  "However, the direct clinical meaning of

11:35:52    2         individual findings is not clear."

11:35:54    3                   What do you understand that to be referring to?

11:35:57    4    A    Well, for the mechanisms that they propose here, or list

11:36:05    5   here, that even though there might be evidence from typically

11:36:11    6   preclinical models, that has not been demonstrated to actually

11:36:16    7   be operating in a living patient.       That's what's meant by the

11:36:22    8   direct clinical meaning of any one of those findings is not

11:36:26    9   clear.

11:36:26   10    Q    And would the same be true of -- assuming that they are

11:36:32   11   physiological properties of EPA, would the same be true of the

11:36:36   12   four physiological properties that Dr. Mason identifies in his

11:36:40   13   report?

11:36:40   14    A    Yes, it would be the same.

11:36:42   15    Q    Now, does the Bhatt paper --

11:36:50   16                   MS. HUTTNER:    Let's go back to DDX 9.36.

11:36:50   17   BY MS. HUTTNER:

11:36:57   18    Q    Okay.   So, again, we're talking -- just to orient

11:37:00   19   ourselves, we're talking -- the excerpt on the screen is from

11:37:03   20   the Bhatt paper which is in evidence, correct?

11:37:05   21    A    Yes.

11:37:05   22    Q    And in this -- well, let me just ask you this.         Does the

11:37:12   23   Bhatt paper about REDUCE-IT, does it discuss -- discuss the

11:37:22   24   issue of whether the use of Vascepa to lower triglycerides, in

11:37:26   25   other words, the methods recited in the claims, does it
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11:37:28    1   discuss whether or not practicing those methods is what's

11:37:32    2   producing the cardiac benefits in Vascepa?

11:37:37    3    A    Could you rephrase that?

11:37:38    4    Q    Yeah.   Does Dr. Bhatt in this article indicate that there

11:37:42    5   is a connection between the method of lowering triglycerides

11:37:46    6   that's described in the patents in this case and the cardiac

11:37:50    7   benefits that were shown in REDUCE-IT?

11:37:52    8    A    No.

11:37:53    9    Q    Well, let me direct your attention to --

11:37:57   10                   MS. HUTTNER:    Let's go to DDX 9.44.

11:37:57   11   BY MS. HUTTNER:

11:38:02   12    Q    These -- DDX 9.44 has an excerpt on the left from page 7

11:38:07   13   of the Bhatt article, right?

11:38:09   14    A    Yes.

11:38:10   15    Q    And on the right it's from page 10 of the Bhatt article,

11:38:14   16   correct?

11:38:14   17    A    Yes.

11:38:14   18    Q    In these sections of the Bhatt article, is Dr. Bhatt

11:38:19   19   discussing the relationship between triglyceride levels and

11:38:23   20   the cardiac outcomes observed in the REDUCE-IT study?

11:38:27   21    A    Yes, he is.

11:38:28   22    Q    And what does he say here.      Let's start with the one --

11:38:30   23   with the excerpt from page 7 on the left.

11:38:32   24    A    Well, he's saying that the baseline triglyceride levels,

11:38:37   25   and he divides them into two, two groups, those with less than
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11:38:43    1   150 milligrams per deciliter versus equal or greater than 150,

11:38:51    2   or, if you use the cut point of 200, so it would be less than

11:38:54    3   200 versus equal or greater than 200, these baseline trigly --

11:39:04    4   I can't even pronounce it any more -- triglyceride levels had

11:39:05    5   no difference on the primary or key secondary efficiency

11:39:11    6   endpoints -- efficacy, sorry, efficacy endpoints.

11:39:13    7    Q      And if we can go to the excerpt on the right, please,

11:39:18    8   which is from page 10 of the Bhatt article, what is Dr. Bhatt

11:39:26    9   saying here?

11:39:26   10    A      Well, he repeats the first -- the gist of what I just

11:39:30   11   discussed about the observed cardiovascular benefits were

11:39:33   12   similar across the baseline levels of triglycerides, but then

11:39:37   13   extends this to the treatment, on treatment levels at one

11:39:43   14   year.

11:39:43   15                So the significantly lower risk of major adverse

11:39:50   16   cardiovascular events with icosapent ethyl than with placebo

11:39:55   17   appeared to occur irrespective with the attained triglyceride

11:40:00   18   level at one year using the 150 cut point in this excerpt,

11:40:06   19   less than 150 or greater than or equal to 150 per deciliter.

11:40:12   20                And he concludes that this suggests that the

11:40:14   21   cardiovascular risk reduction was not associated with

11:40:17   22   attainment of a more normal triglyceride level.

11:40:20   23    Q      So, in effect, in these two statements that we've looked

11:40:24   24   at from the Bhatt article, is Dr. Bhatt saying that there was

11:40:27   25   no evidence that the cardiac benefits observed in REDUCE-IT
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11:40:32    1   resulted from the lowering of triglycerides by Vascepa?

11:40:38    2    A    That is what he's saying.

11:40:39    3    Q    And does Dr. Bhatt also discuss the question of whether

11:40:45    4   there is any relationship between the fact that LDL-C does not

11:40:50    5   raise -- I'm sorry, that Vascepa does not raise LDL-C levels

11:40:57    6   in the results, the cardiac benefits shown in the REDUCE-IT

11:41:00    7   study?

11:41:01    8    A    He does discuss that.

11:41:02    9                    MS. HUTTNER:   Can we go to DDX 9.42, please.

11:41:02   10   BY MS. HUTTNER:

11:41:11   11    Q    DDX 9.42 was, again, an excerpt from PX 272.        This

11:41:17   12   excerpt is from page 7, correct?

11:41:19   13    A    Yes.

11:41:19   14    Q    And, in this excerpt, is Dr. Bhatt discussing the

11:41:24   15   relationship, if any, between LDL cholesterol levels and the

11:41:30   16   cardiac benefits shown in REDUCE-IT?

11:41:33   17    A    Yes, he is.

11:41:34   18    Q    What does he say about that subject?

11:41:36   19    A               "In a post hoc analysis we found no

11:41:41   20            substantial difference in the benefit of icosapent

11:41:44   21            ethyl as compared with placebo with respect to the

11:41:48   22            primary endpoint according to whether the patients

11:41:51   23            who received placebo had an increase in LDL

11:41:55   24            cholesterol levels at one year or had no change or

11:42:00   25            a decrease," even a decrease in LDL cholesterol levels.
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11:42:06    1                So there was no relationship to the LDL cholesterol

11:42:09    2   levels at one year, the one year time point.

11:42:14    3    Q    So is this basically saying that the fact that Vascepa

11:42:18    4   lowers triglycerides without raising LDL-C had nothing to do

11:42:23    5   with the outcome in REDUCE-IT?

11:42:23    6    A    Yes.

11:42:26    7    Q    Cardiac benefits?

11:42:27    8    A    Yes.

11:42:27    9    Q    And did you also look at the clinical study report for

11:42:31   10   REDUCE-IT which is PX 271?

11:42:34   11    A    I did.

11:42:35   12                    MS. HUTTNER:   And, Mr. Gross, can you bring up

11:42:39   13   PX 271.

11:42:42   14                    And, Your Honor, I know there was clinical study

11:42:44   15   report that was admitted into evidence, but I -- I'm not sure

11:42:48   16   if there was more than one document that's called that.

11:42:51   17                    So I don't know if PX 271 is in evidence, but in

11:42:55   18   a moment when I lay foundation, I'll ask that it be moved into

11:42:58   19   evidence.

11:42:58   20                    THE COURT:   Is this the REDUCE-IT clinical

11:42:58   21   report --

11:42:58   22                    MS. HUTTNER:   Yes, Your Honor.

11:43:01   23                    THE COURT:   This one has been admitted as well.

11:43:03   24                    MS. HUTTNER:   I'm sorry?

11:43:03   25                    THE COURT:   Well --
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11:43:05    1                    MS. HUTTNER:   Yes, this is the REDUCE-IT report.

11:43:05    2                    THE COURT:   I thought the REDUCE-IT report has

11:43:07    3   been admitted, but is from any objection to its admission?

11:43:10    4                    MR. SIPES:   We have no objection.

11:43:11    5                    THE COURT:   All right.    If it hasn't been

11:43:13    6   admitted, it will be, Exhibit --

11:43:16    7                    MS. HUTTNER:   Thank you, Your Honor.

11:43:17    8                    MR. SIPES:   And, Your Honor, I would just

11:43:18    9   reiterate the concern we expressed at the beginning that we

11:43:19   10   have time for redactions before these exhibits are published.

11:43:23   11                    THE COURT:   Yes.

11:43:23   12                           (Plaintiff's Exhibit 271 received in
11:43:23                                 evidence.)
11:43:23   13   BY MS. HUTTNER:

11:43:27   14    Q    Okay.    Did the clinical study report for REDUCE-IT,

11:43:34   15   PX 271, this is a document that you reviewed and relied on in

11:43:36   16   connection with your opinions in this case?

11:43:38   17    A    It is.

11:43:38   18    Q    And does the clinical study report for REDUCE-IT, PX 271,

11:43:44   19   does it discuss the relationship, if any, between apo B being

11:43:52   20   reduced and the outcome of the REDUCE-IT study, in other

11:43:57   21   words, the cardiac benefits?

11:44:00   22    A    It does.

11:44:01   23    Q    And what does it say on that subject?

11:44:03   24    A    Well, it's a similar -- as we'll see, it's similar to the

11:44:07   25   triglycerides and the LDL cholesterol data that the change in
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11:44:14    1   apo B were not associated with the reduction in events.

11:44:21    2                   MS. HUTTNER:    All right.    Can we go, Mr. Gross,

11:44:23    3   to page 186 of PX 271.      And can you blow up Figure 11-19.

11:44:23    4   Thank you.

11:44:23    5   BY MS. HUTTNER:

11:44:35    6    Q    What is Figure -- figure 11-19 says it's a forest plot of

11:44:39    7   analysis of the primary endpoint by subgroups, and one the

11:44:43    8   subgroups it mentions in the caption is apo B by tertiles?

11:44:48    9    A    Yes.

11:44:49   10    Q    What is this chart?

11:44:49   11                   MR. SIPES:    Your Honor, discussion of this chart

11:44:53   12   is no where in his expert report.

11:44:57   13                   MS. HUTTNER:    Well, I disagree with that.         I

11:45:00   14   mean, he does discuss the fact that there is no relationship

11:45:04   15   between the cardiac benefits shown in REDUCE-IT and apo B and

11:45:10   16   does cite to this document which is a lengthy document.

11:45:14   17                   But it was discussed also, I believe, at his

11:45:16   18   deposition, but I can -- I can do it without the document if

11:45:20   19   you prefer.

11:45:21   20                   MR. SIPES:    Your Honor, I'm pretty confident I

11:45:23   21   did not in fact depose him on this clinical study report.               I

11:45:28   22   don't recall him at all citing to this chart anywhere in his

11:45:31   23   report.

11:45:31   24                   MS. HUTTNER:    All right.    We can do this without

11:45:34   25   the chart.
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11:45:34    1   BY MS. HUTTNER:

11:45:36    2    Q    Did the REDUCE-IT study report, did it find any

11:45:37    3   relationship between apo B -- lowering apo B and the cardiac

11:45:39    4   benefits in REDUCE-IT?

11:45:41    5    A    It did not.

11:45:44    6                   MS. HUTTNER:    Okay.   So let's move on now to

11:45:47    7   Dr. Mason's other opinions.      Let's go to DDX 9.104 which is

            8   the summary slide we looked at earlier.

            9                   THE COURT:    Can you repeat that?

           10                   MS. HUTTNER:    I'm sorry, 9.104.

           11                   THE COURT REPORTER:     Slow down.

           12                   MS. HUTTNER:    I'm from New York, it's tough.

           13   I'll do my best.

           14                   THE COURT:    I appreciate counsel trying.      I

           15   understand how difficult it is.       We can only try.

           16                   MS. HUTTNER:    Well, you know, Your Honor, it

           17   sounds like you're talking in slow motion in your head --

           18                   THE COURT:    I know.

           19                   MS. HUTTNER:    And it's hard.

           20                   THE COURT:    I too have to make an intentional

           21   effort to slow down because I tend to talk really fast, too.

           22   BY MS. HUTTNER:

11:46:19   23    Q    So DDX -- I'm going to say this very slowly.        DDX 9.104

11:46:21   24   is the summary of Dr. Mason's opinions from paragraph 5 of his

11:46:27   25   opening report that we looked at earlier.
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11:46:29    1                And I want to move on now to Dr. Mason's opinion as

11:46:35    2   stated in paragraph 5 that the administration of Vascepa as

11:46:39    3   described in the asserted claims is unexpectedly associated

11:46:43    4   with the four physiologic -- what he calls the beneficial

11:46:49    5   physiological effects that he identifies in paragraph 5.

11:46:52    6                First of all, do you understand -- when he says that

11:46:55    7   these physiological effects are unexpectedly associated with

11:47:03    8   Vascepa, do you understand him to be saying that these -- or

11:47:06    9   to be expressing the opinion these four physiological effects

11:47:10   10   were unknown, would not be known to a person -- people of

11:47:16   11   ordinary skill in the art before 2008?

11:47:16   12    A    Yes, that's what I think he is saying.

11:47:18   13    Q    And do you agree with him that that is a true statement?

11:47:21   14    A    No.

11:47:23   15    Q    Before we talk about the reasons for your opinion, I just

11:47:27   16   want to sort of establish a baseline here in terms of what

11:47:30   17   your understanding is of what Dr. Mason is talking about in

11:47:34   18   relationship to each of these physiological effects.

11:47:38   19                So let's start with stabilization of membrane.         What

11:47:41   20   is your understanding of what Dr. Mason means by that?

11:47:45   21    A    Well, he uses this in the context of two types of cells

11:47:51   22   that are in atherosclerotic plaques, the endothelial cells and

11:47:59   23   macrophages, and all cells have membranes, they have important

11:48:02   24   functions.

11:48:03   25                And that stabilization of membrane I have understood
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11:48:08    1   him to mean that the proper health of the cell is maintained.

11:48:16    2   There's protection against damage to the membrane which would

11:48:20    3   impair the function of either an endothelial cell or a

11:48:26    4   macrophage cell.

11:48:27    5    Q    And how about improvement of endothelial function, what

11:48:32    6   is your understanding of what Dr. Mason is referring to there?

11:48:35    7    A    He mainly discusses the ability of endothelial cells

11:48:39    8   which line in our arteries, they are the barrier between the

11:48:43    9   blood flowing through the artery and the tissue in the artery

11:48:47   10   wall itself, that a major function of those endothelial cells

11:48:52   11   is to produce nitric oxide which will relax -- will keep the

11:48:58   12   blood vessel in a relaxed state.

11:49:01   13               And it's known from research through the years that

11:49:05   14   the ability of NO to maintain what's called the vessel tone in

11:49:12   15   a relaxed state is a protective feature, and when the vessel

11:49:17   16   tone is higher, such as in hypertension, this increases the

11:49:22   17   risk of cardiovascular disease.

11:49:25   18    Q    And the third thing, the third physiological function

11:49:31   19   that Dr. Mason refers to in paragraph 5 is what he calls

11:49:35   20   stabilization and/or regression of plaque.        What does that

11:49:39   21   mean or what do you understand it to mean?

11:49:41   22    A    Well, the common, common use of the term of stabilized

11:49:48   23   plaque means that this is a plaque, a deposit of cholesterol

11:49:55   24   inflammatory cells in our coronary arteries that will not

11:50:01   25   rupture.
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11:50:01    1               A heart attack is caused by an unstable plaque which

11:50:07    2   means that at a certain point there is a breach in the

11:50:10    3   endothelial cell layer that overlies the plaque and a blood

11:50:16    4   clot quickly forms which occludes the vessel from supplying

11:50:22    5   the oxygen to the heart muscle.

11:50:24    6               So that's what a heart attack or myocardial

11:50:30    7   infarction is thought to result from, the rupture of an

11:50:34    8   unstable plaque.

11:50:35    9               So on the flip side then stabilization of a plaque

11:50:39   10   is considered to be a good thing, and that the regression of

11:50:43   11   the plaque which is actually something I work on in

11:50:46   12   preclinical models, means that there is a reduced size of the

11:50:52   13   plaque or a reduced number of inflammatory cells in the plaque

11:51:01   14   so it becomes less likely to rupture.

11:51:05   15               So a regression of a plaque would also be related to

11:51:09   16   increasing the stability of that plaque.

11:51:12   17    Q    And just so -- you may have said this, and if you did, I

11:51:15   18   apologize, but just so we're all clear, what is a plaque made

11:51:20   19   of?   I mean what is that?

11:51:21   20    A    Well, the central cell of a plaque, as we'll discuss a

11:51:25   21   little bit today, is the macrophage, and that is a cell that

11:51:31   22   will gobble up the LDL particles, the apo B containing

11:51:37   23   lipoprotein particles, and take up the cholesterol from those

11:51:42   24   particles and become what are called foam cells.

11:51:46   25               It's the accumulation of these foam cells which are
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11:51:51    1   filled with cholesterol that cause the plaque to grow and

11:51:55    2   progress, and eventually, in some individuals, to actually

11:51:58    3   contribute to this instability and rupture.

11:52:01    4               So a plaque then is a collection of -- in the

11:52:06    5   simplest sense, a collection of cholesterol filled macrophages

11:52:11    6   in the wall of the coronary artery.

11:52:15    7    Q    All right.    Now, the last physiological effect that

11:52:20    8   Dr. Mason identifies in paragraph 5 is anti-inflammatory

11:52:28    9   effects including reduction of high sensitivity C reactive

11:52:28   10   protein hs-CRP.

11:52:31   11               What does that -- what is your understanding of

11:52:33   12   what he's referring to there?

11:52:35   13    A    Well, the inflammation actually is not restricted as --

11:52:45   14   to just this category because macrophages which I just

11:52:50   15   explained which are important players in the plaque stability

11:52:56   16   are inflammatory cells.

11:52:58   17               So what this means is that there would be decreased

11:53:02   18   inflammation in the cells in a plaque.        There would be the

11:53:07   19   decreased production of small molecules produced by cells that

11:53:13   20   cause inflammation.

11:53:14   21               And so, in general, anti-inflammatory effects cover

11:53:20   22   actually very many areas of immunology, but all would be

11:53:28   23   contributing to a less dangerous state in the plaque if there

11:53:33   24   was less inflammation.

11:53:35   25               The reduction of high sensitivity C reactive
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11:53:39    1   protein, what he's referring to is CRP, is a marker of the

11:53:45    2   inflammatory state of a plaque.       There has been considerable

11:53:50    3   observational studies that have associated high levels of CRP

11:53:55    4   with the risk of cardiovascular disease, and it's -- it has

11:54:02    5   been speculated that when CRP levels go down, there would be

11:54:08    6   less -- this would reflect there's less inflammation.

11:54:12    7    Q    Is CRP the only marker for inflammation?

11:54:17    8    A    No, there are many, but that has certainly gotten a lot

11:54:21    9   of attention.

11:54:22   10                   MS. HUTTNER:    Okay.   Now, let me show you -- if

11:54:40   11   we can go to DDX 9.117.

11:54:40   12   BY MS. HUTTNER:

11:54:43   13    Q    DDX 9.117 is a figure that's from paragraph 46 of

11:54:47   14   Dr. Mason's opening report; is that correct?

11:54:47   15    A    Yes.

11:54:48   16    Q    And does this figure tell you anything about whether or

11:54:54   17   not the four physiological functions identified by Dr. Mason

11:54:59   18   are distinct or interrelated?

11:55:03   19    A    Well, it emphasizes, in my interpretation, about the

11:55:07   20   interrelatedness because of the convergence of arrows on to

11:55:12   21   that central cell.     The identity of that cell type is not

11:55:16   22   specified, but based on the material to the left of the cell

11:55:22   23   where he's talking about adhesion molecules, those are made by

11:55:27   24   endothelial cells, and macrophage activation, that, of course,

11:55:32   25   is macrophages, that he is considering that these effects
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11:55:36    1   would be relevant to both endothelial cells and macrophages.

11:55:43    2               And the things that are in circles that are above

11:55:47    3   the cell would be stimuli, multiple different stimuli, that

11:55:52    4   would serve to increase the inflammatory activity of that cell

11:55:59    5   through a mechanism involving something called the

11:56:05    6   inflannasone, i-n-f-l-a-n-n-a-s-o-n-e, and the output of an

11:56:05    7   inflannasone are these inflammatory molecules that are shown

11:56:26    8   here, interleukin 1 beta and interleukin 6.

11:56:26    9               We see CRP just at the bottom again as an indicator

11:56:32   10   of the inflammatory state, it's like a readout, it's produced

11:56:42   11   in the liver so it's not direct reflection of the inflammatory

11:56:47   12   state in, say, a plaque itself, but it would be a consequence

11:56:51   13   of cells in the plaque releasing these inflammatory mediators

11:56:59   14   that then would affect other cells in the body.

11:57:01   15    Q    So just to summarize, is it your view that the four

11:57:06   16   functions identified by Dr. Mason in paragraph 5 are all

11:57:09   17   interrelated functions?

11:57:11   18    A    In current understanding, they are all interrelated.

11:57:14   19                    MS. HUTTNER:   Now, if we can go back to DDX

11:57:17   20   9.104, please.

11:57:17   21   BY MS. HUTTNER:

11:57:21   22    Q    Again, this is the summary paragraph in Dr. Mason's

11:57:26   23   report, but I just want to ask you, the four factors, the four

11:57:30   24   effects that he identifies here, are those effects, as

11:57:34   25   Dr. Mason says, of the administration of Vascepa as described
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11:57:37    1   in the asserted claims?

11:57:38    2    A    No.   They are inherent properties of the compound itself.

11:57:44    3    Q    And would the EPA -- and the compound itself being EPA?

11:57:47    4    A    Being EPA.

11:57:49    5    Q    And would those same effects, assuming that that's an

11:57:52    6   accurate description of what EPA can do, would those same

11:57:57    7   effects have been present in the JELIS study?

11:58:01    8    A    Yes, I would expect they would be.

11:58:03    9    Q    So it has nothing to do with giving 4 grams a day of

11:58:07   10   Vascepa as opposed to the 1.8 grams of Vascepa given in the

11:58:10   11   JELIS study?

11:58:11   12    A    No.   The nature of the effects would be the same.        But as

11:58:16   13   is appreciated, there are dose response considerations so that

11:58:22   14   there might be at a lower dose less of a response, but

11:58:27   15   qualitatively the response would be the same.

11:58:30   16                   THE COURT:    I have -- I have a question.      And

11:58:33   17   Mr. Sipes may be able to explain.

11:58:36   18                   The question Ms. Huttner just posed used Vascepa

11:58:39   19   and EPA in REDUCE-IT interchangeably.        Are they

11:58:43   20   interchangeable?

11:58:44   21                   MR. SIPES:    The chemical molecules --

11:58:46   22                   THE COURT:    I mean, there's all -- I'm sorry,

11:58:48   23   about 96 percent purified EPA.

11:58:51   24                   MS. HUTTNER:    Your Honor, you may recall that we

11:58:52   25   looked at a statement by Dr. -- I believe it was by Dr. Bhatt
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11:58:59    1   earlier to the FDA Advisory Committee in which he made the

11:59:04    2   statement -- let me just find it.       It's -- I'm sorry,

11:59:08    3   Dr. Brinton.    It's DDX 9.19.

11:59:11    4                   THE COURT:    Oh, in his in testimony before the

11:59:11    5   FDA?

11:59:15    6                   MS. HUTTNER:     Yes.   If you look at DDX 9.19, in

11:59:18    7   that -- in that -- this is before the ad com -- the advisory

11:59:24    8   committee of the FDA that was considering whether or not to

11:59:25    9   continue the special protocol assessment agreement.

11:59:28   10                   And he says explicitly, "Does Vascepa actually

11:59:31   11   equal Epadel," and he goes on to say that they're both greater

11:59:35   12   than 98 percent EPA and that there's no known chemical

11:59:38   13   difference between the two, and there are other documents in

11:59:40   14   the production that say essentially the same thing.

11:59:44   15                   THE COURT:    And it's not really relevant --

11:59:45   16                   MS. HUTTNER:     No, I believe the only

11:59:47   17   difference --

11:59:47   18                   THE COURT:    -- material to the final issues in

11:59:48   19   the case, but I was just curious.

11:59:48   20                   MS. HUTTNER:     Yeah, the only --

11:59:51   21                   MR. SIPES:    Yes -- excuse me.

11:59:51   22                   THE COURT:    I'll let Ms. Huttner finish and then

11:59:54   23   you can -- I'll let you --

11:59:54   24                   MS. HUTTNER:     I mean, to be completely candid,

11:59:55   25   the only thing I've seen in the various documents I've looked
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11:59:59    1   at in this case in regards to any difference between EPA and

12:00:02    2   the Epadel product and EPA and the Vascepa product is that

12:00:07    3   apparently they have a slightly different, you know, impurity

12:00:11    4   profile.

12:00:11    5                   So, you know, they have certain trace amounts of

12:00:14    6   things in them, but that's the only difference I'm aware of.

12:00:18    7                   MR. SIPES:    To unpack the statement that

12:00:20    8   Ms. Huttner pointed to from Dr. Brinton, he said they both

12:00:24    9   contain pure EPA ethyl ester, there's no known chemical

12:00:30   10   difference between the two, that is, they both contain the

12:00:31   11   same molecule, this EPA molecule.

12:00:33   12                   There may be other trace amounts of other

12:00:37   13   omega-3s, or other things that in there, but they both contain

12:00:39   14   the same EPA molecule.

12:00:41   15                   THE COURT:    I think that's the same as what

12:00:44   16   Ms. Huttner just explained.

12:00:45   17                   MS. HUTTNER:    It is, Your Honor.

12:00:45   18                   THE COURT:    Thank you.

12:00:48   19                   MS. HUTTNER:    I'm sorry, Your Honor, just bear

12:00:51   20   with me while I find my way back to --

12:00:51   21                   THE COURT:    I apologize.

12:00:53   22                   MS. HUTTNER:    No, no, don't apologize.      It's

12:00:55   23   totally fine.    I would rather you had your questions answered.

12:00:57   24                   THE WITNESS:    I was hoping you'd want to hear

12:00:59   25   more about macrophages.
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12:01:02    1                     MS. HUTTNER:   We can have a private conversation

12:01:06    2   later, Dr. Fisher.

12:01:06    3                     THE WITNESS:   Professors like to profess.

12:01:06    4   BY MS. HUTTNER:

12:01:10    5    Q    Okay.    So I think we were -- I think I had just asked you

12:01:14    6   whether the effects of EPA that Dr. Mason identifies in his

12:01:20    7   report, whether those were effects of the method of

12:01:25    8   administration or of the molecule itself, and your answer was

12:01:29    9   again?

12:01:30   10    A    The molecule itself.

12:01:33   11    Q    Okay.    Now, are any of the -- the four functions that

12:01:46   12   Dr. Mason identifies in paragraph 5, in your opinion, were

12:01:50   13   those four functions, as he says, unexpected in 2008?

12:01:55   14    A    No.

12:01:55   15    Q    Were they known?

12:01:56   16    A    They were known.

12:01:59   17    Q    And you have a slide -- and you discussed this in your

12:02:01   18   report and you relied on certain references, correct?

12:02:04   19    A    Yes, I did.

12:02:05   20    Q    And you have a slide that discusses those -- that depicts

12:02:08   21   those references, so let's look at DDX 9.40.

12:02:18   22                 Okay.   And in this slide, you list the physiological

12:02:23   23   effect identified by Dr. Mason on the left and the references

12:02:28   24   in the prior art that you're relying on where you believe

12:02:31   25   those same functions are disclosed; is that right?
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12:02:34    1    A    Yes.

12:02:35    2    Q    And the references you list are Yokoyama, Suzuki, Omura,

12:02:43    3   Terano, Surette, and I think that covers them all, correct?

12:02:48    4    A    Yes.

12:02:48    5    Q    And you list some of these references in multiple

12:02:51    6   categories, correct?

12:02:52    7    A    I do.

12:02:52    8    Q    The first -- let's talk about the references that you

12:02:56    9   list and why you believe that they disclose the functions

12:03:01   10   identified by Dr. Mason.

12:03:03   11                 And just so I don't have to keep saying it, all

12:03:06   12   these references that you rely on were published before 2008,

12:03:09   13   correct?

12:03:09   14    A    Correct.

12:03:09   15    Q    Now, the first article you list in your chart is

12:03:15   16   Yokoyama, and, again, this is the article about the JELIS

12:03:18   17   study that has been admitted into evidence in this case as

12:03:22   18   DX 1553, correct?

12:03:23   19    A    Yes.

12:03:24   20    Q    And we talked about that earlier in your testimony, and

12:03:26   21   it's come up -- figures large in this case as well, right?

12:03:29   22    A    Yes.

12:03:32   23    Q    I want to direct your attention to -- if we can go to

12:03:36   24   DDX 9.118.     There is -- is there disclosure in Yokoyama of the

12:03:42   25   biological functions of EPA, the known biological functions of
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12:03:47    1   EPA?

12:03:48    2    A     Yes, there is.

12:03:48    3    Q     And in DDX 9.118, have you reproduced that disclosure?

12:03:54    4    A     I have.

12:03:54    5    Q     And this is from page 1 of Yokoyama, correct?

12:03:57    6    A     Yes.

12:03:58    7    Q     And it says,

12:03:59    8                     "The biological functions of EPA include

12:04:02    9          reduction of platelet aggregation, vasodilation,

12:04:07   10          anti-proliferation, plaque-stabilization, and

12:04:10   11          reduction in lipid action."

12:04:12   12                     And then it says, "Therefore the preventive

12:04:14   13          effects of EPA on major cardiovascular events are of

12:04:20   14          both clinical interest and therapeutic importance,"

12:04:23   15          correct?

12:04:23   16    A     Yes.

12:04:25   17                      MS. HUTTNER:   And actually, Steven, if you could

12:04:26   18   go back to the original slide.       Thank you.

12:04:26   19   BY MS. HUTTNER:

12:04:32   20    Q     I've highlighted vasodilation because I want to start

12:04:36   21   with that.

12:04:36   22    A     Yes.

12:04:36   23    Q     Do you have an understanding based on your review of the

12:04:39   24   Yokoyama article and the references in that article what

12:04:42   25   Yokoyama is referring to here?
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12:04:43    1    A    Yes.    This is related to the nitric oxide synthesis and

12:04:49    2   endothelial cells that regulates the vascular tone.          So

12:04:54    3   vasodilation is the same as relaxation.        This would be

12:04:57    4   considered a good thing.

12:04:59    5    Q    Okay.    And does this disclosure in Yokoyama, that the

12:05:02    6   biological functions of EPA include vasodilation, does that

12:05:07    7   relate to any of the physiological effects that Dr. Mason

12:05:12    8   identifies in paragraph 5 in his report?

12:05:14    9    A    Yes, improved endothelial function.

12:05:18   10    Q    If we can go to -- but my next question to you is going

12:05:20   11   to be how do you know that.      Let's go to DDX 9.39.

12:05:28   12                 And just to orient ourselves on this slide, we have

12:05:32   13   the same excerpt from Yokoyama that we were just looking at,

12:05:37   14   and you have reproduced the references that Yokoyama is

12:05:42   15   relying on in relation to vasodilation, correct?

12:05:46   16    A    Yes.

12:05:46   17    Q    And the bubble on the right is the discussion in the

12:05:50   18   underlying reference that that's -- that is informing your

12:05:55   19   understanding of what Yokoyama means by vasodilation, correct?

12:05:59   20    A    That is correct.

12:05:59   21    Q    And in the highlighted Okuda article, which is one the

12:06:04   22   references Yokoyama relies on, and I'm not going to go through

12:06:06   23   all the words, but there's a discussion of the nitric oxide

12:06:13   24   and how EPA affects the endothelial production of nitric

12:06:19   25   oxide, correct?
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12:06:19    1    A    Yes.

12:06:19    2    Q    And is that essentially the same thing that Dr. Mason

12:06:22    3   discusses in his report in relation to stabilization of cell

12:06:30    4   membrane?

12:06:31    5    A    Yes, it is.

12:06:32    6                     MS. HUTTNER:   If we can go back to DDX 9.119,

12:06:32    7   please.

12:06:32    8   BY MS. HUTTNER:

12:06:42    9    Q    Okay.    Again, we're back in Yokoyama.     This is the same

12:06:44   10   disclosure we were discussing, but I want to talk in the first

12:06:47   11   instance now about Yokoyama's disclosure that the biological

12:06:51   12   functions of EPA include plaque stabilization.

12:06:55   13                 What do you understand Yokoyama to mean by plaque

12:06:58   14   stabilization?

12:06:59   15    A    Well, as I mentioned before, unstable plaques are prone

12:07:03   16   to rupture and cause heart attacks.       So plaque stabilization

12:07:07   17   would be preventing that to happen to increase the

12:07:14   18   characteristics of a plaque that make it less likely to become

12:07:18   19   unstable and then cause a heart attack.

12:07:20   20    Q    And does the plaque stabilization described in Yokoyama,

12:07:24   21   does that differ in any way from the plaque stabilization

12:07:28   22   regression of plaque feature that Dr. Mason mentions in

12:07:32   23   paragraph 5 of his report?

12:07:33   24    A    It's equivalent to that.

12:07:35   25    Q    How about the next term in Yokoyama, reduction in lipid
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12:07:44    1   action.   What do you understand that to mean?

12:07:47    2    A    That is referring to the ability of certain lipid

12:07:53    3   metabolites to cause a number of adverse effects on cells,

12:07:59    4   including damaging their membranes, causing the production of

12:08:04    5   inflammatory molecules and inflammatory mediators promoting

12:08:10    6   the recruitment of macrophages into the plaque.

12:08:15    7                 So there's a whole variety of downstream adverse

12:08:18    8   consequences from the actions of certain lipids that can

12:08:23    9   accumulate in the plaque.

12:08:24   10    Q    And did you arrive at that understanding by looking at

12:08:27   11   the references cited in Yokoyama in relation to reduction of

12:08:32   12   lipid action?

12:08:33   13    A    Yes, I did.

12:08:34   14                     MS. HUTTNER:   If we can go to DDX 9.38.

12:08:34   15   BY MS. HUTTNER:

12:08:41   16    Q    Again, this is the same format as before, we have the

12:08:44   17   excerpt from the Yokoyama article at the top and a

12:08:48   18   reproduction of the references from the Yokoyama article in

12:08:51   19   the bubble below that, and then on the right we have the an

12:08:55   20   excerpt from, in this case, the ANDO reference, correct?

12:09:00   21    A    Yes.

12:09:00   22    Q    And do you rely for your interpretation of reduction of

12:09:05   23   lipid action on the highlighted language in the ANDO article?

12:09:14   24    A    Yes, I do.

12:09:15   25    Q    Okay.    And can you briefly explain what -- why you
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12:09:22    1   consider this significant.

12:09:24    2    A    Yes, because these authors are investigating the effect

12:09:30    3   of EPA that is incorporated into the cellular membranes.

12:09:38    4                What they talk about here in that first highlighted

12:09:40    5   area is the incorporation of the cellular phospholipids which

12:09:47    6   means that EPA gets incorporated into building blocks of cell

12:09:52    7   membranes.

12:09:52    8                That this -- the result of this incorporation into

12:09:55    9   the cellular phospholipids decrease the conversion of LDL to a

12:10:04   10   form that is often referred to as oxidized LDL, and this is a

12:10:10   11   result of what's mentioned here as lipid peroxidation or a

12:10:16   12   peroxidation process.

12:10:17   13                So downstream of lipid peroxidation is many of those

12:10:25   14   negative consequences that I referred to before.         They mention

12:10:28   15   a few in this paragraph which we don't need to review in

12:10:32   16   detail.

12:10:32   17                But basically what the bottom line here is that you

12:10:36   18   prevent incorporating EPA into cellular membranes, you prevent

12:10:43   19   the conversion of LDL to a form that has oxidized lipids that

12:10:50   20   have a number of adverse effects on the cell and on the plaque

12:10:56   21   as well.

12:10:57   22    Q    And does disclosure of reduction lipid action in

12:11:02   23   Yokoyama, does that relate or disclose any of the benefits

12:11:05   24   that Dr. Mason cites in paragraph 5 of his report?

12:11:10   25    A    Yes.   In his report he goes over extensively the
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12:11:13    1   importance of oxidized LDL as a negative factor so this speaks

12:11:19    2   directly to some of that material.

12:11:21    3    Q    And which of the four benefits -- let's just go back

12:11:26    4   to -- go to DDX 9.104.      Again, this is paragraph 5 from

12:11:33    5   Dr. Mason's report.

12:11:34    6                 Which of the, which of the functions identified in

12:11:39    7   Dr. Mason's report does reduction of lipid action relate to?

12:11:46    8    A    It would be particularly the first two, because, as I

12:11:49    9   mention, this is incorporated into the membrane and is

12:11:54   10   protective of the membrane so it would be stabilizing the

12:11:58   11   membrane, and by not having those downstream actions of lipid

12:12:03   12   peroxidation, you also would improve endothelial function.

12:12:08   13    Q    All right.    Now I want to direct you to another excerpt

12:12:11   14   from the Yokoyama article.

12:12:13   15                     MS. HUTTNER:   Can we have DDX 9.89, please.

12:12:13   16   BY MS. HUTTNER:

12:12:20   17    Q    Okay.    This particular excerpt in DDX 9.89 is from page 7

12:12:25   18   of DX 1563 which is the Yokoyama article -- I'm sorry, DX 1553

12:12:32   19   which is the Yokoyama article, correct?

12:12:32   20    A    Yes.

12:12:33   21    Q    And in this excerpt, Yokoyama discloses that,

12:12:39   22                    "Dietary fish oil reduces the production of

12:12:43   23         chemoattractants, including leukotriene B4,

12:12:48   24         platelet-derived growth factor, and monocyte

12:12:51   25         chemoattractant protein 1.      These mechanisms reduce
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12:12:56    1         the passage of monocytes and macrophages into the

12:12:59    2         plaque.   Thus, EPA and DHA reduce the numbers of

12:13:03    3         macrophages in the atherosclerotic plaque."

12:13:06    4                   What is Yokoyama telling us here about the

12:13:08    5   effects of EPA?

12:13:10    6    A    That there is a reduced production of particularly

12:13:17    7   important molecules that would promote the growth of the

12:13:23    8   plaque as well as its level of inflammation.

12:13:26    9               For example, leukotriene B4 is a highly inflammatory

12:13:37   10   molecule, and monocyte chemoattractant protein 1, which is

12:13:43   11   usually abbreviated MCP-1, is a major mechanism by which the

12:13:50   12   monocytes are called from the circulation because monocytes

12:13:53   13   are white blood cells in all of us that in our circulation.

12:13:58   14               When there's a need for a macrophage to be in an

12:14:05   15   inflammatory site like a plaque, there's a call to bring in

12:14:11   16   monocytes from the circulation into the tissue, and these

12:14:14   17   monocytes become the macrophages.

12:14:17   18               So if you decreased MCP-1 production, then you would

12:14:23   19   have fewer monocytes entering the plaque and therefore fewer

12:14:28   20   macrophages, and if you had less leukotriene B4 that was

12:14:33   21   stimulating these macrophages, their inflammatory state would

12:14:38   22   be less.

12:14:39   23               So the net result that would be expected from EPA

12:14:42   24   through it's regulation of the production of these molecules

12:14:45   25   would be fewer microphages in the plaque and they'd be less
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12:14:51    1   activated.

12:14:51    2    Q      So which, if any, of the functions identified by

12:14:56    3   Dr. Mason does this excerpt from Yokoyama disclose?

12:15:00    4    A      Well, it would be the two stabilization of plaque and

12:15:05    5   regression because there would be fewer cells and they would

12:15:09    6   be less angry or less activated, as well as the last bin that

12:15:14    7   he has the anti-inflammatory effects.        These would clearly be

12:15:19    8   anti-inflammatory effects as well.

12:15:21    9    Q      By the way, are any of the chemicals or substances

12:15:25   10   identified in this passage, are any of them markers of

12:15:28   11   inflammation?

12:15:30   12    A      Well, markers, yes, high levels of leukotriene B4 are --

12:15:36   13   actually high levels of monocyte chemoattractant protein 1

12:15:41   14   have been taken as indicators of levels of inflammation.

12:15:49   15    Q      So another article that you said you are relying on in

12:15:55   16   the chart that we looked at earlier was an article by Omura

12:16:00   17   correct?

12:16:00   18    A      Yes.

12:16:00   19    Q      And that was a 2001 article, right?

12:16:02   20    A      Yes.

12:16:03   21    Q      And what does Omura 2001 say about the physiological

12:16:09   22   functions of EPA?

12:16:10   23                    MS. HUTTNER:   And, actually, can I have DDX

12:16:14   24   9.46.

12:16:14   25
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12:16:14    1   BY MS. HUTTNER:

12:16:14    2    Q    And the Omura article is DX 2145 is that one of the

12:16:22    3   articles you relied on in this case for your opinion?

12:16:24    4    A    Yes.

12:16:24    5    Q    And you reviewed that chart in detail?

12:16:26    6    A    I did.

12:16:27    7                     MS. HUTTNER:   Your Honor, we would move DX 2145

12:16:31    8   into evidence.

12:16:31    9                     MR. SIPES:   No objection, Your Honor.

12:16:32   10                     THE COURT:   2145 is admitted.

12:16:32   11                            (Defendant's Exhibit 2145 received in
12:16:32                                  evidence.)
12:16:32   12   BY MS. HUTTNER:

12:16:36   13    Q    Okay.    So the right in DDX 9.46 you have an excerpt from

12:16:41   14   page 1 of the Omura article, correct?

12:16:46   15    A    Yes.

12:16:46   16    Q    And does this excerpt discuss the physiological

12:16:48   17   properties of EPA?

12:16:48   18    A    Yes.

12:16:49   19    Q    And can you tell us what's disclosed here.

12:16:52   20    A    Well, it's related to the endothelial function, the

12:16:57   21   ability of the endothelium, healthy endothelial cells to make

12:17:02   22   nitric oxide which would be promoting vasodilation.

12:17:07   23                 What's interesting to me about this article is that

12:17:10   24   studies are done directly on arteries, porcine pig coronary

12:17:15   25   arteries which -- even though this article is from 2001,
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12:17:20    1   actually, pigs are still used as a very important model of

12:17:26    2   human coronary artery disease.

12:17:29    3               And so he has reported beneficial effects of EPA in

12:17:35    4   an important model of coronary artery disease, the pig, as

12:17:40    5   well as doing more mechanistic studies in isolated endothelial

12:17:48    6   cells in which he reports here that there was increased

12:17:51    7   potentiation, just means there was increased release of nitric

12:17:57    8   oxide which was originally discovered as endothelium derived

12:18:02    9   relaxing factor.

12:18:04   10               So the overall conclusion at the bottom is a bit of

12:18:07   11   a double negative way, it's improving endothelial function by

12:18:14   12   decreasing endothelial dysfunction.       So it's just a linguistic

12:18:14   13   twist.

12:18:19   14               What these authors are concluding is that

12:18:23   15   polyunsaturated fatty acids, especially EPA, overcomes

12:18:28   16   endothelial dysfunction which means it's improving endothelial

12:18:34   17   dysfunction -- it's improving endothelial function, which

12:18:37   18   would be expected to suppress the atherogenic, that just means

12:18:42   19   the development, the growth of the plaque processes.

12:18:45   20    Q    And is there any overlap between this disclosure that you

12:18:49   21   just described in Omura and the -- any of the physiological

12:18:54   22   functions that Dr. Mason discusses in paragraph 5 of his

12:18:57   23   report?

12:18:57   24    A    Yes, improved endothelial function.

12:19:03   25                   MS. HUTTNER:    Now, Your Honor, I believe we're
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12:19:05    1   going to have an objection in this next part.         Do you want

12:19:08    2   me -- do you want -- the objection -- let me just raise it.

12:19:12    3                   There was a criticism of Dr. Fisher's reliance

12:19:16    4   on the Omura article and Dr. Mason's reply report which

12:19:23    5   obviously he didn't have an opportunity to respond to.

12:19:26    6                   You know, the objection is that Dr. Fisher's

12:19:29    7   report doesn't discuss this reference because obviously he was

12:19:32    8   not aware of it until it surfaced in Dr. Mason's reply report.

12:19:37    9                   We had intended to address that now.        I think it

12:19:40   10   is fair game, certainly, I guess we could wait until our

12:19:44   11   rebuttal case, but it seems while we have Dr. Fisher on the

12:19:48   12   stand that it makes sense to respond to that.

12:19:50   13                   I believe their position is that we don't get to

12:19:52   14   respond to that because he didn't foresee that Dr. Mason would

12:19:56   15   rely on it in his reply report or, alternatively, that I

12:20:01   16   should have elicited direct testimony from Dr. Fisher about

12:20:04   17   the article at his deposition.

12:20:07   18                   Neither position is one that I agree with, but

12:20:09   19   Your Honor will rule.

12:20:10   20                   THE COURT:    So by the time of Dr. Fisher's

12:20:14   21   deposition, he would have seen Dr. Mason's reply report?            Is

12:20:17   22   that basis for objecting as to why this information was not

12:20:20   23   elicited at his deposition?

12:20:22   24                   MS. HUTTNER:    I believe that's his position,

12:20:24   25   that I should have elicited from his -- at his deposition of
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12:20:28    1   Dr. Fisher that I should have elicited testimony about aspects

12:20:33    2   of Dr. Mason's reply report that he did not inquire about at

12:20:37    3   the deposition.

12:20:38    4                    MR. SIPES:   Your Honor, if I could actually

12:20:39    5   state my own objection?

12:20:43    6                    MS. HUTTNER:   I may have done a better job.

12:20:46    7                    MR. SIPES:   Well, I will incorporate her

12:20:47    8   objection into mine, I suppose.

12:20:49    9                    But, yeah, so they would like Dr. Fisher to

12:20:51   10   testify about a technical article that is not anywhere cited

12:20:55   11   in his report.

12:20:56   12                    Their complaint now apparently is that it was

12:20:59   13   cited in a reply report and therefore it should be fair game

12:21:02   14   for them.

12:21:03   15                    My view is if they had recognized in the reply

12:21:06   16   reports -- there was quite a bit space between the reply

12:21:09   17   reports and the depositions.      If they had identified that they

12:21:12   18   wanted to supplement Dr. Fisher's report with a response on

12:21:15   19   this, they could have done so in advance of the deposition and

12:21:17   20   I would have had an opportunity to question Dr. Fisher.

12:21:21   21                    Indeed, there's been a lot of time in the case

12:21:23   22   where we need to supplement Dr. Fisher's report and we'll give

12:21:27   23   you an opportunity to question him on it.        We could have done

12:21:30   24   so.

12:21:30   25                    Here we are in court, now they want to elicit
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12:21:33    1   direct testimony from their technical expert, I've have had no

12:21:36    2   opportunity to question the expert on this article.

12:21:40    3                   MS. HUTTNER:    Your Honor, I mean --

12:21:40    4                   THE COURT:    Ms. Huttner, that argument resonates

12:21:42    5   with me in terms of fairness to both sides.         That's the reason

12:21:46    6   why you have extensive discovery and exchanges of reports.

12:21:50    7                   And I understand that Dr. Fisher would have no

12:21:55    8   reason to address it in his initial report, but at least by

12:21:58    9   the time of his deposition, he could have testified to the

12:22:02   10   article in the -- in Dr. Mason's reply or could have

12:22:08   11   supplemented.

12:22:09   12                   So how would you -- what's the counterpoint?

12:22:11   13                   MS. HUTTNER:    Well, Your Honor, I've been doing

12:22:13   14   this -- I mean, the typical practice in at least in my

12:22:15   15   experience in these kinds of cases, especially in this case, I

12:22:18   16   mean, you may recall, we had 13 depositions, 13 expert

12:22:22   17   depositions that took place within a month of reply reports

12:22:26   18   coming in.

12:22:26   19                   And, you know, frankly, in my experience

12:22:30   20   normally the reply reports, because obviously they have the

12:22:34   21   last word on a topic, are simply to the extent there's a

12:22:37   22   question there, the examiner, the proponent of the reply

12:22:43   23   report, in other words, usually asks about issues that

12:22:46   24   they're -- that arise in the reply report.

12:22:49   25                   I've not been involved in a situation in which I
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12:22:52    1   was effectively put in a position of either having to elicit

12:22:57    2   direct testimony about things not in the existing report at

12:23:00    3   the deposition or I would have had to seek leave from the

12:23:03    4   Court to file a supplemental opinion of Dr. Fisher.

12:23:07    5                   I mean, there are many things in the reply

12:23:09    6   report, not only of Dr. Mason but of Dr. Ismail that, you

12:23:14    7   know, my -- that are criticisms of this or that in the main

12:23:18    8   reports.    You know, that -- this is a very short segment.         I

12:23:24    9   mean, essentially, Dr. --

12:23:25   10                   THE COURT:    Hang on.   So clearly you felt

12:23:28   11   that -- and Dr. Fisher felt that the information, this part of

12:23:32   12   the information in the reply report is sufficient enough that

12:23:34   13   he's going to testify.

12:23:36   14                   So this is not an issue of referencing

12:23:39   15   everything in the reply, and my concern -- like I said, the

12:23:43   16   argument that now Mr. Sipes is not going to be prepared to

12:23:46   17   address this part of the testimony because it hasn't -- he

12:23:49   18   wasn't on notice that this will be addressed.         How --

12:23:52   19                   MS. HUTTNER:    Well, Your Honor --

12:23:52   20                   THE COURT:    How do I alleviate that issue of

12:23:56   21   surprise?

12:23:57   22                   MS. HUTTNER:    Okay.    So two points, Your Honor.

12:23:59   23   First of all -- and I could show this to you if you like.

12:24:02   24                   But in Dr. Mason's report, there's a -- there's

12:24:04   25   a number of statements about the Omura article, and then
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12:24:09    1   there's a footnote with some more statements in it, and at the

12:24:12    2   end of that footnote they cite to a particular article.

12:24:15    3                   So they don't cite to any specific portion of

12:24:17    4   the article, there's no PIN cite, you know, there's no

12:24:20    5   really -- it's not even a hundred percent clear to me what

12:24:23    6   he's citing that article for.

12:24:25    7                   So, quite frankly, I would not have sought to

12:24:29    8   put in a surreply report on that because there was just no way

12:24:32    9   of telling what it was that Mason was relying on --

12:24:35   10                   THE COURT:    And how do you know now what he's

12:24:37   11   replying on?

12:24:38   12                   MS. HUTTNER:    I don't know what he's relying on.

12:24:41   13   Essentially what Dr. Fisher would testify to is that there's

12:24:43   14   nothing in the article that supports the criticism, that's all

12:24:45   15   he's going it say.

12:24:46   16                   And the other thing he would say is that -- the

12:24:48   17   specific criticism by Dr. Mason was that Omura used the wrong

12:24:53   18   method to detect nitric oxide in the experiments, Omura's

12:24:58   19   experiments that are described in that article.

12:25:00   20                   So essentially all he's going say is to identify

12:25:04   21   what was that method, it's a method called the Dan method.

12:25:06   22                   And then the only thing he's going to say about

12:25:09   23   the reference is that that -- that assay, the Dan method, is

12:25:14   24   disclosed in the reference that Dr. Mason relied on as an

12:25:17   25   acceptable method for measuring nitric oxide in biological
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12:25:22    1   samples.    That's it.   There's no technical discussion.

12:25:24    2                   He is simply going say that the Mason article is

12:25:27    3   a survey article, it discloses acceptable -- various

12:25:27    4   acceptable methods of measuring nitric oxide and that the Dan

12:25:36    5   assay that Omura used is one of those methods.

12:25:37    6                   That's the entirety -- that's my offer of proof

12:25:40    7   on this testimony.

12:25:40    8                   And, you know, frankly, if Mr. Sipes wants to

12:25:42    9   defer until the rebuttal case, and if he wants to take a

12:25:48   10   short, very short deposition from Dr. Fisher to find out what

12:25:51   11   he's going to say about it, if that's his concern, I'll be

12:25:55   12   happy to do that.

12:25:56   13                   But, as I say, all he's going say is this is a

12:25:56   14   survey article, discloses a variety of acceptable methods, and

12:26:03   15   one of the methods that it discloses is the method that Omura

12:26:04   16   used.

12:26:05   17                   MR. SIPES:    Your Honor, a couple of quick

12:26:06   18   points.    I'm in trial now, I'm really not looking to take a

12:26:10   19   deposition at the same time.

12:26:11   20                   THE COURT:    I can understand that, although you

12:26:12   21   do have week break next week.

12:26:14   22                   MS. HUTTNER:    I'm not anxious either, Your

12:26:16   23   Honor, don't get me wrong.

12:26:17   24                   MR. SIPES:    And I would say, because I feel this

12:26:19   25   very strongly, it is not typical practice, it is certainly not
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12:26:23    1   my typical practice to put on direct testimony from an expert

12:26:27    2   of matters that are outside the opening report.

12:26:31    3                   So I disagree with Ms. Huttner that this is

12:26:33    4   somehow typical practice.

12:26:34    5                   You know, it does seem like they are

12:26:36    6   hypothesizing an issue where somehow they didn't have to alert

12:26:39    7   us to this idea that they wanted to supplement earlier.             I

12:26:41    8   don't think Ms. Huttner has made that case.

12:26:44    9                   If what she's saying here is that we will be

12:26:46   10   given the same latitude to respond to points in their experts'

12:26:50   11   reply reports with our experts when we put them on, I suppose

12:26:54   12   that would be a level playing field and so we would be willing

12:26:58   13   to go forward on that basis.

12:26:59   14                   It does seem like they have, however, in this

12:27:03   15   particular examination really gone into matters that are

12:27:08   16   outside the report, but if this is what Ms. Huttner is saying

12:27:11   17   should be the practice now --

12:27:12   18                   THE COURT:    Well, and it seems --

12:27:13   19                   MS. HUTTNER:    I don't think --

12:27:14   20                   THE COURT:    Hang on.   Given the vasta (phon)

12:27:16   21   case, it seems to me that perhaps it's best to leave this for

12:27:20   22   defendant's rebuttal case.

12:27:22   23                   MS. HUTTNER:    That's fine.

12:27:23   24                   THE COURT:    Because you're also trying to guess

12:27:25   25   as to what Dr. Mason will testify.
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12:27:27    1                   MS. HUTTNER:    That's exactly what I was going it

12:27:29    2   say.   I mean, it's little bit weird here because we don't have

12:27:32    3   the witness to which he's responding, and I have to anticipate

12:27:34    4   what he's going say based on what's have in the report.

12:27:38    5                   So I'm perfectly fine in waiting to see what

12:27:39    6   Dr. Mason has to say about the Omura article, if anything, and

12:27:43    7   whether he relies on this article, and, if he does, then I

12:27:46    8   think we're within our rights to rebut that testimony.          But I

12:27:50    9   will happily defer to that point.

12:27:52   10                   MR. SIPES:    And, Your Honor, what is happening

12:27:53   11   is there's an order for production the defendants have urged

12:27:56   12   which is fine with us.

12:27:57   13                   The reason this is happening is because they

12:27:59   14   wanted to go first on invalidity so we did not address

12:28:02   15   invalidity in our opening case, we'll do it in our third round

12:28:06   16   so this is -- it's just the nature of the order --

12:28:08   17                   THE COURT:    No, I understand.     I already agree

12:28:09   18   with that approach.

12:28:10   19                   And so I think what makes sense -- and I don't

12:28:13   20   know what the parties' practice are, I'm just reacting to this

12:28:17   21   based on my sense of fairness in terms of trial and the fact

12:28:20   22   that one party shouldn't be able to surprise or ambush the

12:28:24   23   other.

12:28:24   24                   This is why we have extensive discovery, and I

12:28:27   25   feel for you that there are a lot of depositions and expert
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12:28:30    1   witnesses disclosed, but it doesn't mean that a party can have

12:28:35    2   an expert address an issue that was not addressed in the

12:28:40    3   report or in a subsequent deposition.

12:28:42    4                   With that in mind, I think that -- I'm willing

12:28:46    5   to defer this issue should it come up in the rebuttal.          So

12:28:50    6   let's move on to another --

12:28:52    7                   MS. HUTTNER:    That's fair, Your Honor.

12:28:53    8                   Your Honor, it's 12:30 and I don't know

12:28:55    9   whether -- I'm going to move on to a different reference, I

12:28:58   10   don't know whether you want to break now or break later, up to

12:29:00   11   you.

12:29:00   12                   THE COURT:    We probably should break now.

12:29:02   13                   MS. HUTTNER:    Okay.    I was hoping you would come

12:29:04   14   out that way, Your Honor.

12:29:05   15                   THE COURT:    All right.    We'll take a break.

12:29:09   16                   MS. HUTTNER:    My colleagues are grateful too.

12:29:09   17                           (The noon recess was taken.)

12:29:11   18                                  --o0o--

12:29:11   19

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12:29:11    1          RENO, NEVADA, FRIDAY, JANUARY 17, 2020, 12:47 P.M.

12:29:11    2                                    ---o0o---

01:10:28    3

01:10:28    4                     THE COURT:   Please be seated.

01:10:30    5                     MS. HUTTNER:    May I resume, Your Honor?

01:10:32    6                     THE COURT:   Yes.

01:10:34    7                     MS. HUTTNER:    Can I have DDX 9.40, Mr. Gross.

01:10:34    8                        DIRECT EXAMINATION RESUMED

01:10:34    9   BY MS. HUTTNER:

01:10:46   10    Q    Okay.    This is the chart that we looked at before that

01:10:48   11   discusses the references that you rely on for your opinion

01:10:52   12   that the properties identified by Dr. Mason in his --

01:10:57   13   paragraph 5 of his opening report were disclosed in the prior

01:11:01   14   art, and we've talked about Yokoyama and Omura.

01:11:06   15                 And the next article I would like to ask you about

01:11:09   16   is the Terano article, okay?

01:11:12   17    A    Yes.

01:11:12   18    Q    So let's start with --

01:11:15   19                     MS. HUTTNER:    Let's go to DDX 9.48.

01:11:15   20   BY MS. HUTTNER:

01:11:28   21    Q    Now, before we talk about the snapshot on DDX 9.48, just

01:11:33   22   to orient ourselves, the DX 2143, which is in the background

01:11:40   23   here, that's copy of the Terano article; is that correct?

01:11:52   24    A    Yes, I'm sorry.

01:11:52   25    Q    Yes.    That was a scintillating question, I can
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01:11:52    1   understand.

01:11:55    2                 So is the Terano article a reference that you read

01:11:57    3   and relied on in your expert report?

01:12:00    4    A    Yes, it is.

01:12:01    5                     MS. HUTTNER:   Your Honor, we would move the

01:12:03    6   Terano article, DX 2143 into evidence.

01:12:07    7                     MR. SIPES:   No objection.

01:12:07    8                     THE COURT:   2143 is admitted.

01:12:07    9                            (Defendant's Exhibit 2143 received in
01:12:07                                  evidence.)
01:12:09   10   BY MS. HUTTNER:

01:12:11   11    Q    Okay.    Now, the snapshot that's on DDX 9.48 that's on the

01:12:15   12   screen is taken from page -- page 6 of DX 2143, correct?

01:12:25   13    A    Yes.

01:12:25   14    Q    And in this snapshot, is Terano discussing the properties

01:12:30   15   of EPA?

01:12:32   16    A    Yes.

01:12:33   17    Q    And what does Terano say on that subject?

01:12:36   18    A    Well, he's discussing in relationship to its

01:12:40   19   anti-inflammatory actions, and says that these actions can

01:12:48   20   probably be attributed to reduced synthesis of prostaglandins,

01:12:54   21   particularly PGE2 and possibly LTB which is that leukotriene B

01:13:00   22   molecule we saw before.

01:13:02   23                 So prostaglandins are known to give rise to many

01:13:05   24   inflammatory molecules or mediators, so by reducing the

01:13:10   25   synthesis of these molecules, it would be expected to have an
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01:13:17    1   anti-inflammatory effect.

01:13:20    2    Q    And it goes on to state in this snapshot, Terano

01:13:24    3   concludes,

01:13:25    4                   "Therefore, increased EPA intake could offer

01:13:28    5         a novel and nontoxic alternative to conventional

01:13:32    6         anti-inflammatory therapy."

01:13:33    7    A    Yes.

01:13:34    8    Q    Does that further persuade you that what Terano is

01:13:38    9   disclosing in this excerpt is the anti-inflammatory properties

01:13:41   10   of EPA?

01:13:42   11    A    Yes, it does.

01:13:43   12    Q    Does the fact that CRP is not mentioned here, does that

01:13:47   13   in any way matter in terms of the opinion you're expressing

01:13:51   14   about what's disclosed in Terano?

01:13:53   15    A    No.    As I mentioned before, CRP is one of many markers of

01:13:58   16   inflammation so that's not important.

01:14:01   17    Q    And just for the record, which of the physiological

01:14:05   18   effects that Dr. Mason identifies in paragraph 5 does the

01:14:08   19   Terano disclosure overlap with?

01:14:11   20    A    The anti-inflammatory one.

01:14:16   21                    MS. HUTTNER:   All right.    Let's move on to the

01:14:18   22   Surette article.     May I have DDX 9.51, please, Mr. Gross.

01:14:18   23   BY MS. HUTTNER:

01:14:23   24    Q    Okay.   And, again, let's just get oriented here.        In the

01:14:28   25   background is DX 2144, correct?
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01:14:33    1    A    Yes.

01:14:33    2    Q    And DX2144 is the Surette article that you relied on?

01:14:37    3    A    It is.

01:14:38    4    Q    And you reviewed that article and cite to it in your

01:14:41    5   expert report?

01:14:42    6    A    I did.

01:14:43    7    Q    Okay.    Now, you have some other -- you have a number of

01:14:48    8   call-outs on the slide, and on the right, there is a diagram,

01:14:53    9   a picture, I think used the term cartoon in describing these

01:14:57   10   kinds of pictures, right?

01:14:58   11    A    Yes.

01:14:59   12    Q    So what's in that, what's that cartoon showing?

01:15:02   13    A    It's showing in the context of a cell where the authors

01:15:07   14   think these actions of EPA would be occurring, and it points

01:15:16   15   out the -- looks like a -- I wouldn't call it a pizza, but

01:15:23   16   that structure with the membrane protein blue thing embedded

01:15:28   17   in it, that's a cartoon of the membrane, the type of membrane

01:15:32   18   that surrounds all our cells.

01:15:34   19                 It makes a point that the omega-3 fatty acids are

01:15:39   20   incorporated into the cell membranes particularly in that

01:15:45   21   phospholipid molecule that we talked about before.

01:15:47   22                 So that when you have incorporation of the omega-3

01:15:54   23   fatty acids in the membranes, they have a number of beneficial

01:15:58   24   functions before we learned that they decreased the

01:16:04   25   peroxidation of LDL.     Here, he's showing, the authors are
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01:16:10    1   showing other benefits of that incorporation.

01:16:13    2                 We have the downstream signaling from these

01:16:21    3   molecules so that with the effects to diminish the production

01:16:29    4   of those prostaglandins and, again, leukotrienes.         There would

01:16:34    5   be effects as far down as in the nucleus to change the

01:16:37    6   expression of inflammatory pathways in cells that are found in

01:16:42    7   the plaque.

01:16:43    8                 We talked about monocytes becoming macrophages.       So

01:16:48    9   without getting too Biology 101, just to point out that a lot

01:16:53   10   is incapsulated in this review.

01:16:55   11                 That the incorporation of omega-3 fatty acids occurs

01:16:58   12   in membranes.     They have a number of beneficial effects on

01:17:03   13   membrane stabilization, as well as the decreased production of

01:17:08   14   inflammatory molecules, as well as decreased activation of the

01:17:14   15   types of cells that can cause problems in plaques.

01:17:17   16    Q    All right.    Now, in the middle, in the second -- well, in

01:17:23   17   the first call-out, is Surette simply saying that omega-3

01:17:29   18   fatty acids are incorporated into cell membranes?

01:17:33   19    A    In the --

01:17:35   20    Q    Yeah, it says, "In particular dietary omega-3 fatty

01:17:35   21   acids" --

01:17:35   22    A    Yes.

01:17:39   23    Q           -- "compete with the omega-6 family of dietary

01:17:45   24          polyunsaturated fatty acids for incorporation into

01:17:49   25          all cell membranes."
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01:17:50    1                   That's what you were just describing, right?

01:17:51    2    A      Yes, that is correct.

01:17:52    3    Q      In the second snapshot on the bottom in the middle of DDX

01:17:58    4   9.51, it says, "Dietary omega-3 fatty acids" -- and that would

01:18:02    5   include EPA, correct?

01:18:04    6    A      Yes.

01:18:04    7    Q             -- "directly affect arachidonic acid metabolism

01:18:11    8            because they displace arachidonic acid from membranes

01:18:16    9            and compete with arachidonic acid for the enzymes

01:18:20   10            that catalyze the biosynthesis of thromboxanes,

01:18:25   11            prostaglandins and leukotrienes."

01:18:27   12                   Let's just stop there for a moment.   What does that

01:18:30   13   mean?

01:18:30   14    A      Well, we've heard about particularly prostaglandins and

01:18:34   15   leukotrienes, and they are derived from arachidonic acid, and

01:18:41   16   if you don't allow arachidonic acid to be incorporated by

01:18:50   17   competition, essentially, if you have enough EPA or DHA to be

01:18:55   18   incorporated, you would exclude arachidonic acid from being

01:19:00   19   incorporated, and this would decrease the pool of arachidonic

01:19:04   20   acid that would be converted to the inflammatory molecules

01:19:09   21   that are prostaglandins and leukotrienes.

01:19:12   22    Q      And it goes on in that same excerpt to say,

01:19:16   23                      "Thus the net effect of consuming foods

01:19:19   24           enriched in omega-3 fatty acids is a diminished

01:19:23   25           potential for cells like monocytes, neutrophils and
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01:19:26    1         eosinophils to synthesize these powerful arachidonic

01:19:30    2         acid-derived mediators of inflammation and a

01:19:33    3         diminished potential for platelets to produce a

01:19:37    4         prothrombotic agent thromboxane A."

01:19:40    5                     What does that -- is the author talking about

01:19:41    6   there?

01:19:41    7    A    Well, he has that's a lot of things in there.

01:19:45    8                 Just to try to keep it short, the inflammatory

01:19:50    9   mediators that we just discussed would have effects on the

01:19:56   10   level of inflammation.

01:19:58   11                 The very last part actually is hooking this,

01:20:04   12   connecting this to an anti-thrombotic effect of EPA.

01:20:09   13                 We mentioned before we -- I mentioned before that

01:20:13   14   the clot that forms after a plaque ruptures is what causes the

01:20:19   15   heart attack.

01:20:20   16                 What they're saying here is there might be less of a

01:20:24   17   chance of a clot to form as a result of having increased

01:20:31   18   omega-3 fatty acids in the membranes of the cells.

01:20:35   19    Q    Okay.    And which physiological functions of EPA

01:20:39   20   identified in paragraph 5 of Dr. Mason's report does Surette

01:20:44   21   disclose in your opinion?

01:20:45   22    A    Primarily the anti-inflammatory, but also plaque

01:20:53   23   stabilization because, as I mentioned before, an unstable

01:20:57   24   plaque has a very high level of inflammation.

01:21:00   25                     MS. HUTTNER:   Your Honor, I don't recall if I
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01:21:02    1   moved DX 2144 into evidence.      That's the Surette article.

01:21:06    2   But, if not, if I haven't done it already, I would like to do

01:21:09    3   it so now.

01:21:10    4                     THE COURT:   You haven't.   Is there any

01:21:11    5   objection?

01:21:11    6                     MR. SIPES:   No objection, Your Honor.

01:21:12    7                     MS. HUTTNER:   Thank you, Your Honor.

01:21:13    8                     THE COURT:   2144 is admitted.

01:21:13    9                            (Defendant's Exhibit 2144 received in
01:21:13                                  evidence.)
01:21:13   10   BY MS. HUTTNER:

01:21:16   11    Q    Okay.    So the last article that I want to discuss with

01:21:19   12   you is the Suzuki article.       I'm sorry, before we leave the

01:21:23   13   Surette article, Surette was published prior to March 2008; is

01:21:27   14   that correct?

01:21:27   15    A    That is correct.

01:21:28   16    Q    All right.    Let's move on to Suzuki, which is another

01:21:32   17   reference that you cite in support of your opinions.

01:21:36   18                     MS. HUTTNER:   And let's go to DDX 9.52, please.

01:21:36   19   BY MS. HUTTNER:

01:21:40   20    Q    Okay.    And, again, we have the same arrangement.       We have

01:21:44   21   on the left a picture of DX 2144, which is the -- I'm sorry,

01:21:53   22   DX 2146, which is the Suzuki article, and on the right, we

01:21:57   23   have an excerpt from that article taken from pages 1 and 2 of

01:22:02   24   the Suzuki article.

01:22:03   25                 For the record, Dr. Fisher, is DX 2146 the Suzuki
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01:22:09    1   article that you rely on in your expert report?

01:22:11    2    A    Yes.

01:22:12    3    Q    And you reviewed that article?

01:22:13    4    A    I did.

01:22:15    5                    MS. HUTTNER:   Your Honor, we would move DX 2146

01:22:18    6   into evidence.

01:22:19    7                    MR. SIPES:   No objection, Your Honor.

01:22:20    8                    THE COURT:   2146 is admitted.

01:22:20    9                           (Defendant's Exhibit 2146 received in
01:22:20                                 evidence.)
01:22:20   10   BY MS. HUTTNER:

01:22:23   11    Q    All right.    Now does Suzuki disclose the physiological

01:22:26   12   properties of EPA?

01:22:27   13    A    It does.

01:22:28   14    Q    And what does Suzuki disclose on that subject?

01:22:31   15    A    Well, it's primarily discussing the augmentation of the

01:22:40   16   endothelium dependant vasodilatation that actually was

01:22:45   17   observed in patients.     This was a clinical study.      And the

01:22:52   18   mechanism that is likely to be responsible for that is

01:22:58   19   included in the phrase enhancement of nitric oxide production.

01:23:05   20                We also just discussed on the previous slide the

01:23:13   21   relationship of thrombosis to heart attacks, and so there's

01:23:16   22   another desirable effect there.

01:23:21   23                And the inhibition of cytokine synthesis, those are

01:23:27   24   inflammatory substances, inhibition of superoxide generation,

01:23:33   25   that relates to the lipid actions that we talked about before,
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01:23:39    1   the damaging peroxidation, the species that can damage

01:23:45    2   membranes prateins in cells.

01:23:48    3                 And finally the suppression of the leukocyte

01:23:52    4   endothelium interaction, I described already how the monocytes

01:23:56    5   first stick to the endothelium and then get passage inside to

01:24:02    6   the plaque to become macrophages.       So all of these would be

01:24:05    7   considered beneficial.

01:24:07    8    Q    Okay.    Now, the -- I mean, the author does in fact use

01:24:11    9   the term beneficial effects of EPA, right?

01:24:15   10    A    Yes.

01:24:15   11    Q    And it says in the first paragraph it says,

01:24:17   12                    "Although the precise mechanisms of these

01:24:20   13         beneficial effects of EPA remain to be clarified,

01:24:23   14         several possible mechanisms have been reported,"

01:24:27   15   and then it goes on to list the various properties or

01:24:30   16   functions that you've just testified about.

01:24:32   17                 My question to you, Dr. Fisher, is, do you

01:24:35   18   understand Suzuki in this paragraph to be describing

01:24:39   19   beneficial effects of EPA that were described in the

01:24:44   20   literature before Suzuki wrote his article?

01:24:47   21    A    Yes.

01:24:50   22    Q    So at the time that Suzuki published this article, Suzuki

01:24:53   23   was saying these properties of EPA are already known?

01:24:56   24    A    Yes, he's briefly reviewing the state of the field and

01:25:00   25   setting up their own set of studies that they performed.
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01:25:04    1    Q    And referring to those studies, the article goes on to

01:25:07    2   talk about Suzuki's own experimental work, correct?

01:25:11    3    A    Yes.

01:25:11    4    Q    And in that experimental work, Suzuki's goal was to show

01:25:15    5   that EPA had yet another beneficial property in addition to

01:25:20    6   what's listed here as already known; is that right?

01:25:22    7    A    Yes.    That is correct.

01:25:23    8    Q    And that additional beneficial property that Suzuki was

01:25:27    9   looking for has -- is called -- has something to do with a

01:25:30   10   term apoptosis; is that right?

01:25:33   11    A    Yes, that's cell death.     And they are aiming to

01:25:40   12   investigate the protection of endothelial cells, ECs, against

01:25:47   13   the cell death.

01:25:49   14                 And can you imagine implicit in improvement in

01:25:54   15   endothelial function, you need healthy endothelial cells so if

01:25:59   16   they die, this is not going to be very good for atherotic

01:26:08   17   plaque.

01:26:09   18    Q    Okay.    And just to get to be clear, the first part where

01:26:11   19   he talks about the beneficial effects of EPA, he's saying

01:26:14   20   here's what we already know about EPA, right?

01:26:16   21    A    Yes.

01:26:17   22    Q    And then he's hoping to discover something new.

01:26:19   23    A    Correct.

01:26:20   24    Q    Now, is there any overlap between this disclosure that

01:26:28   25   you've described in Suzuki of the beneficial effects of EPA
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01:26:31    1   and the beneficial effects of Vascepa or EPA that Dr. Mason

01:26:38    2   identifies in paragraph 5 of his report?

01:26:40    3    A    Yes.

01:26:41    4    Q    Okay.    And can you tell me what -- what functions

01:26:44    5   identified by Dr. Mason in paragraph 5 of his report were

01:26:48    6   disclosed in Suzuki.

01:26:50    7    A    Essentially, all of them.      This is a list that is

01:26:56    8   relevant to all of them.       We have the improvement in

01:27:00    9   endothelial function here mentioned in two contexts, the NO

01:27:05   10   production, as well as the vaso -- endothelium-dependent

01:27:10   11   vasodilation, the stabilization of the membrane.

01:27:14   12                 This is embedded in the inhibition of superoxide

01:27:18   13   generation since superoxide damages membranes, the

01:27:22   14   inflammation, anti-inflammatory because of the inhibition of

01:27:22   15   cytokine synthesis.

01:27:22   16                 And the stabilization and regression of plaques is

01:27:30   17   related to the suppression of the leukocyte endothelium

01:27:39   18   interaction because that will drive the number of inflammatory

01:27:40   19   cells that are in the plaque, and so by decreasing them you

01:27:45   20   would be stabilizing the plaque and promoting it's regression.

01:27:49   21                     MS. HUTTNER:   Okay.   And, Your Honor, I would

01:27:51   22   move the -- the Suzuki article, which is DX 2146, into

01:27:56   23   evidence if I haven't already.

01:27:58   24                     MR. SIPES:   No objection, Your Honor.

01:27:59   25                     THE COURT:   2146 -- I thought I admitted it
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01:28:01    1   already.       But if I haven't --

01:28:02    2                      MS. HUTTNER:   You may have, Your Honor.    I'm --

01:28:04    3                      THE COURT:   I know there have been many --

01:28:04    4                      MS. HUTTNER:   I'm not even going to pretend like

01:28:04    5   I can keep track.

01:28:04    6   BY MS. HUTTNER:

01:28:11    7    Q      Just to be -- just so summarize your position,

01:28:15    8   Dr. Fisher, is it your opinion that all of the physiological

01:28:18    9   functions of EPA that Dr. Mason discusses in paragraph 5 of

01:28:24   10   his report are -- were disclosed in the prior art prior to

01:28:29   11   2008?

01:28:29   12    A      Yes, that is my opinion.

01:28:30   13    Q      And that a person of ordinary skill in the art would have

01:28:33   14   been aware of that?

01:28:33   15    A      Yes.

01:28:34   16    Q      And is it also your opinion that all of the physiological

01:28:40   17   functions identified by Dr. Mason in paragraph 5 of his

01:28:44   18   opening report are inherent properties of EPA, the active

01:28:48   19   ingredient, and not the result of the methods described in the

01:28:51   20   asserted claims in this case?

01:28:53   21    A      Yes.

01:28:53   22    Q      Okay.    Now, before -- before we leave paragraph 5 of

01:29:10   23   Dr. Mason's -- at least this aspect of paragraph 5 of

01:29:16   24   Dr. Mason's opening report, I would like to ask you a

01:29:19   25   question.
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01:29:19    1                     MS. HUTTNER:    I want to pull up, if I can,

01:29:22    2   DDX 9.100, Steve.

01:29:22    3   BY MS. HUTTNER:

01:29:27    4    Q    Okay.    This is a reproduction of paragraph 19 from

01:29:31    5   Dr. Mason's reply report.        And I -- he begins by saying he

01:29:37    6   disagrees with you that these mechanisms from paragraph 5 of

01:29:41    7   his report were known before March 2008.

01:29:44    8                 And then he goes on to say,

01:29:45    9                    "Further, I believe that any limited

01:29:47   10         understanding of EPA's physiological effects in March

01:29:51   11         2008 would not have been sufficient to lead a person

01:29:55   12         of ordinary skill in the art to expect that high

01:29:56   13         purity EPA would provide the dramatic cardiovascular

01:30:00   14         benefit that was ultimately observed in REDUCE-IT."

01:30:03   15                     And I just want to be very clear here, sir.       Did

01:30:06   16   you, in your report, did you ever express the opinion that if

01:30:09   17   a person of ordinary skill in the art prior to 2008 had been

01:30:12   18   aware of the physiological effects of EPA, that based on that

01:30:16   19   information alone they would have been able to predict the

01:30:20   20   results in REDUCE-IT?

01:30:20   21    A    I did not.

01:30:21   22    Q    And do you believe that that's true?

01:30:23   23    A    No.

01:30:24   24    Q    Okay.    Now, let's move on.     Dr. Mason --

01:30:27   25                     MS. HUTTNER:    Let's go back to DDX9.105.
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01:30:27    1   BY MS. HUTTNER:

01:30:35    2    Q    Okay.    Just again to reorient ourselves, this is the

01:30:38    3   summary paragraph from Dr. Mason's report, paragraph 5, and I

01:30:43    4   want to talk now about Dr. Mason's last opinion which is that

01:30:48    5   there is, quote.

01:30:48    6                    "...there is a strong basis to conclude that

01:30:51    7         the cardiovascular risk reduction with Vascepa

01:30:54    8         observed in a clinical trial called REDUCE-IT applies

01:30:57    9         to patients with triglyceride levels greater than or

01:31:01   10         equal to 500."

01:31:03   11                     And I just want to clarify one point at the very

01:31:06   12   beginning.     The -- the intended triglyceride levels according

01:31:12   13   to the REDUCE-IT study protocol were what?

01:31:14   14    A    Between 200 and 499.

01:31:21   15    Q    Right.    And I believe --

01:31:22   16    A    With a -- with changes in that category but in the high

01:31:28   17   triglyceride group.

01:31:29   18    Q    Okay.    So just to be clear, the lower -- you're referring

01:31:32   19   to the fact that the original REDUCE-IT protocol I think

01:31:35   20   specified a lower bound of baseline triglyceride levels of

01:31:41   21   135, and then that was subsequently raised --

01:31:44   22    A    Yes.

01:31:45   23    Q    -- to 200, correct?

01:31:45   24    A    Correct.

01:31:45   25    Q    Okay.    But the upper bound the patients was supposed to
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01:31:49    1   meet was 499, right?

01:31:50    2    A    Yes.

01:31:51    3    Q    So just south of the very high triglyceride territory?

01:31:55    4    A    Yes.

01:31:55    5    Q    Okay.   And was -- there's been some testimony, I don't

01:31:59    6   recall whether it's been in this case or in the depositions,

01:32:02    7   but, nonetheless, there was some testimony I think from

01:32:06    8   Dr. Ismail that if you look at the REDUCE-IT study report,

01:32:09    9   some of the ranges report at the high end triglyceride levels

01:32:13   10   above 500 in some patients; is that right?

01:32:17   11    A    Correct.

01:32:18   12    Q    And is there any way to tell from the REDUCE-IT report

01:32:24   13   how many patients above 500 were enrolled or participated in

01:32:30   14   REDUCE-IT?

01:32:30   15    A    No.

01:32:30   16    Q    In any event, was -- in your opinion, was the REDUCE-IT

01:32:33   17   study designed to test the effects of Vascepa in patients with

01:32:37   18   very high triglycerides?

01:32:38   19    A    No, they were excluded, in fact, from the inclusion

01:32:42   20   criteria.

01:32:43   21    Q    And would REDUCE-IT have the ability -- from a

01:32:46   22   statistical point of view, would it be sufficiently powered to

01:32:52   23   detect any benefits in a patient population with triglycerides

01:32:54   24   of 500 or higher?

01:32:57   25    A    No.
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01:32:57    1                    MR. SIPES:    Objection, Your Honor.    He's

01:32:59    2   offered -- he's entitled to offer his opinion on what it

01:33:03    3   shows, which he stated.       He's not been qualified as a

01:33:06    4   statistical expert, and he expresses no opinion about the

01:33:06    5   statistical power of REDUCE-IT.

01:33:06    6                    MS. HUTTNER:    I'll rephrase the question.

01:33:06    7                    MR. SIPES:    I would like the opportunity to make

01:33:18    8   my own objections this afternoon.

01:33:18    9                    MS. HUTTNER:    I was trying to help you.      I was

01:33:19   10   trying to fix it, but I'll withdraw the question and ask a

01:33:22   11   different one.

01:33:22   12   BY MS. HUTTNER:

01:33:22   13    Q    Are there -- well, withdrawn.

01:33:26   14               So just to be clear, in your opinion, would the

01:33:28   15   REDUCE-IT study be able to give any data on how Vascepa would

01:33:32   16   affect patients above 500 in terms of providing any cardiac

01:33:37   17   benefits?

01:33:37   18    A    No.

01:33:38   19    Q    That said, Dr. Fisher, do you agree with Dr. Mason that

01:33:45   20   it is likely that patients with very high triglycerides on

01:33:50   21   stable statin therapy would experience a cardiovascular

01:33:52   22   benefit from take being Vascepa?

01:33:54   23    A    Yes, I think that's plausible.

01:33:57   24    Q    And if that -- if you accept that proposition that --

01:34:03   25   that a test in a population of people that's 99 percent people
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01:34:11    1   below 500 can be projected on to people above 500, what, if

01:34:15    2   anything does that mean to you in terms of whether it's

01:34:18    3   reasonable to project the JELIS results which were based on a

01:34:23    4   patient population with -- that included people with

01:34:27    5   borderline or high triglycerides?       What.

01:34:30    6               Does that say to you about whether the JELIS results

01:34:34    7   can be projected on to patients with the kinds of triglyceride

01:34:39    8   levels that were involved in REDUCE-IT?

01:34:42    9                   MR. SIPES:    Objection, Your Honor.     There is no

01:34:44   10   such projection anywhere in his opening report.

01:34:47   11                   MS. HUTTNER:    On the contrary, there is.      It's

01:34:49   12   in paragraph 119 of his report where he comments on Dr. Toth's

01:34:56   13   position that the art relied on by Dr. Heinecke is irrelevant

01:35:00   14   because it doesn't have anybody below 500.

01:35:04   15                   And he effectively says there that Dr. Toth

01:35:08   16   can't have it both ways, that if the prior art is irrelevant

01:35:12   17   because it doesn't include people above 500, then it's equally

01:35:16   18   irrelevant to relate REDUCE-IT to people above 500 because

01:35:19   19   there were no such people or no people involved -- above 500

01:35:23   20   involved in that study.

01:35:24   21                   MR. SIPES:    Your Honor, as long as she puts it

01:35:27   22   in -- that condition, that it's the -- the counterfactual,

01:35:29   23   that's fine, that was how he expressed his opinion, that it's

01:35:32   24   not true, but if it were true, then --

01:35:34   25                   THE COURT:    I'm sorry, I'm not able to
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01:35:36    1   understand you at all.

01:35:37    2                   MR. SIPES:    He did not project JELIS on to the

01:35:37    3   very high (unintelligible) patient populations.         The opinions

01:35:44    4   that he expressed is that if it were possible to project

01:35:47    5   REDUCE-IT on to the very high triglyceride, then JELIS would

01:35:50    6   follow.

01:35:51    7                   MS. HUTTNER:    I belief that was the question I

01:35:52    8   was trying to ask, but I'll take your phrasing.

01:35:52    9   BY MS. HUTTNER:

01:35:56   10    Q    If, as Dr. Mason says, it's reasonable to project the

01:36:00   11   results of REDUCE-IT on to the -- I'm sorry, on to the very

01:36:06   12   high triglyceride population, would it be equally reasonable

01:36:10   13   in your opinion to project the results of JELIS on to the

01:36:14   14   population of people involved in REDUCE-IT?

01:36:16   15    A    I do.

01:36:16   16    Q    And can you explain your thinking in that regard.

01:36:20   17    A    Well, by the logic that the results in patients below 500

01:36:29   18   would likely be obtained in patients above 500, that the same

01:36:39   19   logic would be relevant to JELIS.

01:36:45   20    Q    Okay.   And, in your opinion, I mean, I alluded in

01:36:51   21   speaking to Mr. Sipes to the fact that Dr. Toth took the

01:36:54   22   position in his expert report in this case that essentially

01:36:57   23   the art that Dr. Heinecke described during his testimony of

01:37:01   24   the prior art didn't count, in effect, because it didn't have

01:37:05   25   enough people or didn't have people above 500.
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01:37:08    1                   Do you recall that testimony?

01:37:09    2    A      I do.

01:37:10    3    Q      And in Dr. Toth's report, he, in effect, said you can't

01:37:15    4   project that data on to the patient population of 500 or

01:37:22    5   higher.    Do you recall that?

01:37:23    6    A      Yes.

01:37:23    7    Q      And, in your opinion, is Dr. Toth's position with respect

01:37:27    8   to the prior art that Dr. Heinecke discussed consistent with

01:37:31    9   Dr. Mason's opinion that the REDUCE-IT results would apply to

01:37:35   10   patients with triglycerides above 5500?

01:37:38   11    A      No, they're inconsistent.

01:37:40   12    Q      Let's move on.    And you'll be happy to know we're

01:37:45   13   approaching the end, Dr. Fisher and, probably the Court at

01:37:48   14   well.

01:37:49   15                   But the next topic I want to talk with you is

01:37:51   16   another subject that you address in your expert report in this

01:37:55   17   case, and that's the subject of nexus.          Do you recall that?

01:37:59   18    A      Yes, I do.

01:38:00   19    Q      And I think we heard some testimony from Dr. Heinecke

01:38:04   20   during his direct examination on Wednesday on the subject of

01:38:07   21   nexus, correct?

01:38:08   22    A      Yes.

01:38:08   23    Q      And Dr. Heinecke testified about his understanding of the

01:38:16   24   legal principles that an expert is supposed apply or that one

01:38:20   25   is supposed apply in answering or trying to answer the
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01:38:23    1   question of whether an alleged objective evidence of

01:38:27    2   nonobviousness has a nexus to the asserted claims, correct?

01:38:31    3    A    Yes.

01:38:33    4                    MS. HUTTNER:   And if we can go to DDX 9.92.

01:38:33    5   BY MS. HUTTNER:

01:38:36    6    Q    In order to save time, DDX 9.92 is a picture, if you

01:38:43    7   will, of the demonstratives that were used during

01:38:46    8   Dr. Heinecke's testimony where Dr. Heinecke indicated that

01:38:51    9   these are the legal standards that he applied in his analysis

01:38:55   10   of objective evidence of nonobviousness and nexus.

01:38:59   11                Did you apply these same principles in connection

01:39:02   12   with your opinions in this case?

01:39:04   13    A    I did.

01:39:05   14    Q    And did you reach any conclusions applying these

01:39:12   15   principles as to whether any of the objective evidence --

01:39:16   16   so-called objective evidence of nonobviousness discussed by

01:39:20   17   either Dr. Ismail or Dr. Mason has a nexus to the patent

01:39:26   18   claims which Amarin is asserting in this case?

01:39:28   19    A    I did.

01:39:29   20    Q    And what was that opinion?

01:39:30   21    A    That there was no nexus.

01:39:31   22    Q    All right.    Now, have you prepared slides summarizing

01:39:35   23   with respect to each of the -- each item of objective evidence

01:39:39   24   discussed in the Ismail and Mason reports?        Have you prepared

01:39:44   25   a slide that sets -- summarizes your reasoning as to why you
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01:39:47    1   reached that conclusion?

01:39:48    2    A    I did.

01:39:49    3                     MS. HUTTNER:   So let's go DDX 9.55.

01:39:49    4   BY MS. HUTTNER:

01:39:56    5    Q    And just again to orient yourself, at the top the chart

01:39:59    6   it says -- it's got the quotation from Dr. Ismail's opinion

01:40:04    7   that this slide relates to, correct?

01:40:07    8    A    Yes.

01:40:07    9    Q    And in this instance, DDX 9.55 is addressing Dr. Ismail's

01:40:13   10   claim that there was a long-felt but unmet need for a

01:40:16   11   triglyceride-lowering medication in diabetics with very high

01:40:21   12   triglycerides that wouldn't raise their LDL-C and would lower

01:40:26   13   their apo B.     Correct?

01:40:27   14    A    Yes.

01:40:28   15    Q    And beneath that you have some bullet points where you

01:40:31   16   summarize your -- the basis for your opinions that you don't

01:40:34   17   think there's a nexus between that piece of objective evidence

01:40:37   18   and claims.

01:40:37   19                 And if you would, please walk us through each of the

01:40:40   20   bullet points on the slide.

01:40:41   21    A    Okay.    The first point is that the claims are not limited

01:40:44   22   to a method of treating diabetic patients.

01:40:48   23                 The second is reducing LDL cholesterol and/or apo B

01:40:53   24   has no nexus to claims that lack one or both of these

01:40:56   25   limitations.
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01:40:58    1                 And the third is not commensurate in scope because

01:41:01    2   not all patients taking 4 grams per day of Vascepa will

01:41:06    3   experience a reduction in LDL cholesterol and/or apo B as has

01:41:11    4   been shown by the MARINE study.

01:41:13    5    Q    Okay.    So I just want to talk about the second and third

01:41:18    6   bullet points, and I want to do so briefly because I believe

01:41:23    7   this was covered in part or substantial part maybe even in

01:41:26    8   Dr. Heinecke's testimony.      So let's go to DDX 9.56 [sic].

01:41:36    9                 Okay.   So DDX 9.96 is a reproduction of claim 1 from

01:41:42   10   the '929 patent, right?

01:41:44   11    A    Yes.

01:41:44   12    Q    And is it your understanding that claim 1 is one the

01:41:46   13   claims that Amarin is asserting in this case?

01:41:50   14    A    Yes.

01:41:50   15    Q    And in this claim is this any limitation relating to LDLC

01:41:55   16   or apo B?

01:41:57   17    A    No.

01:41:57   18    Q    It's just a straight claim for reducing triglycerides

01:42:00   19   with 4 grams a day of Vascepa, correct?

01:42:03   20    A    Yes.

01:42:03   21    Q    And are there other asserted claims that like claim 1 of

01:42:06   22   the '929 patent do not contain either an LDL-C and/or apo B

01:42:14   23   limitation?

01:42:15   24    A    Yes, there are.

01:42:15   25    Q    And have you prepared a chart listing those claims and
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01:42:18    1   indicating which elements they lack?

01:42:19    2    A    I did.

01:42:20    3                    MS. HUTTNER:   Okay.   So could we go now to

01:42:24    4   DDX 9.57.

01:42:24    5   BY MS. HUTTNER:

01:42:26    6    Q    Okay.    Is this the chart you prepared?

01:42:27    7    A    It is.

01:42:27    8    Q    Okay.    And this chart you have a list of the claims that

01:42:30    9   lack LDL-C and/or apo B limitations?

01:42:33   10    A    Yes.

01:42:33   11    Q    And those claims are -- as indicated in this chart, are

01:42:39   12   the '728 patent claims 1 and 16, claim 1 from the '677 patent,

01:42:46   13   claim 1 from the '652 patent, claims 4 and 17 from the '560

01:42:52   14   patent, and claims 1 and 5 of '929 patent, and you have

01:42:58   15   checkmarks to indicate which elements that they lack, whether

01:43:00   16   it's apo B or LDL-C or both, correct?

01:43:05   17    A    Yes.

01:43:06   18    Q    And does this chart list all of the asserted claims that

01:43:08   19   lack either an apo B or LDL-C limitation or both?

01:43:14   20    A    Yes.

01:43:15   21    Q    Okay.    Now, the third bullet on your summary slide

01:43:18   22   related to the fact that not everybody who takes Vascepa is

01:43:22   23   going to experience either no change in LDL-C or decrease in

01:43:28   24   apo B, right?

01:43:30   25    A    Yes.
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01:43:30    1    Q    So is that another way of saying that the so-called

01:43:33    2   benefit is not commensurate with the scope of the claims?

01:43:36    3    A    Yes, it is.

01:43:37    4    Q    All right.    Let me direct your attention --

01:43:39    5                    MS. HUTTNER:   Let's go to DDX 9.58.

01:43:39    6   BY MS. HUTTNER:

01:43:41    7    Q    And Dr. Heinecke discussed the information on this -- in

01:43:49    8   this document before, right?

01:43:51    9    A    Yes.

01:43:51   10    Q    All right.    And just again to orient yourself, this is

01:43:53   11   from the MARINE study report?

01:43:55   12    A    Yes, it is.

01:43:56   13    Q    And it is looking at the percent change in LDL-C, right?

01:44:05   14    A    Yes, it is.

01:44:06   15    Q    And it's looking at the percent change in LDL-C across

01:44:10   16   the patient population enrolled in the MARINE study.

01:44:14   17    A    Yes.

01:44:15   18    Q    And what -- what is shown on this slide that's relevant

01:44:19   19   to your opinion that there's no nexus between Dr. Ismail's

01:44:23   20   first opinion and the asserted claims?

01:44:26   21    A    In the right-hand column, which is highlighted in yellow,

01:44:31   22   that's the Amarin code name for Vascepa.

01:44:33   23                So on patients in the MARINE study that took 4 grams

01:44:38   24   daily of Vascepa, at the end of the study the maximum LDL

01:44:45   25   cholesterol level was -- and if you go down to the bottom of
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01:44:50    1   that column, was 156 percent of the start.

01:44:56    2    Q    So what does that tell you about what happened to the

01:45:00    3   LDL-C levels of the patients in that group?

01:45:04    4    A    In that group they clearly went up.

01:45:07    5    Q    And in the -- and just to be fair here, I mean, the

01:45:12    6   overall -- we're not talking about the mean data from the

01:45:15    7   study, correct?

01:45:16    8    A    That is correct.

01:45:17    9    Q    So this is just in a particular percentage of the

01:45:20   10   patients enrolled in this study experienced an increase in

01:45:24   11   LDL-C as opposed to no change or decrease, correct?

01:45:27   12    A    That is correct.

01:45:27   13    Q    All right.    Let's now go to -- oh, okay.

01:45:35   14                   MS. HUTTNER:    And, Your Honor, I just --      just

01:45:36   15   for the record, DDX 9.58 comes from DX 1694, it's from

01:45:44   16   page 273 of DX 1694, which is in evidence, and I'm now moving

01:45:51   17   to DDX 9.61, which is taken from the same document from

01:45:56   18   page 242.

01:45:56   19   BY MS. HUTTNER:

01:45:58   20    Q    And in this portion of the MARINE study report, I believe

01:46:01   21   they're discussing apo -- apo --

01:46:01   22    A    Apo B.

01:46:08   23    Q    Apo B, thank you, changes that happened during the course

01:46:10   24   of the MARINE study; is that correct?

01:46:11   25    A    That is correct.
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01:46:12    1    Q      So these were patients who were taking Vascepa, they

01:46:14    2   looked at their apo B levels at the beginning and then they

01:46:18    3   looked at them after treatment and compared them; is that

01:46:21    4   fair?

01:46:21    5    A      Yes.

01:46:21    6    Q      Okay.    And what is shown on this page from the MARINE

01:46:25    7   study report?

01:46:25    8    A      Well, it's laid out in a similar way, and we just now

01:46:30    9   look at the percent change.        The maximum percent change in the

01:46:35   10   group taking the 4 grams daily of Vascepa was now 41 percent

01:46:39   11   increased.

01:46:40   12    Q      Okay.    So that group of people did not experience any

01:46:44   13   reduction in apo B as a result of taking Vascepa; is that

01:46:48   14   correct?

01:46:48   15    A      That is correct.

01:46:49   16    Q      Your next summary slide I believe is DDX 9.62.

01:46:58   17                   Okay.   And just orient ourselves, this slide

01:47:01   18   summarizes your -- the basis for your opinion that

01:47:07   19   Dr. Ismail's next opinion, which is that Vascepa unexpectedly

01:47:11   20   lowers cardiovascular risk, why you don't believe there's any

01:47:15   21   nexus between that piece of secondary evidence and the claims

01:47:19   22   in this case; is that right?

01:47:20   23    A      That is correct.

01:47:20   24    Q      Okay.    And can you -- using the slide, can you explain

01:47:25   25   the basis for your opinion that there's no nexus between
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01:47:29    1   Dr. Ismail's opinion about unexpected results from REDUCE-IT

01:47:35    2   and the asserted claims.

01:47:36    3    A    Yes.    There are five statements here.

01:47:39    4                 The first is the claims are not directed to reduce

01:47:44    5   cardiovascular risk.

01:47:45    6                 The second is patients in REDUCE-IT had

01:47:51    7   triglycerides less than 500 milligrams per deciliter.

01:47:56    8                 The third is cardioprotective effects results were

01:48:02    9   not seen until at least a year, whereas the claims specify

01:48:07   10   12 weeks.

01:48:08   11                 The fourth, all patients in REDUCE-IT were on stable

01:48:13   12   statin therapy, whereas claims do not require statins and some

01:48:20   13   prohibit additional lipid altering drugs.

01:48:24   14                 And the fifth is REDUCE-IT results were not due to

01:48:27   15   lowering triglycerides or LDL cholesterol or apo B.

01:48:33   16    Q    Okay.    So we'll -- just focusing on that last bullet for

01:48:37   17   a second, the claims here are directed to methods of lowering

01:48:45   18   triglycerides, that's at the heart of all the claimed methods,

01:48:49   19   correct?

01:48:49   20    A    Yes.

01:48:49   21    Q    And the last bullet point, is that a reference to the

01:48:52   22   fact that in the REDUCE-IT study report and in the Bhatt

01:48:57   23   article that we've talked about, there was evidence in effect

01:49:01   24   that triglyceride lowering -- in other words, the method in

01:49:05   25   the claims, had nothing to do with the cardiac benefits
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01:49:08    1   observed?

01:49:08    2    A    Yes, that is correct.

01:49:09    3    Q    And with respect to your second to last bullet here about

01:49:14    4   stable statin therapy, just to expand a little bit, and I

01:49:18    5   think Dr. Heinecke went into this so I won't belabor the

01:49:22    6   point, but in some of the claims, is it your understanding

01:49:25    7   that there is a limitation which refers to the patients not

01:49:30    8   being on other lipid altering drugs?

01:49:33    9    A    Yes.

01:49:33   10    Q    And do you interpret other lipid altering drugs to

01:49:39   11   include statins?

01:49:40   12    A    Yes.

01:49:40   13    Q    So in the case of those claims that have language that

01:49:43   14   says that the patient should not be on other lipid-altering

01:49:47   15   drugs, would REDUCE-IT have any relevance to that?

01:49:50   16    A    No.

01:49:51   17    Q    Were all of the patients in REDUCE-IT on stable statin

01:49:54   18   therapy?

01:49:55   19    A    Yes.

01:49:55   20    Q    And is there any information in the REDUCE-IT study that

01:49:59   21   tells you what would happen if you take Vascepa without being

01:50:02   22   on statin therapy in terms a cardiac benefit?

01:50:05   23    A    No.

01:50:06   24    Q    That was not tested in REDUCE-IT, was it?

01:50:08   25    A    No, it was not part of the design.
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01:50:12    1                     MS. HUTTNER:   And let's go now to DDX 9.64.

01:50:12    2   BY MS. HUTTNER:

01:50:24    3    Q    And this is your summary slide that you prepared

01:50:27    4   explaining why you do not believe there is any nexus between

01:50:31    5   the asserted claims and Dr. Mason's opinions, correct?

01:50:35    6    A    Yes.

01:50:36    7    Q    And I think the only objective evidence that Dr. Mason

01:50:41    8   points to is the -- are the physiological effects of EPA that

01:50:45    9   he claims were unknown in 2008, right?

01:50:48   10    A    Correct.

01:50:48   11    Q    And, in your opinion, does that -- does that alleged lack

01:50:53   12   of knowledge, does that have any nexus to the asserted claims?

01:50:57   13    A    Could you repeat that?

01:50:58   14    Q    Yes, I'm sorry about that.

01:50:59   15                So, in your opinion, the so-called unexpected

01:51:04   16   physiological effects that Dr. Mason identifies in his report,

01:51:08   17   is there any nexus between those effects and those effects

01:51:13   18   according to him not being known in 2008, is there any nexus

01:51:17   19   between that and the asserted claims in this case?

01:51:20   20    A    No.

01:51:20   21    Q    And, again, if you could describe your reasons for that

01:51:26   22   opinion.

01:51:27   23    A    Yes, there are three statements here.

01:51:29   24                The first,

01:51:31   25                    "Physiological effects identified by
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01:51:34    1           Dr. Mason are inherent effects of EPA and are not due

01:51:39    2           to the claimed methods of administering 4 grams of

01:51:43    3           Vascepa per day to reducing triglycerides."

01:51:48    4                     The second is,

01:51:49    5                    "Most, if not all, of these same effects were

01:51:52    6           identified in connection with JELIS, which did not

01:51:57    7           involve administering 4 grams of EPA per day to

01:52:01    8           patients with triglycerides greater than or equal to

01:52:07    9           500 milligrams per deciliter."

01:52:08   10                     And the last is,

01:52:09   11                    "Asserted claims are not directed to any

01:52:12   12           physiological effects of EPA; they are directed to

01:52:15   13           method of treating very high triglycerides."

01:52:19   14    Q      All right.   I'll own responsibility for the typos on this

01:52:23   15   chart.    But have you now summarized the basis for your opinion

01:52:28   16   that -- let me just ask you the question.

01:52:30   17                 In your opinion, is there a nexus between any of the

01:52:34   18   so-called objective evidence of nonobviousness discussed by

01:52:39   19   Dr. Ismail and any of the claims that are asserted in this

01:52:41   20   case?

01:52:42   21    A      No.

01:52:44   22                     MS. HUTTNER:   Okay.   Your Honor, I believe I

01:52:46   23   have nothing further.     I just want to check to see if I've

01:52:49   24   admitted everything.

01:52:59   25                     Your Honor, I'll pass the witness at this point.
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01:53:01    1                   THE COURT:    Thank you.

01:54:35    2                           (Discussion held off the record.)

01:54:35    3                   MR. SIPES:    Your Honor, Christopher Sipes behalf

01:54:37    4   of Amarin, if I may proceed.

01:54:38    5                   THE COURT:    Yes.

01:54:39    6                             CROSS-EXAMINATION

01:54:39    7   BY MR. SIPES:

01:54:39    8    Q    Good afternoon, Dr. Fisher.      You may recall we met at

01:54:43    9   your deposition.     My name is Christopher Sipes, and I'm here

01:54:46   10   on behalf of the plaintiffs, Amarin.

01:54:48   11    A    Good afternoon.

01:54:49   12    Q    Let me just start by clarifying a few things.         I believe

01:54:52   13   you testified this morning that after Vascepa was approved,

01:54:57   14   you did not switch your patients from Lovaza to Vascepa; is

01:55:01   15   that correct?

01:55:01   16    A    If they were doing well on it, that is correct.

01:55:04   17    Q    And Vascepa, of course, was approved in 2012, correct?

01:55:09   18    A    Yes.

01:55:09   19    Q    Now, you testified at deposition, did you not, that you

01:55:14   20   stopped seeing patients in 2010?

01:55:17   21    A    No, I stopped having an outpatient practice and then

01:55:22   22   switched to inpatient consultations.

01:55:28   23                   MR. SIPES:    Mr. Brooks, if we could just play

01:55:31   24   page 46, lines 6 to eight.

01:55:31   25                           (Deposition video recording played.)
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01:55:31    1   BY MR. SIPES:

01:55:49    2    Q      Now, let he me ask you about your opinion that you didn't

01:55:52    3   switch patients to Vascepa from Lovaza after it was approved

01:56:01    4   in 2012.

01:56:02    5                  In your reply report --

01:56:04    6                      MR. SIPES:    Mr. Brooks, if we could pull up DX

01:56:07    7   1574, paragraph 23, and if I could have the exhibit number

01:56:20    8   page to help out everybody, I apologize.

01:56:24    9                      MR. BROOKS:   Ten.

01:56:26   10                      MR. SIPES:    Ten, it would be page 10, so it's DX

01:56:30   11   1574, page 10.       And if you could just blow up the last

01:56:33   12   sentence in the paragraph, Mr. Brooks.        Just blow it up so

01:56:37   13   even somebody with my bad eyes can read it.

01:56:37   14   BY MR. SIPES:

01:56:46   15    Q      So in your report, did you not, Dr. Fisher, write that

01:56:47   16   had Vascepa been approved at the time I was seeing patients in

01:56:51   17   my clinical practice, I would have considered prescribing

01:56:54   18   Vascepa as well.      Is that what you wrote then?

01:56:56   19    A      Yes.

01:56:56   20    Q      I take it you've changed your mind now, and your view is

01:56:59   21   you wouldn't switch patients from Lovaza to Vascepa.

01:57:03   22    A      No, I say I would have considered prescribing Vascepa as

01:57:06   23   well.    That has nothing to do with switching patients from one

01:57:09   24   drug to another.

01:57:11   25    Q      All right.    Now, you've testified briefly about a
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01:57:14    1   subgroup analysis on Yokoyama, correct?

01:57:18    2    A    Yes.

01:57:22    3    Q    Does the Yokoyama paper discuss whether it's specifically

01:57:26    4   powered for a subgroup analysis?

01:57:29    5    A    It does not.

01:57:30    6    Q    You don't recall it, being the Yokoyama, discussing

01:57:33    7   whether or not it was powered for subgroup analysis, correct?

01:57:33    8    A    I do not recall that.

01:57:34    9                    MR. SIPES:   Okay.   Why don't we take a look at

01:57:36   10   Yokoyama.     If we could turn to DX 1553.     Mr. Brooks, if you'd

01:57:47   11   turn to page 0007, and first just blow up the start of the

01:57:56   12   first full paragraph on the right that begins, "Our trial has

01:58:00   13   several limitations," on the right.

01:58:00   14   BY MR. SIPES:

01:58:03   15    Q    You see in this column, the authors are discussing a

01:58:07   16   certain number of limitations to the JELIS trial, correct?

01:58:10   17    A    Yes.

01:58:11   18                    MR. SIPES:   And then, Mr. Brooks, if you would

01:58:13   19   pull up two paragraphs down that begins "third."         And again

01:58:19   20   highlight the first sentence.

01:58:19   21   BY MR. SIPES:

01:58:25   22    Q    The authors state, "Third, this trial was substantially

01:58:29   23   underpowered for analysis of subgroups," did they not?

01:58:32   24    A    That's what it says.

01:58:33   25    Q    Okay.    And "by this trial," they're referring to JELIS
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01:58:37    1   trial, correct?

01:58:38    2    A    Yes.

01:58:38    3    Q    The REDUCE-IT trial was differently powered, correct?

01:58:41    4    A    That is correct.

01:58:41    5    Q    And one of the reasons the REDUCE-IT trial was much more

01:58:45    6   powered than the JELIS trial is, unfortunately, cardiovascular

01:58:48    7   events occur with much greater frequency in the United States.

01:58:52    8    A    Compared to Japan, that is -- that is true.

01:58:55    9    Q    Okay.    And that gave the REDUCE-IT trial greater power,

01:58:59   10   correct?

01:59:00   11    A    Well, the types of patients that were selected for

01:59:04   12   REDUCE-IT also were at higher risk by design --

01:59:08   13    Q    Right.   The REDUCE-IT --

01:59:08   14    A    -- than in JELIS.

01:59:09   15    Q    The REDUCE-IT patients were different than the JELIS

01:59:12   16   patients, correct?

01:59:13   17    A    In terms of their cardiovascular risk, I think that's a

01:59:16   18   fair statement.

01:59:17   19    Q    Among other things, their baseline triglyceride levels

01:59:20   20   were higher than the ones in the JELIS trial, correct?

01:59:23   21    A    Yes.

01:59:23   22    Q    And we'll look at that, but just let's take a quick look

01:59:33   23   at -- you spent a lot of time on Dr. Mason's opinions to see

01:59:37   24   what his opinions were about.

01:59:38   25                    MR. SIPES:   Mr. Brooks, if you could pull up
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01:59:40    1   DDX 9.104, and it's not highlighted there, but it would be

01:59:50    2   helpful to sort of blow up the bottom sentence so that at

01:59:56    3   least we can get a sense of what Mr. Mason was talking

01:59:58    4   about -- or what Dr. Mason was talking about.

01:59:58    5   BY MR. SIPES:

02:00:00    6    Q    He's talking about the fact that in his opinion there's a

02:00:03    7   strong basis to conclude that the cardiovascular risk

02:00:07    8   reduction with Vascepa observed in clinical trial called

02:00:11    9   REDUCE-IT applies to patients with TG levels greater than

02:00:15   10   500 milligrams per deciliter, correct?

02:00:17   11    A    Yes.

02:00:17   12    Q    Dr. Mason didn't disagree with you.       You cannot predict

02:00:23   13   the REDUCE-IT results from these biological mechanisms, what

02:00:27   14   he was trying to say is looking at the REDUCE-IT results

02:00:30   15   themselves, do the biological mechanisms confirm that

02:00:32   16   REDUCE-IT would apply to very high triglyceride patients,

02:00:36   17   correct?

02:00:36   18    A    I don't agree with that.

02:00:37   19    Q    Okay.   In any event, one question in this case is does

02:00:44   20   the REDUCE-IT results apply to patients with severe

02:00:48   21   hypertriglyceridemia, correct?

02:00:51   22    A    It's plausible.

02:00:52   23    Q    Well, you've expressed opinion that in fact the REDUCE-IT

02:00:54   24   results do not apply to patients with severe

02:00:57   25   hypertriglyceridemia.
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02:00:58    1    A    I can't evaluate it based on the design of the study.

02:01:01    2    Q    And, of course, you also had the clinical study report,

02:01:05    3   correct?

02:01:05    4    A    Yes.

02:01:05    5    Q    Yeah.    But you're still not willing to say that the

02:01:09    6   REDUCE-IT results apply to patients with severe

02:01:13    7   hypertriglyceridemia, correct?

02:01:14    8    A    You just told me JELIS was underpowered.        REDUCE-IT was

02:01:20    9   underpowered by design to test an hypothesis in patients with

02:01:25   10   triglycerides over 500.

02:01:27   11    Q    So just to be clear, it is your opinion that the

02:01:29   12   REDUCE-IT trial does not show cardiovascular benefit for

02:01:34   13   patients with severe hypertriglyceridemia who are administered

02:01:38   14   4 grams per day of Vascepa, correct?

02:01:41   15    A    I don't see that in the published paper.

02:01:43   16    Q    Okay.    And you don't see that in the clinical study

02:01:47   17   report either?

02:01:47   18    A    I cannot say that I examined the clinical study report on

02:01:54   19   that point.

02:01:55   20    Q    FDA, of course, had the clinical study report, correct?

02:01:58   21    A    They did.

02:01:59   22    Q    Right.   Now, Mr. Mason's opinions trying to confirm the

02:02:04   23   applicability of REDUCE-IT to severe hypertriglyceridemia

02:02:09   24   patients came before FDA acted on the REDUCE-IT indication,

02:02:16   25   the SNDA, for approval of the cardiovascular risk reduction,
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02:02:20    1   correct?

02:02:21    2    A      Yes.

02:02:21    3    Q      And the opinions you expressed in your report also came

02:02:25    4   before FDA acted on the SNDA, correct?

02:02:29    5    A      Definitely.

02:02:30    6    Q      We now, of course, have FDA's answer, correct?

02:02:35    7                    MS. HUTTNER:   Your Honor, I object this.      This

02:02:36    8   is well outside of the scope.

02:02:37    9                    He's wanting to introduce the FDA approval, and

02:02:41   10   I believe, based on that fact that the FDA approval doesn't

02:02:46   11   have an upper limit to the indication in terms of triglyceride

02:02:50   12   level, to suggest that somehow the FDA has indirectly

02:02:54   13   determined that REDUCE-IT study results apply to patients at

02:02:58   14   500 or higher, and I do not believe there's foundation to do

02:03:01   15   that, and I would object to that.       It's certainly beyond the

02:03:04   16   scope of Dr. Fisher's testimony.

02:03:06   17                    MR. SIPES:   Your Honor, first of all, Dr. Fisher

02:03:08   18   opined on the new Vascepa labeling earlier today.         They pulled

02:03:12   19   up the new labeling and had him opine on elements of the new

02:03:16   20   cardiovascular labeling.      I should be entitled to do the same

02:03:19   21   thing.

02:03:20   22                    MS. HUTTNER:   He did not opine about the label,

02:03:23   23   he simply pointed to the statement that is on the label

02:03:25   24   regarding the mechanism of action of Vascepa as far as cardiac

02:03:30   25   risk.
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02:03:30    1                    But what he is going to do, as I said, I believe

02:03:32    2   he's trying to tie the indication that the FDA approved to

02:03:36    3   patients with triglycerides above 500.

02:03:39    4                    And there's simply nothing in -- although they

02:03:41    5   didn't provide all of their submissions to the FDA, there's

02:03:45    6   simply nothing in any of the documents that they did produce

02:03:47    7   to suggest that that was a topic of conversation with FDA at

02:03:50    8   all in this --

02:03:51    9                    THE COURT:   But isn't that an argument that you

02:03:53   10   can make?    Because, in other words, I thought initially your

02:03:57   11   objection was that Dr. Fisher -- that the question about the

02:04:02   12   FDA's approved label, which was only released in December,

02:04:06   13   exceeds the scope of Dr. Fisher's report.

02:04:10   14                    MS. HUTTNER:   The -- what I'm trying to

02:04:12   15   articulate is, I guess, two things.       Number one, we have had

02:04:18   16   no -- as you know, we have had no production or

02:04:22   17   identification -- we don't know what was discussed between

02:04:24   18   Amarin and the FDA except insofar as it relates to just the

02:04:29   19   terms of label, okay?

02:04:31   20                    So we have no evidence or even opportunity to

02:04:35   21   determine whether in any of the conversations they had with

02:04:38   22   FDA there was any discussion about people in the very high --

02:04:44   23                    MR. SIPES:   Your Honor, this is just not true.

02:04:45   24                    THE COURT:   Mr. Sipes, please let Ms. Huttner

02:04:48   25   finish.
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02:04:49    1                   MS. HUTTNER:    So, you know, the FDA gave an

02:04:51    2   approval for a specific indication where the lower limit of

02:04:56    3   that indication was you had to have triglycerides, I think, of

02:05:00    4   150 plus some other things to be included in the new cardiac

02:05:04    5   indication, okay?     Is this making -- so --

02:05:09    6                   THE COURT:    So it seems like the objection now

02:05:11    7   is a little bit different.

02:05:13    8                   I'm trying to ground this in the question that

02:05:15    9   was asked because it seems like you're raising the issue I

02:05:18   10   already -- now, I can't even talk and I'm speaking normal

02:05:23   11   language, not all these terms that are somewhat challenging to

02:05:27   12   the tongue.

02:05:31   13                   But it seems like your objection now is merged

02:05:34   14   to the issue I resolved with respect to the motion in limine

02:05:37   15   in terms of what's been produced.

02:05:39   16                   MS. HUTTNER:    No, not really.     Let me try to

02:05:41   17   articulate a little bit more clearly what my concern is.

02:05:44   18   Okay?

02:05:45   19                   So, it is -- so the question that was asked is

02:05:48   20   about to get in, I believe, to a suggestion that FDA said

02:05:54   21   REDUCE-IT applies to patients above 500, okay?

02:05:57   22                   He did not testify about anything about the --

02:06:04   23   that subject during his direct examination.

02:06:07   24                   The only reference he made to the Vascepa label

02:06:10   25   was to the mechanism of action section where it simply said we
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02:06:15    1   don't know.

02:06:15    2                   So I don't think it's fair to get into this.         I

02:06:18    3   don't think it's part of what Dr. Fisher has testified about

02:06:25    4   in this case, and I think it's an unfair question as well

02:06:28    5   because we don't have the materials even that -- to the extent

02:06:31    6   that he's allowed to get into this, that we could possibly

02:06:35    7   respond with because of the lack of production of any

02:06:38    8   correspondence other than that relating to the specific words

02:06:42    9   in the label.

02:06:43   10                   THE COURT:    Mr. Sipes?

02:06:43   11                   MR. SIPES:    Couple points.    One, focusing on

02:06:46   12   what they had just reverse (unintelligible).         They have all

02:06:49   13   the labeling correspondence which is what we're talking about

02:06:51   14   the labeling.

02:06:52   15                   Two, they have extensive discussion of the

02:06:55   16   substance of the REDUCE-IT results and how it relies,

02:06:59   17   including thousands of pages from the ad com which they have

02:07:02   18   been constantly rehearsing in this case.

02:07:04   19                   THE COURT:    All right.    I'm not persuaded by the

02:07:06   20   argument as to what the defendants do not have.         So next issue

02:07:09   21   then.

02:07:09   22                   MR. SIPES:    They have had him opine on what the

02:07:12   23   current labeling says.

02:07:14   24                   Now, we could take it question by question, but

02:07:16   25   I should be able to ask him questions about the current
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02:07:19    1   labeling, too.

02:07:19    2                    He has opined on the meaning of certain sections

02:07:22    3   the labeling.    I should be able to ask him -- and including by

02:07:26    4   doing the nexus what the indications are.

02:07:28    5                    So I should be able to ask him questions.          If

02:07:30    6   they think the question goes beyond his expertise or his

02:07:34    7   opinions, they can object.      But the notion that I cannot pull

02:07:38    8   up the labeling and ask him about it seems to me a very

02:07:43    9   overbroad objection.

02:07:43   10                    THE COURT:   I agree, I think it's fair that

02:07:45   11   given the fact that Dr. Fisher was asked about the new label

02:07:49   12   which is Exhibit 1186, that at least Mr. Sipes should be able

02:07:55   13   to ask questions about other portions the label.

02:07:58   14                    And if the objection is that there -- the

02:08:00   15   particular question exceeds the scope of his -- what's been

02:08:05   16   disclosed as to his expertise, I'll consider the objection

02:08:09   17   question by question.

02:08:11   18                    MS. HUTTNER:   Thank you, Your Honor.

02:08:14   19                    MR. SIPES:   All right.    If we could pull up PX

02:08:18   20   1186.    Mr. Brooks, if you could turn -- that page, blow up the

02:08:22   21   indication and the limitation of use underneath it.

02:08:22   22   BY MR. SIPES:

02:08:29   23    Q      Now, you recognize that there are two indications in the

02:08:33   24   Vascepa labeling, correct?      One for a reduction of

02:08:36   25   cardiovascular risk, and one for use as an adjunct to diet to
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02:08:41    1   reduce triglyceride levels in adult patients with severe

02:08:46    2   hypertriglyceridemia, correct?

02:08:47    3    A    Yes, I do.

02:08:48    4    Q    And to make the point that Ms. Huttner was pointing out,

02:08:51    5   there was a minimum level of triglycerides that are required

02:08:54    6   for the REDUCE-IT indication, correct?

02:08:56    7    A    Correct.

02:08:57    8    Q    And that's a 150 milligrams per deciliter.

02:09:01    9    A    Yes.

02:09:01   10    Q    And that 150 is the standard for when triglycerides go

02:09:06   11   from normal to elevated, correct?

02:09:08   12    A    Yeah, that would be borderline.

02:09:11   13    Q    So above 150 is elevated in some sense.

02:09:14   14    A    Correct.

02:09:14   15    Q    And there is no, in the indication, upper limit on

02:09:18   16   triglycerides, correct?

02:09:19   17    A    That is correct.

02:09:20   18    Q    And, in fact, at least expressly, the indication itself

02:09:25   19   does not distinguish the cardiovascular risk reduction

02:09:30   20   indication by baseline triglyceride level so long as it's

02:09:34   21   above 150, correct?

02:09:35   22    A    Yes.

02:09:36   23    Q    Now, you've opined in this case -- and just -- we can

02:09:40   24   scroll down, there is no limitation of use in the labeling

02:09:43   25   that says the effect of Vascepa on cardiovascular morbidity
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02:09:48    1   and mortality in patients with severe hypertriglyceridemia has

02:09:52    2   not been determined.     That limitation of use has been removed

02:09:55    3   from the labeling, correct?

02:09:56    4    A    Correct.

02:09:57    5    Q    And, okay, so we go back to the indication.

02:10:00    6                So there is no overt indication that the level above

02:10:07    7   150 matters for the REDUCE-IT indication, correct?

02:10:12    8    A    Correct.

02:10:12    9    Q    Though elevated triglycerides, as they go higher, can

02:10:18   10   become a marker, one the markers of cardiovascular risk,

02:10:22   11   correct?

02:10:23   12    A    Could you repeat that?

02:10:25   13    Q    As triglycerides go up, that can, itself, be a marker of

02:10:31   14   cardiovascular risk, correct?

02:10:32   15    A    That's controversial.     As you might know, there is

02:10:36   16   actually no target that's agreed on for reducing triglycerides

02:10:41   17   per se.    So that part is a little controversial.

02:10:45   18    Q    You published on something called Atherogenic

02:10:54   19   Dyslipidemia, correct?

02:10:54   20    A    Using that phrase -- certainly related to that.

02:10:56   21    Q    And there's another phrase, mixed dyslipidemia, too.

02:10:58   22    A    Yes.

02:10:59   23    Q    And both of them refer to atherogenic risk that comes

02:11:04   24   from elevated triglycerides and/or low HDL, correct?

02:11:07   25    A    Well, within that we've heard a little bit about non HDL
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02:11:12    1   cholesterol.     It's usually taken that the triglycerides per se

02:11:17    2   is not the factor, it's that they indicate the presence of

02:11:21    3   these remnant particles whose cholesterol that's carried is

02:11:26    4   actually the damaging substance to the plaques.         So

02:11:29    5   triglycerides are sometimes termed a marker for the remnant or

02:11:36    6   atherogenic particles.

02:11:36    7    Q    So it's fair to say that at least some people consider

02:11:38    8   elevated triglycerides a marker for cardiovascular risk,

02:11:40    9   correct?

02:11:40   10    A    That is correct.

02:11:41   11    Q    Okay.    Now, let us then look at publication that you are

02:11:46   12   familiar with from REDUCE-IT.       And why don't we start -- I

02:11:50   13   think you had a slide that you used on the paper, DX 9.114.

02:12:01   14   Is that the -- no, I got it wrong.

02:12:03   15                 So let's try again 9.44.   I'm sorry, my handwriting

02:12:06   16   is not even readable by me.

02:12:09   17    A    I was hoping you'd ask me about my publications.

02:12:12   18    Q    9.14 -- DDX 9.44.

02:12:27   19                 Okay.   So you've read the Bhatt 2000 article as

02:12:32   20   saying that lowering triglycerides had no influence on

02:12:37   21   REDUCE-IT results, correct?      That's the very title of your

02:12:40   22   slide, correct?

02:12:41   23    A    That is correct.

02:12:44   24    Q    And I think you testified, in fact, that TG lowering had

02:12:49   25   nothing to do with the CV -- this cardiovascular benefit in
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02:12:54    1   REDUCE-IT, correct?

02:12:55    2    A    Yes.

02:12:56    3    Q    And I would like to look first at the statement that you

02:12:59    4   are quoting for support of that.       And that's, I think, on the

02:13:04    5   right hand box there.     But so that we can find it some day if

02:13:09    6   we're ever interested, that -- that's PX 272 at -- I believe

02:13:16    7   it's -- you have it as 10.      You've got two things there, but

02:13:23    8   this one is from 10.

02:13:25    9                And why don't we blow up -- well, we can go back to

02:13:29   10   the slide, I think it's all there on the slide, DX 9.44.

02:13:37   11                What the article says there is,

02:13:40   12                    "The observed cardiovascular benefits were

02:13:42   13         similar across baseline levels of triglycerides

02:13:46   14         (below 150, greater or equal to 150, to below 200 and

02:13:50   15         greater than or equal to 200 milligrams per

02:13:53   16         deciliter.)    In addition, the significantly lower

02:13:56   17         risk of major adverse cardiovascular events with

02:14:00   18         icosapent ethyl than with placebo appeared to occur

02:14:05   19         irrespective of the attained triglyceride level at

02:14:09   20         one year (greater than or equal to 150 or less than

02:14:13   21         150 milligrams per deciliter) which suggests that the

02:14:16   22         cardiovascular risk reduction was not associated with

02:14:19   23         attainment of a more normal triglyceride level.

02:14:22   24                     Did I read that correctly, Dr. Fisher?

02:14:24   25    A    You did.
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02:14:25    1    Q    So what that is saying is not that TG lowering has

02:14:29    2   nothing to do with CV benefit, but rather that the CV benefit

02:14:33    3   applies across the range of baseline triglycerides or final

02:14:37    4   triglyceride levels, correct?

02:14:38    5    A    That the -- wait.     Repeat the last part?

02:14:41    6    Q    What that is saying is that the cardiovascular benefit

02:14:45    7   applied regardless of the baseline triglyceride level where

02:14:49    8   the patient started, or the level of triglycerides that were

02:14:52    9   attained at year one, correct?

02:14:54   10    A    Yes.

02:14:54   11    Q    Okay.    It doesn't say TG lowering has nothing to do with

02:14:59   12   CV benefit, correct?

02:15:00   13    A    The way it's written, that is correct.

02:15:03   14                    MS. HUTTNER:   Why don't we then turn to the

02:15:05   15   actual article, PX 272, and, Mr. Brooks, if you could blow up

02:15:12   16   beginning on the right-hand column, the first full paragraph.

02:15:18   17   I'm sorry, it's 272, page 10.       I'm not giving you the key

02:15:24   18   information.    And highlight the first and second sentences

02:15:29   19   there.

02:15:29   20   BY MR. SIPES:

02:15:33   21    Q    The authors say,

02:15:36   22                   "The Mechanisms responsible for the benefit

02:15:37   23         the icosapent ethyl" --

02:15:38   24                    And let's be clear, icosapent ethyl is a

02:15:42   25   long-winded way of saying EPA, correct?
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02:15:44    1    A    Correct.

02:15:44    2    Q    Okay.

02:15:47    3                    "Mechanisms responsible for the benefit of

02:15:47    4         icosapent ethyl observed in REDUCE-IT are currently

02:15:49    5         not known.    The timing of the divergence of the

02:15:52    6         Kaplan-Meier event curves suggest a delayed onset of

02:15:55    7         benefit, which may reflect time that is needed for a

02:15:58    8         benefit from a reduction in triglyceride levels to be

02:16:01    9         realized or may indicate that other mechanisms are

02:16:06   10         involved."

02:16:07   11                     So the Bhatt article doesn't rule out TG

02:16:09   12   lowering as responsible for at least part of the CV benefit,

02:16:13   13   correct?

02:16:14   14    A    It doesn't rule it out, doesn't rule it in.

02:16:16   15    Q    Right.    It certainly doesn't saying TG lowering has

02:16:20   16   nothing do with the cardiovascular benefit, correct?

02:16:22   17    A    Yes.    This is -- this is a hypothesis that the author has

02:16:28   18   put out.

02:16:28   19    Q    And what is -- okay.     Is there anything in JELIS that

02:16:37   20   says expressly that the cardiovascular benefit to EPA applies

02:16:42   21   regardless of baseline triglyceride level?

02:16:46   22    A    Not that I recall.

02:16:48   23    Q    Okay.    Is there anything in JELIS that says that the

02:16:55   24   triglyceride -- scratch that.

02:16:56   25                 Is there anything in the Yokoyama paper reporting on
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02:16:59    1   JELIS that says that the cardiovascular benefit applies

02:17:02    2   regardless of the attained triglyceride level after a year?

02:17:09    3    A    I don't remember it in detail enough to answer that.

02:17:14    4    Q    Certainly you didn't point to anything in your testimony

02:17:16    5   today about that, correct?

02:17:17    6    A    That's correct.

02:17:18    7    Q    And the baseline triglyceride levels in JELIS were just

02:17:25    8   around 150 milligrams per deciliter, correct?

02:17:27    9    A    Yeah, just above the normal range.

02:17:29   10    Q    By about 1 or 2 milligrams per deciliter, correct?            So it

02:17:35   11   was essentially a normal level of triglycerides, correct?

02:17:40   12    A    Near normal.

02:17:41   13    Q    Okay.   Now, I think one thing -- well, let me show you in

02:17:45   14   your report -- if we can pull up your report, DX 1574, at

02:17:53   15   paragraph 116 --

02:17:53   16                    MR. SIPES:   Mr. Brooks, can you give me the DX

02:17:55   17   number?   I believe it's DX 1574 at 45.

02:18:20   18                   If we could blow up the last two sentences,

02:18:25   19   Mr. Brooks.

02:18:25   20   BY MR. SIPES:

02:18:30   21    Q    You wrote,

02:18:32   22                   "As it pertains to patients with very high

02:18:37   23         hypertriglyceridemia, I am not aware of any long-felt

02:18:40   24         need for a triglyceride-lowering drug that also had a

02:18:43   25         positive impact on cardiovascular risk.        This is
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02:18:46    1         because the medical focus with these patients is on

02:18:49    2         reducing the risk of acute pancreatitis."

02:18:52    3                   Do you see that?

02:18:52    4    A    Yes.

02:18:53    5    Q    And it is certainly true that the medical community has

02:18:56    6   tended to overlook the cardiovascular risk in severe

02:19:00    7   hypertriglyceridemic patients because it is secondary to the

02:19:04    8   risk the pancreatitis, correct?

02:19:05    9                   MS. HUTTNER:    Objection, Your Honor, no

02:19:06   10   foundation at this point.

02:19:08   11                   MR. SIPES:    I'm asking him as an expert.

02:19:10   12                   THE COURT:    The objection is overruled.      He did

02:19:12   13   testify to the former.      So, I think it's fair to follow-up on

02:19:16   14   the basis.

02:19:18   15                   THE WITNESS:    Okay.   Repeat the question,

02:19:19   16   please.

02:19:20   17   BY MR. SIPES:

02:19:20   18    Q    It is correct, is it not, that the cardiovascular risk in

02:19:24   19   patients with severe hypertriglyceridemia has tended to be

02:19:27   20   overlooked by the medical community because they are focused

02:19:31   21   on the risk of pancreatitis?

02:19:33   22    A    Well, that certainly takes precedence clinically.         But I

02:19:36   23   also, in reviewing ATP III in the last few days, it does have

02:19:41   24   a line in there that the cardiovascular risk of severe

02:19:47   25   hypertriglyceridemia as an isolated lipid disorder is not
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02:19:52    1   associated with a particularly strong signal on risk.

02:19:57    2    Q    So even ATP III is sort of suggesting that it's the risk

02:20:04    3   of pancreatitis, medical community, you should be focused on,

02:20:07    4   not the cardiovascular risk.

02:20:08    5    A    Right.   In 2008, that was the ruling guidelines.

02:20:12    6    Q    And you're not aware of any drug, putting Vascepa aside,

02:20:17    7   that has been approved for reduction of cardiovascular risk in

02:20:22    8   severe hypertriglyceridemic patients through TG lowering --

02:20:27    9   let me phrase that more clearly.

02:20:29   10                You're not aware of any drug approved for the

02:20:31   11   treatment of severe hypertriglyceridemia that has been shown

02:20:34   12   to have a cardiovascular benefit in severe

02:20:38   13   hypertriglyceridemic patients putting Vascepa aside.

02:20:51   14    A    That is correct.

02:20:51   15    Q    Now, you spent a lot of time today going over Amarin's

02:21:10   16   statements about JELIS, correct?

02:21:13   17    A    Yes.

02:21:13   18    Q    And they were mostly in the 2013 and 2014 time period,

02:21:17   19   correct?

02:21:18   20    A    Correct.

02:21:18   21    Q    And they all had to do with Amarin's pursuit of the

02:21:25   22   so-called ANCHOR indication, correct?

02:21:27   23    A    Yes.

02:21:28   24    Q    And that followed on the ANCHOR study, correct?

02:21:31   25    A    Yes.
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02:21:32    1    Q      You did not cite any published literature describing

02:21:40    2   JELIS as -- citing to JELIS for support for treatment

02:21:44    3   guidelines on the reduction of cardiovascular risk by the

02:21:48    4   administration of EPA, correct?

02:21:50    5    A      That is correct.

02:21:53    6    Q      And the Amarin documents that you cited, do you know what

02:22:01    7   indication that -- the ANCHOR indication had to do with?            Do

02:22:05    8   you know what the ANCHOR indication was?

02:22:08    9    A      Well, this was a trial in patients with the type of lipid

02:22:15   10   profile that was being studied in REDUCE-IT.

02:22:19   11    Q      Well, we'll come back to that.

02:22:21   12                  What was the indication, the ANCHOR indication?       Do

02:22:26   13   you know what the ANCHOR indication was?

02:22:28   14    A      Well, the study was to look at -- over a more extended

02:22:32   15   period of time than the MARINE trial, of 4 grams of Vascepa on

02:22:38   16   the lipoprotein profile of a population that had triglyceride

02:22:44   17   levels between 150 and 500.

02:22:47   18    Q      Do you believe the ANCHOR study was longer than the

02:22:50   19   MARINE study?

02:22:51   20    A      Yes.

02:22:51   21                      MR. SIPES:   Okay.   Why don't we pull up just to

02:22:53   22   get to the bottom of some of this, DDX 2.60.         This is a

02:23:01   23   demonstrative the defendants have used previously in this

02:23:04   24   case.

02:23:04   25
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02:23:04    1   BY MR. SIPES:

02:23:05    2    Q    This is the ANCHOR indication, is it not.        This is

02:23:08    3   referring to the SNDA for the ANCHOR indication, correct?

02:23:14    4    A    Yes.

02:23:15    5                   MS. HUTTNER:    Your Honor, is this -- I don't --

02:23:18    6   I don't know if perhaps the wrong slide is up, but I don't see

02:23:21    7   anything on this that pertains to ANCHOR, maybe I'm missing

02:23:26    8   it.

02:23:27    9                   MR. SIPES:    Do I have the wrong -- DDX 2.60?

02:23:27   10   Oh, I'm sorry, did I --

02:23:30   11                   THE COURT:    Oh, right, this is the press

02:23:31   12   release.

02:23:32   13                   MR. SIPES:    Let's go to 2.60.

02:23:35   14                   THE COURT:    Ms. Huttner, you got it right.        If

02:23:39   15   there's objection, it's sustained.

02:23:41   16                   MS. HUTTNER:    I scored one.

02:23:41   17                   MR. SIPES:    My eyes are not what it they used to

02:23:44   18   be.   I apologize, Your Honor.      So 2.60.

02:23:44   19   BY MR. SIPES:

02:23:46   20    Q    Here we are.    This is concerning the ANCHOR SNDA which

02:23:49   21   was the subject of all of these documents you were talking

02:23:53   22   about with regard to the act on, correct, Dr. Fisher?

02:23:55   23    A    Yes.

02:23:55   24    Q    And I think, first, if you'll look, you'll see to support

02:23:58   25   this indication you submitted the results from the ANCHOR
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02:24:00    1   study, correct?

02:24:01    2    A    Correct.

02:24:04    3    Q    And if you read down, the primary endpoint was the

02:24:07    4   percent change in TG levels from baseline in week 12.

02:24:11    5    A    Correct.

02:24:12    6    Q    So it's 12-week study just like MARINE, correct,

02:24:16    7   Dr. Fisher?

02:24:16    8    A    Yes, as stated here.     I'm sorry I was confused.

02:24:20    9    Q    No, that's quite.     All right.   The point is ANCHOR was a

02:24:23   10   very different study than REDUCE-IT, correct?

02:24:25   11    A    Yes.

02:24:26   12    Q    REDUCE-IT was a 5-year study.

02:24:30   13    A    Correct.

02:24:30   14    Q    That involved 8,000 patients.

02:24:33   15    A    Right.

02:24:33   16    Q    Much, much, bigger than ANCHOR, correct?

02:24:37   17    A    Yes.

02:24:37   18    Q    And there's no suggesting in here that ANCHOR involved

02:24:40   19   any patients who developed triglycerides over 500, correct?

02:24:44   20    A    Right.   The entry criteria was fasting, TG level below

02:24:53   21   500 was one of the parameters.

02:24:55   22    Q    And, in fact, FDA said in reviewing the MARINE indication

02:25:00   23   that it wouldn't look to the ANCHOR indication for efficacy

02:25:03   24   because it was a different patient population, porrect?

02:25:06   25    A    Yes.
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02:25:06    1    Q    And the indication for ANCHOR was patients with mixed

02:25:12    2   dyslipidemia and coronary heart disease or coronary heart

02:25:21    3   disease risk equivalent, correct?

02:25:25    4                 That's the indication.   Do you see that?

02:25:28    5    A    Yeah.    With mixed dyslipidemia and coronary heart disease

02:25:32    6   or coronary heart disease risk equivalent.

02:25:35    7    Q    So ANCHOR is a lot more like the patient population in

02:25:40    8   JELIS than MARINE is, correct?

02:25:42    9    A    Yes.

02:25:44   10    Q    Okay.    Although even ANCHOR was a higher TG group than

02:25:51   11   JELIS, correct?

02:25:52   12    A    Yes, because the -- it says the baseline fasting TG level

02:26:00   13   was equal or greater than 185.

02:26:04   14    Q    So you can see this ladder in which Amarin is developing

02:26:08   15   evidence on the administration of 4 grams per day of EPA to

02:26:13   16   increasingly higher groups of patients with increasingly

02:26:17   17   higher triglyceride levels, correct?

02:26:20   18    A    Yes.

02:26:20   19    Q    And it's in that context, well after 2008, that these

02:26:26   20   Amarin statements that you're pointing to were made, correct?

02:26:30   21    A    Yes, well after 2008.

02:26:32   22    Q    Right.    And, importantly, these statements that you've

02:26:36   23   been pointing to are after both MARINE and ANCHOR, studies

02:26:41   24   Amarin itself did on 4 grams per day of EPA, correct?

02:26:45   25    A    Yes.
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02:26:46    1    Q    And, now, you did not identify this morning that you

02:26:55    2   yourself have published -- or been an author on published

02:27:01    3   guidance on dealing with cardiovascular risk that in fact

02:27:06    4   found JELIS not to be evidence of a reduction in

02:27:10    5   cardiovascular risk, correct?

02:27:11    6    A    I think that was included in a consensus paper in which

02:27:17    7   my role was to write about basic science mechanisms by which

02:27:24    8   triglycerides might be operating in atherosclerosis.          But, I

02:27:28    9   did not have direct input into the -- we'll say the clinical

02:27:35   10   recommendations.

02:27:36   11                     MR. SIPES:     Well, let's take look at it.

02:27:38   12                     Mr. Brooks, if you could pull up PX 373.

02:27:38   13   BY MR. SIPES:

02:27:45   14    Q    This is a paper from the European Heart Journal published

02:27:49   15   in 2011, correct?

02:27:51   16    A    Yes.

02:27:51   17    Q    And it's entitled, "Triglyceride-Rich Lipoproteins and

02:27:55   18   High Density Lipoprotein Cholesterol in Patients At High Risk

02:28:00   19   of Cardiovascular Disease, Evidence and Guidance For

02:28:04   20   Management."

02:28:05   21                 Do you see that?

02:28:06   22    A    I do.

02:28:06   23                     MS. HUTTNER:    Excuse me, Your Honor, is -- it's

02:28:08   24   not -- I can't see on the screen where Mr. -- is there a

02:28:12   25   possibility you can enlarge that, Mr. Sipes?
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02:28:14    1                    MR. SIPES:   That was the title.

02:28:15    2                    MS. HUTTNER:   Oh, okay.

02:28:17    3                    MR. SIPES:   But we can make it bigger.

02:28:18    4   BY MR. SIPES:

02:28:19    5    Q      So this is an article -- and if you look in the list of

02:28:23    6   authors, Edward Fisher, that's you.

02:28:25    7    A      There I am.

02:28:26    8    Q      So you're one the authors on this paper, correct?

02:28:29    9    A      Yeah, left out my middle initial.

02:28:31   10    Q      And you're writing on behalf of number of experts for the

02:28:35   11   European Atherosclerosis Society Consensus Panel, correct?

02:28:40   12    A      I was a member of that group, yes.

02:28:42   13    Q      And that's an august body, correct?

02:28:49   14    A      Yes.

02:28:50   15                    MR. SIPES:   And I would move PX 373 into

02:28:53   16   evidence.

02:28:55   17                    MS. HUTTNER:   No objection, Your Honor.

02:28:56   18                    THE COURT:   373 is admitted.

02:28:56   19                           (Plaintiff's Exhibit 373 received in
02:28:56                                 evidence.)
02:28:59   20                    MR. SIPES: So let's get ourselves oriented in

02:29:02   21   time.    Mr. Brooks, if you could blow up where it says received

02:29:06   22   25 November 2010.

02:29:06   23   BY MR. SIPES:

02:29:10   24    Q      So this paper, these -- this guidance was submitted in

02:29:15   25   November 2010, correct?
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02:29:18    1    A    Yes.

02:29:18    2    Q    Before MARINE and before ANCHOR, correct?

02:29:21    3    A    Yes.

02:29:24    4                    MR. SIPES:   And, Mr. Brooks, if you would turn

02:29:26    5   to page PX 373-0016.     Under Author Contribution, if you could

02:29:44    6   blow up Author Contribution.      And then if you could just

02:29:48    7   highlight the very last sentence.

02:29:48    8   BY MR. SIPES:

02:29:58    9    Q    Dr. Fisher, it states under Author Contribution,

02:30:01   10                   "All members of the EAS consensus panel were

02:30:04   11         involved in the writing of the manuscript and

02:30:07   12         approved the final manuscript before submission."

02:30:11   13                    Do you see that?

02:30:11   14    A    That's what it says.

02:30:12   15    Q    And that's true.

02:30:13   16    A    Yes, but the way consensus panels operate that's -- it

02:30:20   17   may not be clear to you, at least in the medical field, we are

02:30:27   18   assigned the topics that we have particular expertise in.

02:30:33   19                And, as I have mentioned before, that my

02:30:36   20   contribution was to write about potential mechanisms based on

02:30:40   21   animal and cell models by which triglycerides can be causing

02:30:44   22   increased risk.

02:30:46   23                The more clinically oriented expert members such as

02:30:51   24   Henry Ginsberg, in particular, who was the lead investigator

02:30:56   25   on ACCORD, by the way, they had the responsibility of
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02:31:00    1   recommending what implementation or what the implications, the

02:31:05    2   clinical implications of what we reviewed.

02:31:08    3                So although it is -- I don't disavow, this is a

02:31:12    4   factual statement, at the final end, those of us who felt not

02:31:20    5   as expert in one area or the other did not object -- we had no

02:31:25    6   basis to object or really opine on the merit of some of the

02:31:28    7   recommendations that were made, just the way Henry Ginsberg

02:31:32    8   did not sit and criticize in a meaningful way what we wrote up

02:31:36    9   in the basic science part.

02:31:38   10                So it's a little bit of the horse trading operation.

02:31:42   11   But that's inevitable in all consensus panels that I've been

02:31:47   12   aware of.

02:31:48   13                But I do not dispute what this statement says.

02:31:51   14                    MR. SIPES:   Mr. Brooks, if you could play 163, 3

02:31:54   15   through ten.

02:31:55   16                           (Deposition video recording played.)

02:32:20   17   BY MR. SIPES:

02:32:21   18    Q    That's a shorter answer, correct?

02:32:22   19    A    Yes.    I seem to have my head up higher today than in my

02:32:28   20   deposition.

02:32:29   21    Q    And you felt that the committee was a group of

02:32:32   22   well-respected clinicians and scientists, correct?

02:32:35   23    A    Yes.

02:32:35   24    Q    And the effort in this publication was to provide

02:32:39   25   guidance to clinicians in managing cardiovascular disease.
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02:32:43    1    A    It was to evaluate the available evidence and to

02:32:46    2   formulate some -- try to distill them into something that

02:32:50    3   would be valuable to clinicians.

02:32:54    4                     MR. SIPES:   Mr. Brooks, why don't we turn to

02:32:56    5   what the guidance was so PX 373 at 13.        And if you could blow

02:33:02    6   up Figure 6, both the figure and the legend.

02:33:05    7                     And I'm hoping this remains readable.

02:33:07    8                     But Figure 6 purports to be the proposed

02:33:10    9   algorithm for the management of higher risk individuals with

02:33:13   10   elevated triglycerides and/or low HDL cholesterol at LDL

02:33:19   11   cholesterol goal.

02:33:19   12   BY MR. SIPES:

02:33:21   13    Q    Do you see that?

02:33:21   14    A    Yes.

02:33:21   15    Q    Algorithm now has taken on a more ugly meaning, but back

02:33:27   16   then you were really saying this is a flow chart to follow

02:33:30   17   with your decision making as a clinician, right?

02:33:30   18    A    Proposed.

02:33:31   19    Q    And when you refer to patients at LDL cholesterol goal,

02:33:36   20   you're assuming people that either they're on a statin or have

02:33:40   21   otherwise have achieved their LDL cholesterol goal, correct?

02:33:43   22    A    Yes.

02:33:44   23    Q    You're saying what do we do now to manage the residual

02:33:47   24   risk, the cardiovascular risk that remains even on patients

02:33:48   25   who have achieved goals with statins, correct?
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02:33:51    1    A     Yes.

02:33:52    2    Q     And this idea of residual cardiovascular risk, that is a

02:33:56    3   serious issue in the western world, correct?

02:33:58    4    A     Yes, it is.

02:33:59    5    Q     In fact, even after LDL-C goal is attained with statins,

02:34:04    6   that eliminates maybe one-third of cardiovascular effects,

02:34:08    7   correct?

02:34:08    8    A     It's gone up.   Those studies done in the era when statins

02:34:14    9   were less potent, and now that with Rosuvastatin and the PCSK9

02:34:21   10   inhibitors, I think we're approaching above 40 percent.             But

02:34:25   11   not to split hairs, it's at least half of the risk is still

02:34:29   12   residual.

02:34:30   13    Q     Statin therapy is much better today than it was 20 years

02:34:33   14   ago.

02:34:34   15    A     Definitely.

02:34:34   16    Q     Which, of course, is one of the differences between

02:34:37   17   REDUCE-IT and JELIS is the level of statin therapy in the two

02:34:41   18   patient groups, correct?

02:34:42   19    A     Yes.   Over time, yes.   That was inevitable.

02:34:47   20    Q     In any event, with regard to residual risk in Figure 6,

02:34:50   21   the first step is to intensify lifestyle management, address

02:34:50   22   secondary causes, check compliance, correct?

02:34:56   23    A     Yes.

02:34:56   24    Q     But then if there's insufficient improvement one, thing

02:35:00   25   is consider adding niacin or fibrate is the recommendation,
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02:35:03    1   correct?

02:35:04    2    A    Yes.

02:35:04    3                      MS. HUTTNER:   Your Honor, I object to this as

02:35:07    4   beyond the scope.      I mean, this is going to an issue that came

02:35:10    5   up during the infringement portion of the case.

02:35:12    6                      You may recall that there was a difference

02:35:15    7   between Dr. Budoff's testimony that he started patients on

02:35:19    8   triglycerides -- on -- I'm sorry, on Vascepa only after a

02:35:23    9   period of lifestyle modifications, and there was testimony in

02:35:29   10   opposition to that by Dr. Sheinberg, that he is talking --

02:35:35   11   that he typically puts patients on statins -- I'm sorry, on

02:35:39   12   triglyceride-lowering drugs right away if they're in that very

02:35:43   13   high category.

02:35:44   14                      So I don't know where this is going, but to the

02:35:47   15   extent that, you know, it's going to the infringement

02:35:50   16   question, I'm just raising the flag here.        I --

02:35:53   17                      MR. SIPES:   Your Honor, we'll get to that later.

02:35:54   18   She did bring up some questions about diet, but that's not

02:35:58   19   where this is going.

02:35:59   20                      I'm not accustomed to having to say where I'm

02:35:59   21   going in a cross-examination, but this goes to whether or not

02:36:02   22   JELIS was perceived as addressing residual risk, just to

02:36:05   23   explain it to Ms. Huttner.

02:36:07   24                      MS. HUTTNER:   Thank you.

           25                ///
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02:36:08    1   BY MR. SIPES:

02:36:08    2    Q    Dr. Fisher, try to pay no attention to when we have these

02:36:12    3   discussions.

02:36:13    4    A    I would like to know where you're going.

02:36:15    5                    THE COURT:   It's giving you an indication of

02:36:16    6   where this is headed, so this is helpful.

02:36:16    7                    THE WITNESS:   Pardon?

02:36:19    8                    THE COURT:   Mr. Sipes is giving you an

02:36:20    9   indication of where it this headed so this is very helpful.

02:36:24   10                    THE WITNESS:   That's right.

02:36:25   11   BY MR. SIPES:

02:36:26   12    Q    So what is recommended in Figure 6 for addressing

02:36:29   13   residual atherogenic risk is niacin or fibrate, correct?

02:36:34   14    A    That is correct.

02:36:34   15    Q    And in the legend it says high dose omega-3 fatty acids,

02:36:40   16   fibrate or niacin, may be considered if the patient has very

02:36:44   17   high TG -- has very high TG to prevent pancreatitis, correct?

02:36:47   18    A    That is correct.

02:36:48   19    Q    But in terms of addressing atherogenic risk, what is

02:36:55   20   recommended is just niacin or fibrate, correct?

02:36:58   21    A    Let me just look at that footnote -- is that footnote C?

02:37:12   22    Q    I could read it for you.      Footnote 3 says,

02:37:15   23                   "Based on clinical outcome data and safety

02:37:15   24         considerations for combination statin fibrate

02:37:23   25         therapy, fenofibrate is the preferred fibrate.         This
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02:37:23    1         fibrate may have particular value in patients with

02:37:28    2         Type 2 diabetes mellitus and mild to moderate

02:37:28    3         retinopathy."

02:37:32    4                   Does that help?

02:37:33    5    A    Yes, it does.

02:37:33    6    Q    So that makes it clear that for purposes of addressing

02:37:36    7   pancreatitis, omega-3 is mentioned, but the recommendation for

02:37:40    8   addressing atherogenic dyslipidemia, that is, cardiovascular

02:37:46    9   risk, the recommendation is niacin or fibrate, correct?

02:37:52   10    A    Yes.

02:37:52   11    Q    Then, if we go on to PX 373-16, there's a box that says

02:38:02   12   Key Messages.    For a lot of physicians it's helpful to have a

02:38:08   13   little box that says Key Messages, correct?

02:38:11   14    A    Definitely.

02:38:11   15    Q    It's a bit like FDA's little black box warnings, they

02:38:11   16   know sometimes you've really got to get a clinician's opinion,

02:38:11   17   correct?

02:38:17   18    A    Yes.

02:38:18   19    Q    And here, to get the physician's opinion, you have this

02:38:20   20   bottom bullet under Key Messages.

02:38:22   21                   "Aiding niacin or fibrate, or intensifying

02:38:26   22         LDL-C lowering are suggested options for correction

02:38:30   23         of atherogenic dyslipidemia," correct?

02:38:33   24    A    Yes.

02:38:33   25    Q    You do not recommend either EPA or an omega-3 fatty acid
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02:38:39    1   for addressing atherogenic dyslipidemia, correct?

02:38:43    2    A    That is correct.

02:38:44    3    Q    Yes.   And so -- and that reference to atherogenic

02:38:46    4   dyslipidemia, that's this residual cardiovascular risk left

02:38:49    5   after a statin, correct?

02:38:51    6    A    Yes.   These are those remnant particles that are thought

02:38:55    7   to be of significance.

02:39:00    8                     MR. SIPES:   Now, if we go to the left-hand

02:39:02    9   column, the last paragraph above Box 6 -- Mr. Brooks, if you

02:39:08   10   would blow up just the last couple sentences.

02:39:08   11   BY MR. SIPES:

02:39:14   12    Q    The panel writes,

02:39:16   13                    "The panel also recognizes the limitations of

02:39:19   14         the current evidence base for fibrates, niacin, and

02:39:23   15         omega-3 fatty acids, including the lack of hard

02:39:25   16         outcome data for statin niacin and statin omega-3

02:39:31   17         fatty acid combination therapies.       Clearly, there is

02:39:33   18         a need for well-defined trials to evaluate the

02:39:36   19         efficacy and safety of these therapeutic combinations

02:39:39   20         in high risk patients at LDL-C goal with elevated

02:39:43   21         triglycerides and/or low HDL-C."

02:39:46   22                    Did I read that correctly?

02:39:47   23    A    You did.

02:39:48   24    Q    And it's not that the panel was unaware of JELIS,

02:39:53   25   correct?
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02:39:54    1    A    It had been published in 2007.

02:39:59    2    Q    Well, it's more than that.

02:40:00    3                    MR. SIPES:   Mr. Brooks, if you could turn to

02:40:03    4   PX 373 on page 22 and blow up reference 224.

02:40:11    5                    Reference 224 in your 2011 consensus panel

02:40:17    6   publication, is the JELIS publication, correct?

02:40:19    7    A    Correct.

02:40:20    8    Q    So this panel cites to JELIS.

02:40:23    9    A    Could we see in the article what is actually said about

02:40:26   10   JELIS.   Do you have that in the article itself where JELIS is

02:40:30   11   discussed?

02:40:31   12    Q    Is it not discussing what it's recommending and whether

02:40:34   13   it views adequate evidence?

02:40:36   14    A    No, what I mean is, in general, any one study does not

02:40:43   15   wind up becoming a guideline, and I'm not -- I'm not

02:40:48   16   remembering this since I didn't write, except a small piece of

02:40:52   17   the basic science, in what context JELIS was raised in this

02:40:57   18   study.

02:40:58   19                Besides your noting that the committee was aware of

02:41:02   20   it, and yet in that little box they mention it, it doesn't

02:41:06   21   mean it had a negative view.      It could have been brought up in

02:41:09   22   the context that this is a promising study that deserves a

02:41:13   23   further investigation.

02:41:16   24                That would be a lot different message to a person

02:41:19   25   than saying JELIS is rubbish and doesn't prove anything.
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02:41:21    1    Q    But you're not aware of this paper describing JELIS as

02:41:25    2   promising, correct?

02:41:26    3    A    I'm not aware of any -- anything concerning at this point

02:41:32    4   how it was discussed in the context of the paper.

02:41:34    5    Q    And in your testimony you didn't discuss this paper.          In

02:41:37    6   testimony this morning you didn't discuss PX 373, correct?

02:41:40    7    A    That is correct.

02:41:41    8    Q    And, in fact, you didn't discuss any paper that described

02:41:45    9   JELIS as promising, correct?

02:41:48   10    A    The REDUCE-IT paper.

02:41:49   11    Q    Well -- I'm sorry, yeah.      The Amarin REDUCE-IT papers is

02:41:54   12   what you relied on, correct?      Amarin's own statements,

02:41:57   13   correct?

02:41:57   14    A    Yes.

02:41:58   15    Q    Okay.   And when you were treating -- when you were

02:42:10   16   practicing medicine, you prescribed Lovaza as you said,

02:42:13   17   correct?

02:42:13   18    A    Yes.

02:42:14   19    Q    And that was true in 2008, correct?

02:42:16   20    A    Correct.

02:42:16   21    Q    And JELIS didn't make you switch and find an EPA only

02:42:20   22   product, correct?

02:42:20   23    A    Well, Epadel is not -- is still not available in the

02:42:24   24   United States.

02:42:24   25    Q    And are you aware about -- did you research and look for
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02:42:28    1   EPA-only supplements?

02:42:30    2    A    I looked at that time for over-the-counter supplements

02:42:36    3   that were considered to be of a high quality but had both EPA

02:42:43    4   and DHA in them at that time.

02:42:51    5    Q    Now, you, yourself, take a fish oil supplement for

02:42:57    6   cardiovascular health, correct?

02:42:59    7    A    I do, and whatever else it does.

02:43:02    8    Q    And you told me at deposition that the supplement you

02:43:06    9   take is a CVS brand supplement, it has about 180 milligrams

02:43:10   10   EPA and 120 milligrams DHA, correct?

02:43:14   11    A    Yes.

02:43:14   12    Q    And so the fish oil supplement that you take for

02:43:17   13   cardiovascular risk, for cardiovascular health, is a mixture

02:43:24   14   of EPA and DHA, correct?

02:43:24   15    A    It is.

02:43:25   16    Q    So even in 2019, for your own health, you've not been

02:43:29   17   motivated to use an EPA only product, correct?

02:43:33   18    A    No because my triglycerides are not only normal, but I'm

02:43:36   19   also on a statin.

02:43:38   20    Q    And you told me at your deposition that you believe that

02:43:41   21   there is not enough evidence to say that there are CV benefits

02:43:46   22   to EPA alone rather than a mixture of EPA and DHA, correct?

02:43:51   23    A    If you said I said it, I'm surprised.       If you could just

02:43:58   24   repeat what you recall that I said.

02:44:01   25                   MR. SIPES:    Mr. Brooks, if you could place 133,
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02:44:04    1   9 to 14.

02:44:05    2                            (Deposition video recording played.)

02:44:31    3   BY MR. SIPES:

02:44:32    4    Q    Of course, we have REDUCE-IT now, correct?

02:44:34    5    A    Correct.

02:44:34    6    Q    And we even have more information now, correct?

02:44:37    7    A    Yes.    And this is the second study.

02:44:39    8                 As I said just before, that a single study is not,

02:44:46    9   in my opinion, conclusive evidence.       And so the fact that

02:44:50   10   there were now two studies, and the date on the deposition, of

02:44:55   11   course, was before REDUCE-IT was published, the fact that

02:44:59   12   there were two studies that got similar results in that EPA,

02:45:05   13   purified EPA had a benefit, yes, my opinion has changed.

02:45:10   14    Q    Dr. Fisher, let's just be clear on something.         Your

02:45:13   15   deposition was on July 2nd, 2019.

02:45:16   16    A    Yes.

02:45:17   17    Q    The REDUCE-IT results were published in November of 2018,

02:45:22   18   correct?

02:45:22   19    A    Yeah.

02:45:24   20    Q    In fact, you've discussed the REDUCE-IT results in your

02:45:28   21   reports, correct?

02:45:28   22    A    Yeah.    I'm getting tired here.

02:45:30   23    Q    Right.    So your comment that you didn't think there was

02:45:33   24   sufficient evidence that there are cardiovascular limits to

02:45:39   25   EPA alone rather than the mixture of EPA and DHA, that's post
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02:45:41    1   REDUCE-IT, correct?

02:45:41    2    A    That is correct.

02:45:42    3    Q    But the key point is it was prior to the failure of the

02:45:46    4   STRENGTH trial, correct?

02:45:47    5                   MS. HUTTNER:    Your Honor, now I do object.        The

02:45:49    6   STRENGTH trial was a trial of an un -- of another drug which

02:45:53    7   is not involved in this case that is called Epanova, and

02:45:58    8   was -- the STRENGTH trial he's referring to was an outcome

02:46:02    9   study involving Epanova which is not -- nothing to do with the

02:46:06   10   issues in this case.

02:46:09   11                   I don't -- I -- it's just well beyond the scope

02:46:13   12   of the --

02:46:14   13                   MR. SIPES:    Your Honor, actually, the STRENGTH

02:46:16   14   trial was discussed in his deposition, and it's not outside

02:46:21   15   the scope.    The comparison is between the cardiovascular

02:46:24   16   benefits of EPA alone versus various mixtures.

02:46:27   17                   And, in fact, there's discussions of Epanova and

02:46:29   18   the fact it's yet another mixture of EPA and DHA in the

02:46:33   19   reports and in this case.

02:46:35   20                   They are maintaining here that somehow it was

02:46:38   21   obvious to use EPA alone.      In fact, other than Amarin, in

02:46:43   22   cardiovascular health here, everyone has been looking at

02:46:46   23   various assortments of mixtures and failing.

02:46:49   24                   And I understand why they want to keep it out,

02:46:51   25   but it's pretty significant that AstraZeneca just spent five
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02:46:57    1   plus years running a 10,000 patient trial on a mixture and it

02:47:01    2   failed on Monday.

02:47:04    3                   THE COURT:    So the objection is that the

02:47:05    4   reference to this other study is irrelevant because this other

02:47:09    5   study focuses -- I'm trying to understand the objection

02:47:13    6   because if Dr. Fisher testified to this other study in his

02:47:16    7   deposition --

02:47:17    8                   MS. HUTTNER:    Well, he was asked a question

02:47:19    9   about this other study.      He didn't -- to my recollection,

02:47:22   10   anyway, he didn't discuss the STRENGTH trial in his expert

02:47:25   11   report, nor did he testify about the STRENGTH trial in his

02:47:30   12   testimony, nor did he make any -- offer any opinion about

02:47:35   13   whether or not it would be -- you know, it would be obvious to

02:47:38   14   make to have a mixture of DHA or EPA versus a straight EPA

02:47:43   15   product.    That was raised with Dr. Heinecke yesterday.

02:47:43   16                   MR. SIPES:    But --

02:47:43   17                   MS. HUTTNER:    So in terms of --

02:47:43   18                   THE COURT:    Hang on.

02:47:46   19                   MS. HUTTNER:    Let me finish, Mr. Sipes.

02:47:48   20                   In terms of what this witness has testified to,

02:47:52   21   he has opined that based on the JELIS, which is a pure EPA

02:47:55   22   study, that one would expect the same active ingredient EPA in

02:48:00   23   the REDUCE-IT trial similarly to show cardiac benefits.

02:48:04   24                   He didn't testify about any leap from a mixture

02:48:07   25   of DHA and EPA, he's strictly comparing between EPA studies.
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02:48:12    1                   So the STRENGTH trial, which, by the way,

02:48:14    2   literally failed -- it was announced in the press the date we

02:48:19    3   began trial, what it has to do with anything, I don't know.

02:48:23    4                   MR. SIPES:    Well, I can --

02:48:23    5                   THE COURT:    So is the -- I'm trying to

02:48:27    6   understand the reason for the reference to this other trial.

02:48:30    7   Is it STRENGTH, S-t-r --

02:48:33    8                   MS. HUTTNER:    It's an acronym of some sort.

02:48:36    9                   MR. SIPES:    S-t-r-e-n-g-t-h.

02:48:36   10                   MS. HUTTNER:    I don't recall what it stands for.

02:48:39   11   But it involves, as I said, a drug called Epanova which is an

02:48:43   12   AstraZeneca drug that is like Lovaza, it's a slightly

02:48:48   13   different mixture of DHA and EPA.

02:48:51   14                   It's not discussed in Dr. Fisher's report, he

02:48:53   15   didn't discuss it in his testimony on the stand today, and it

02:48:57   16   really has nothing to do with the opinions that he is offering

02:49:00   17   in this case which simply are that there's no basis for

02:49:06   18   finding nonobviousness based on the secondary evidence

02:49:09   19   discussed by Dr. --

02:49:11   20                   THE COURT:    All right.    Hang on a moment.       I

02:49:12   21   know, Mr. Sipes, you are very eager to respond, but I'm just

02:49:16   22   trying to understand where you're headed here.

02:49:17   23                   So Dr. Fisher's testimony is there's not enough

02:49:21   24   evidence to say that there's cardiovascular benefits to EPA

02:49:24   25   rather than a mixture of EPA and DHA.        That's established.         He
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02:49:29    1   testified -- he testified to that in his deposition.          He

02:49:34    2   reiterated that here.

02:49:35    3                    So, Mr. Sipes, are you trying to challenge that

02:49:39    4   testimony that there's not enough evidence by pointing out to

02:49:42    5   other evidence?

02:49:43    6                    MR. SIPES:   At the time he has opined that JELIS

02:49:47    7   rendered REDUCE-IT expected rather than unexpected.

02:49:47    8                    THE COURT:   Right.

02:49:51    9                    MR. SIPES:   In fact, which we'll get into, he

02:49:53   10   also opined in deposition, and it's classic impeachment, that

02:49:56   11   JELIS would have been -- provided a reasonable expectation of

02:49:59   12   success with STRENGTH as well, but, in fact STRENGTH has

02:50:04   13   failed which shows that JELIS is not a good precedent for

02:50:08   14   predicting the outcome of cardiovascular outcome trials.

02:50:13   15                    MS. HUTTNER:   Your Honor, first of all --

02:50:14   16                    MR. SIPES:   That's classic -- it's absolutely

02:50:16   17   related to his opinion where he's saying JELIS predicted

02:50:19   18   REDUCE IT.    When he said JELIS predicted STRENGTH, not so easy

02:50:23   19   to predict these trials, I should be able to draw that

02:50:26   20   testimony out.

02:50:27   21                    THE COURT:   Where is that testimony in his

02:50:28   22   deposition?

02:50:28   23                    MR. SIPES:   It's on page 157 to 158, and we

02:50:34   24   could play it if you want, you can see what he says.

02:50:37   25                    THE COURT:   Well, let me read the testimony.
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02:50:40    1                   MR. SIPES:    Okay.

02:50:40    2                   THE COURT:    Not you reading it, let me read it.

02:50:43    3                   MR. SIPES:    No, no.   So if you begin on 157, and

02:50:48    4   the predicate here is that JELIS patients had DHA in their

02:50:52    5   diet.   You can read 157 at 21, to 158 at 9.

02:51:04    6                   MS. HUTTNER:    Your Honor, do you want this on

02:51:06    7   screen?

02:51:06    8                   THE COURT:    Well, you argued your position for

02:51:08    9   Dr. Fisher so I assume you know what you testified to.          I

02:51:11   10   don't have an issue with putting it on the screen if it's

02:51:14   11   easier for everyone.

02:51:18   12                   MR. SIPES:    We have a hard copy if you would

02:51:20   13   like it, Your Honor.

02:51:21   14                   THE COURT:    I can read this.

02:51:24   15                   MS. HUTTNER:    I'm sorry, the reference was to

02:51:26   16   which page and line?

02:51:28   17                   THE COURT:    157 at line 21, to 158, line 9.

02:51:34   18                   MR. SIPES:    Yep.

02:51:35   19                   MS. HUTTNER:    Thank you, Your Honor.

02:52:02   20                   THE COURT:    All right.    So it was Mr. Fisher who

02:52:05   21   brought up the reference to the STRENGTH trial, and,

02:52:08   22   Mr. Sipes, you're saying that because he testified to this

02:52:10   23   you're entitled to address --

02:52:12   24                   MR. SIPES:    And --

02:52:12   25                   THE COURT:    -- his testimony?
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02:52:13    1                   MR. SIPES:    And also because it is directly

02:52:15    2   impeachment on his opinion that JELIS made it expected that

02:52:20    3   REDUCE-IT would turn out favorably because he also testified

02:52:23    4   that JELIS meant that STRENGTH would turn out favorably and,

02:52:28    5   of course, it did not, which makes our point that JELIS really

02:52:32    6   isn't a way to predict what's going to happen with these

02:52:35    7   cardiovascular --

02:52:37    8                   THE COURT:    I understand the argument and the

02:52:37    9   inference is strong here.      Ms. Huttner, what's your response?

02:52:40   10                   MS. HUTTNER:    Well, Your Honor, first of all, if

02:52:42   11   you look at the transcript on page 157 it was actually --

02:52:46   12   actually earlier on page 156, it's Mr. Sipes who brought up

02:52:52   13   the STRENGTH trial.

02:52:54   14                   He asked, "Are you aware that AstraZeneca is

02:52:56   15   sponsoring the STRENGTH trial to look at cardiovascular

02:53:00   16   outcomes using 4 grams of Epanova?"

02:53:03   17                   And then he's -- Dr. Fisher is refreshed, and

02:53:07   18   then he's asked a question, "Do you have an expectation about

02:53:10   19   whether or not STRENGTH will show cardiovascular benefits?"

02:53:13   20                   And he says in response -- he simply says,

02:53:17   21   "This will be a very interesting study to follow."

02:53:19   22                   And then he asks a question about, "What are the

02:53:21   23   selection criteria of STRENGTH?"

02:53:24   24                   He did not -- I mean, the point is he did not

02:53:27   25   offer any opinions in his report related to the STRENGTH
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02:53:30    1   trial.

02:53:30    2                   I do not believe he is familiar with the

02:53:33    3   parameters, as evidenced by his question on the record to

02:53:36    4   Mr. Sipes, that he's familiar with the details pertaining to

02:53:40    5   that study, and also --

02:53:40    6                   MR. SIPES:    He --

02:53:41    7                   MS. HUTTNER:    And also -- excuse me.

02:53:42    8                   Also, just to be clear, on Monday, the day the

02:53:46    9   trial started, there was a public announcement by AstraZeneca,

02:53:51   10   not that the STRENGTH trial had failed but, that they were

02:53:54   11   terminating study, and there's no publically available data as

02:53:58   12   to the reasons why they terminated the study, what data they

02:53:58   13   have.

02:54:02   14                   So I don't even know that there's a basis for

02:54:05   15   Mr. Sipes to assert that it failed because no one has seen any

02:54:06   16   data, and there's been no public discussion that I'm aware of

02:54:08   17   as to what the reasons were for terminating the trial.

02:54:12   18                   One could infer certainly it wasn't going well,

02:54:15   19   but I don't in any details or information about that, and

02:54:18   20   either does Dr. Fisher.

02:54:19   21                   THE COURT:    I assume your question has nothing

02:54:21   22   to do with the fact that the STRENGTH trial was terminated.

02:54:24   23                   MR. SIPES:    It goes to the point that it's how

02:54:26   24   unpredictable this field is, that his opinion that JELIS

02:54:31   25   rendered REDUCE-IT expected is undercut by the fact that, as
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02:54:32    1   he acknowledged, JELIS would who have predicted a favorable

02:54:39    2   outcome for STRENGTH, and STRENGTH did not get a favorable

02:54:40    3   outcome.

02:54:40    4                    MS. HUTTNER:   First of all, that is a

02:54:40    5   misrepresentation of the record.       He did not say that.

02:54:43    6                    He did not express the opinion that because of

02:54:46    7   JELIS that he would expect the results of STRENGTH to be

02:54:48    8   positive.    He simply said it would be an interesting study to

02:54:54    9   follow.

02:54:55   10                    THE COURT:   Let me pause for a moment.      Who

02:54:57   11   referenced the STRENGTH trial first in the deposition?

02:55:01   12                    MR. SIPES:   I believe I did.

02:55:01   13                    THE COURT:   All right.    Let me read -- do you

02:55:02   14   have -- let me read the transcript starting on page 156.

02:55:06   15                    MS. HUTTNER:   Do you need a copy, Your Honor?

02:55:10   16                    THE COURT:   Yes.

02:55:26   17                    MS. HUTTNER:   Your Honor, may I suggest that

02:55:29   18   this would be a good time for a break?        I believe Dr. Fisher

02:55:32   19   could use a --

02:55:33   20                    THE COURT:   I know, I was planning on taking a

02:55:35   21   break.

02:55:36   22                    MS. HUTTNER:   That way you could read the

02:55:38   23   transcript.

02:55:40   24                    THE COURT:   Let's do that, I'll read the

02:55:41   25   transcript.    So I'm going to read page 155 through 157; is
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02:55:46    1   that right?

02:55:49    2                   MR. SIPES:    To 158, Your Honor, I believe.        Yes,

02:55:52    3   it begins on 156 -- begins on 155 and goes through 158.

02:55:59    4                   THE COURT:    Thank you.    Let's take a recess.

02:55:59    5                           (A recess was taken.)

03:14:02    6                   THE COURT:    Please be seated.

03:14:02    7                   All right.    I have reviewed the portion of

03:14:08    8   Dr. Fisher's deposition testimony starting on page 155,

03:14:14    9   line 16, through page 158, line 20.

03:14:36   10                   And I think that -- well, I'm overruling the

03:14:40   11   objection.    I agree with Mr. Sipes that given Dr. Fisher's

03:14:45   12   deposition testimony, it is fair and adequate to ask him -- to

03:14:55   13   question him about the portion of his deposition testimony

03:14:58   14   where he testified about his vague familiarity with the

03:15:03   15   STRENGTH trial, but his opinion -- his statement that there

03:15:09   16   can be reasonable expectation -- well, he testified it would

03:15:14   17   not surprise him if the STRENGTH trial achieved success.

03:15:18   18   That's kind of the limitation of his testimony.

03:15:21   19                   So, I'm overruling the objection.       But I would

03:15:25   20   have to say that I would give the testimony whatever weight it

03:15:29   21   deserves.    I know the parties are disputing this because had

03:15:33   22   the STRENGTH trial not been terminated on Monday, perhaps the

03:15:36   23   argument would have been very different.

03:15:39   24                   MS. HUTTNER:    Thank you, Your Honor.

03:15:40   25                   MR. SIPES:    Thank you, Your Honor.
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03:15:40    1   BY MR. SIPES:

03:15:41    2    Q    All right.    Dr. Fisher, I suspect you know where I'm

03:15:44    3   going to go next.     So on this first -- in the JELIS trial, the

03:15:49    4   patients were also consuming through diet some DHA, correct?

03:15:53    5    A    Sure, as part of their natural consumption.

03:15:56    6    Q    And so, in your view, the JELIS trial would be a good

03:16:01    7   precedent that would make it a reasonable expectation that

03:16:05    8   STRENGTH would be favorable, correct?

03:16:07    9    A    You're reading that from the deposition?        Is that --

03:16:10   10    Q    Well, I'm asking you a question.

03:16:12   11    A    Oh.

03:16:12   12    Q    Would it help you if I were to play your deposition?

03:16:15   13    A    No, no.   I just read it, and sounded to be the same.         So

03:16:21   14   just please repeat the question.       I didn't realize you were

03:16:24   15   asking a question.     I thought you were repeating part of my

03:16:26   16   deposition.

03:16:27   17    Q    Based on the fact that the patients in JELIS were

03:16:29   18   consuming some DHA in their diet, JELIS would provide, in your

03:16:34   19   opinion, a reasonable expectation that the STRENGTH trial

03:16:37   20   would be favorable, correct?

03:16:42   21    A    When I looked at what I wrote, I did ask you if they were

03:16:45   22   on statins in the STRENGTH trial, and what I was thinking was

03:16:50   23   that if you had an omega-3 effect without a rise in LDL, this

03:17:00   24   would make it, at least from a lipoprotein point of view,

03:17:09   25   somewhat equivalent.
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03:17:11    1               And then I then said it was a reasonable expectation

03:17:13    2   based on my taking into account that this is a

03:17:15    3   statin-treated group as well.       But, yes, that my final

03:17:19    4   statement on that, there was a reasonable expectation.

03:17:21    5                   MR. SIPES:    And then, Mr. Brooks, if you'll pull

03:17:23    6   up PX 1219 just to close the loop.

03:17:23    7   BY MR. SIPES:

03:17:28    8    Q    PX 1219 is the press release from Monday, this Monday,

03:17:34    9   reporting that AstraZeneca was terminating the STRENGTH trial

03:17:40   10   due to its low likelihood of demonstrating a benefit to

03:17:46   11   patients with mixed dyslipidemia who are at increased risk of

03:17:51   12   cardiovascular disease, correct?

03:17:52   13    A    Yes, that is what it says.

03:17:54   14    Q    And so it appears the STRENGTH trial did not turn out

03:17:59   15   favorably, correct?

03:18:00   16    A    Yes, although we don't know the reason.

03:18:02   17               I suppose this happens sometimes.       The event rate is

03:18:06   18   very low, and you don't get to the prespecified minimum number

03:18:11   19   of events, so it's declared futile.

03:18:14   20               I'm not saying, of course, that's the case here, but

03:18:16   21   I have no idea why it has a low likelihood of demonstrating a

03:18:22   22   benefit.

03:18:23   23    Q    What we know is that the STRENGTH trial has not turned

03:18:26   24   out favorably, correct?

03:18:27   25    A    That is definitely correct, if they pulled the plug.
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03:18:31    1                   MR. SIPES:    And I would move PX 1219 into

03:18:35    2   evidence.

03:18:37    3                   MS. HUTTNER:    Your Honor, we would object.        It's

03:18:38    4   hearsay.    I don't -- I don't see what probative value it has.

03:18:44    5   It's a press release announcing that the study was terminated.

03:18:47    6                   THE COURT:    Well, is there any dispute the study

03:18:50    7   was terminated?

03:18:50    8                   MS. HUTTNER:    It's on a public record, Your

03:18:52    9   Honor.   That's all we know is essentially what's in this press

03:18:55   10   release.    But, as Dr. Fisher pointed out, we don't know what

03:19:03   11   the reason for the termination was.

03:19:05   12                   THE COURT:    Well, I'll admit the evidence for

03:19:07   13   the sole purpose of supporting the statement that the STRENGTH

03:19:10   14   trial was terminated without determining the reason for the

03:19:13   15   termination.

03:19:13   16                   MS. HUTTNER:    Thank you, Your Honor.

03:19:14   17                   THE COURT:    So the evidence will be admitted for

03:19:16   18   that limited purpose, which is the reason you're offering it

03:19:19   19   in the first place, is that right, Mr. Sipes?

03:19:20   20                   MR. SIPES:    Correct.   Correct.

03:19:20   21                           (Plaintiff's Exhibit 1219 received in
03:19:20                                 evidence.)
03:19:20   22   BY MR. SIPES:

03:19:29   23    Q    So, Dr. Fisher, let's come back to the fact that the

03:19:32   24   patients in JELIS were consuming omega-3s, including DHA, in

03:19:38   25   their diet, correct?
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03:19:38    1    A    Yes.

03:19:38    2    Q    In other words, that one issue with trials conducted in

03:19:43    3   Japan is that the Japanese population consumes an unusually

03:19:47    4   large amount of fish, correct?

03:19:50    5    A    Well, for them it's not unusually large; compared to the

03:19:55    6   U.S., yes.

03:19:55    7                    MS. HUTTNER:   I stand absolutely corrected.

03:19:56    8                    THE COURT:   All I know so far in this trial is I

03:19:59    9   should continue to consume fish.

03:20:01   10   BY MR. SIPES:

03:20:02   11    Q    A better question might be the Japanese population

03:20:02   12   consumes a healthy amount of fish, correct?

03:20:04   13    A    Yeah.

03:20:04   14    Q    But now you had mentioned the MEGA trial as another

03:20:09   15   cardiovascular trial that was conducted in Japan, correct?

03:20:13   16    A    Yes.

03:20:13   17    Q    That did not involve omega-3, correct?

03:20:16   18    A    To my knowledge, no.

03:20:17   19    Q    In fact, it involved pravastatin.

03:20:20   20    A    Correct.

03:20:20   21    Q    So this issue of the omega-3 baseline is not as relevant

03:20:23   22   to the MEGA trial as it would be to understanding JELIS, for

03:20:27   23   example?

03:20:27   24    A    Yes.

03:20:28   25    Q    And JELIS administered 1.8 grams of EPA, not 4 grams,
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03:20:35    1   correct?

03:20:35    2    A    Definitely.

03:20:36    3    Q    And you don't cite today, in your testimony today, you

03:20:40    4   did not cite any literature before 2008 that connects the

03:20:44    5   blood levels of administering 4 grams per day in a western

03:20:49    6   population, to 1.8 grams per day to a Japanese population,

03:20:53    7   correct?

03:20:54    8    A    Correct.

03:20:56    9    Q    And, in fact, Amarin itself had information from its own

03:21:06   10   trials about EPA blood levels from administering 4 grams per

03:21:11   11   day, correct?

03:21:11   12    A    Yes.

03:21:12   13    Q    And that would include the MARINE trial and the ANCHOR

03:21:15   14   trial, correct?

03:21:15   15    A    Yes.

03:21:16   16    Q    And so in designing REDUCE-IT, Amarin had information on

03:21:22   17   blood levels of EPA that were not available in the literature.

03:21:26   18    A    Correct.

03:21:27   19    Q    And you -- at least when I deposed you, you were not

03:21:40   20   willing to say whether the cardioprotective effects of, say, 2

03:21:45   21   grams of EPA would be the same as 4 grams of EPA, correct?

03:21:49   22    A    I take your word for it.

03:21:52   23    Q    Well, let me ask you.     Is it correct that you cannot

03:21:58   24   opine on whether 2 grams of EPA would be as cardioprotective

03:22:02   25   as 4 grams?
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03:22:03    1    A    It would depend, I think, on the blood levels achieved.

03:22:07    2   And that's really what the cells see.        So 2 grams a day

03:22:11    3   provided to the cells, the equivalent, because of the

03:22:14    4   background intake from natural sources, then I would say I

03:22:19    5   would expect an effect that 2 grams versus 4 grams.

03:22:24    6    Q    Okay.   So that's the issue was trying to understand with

03:22:27    7   supplementation how that's changing the blood levels in the

03:22:30    8   patient's blood, correct?

03:22:32    9    A    I think the blood levels are critical.

03:22:34   10    Q    And certainly in a western population who is not

03:22:37   11   consuming as much fish, even there you wouldn't be able to say

03:22:41   12   whether 2 grams of EPA would be as cardioprotective 4 grams,

03:22:47   13   correct?

03:22:48   14    A    Until it was tested, that's correct.

03:22:50   15    Q    Now, we have a considerable amount of evidence, do we

03:22:53   16   not, that 1 gram of omega-3 fatty acids is not

03:22:57   17   cardioprotective on top of a statin, correct?

03:23:00   18    A    In the studies I discussed today, yes.        But the design of

03:23:06   19   those studies I would not say was optimal for testing an

03:23:13   20   effect on cardiovascular risk.       But, those studies were

03:23:17   21   negative in their conclusions.

03:23:19   22    Q    Okay.   In terms of positive cardiovascular outcome trials

03:23:24   23   on omega-3 fatty acids in patients on a statin, the only one

03:23:29   24   that has met its primary endpoint has been REDUCE-IT, correct?

03:23:33   25    A    Well, no, JELIS -- the primary endpoint was 19 percent
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03:23:38    1   reduction at a significant P value.

03:23:42    2    Q    And -- but all these other studies that we've been

03:23:45    3   talking about, ASCEND and ORANGE --

03:23:47    4    A    ORIGIN.

03:23:48    5    Q    -- and ORIGIN, they failed to meet their primary

03:23:51    6   endpoint, correct?

03:23:51    7    A    Definitely.

03:23:52    8    Q    Now, we spent some time, also, I think, talking about

03:23:55    9   fibrates, correct?

03:23:56   10    A    Yes.

03:23:58   11                   MR. SIPES:    And, Mr. Brooks, if you could pull

03:24:06   12   up PX 162.

03:24:06   13   BY MR. SIPES:

03:24:11   14    Q    This is the -- do you recognize PX 162 as the American

03:24:17   15   Diabetes Association standard of care?

03:24:18   16    A    Yes.

03:24:19   17                   MR. SIPES:    And if you will turn to, Mr. Brooks,

03:24:24   18   to PX 162 at 11.

03:24:24   19   BY MR. SIPES:

03:24:30   20    Q    The -- and this is from 2019, correct?

03:24:33   21    A    Yes.

03:24:35   22                   MR. SIPES:    I believe this has already been

03:24:35   23   admitted into evidence -- no?

03:24:42   24                   Okay.   I've been told I should move PX 162 into

03:24:45   25   evidence.
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03:24:45    1                    THE COURT:   Any objection?

03:24:47    2                    MS. HUTTNER:   No, Your Honor.     I think this may

03:24:48    3   be the same document as was admitted under defendants -- I'm

03:24:52    4   sorry -- this was admitted under defendants' exhibit, but we

03:24:54    5   have no objection.

03:24:55    6                    THE WITNESS:   It is.

03:24:58    7                    THE COURT:   Can I take your word for it?

03:24:59    8                    MR. SIPES:   Why don't we move it in --

03:25:01    9                    THE COURT:   I'm going to admit it into evidence.

03:25:04   10   Don't worry, Mr. Sipes.

03:25:04   11                           (Plaintiff's Exhibit 162 received in
03:25:08                                 evidence.)
03:25:08   12   BY MR. SIPES:

03:25:08   13    Q    If we turn to PX 162 at page 11, under Other Combination

03:25:12   14   Therapy --

03:25:13   15                    MR. SIPES:   If you could blow that up.

03:25:18   16   Recommendation 10.28?

03:25:18   17   BY MR. SIPES:

03:25:20   18    Q    The ADA concludes in 2019,

03:25:22   19                   "Combination therapy, statin fibrate, has not

03:25:29   20         been shown to improve atherosclerotic cardiovascular

03:25:32   21         disease outcomes, and is generally not recommended."

03:25:36   22                    Do you see that?    Did I read that correctly?

03:25:40   23    A    The -- it's moving around.

03:25:42   24                Combination therapies, statin fibrate has not been

03:25:46   25   shown to improve -- yes, I see that.        So you read that
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03:25:50    1   correctly.

03:25:51    2    Q    Yes.    So that's the position of the American Diabetes

03:25:55    3   Association, correct?

03:25:55    4    A    Yes.

03:25:55    5                     MR. SIPES:   And then if you'll go a little

03:25:59    6   further down, in the middle column, statin and fibrate, and

03:26:05    7   blow-up the first paragraph.

03:26:05    8   BY MR. SIPES:

03:26:06    9    Q    Do you recall discussing earlier today the concern about

03:26:10   10   combining a statin with fibrates?       Do you recall discussing

03:26:13   11   that, Dr. Fisher?

03:26:15   12    A    Yes, I do.

03:26:15   13    Q    And I think your testimony was that that's really a

03:26:18   14   concern limited only to gemfibrozil, correct?

03:26:22   15    A    No, I said there is a frequency with fenofibrates, but it

03:26:26   16   was a lot lower than with gemfibrozil.

03:26:29   17    Q    Okay.   And, in fact, the American Diabetes Association

03:26:32   18   recommends in 2019 that,

03:26:33   19                   "Combination therapy, statin and fibrate, is

03:26:36   20         associated with an increased risk for abnormal

03:26:39   21         transaminase levels, myositis and rhabdomyolysis."

03:26:45   22    A    Myolysis.

03:26:47   23    Q    Myolysis.

03:26:49   24                   "The risk of rhabdomyolysis is more common

03:26:54   25         with higher doses of statins and renal insufficiency,
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03:26:58    1         and appears to be higher when statins are combined

03:27:01    2         with gemfibrozil (compared with fenofibrate).

03:27:07    3                   Do you see that?

03:27:07    4                   So that's consistent with the idea that there's

03:27:09    5   a concern with all statins, but with all fibrates, but with

03:27:12    6   gemfibrozil is particularly concerning, right?

03:27:15    7    A    Gemfibrozil is particularly of concern.        Statins actually

03:27:20    8   have the same problem as monotherapy.        And as I mentioned,

03:27:24    9   that the last data that I saw of the rhabdomyolysis

03:27:29   10   complication, which is the most serious of these, was about

03:27:34   11   .12 percent, the combination of fenofibrate and a statin.

03:27:38   12    Q    But rhabdomyolysis is muscle wasting, correct?

03:27:43   13    A    It's the breakdown of muscle.      You can call it just

03:27:47   14   rhabdo.   That's what we do in the field.

03:27:49   15    Q    It's a very, very serious side effect, correct?

03:27:51   16    A    Yes.

03:27:51   17    Q    I can say that because my father was on Baycol, which had

03:27:55   18   this as a particularly serious side effect, and it can be

03:27:56   19   devastating to patients, correct?

03:27:57   20    A    Yes, it can.

03:27:58   21    Q    So even a 1 percent of risk of rhabdo is a very serious

03:28:02   22   concern, correct?

03:28:03   23    A    Yes.   But, again, if you look at the data for statins

03:28:07   24   alone, they have an above zero risk that is probably in that

03:28:11   25   range.
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03:28:11    1    Q    And so combining it with a fibrate that might enhance the

03:28:15    2   risk would be concerning, correct?

03:28:17    3    A    Yes.    That's why we monitor the patients on a frequent

03:28:21    4   basis for their muscle enzymes, as well as their transaminase

03:28:27    5   levels from their liver, as well as their renal function.

03:28:31    6    Q    And one of the advantages of EPA and omega-3s, generally,

03:28:36    7   is they have many fewer drug-drug interactions than, say,

03:28:41    8   fibrates.

03:28:41    9    A    That's a fair statement.

03:28:42   10    Q    Now, if we go on with the ADA recommendations, the next

03:28:46   11   paragraph says, in the ACCORD study -- do you see that?

03:28:49   12    A    Uh-huh.

03:28:49   13    Q    And you discussed the ACCORD study earlier today,

03:28:55   14   correct?     You recall discussing that?

03:28:56   15    A    Yes.

03:28:56   16    Q    And that was a study looking at cardiovascular outcomes

03:29:00   17   in patients with Type 2 diabetes administered a combination of

03:29:04   18   a statin and a fibrate, correct?

03:29:10   19    A    Yes.

03:29:10   20    Q    And in particular it was a fenofibrate as the fibrate,

03:29:13   21   and simvastatin as the statin, correct?

03:29:15   22    A    Yes.

03:29:16   23    Q    And as the ADA guidance reports, it did not meet its

03:29:21   24   primary endpoint, correct?

03:29:23   25    A    Correct.
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03:29:24    1    Q    And they note that a prospective trial of a newer fibrate

03:29:29    2   in this specific population of patients is ongoing, correct?

03:29:33    3    A    Yes.

03:29:34    4    Q    So people are still looking for ways to address

03:29:37    5   cardiovascular risks in diabetes patients, even those on a

03:29:37    6   statin, correct?

03:29:40    7    A    Right.   But you skipped over what I did introduce before

03:29:44    8   about the subgroup analysis.      They do acknowledge that there

03:29:47    9   was a benefit in that group of greater than or equal

03:29:52   10   204 milligrams per deciliter in HDL below 34.

03:29:57   11    Q    But, nonetheless, their recommendation that's in section

03:30:01   12   2.10.28 is combination therapy, statin fibrate has not been

03:30:06   13   shown to improve atherosclerotic cardiovascular outcomes, and

03:30:12   14   is generally not recommended, correct?        That's the ADA

03:30:13   15   guidance.

03:30:14   16    A    By the ADA guideline, yes.

03:30:16   17    Q    Okay.    Now, the ADA has, in 2019, recommended EPA for

03:30:21   18   residual cardiovascular risk, correct?

03:30:23   19    A    They do recommend it, yes.

03:30:25   20    Q    And that was a change in the ADA guidance from before,

03:30:28   21   from 2018 and before, correct?

03:30:31   22    A    That is correct.

03:30:31   23    Q    So the change in the American Diabetes Association

03:30:36   24   standards of medical care was as a result of the REDUCE-IT

03:30:38   25   trial, correct?
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03:30:39    1    A     Yes.   In terms of the EPA part, right.

03:30:45    2    Q     And it was your testimony, it was your testimony at

03:30:48    3   deposition, was it not, that currently fibrates are not used

03:30:52    4   to reduce cardiovascular risks on top of a statin.

03:30:56    5    A     Yes.   That was based on the ACCORD and FIELD studies,

03:31:03    6   yes.

03:31:04    7    Q     Now, in March of 2008, it was still thought beneficial,

03:31:11    8   from a cardiovascular perspective, to increase HDL

03:31:17    9   cholesterol, correct?

03:31:18   10    A     Yes.

03:31:18   11    Q     And one mechanism that was looked at to try -- and the

03:31:23   12   reason is -- so the pharmaceutical industry looked into drugs

03:31:29   13   that would raise HDL as a way of addressing residual

03:31:33   14   cardiovascular risk on top of a statin, correct?

03:31:36   15    A     Yes.

03:31:36   16    Q     And one area that they looked at was something called a

03:31:39   17   CETP inhibitor, correct?

03:31:42   18    A     Yes.

03:31:42   19    Q     And I'm not going to ask you what CETP stands for because

03:31:47   20   it doesn't matter.     The point is these were new drugs that

03:31:51   21   were being developed to raise HDL to address residual

03:31:56   22   cardiovascular risk in patients on a statin, correct?

03:31:59   23    A     Yes.

03:32:00   24    Q     And the pharmaceutical industry devoted enormous time and

03:32:05   25   money to developing CETP inhibitors in the latter half of the
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03:32:11    1   2000s into 2010, correct?

03:32:12    2    A    And beyond.

03:32:13    3    Q    And beyond.

03:32:15    4                 And, in your own words, the CEPT inhibitors were a

03:32:21    5   colossal failure, correct?

03:32:22    6    A    Yes, although I don't know if I was including the

03:32:26    7   Anacetrapib.     I'm not so good on dates, as we've discovered,

03:32:32    8   of when these trials are reported.

03:32:34    9                 But, the Merck study on Anacetrapib did have a

03:32:40   10   statistically significant reduction in events, but they

03:32:40   11   decided for a variety of reasons not to pursue the indication.

03:32:45   12    Q    But your own description of the CETP inhibitors where a

03:32:47   13   colossal failure, correct?

03:32:49   14    A    Overall, yes.

03:32:50   15    Q    And another thing that Merck tried to do was develop a

03:32:55   16   niacin-based drug that was a combination of laropiprant and

03:33:00   17   niacin, correct?

03:33:01   18    A    Yeah.    It's hard for me too.    Laropiprant.    And I would

03:33:06   19   spell it, except I don't know how to spell it.

03:33:08   20    Q    Okay.    What is we call it Laro and niacin?

03:33:12   21    A    Okay.

03:33:12   22    Q    Or we can refer to it by its tradename Cordaptive,

03:33:17   23   correct?

03:33:17   24    A    Yes.    That's better.

03:33:18   25    Q    And Cordaptive was two drugs in one.
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03:33:21    1    A    Yes.

03:33:21    2    Q    Which it's possible to take two active ingredients and

03:33:27    3   put it in one drug product, correct?

03:33:29    4    A    Correct.

03:33:29    5    Q    And the niacin was intended to raise HDL.

03:33:32    6    A    Yes.

03:33:33    7    Q    And the other ingredient Laro, or something like that,

03:33:36    8   was really just intended to address the serious problem with

03:33:39    9   flushing that comes about with niacin.

03:33:43   10    A    Right.    Tingling and flushing, yes.

03:33:46   11    Q    And so even in 2010, when Merck was developing

03:33:51   12   Cordaptive, raising HDL-C was still viewed as a possible way

03:33:57   13   of addressing residual cardiovascular risk.

03:34:01   14    A    Yes.

03:34:02   15    Q    But Cordaptive failed as well, correct?

03:34:06   16    A    It did.    I think the problem, though, for that was there

03:34:08   17   was safety issues related to the Laropiprant product, and so

03:34:17   18   they pulled the plug on it and decided because other trials --

03:34:22   19   there were involving niacin that were not effective, and so

03:34:25   20   why do the additional safety studies if, ultimately, the

03:34:29   21   niacin was not going to do something.

03:34:31   22    Q    But -- and that was, really, 2010, that was the death

03:34:36   23   knell of the forcibly raising HDL approach in the

03:34:40   24   pharmaceutical industry, correct?

03:34:43   25    A    Big pharma definitely lost interest and partly because
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03:34:52    1   their understanding of HDL metabolism limited is limited.           As

03:34:56    2   Dr. Heinecke testified, he and I both have worked on HDL

03:35:00    3   metabolism, that theirs a big distinction between functional

03:35:04    4   HDL and dysfunctional.

03:35:06    5               And what has not been tested is a way to raise HDL

03:35:12    6   that's functional, so that in terms of the hypothesis, is HDL

03:35:17    7   raising good for you or not, has actually not been adequately

03:35:22    8   tested.

03:35:22    9               But I would agree that the approaches that have been

03:35:25   10   taken so far have not been successful.

03:35:29   11    Q    Now, similarly, there was a belief at the time that

03:35:32   12   increasing LDL particle size might be beneficial from a

03:35:36   13   cardiovascular perspective because the LDL particles would

03:35:40   14   then not as readily get into the lining of the arteries,

03:35:43   15   correct?

03:35:43   16    A    Some people -- I acknowledge some people felt that.           I've

03:35:50   17   never been a big fan of that work because I think, again, as

03:35:53   18   Dr. Heinecke testified, going from 20 nanometers to

03:35:58   19   22 nanometers is a very small difference.

03:36:03   20               Because it's not until you're getting up to these

03:36:06   21   chylomicron size particles, or some of the particles in the --

03:36:11   22   I mentioned before that in the severe hypertriglyceridemia

03:36:13   23   patients, there is actually not a very high risk just from

03:36:18   24   that because, as ATP III points out, the particles that are so

03:36:22   25   big carrying so much triglyceride, can't penetrate the artery.
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03:36:28    1                So they have to be fairly big before you penetrate

03:36:31    2   an artery, and so -- again, I'm not saying people have thought

03:36:34    3   about this bigger, fluffier LDL, versus smaller, denser, but

03:36:40    4   the size difference of particles, other particles that size,

03:36:44    5   freely get into the arterial wall.

03:36:47    6    Q    It's turned out to be fairly difficult to predict what

03:36:51    7   are the mechanisms that are truly going to reduce

03:36:57    8   cardiovascular risk, correct?

03:36:58    9    A    I agree with you.

03:36:59   10    Q    You testified that you didn't believe there was a nexus

03:37:22   11   between MARINE -- you know, the not raising LDL-C as an

03:37:28   12   unexpected benefit in the claims because not every patient

03:37:34   13   will enjoy that benefit, correct?

03:37:37   14    A    Correct.

03:37:37   15    Q    You'd agree, would you not, there is, invariably,

03:37:43   16   variability in response to any drug.

03:37:45   17    A    Yes.

03:37:46   18    Q    There is no drug in which every patient responds exactly

03:37:50   19   the same way.

03:37:51   20    A    Maybe cyanide.

03:37:55   21    Q    Depends on the dose.

03:38:00   22                Is it your testimony that to show nexus for a

03:38:03   23   purported unexpected benefit, every patient study must show

03:38:08   24   that benefit?

03:38:09   25    A    No.
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03:38:09    1    Q    FDA views and evaluates the effects of drugs typically by

03:38:16    2   looking at median patients, correct?

03:38:18    3    A    Typically, yes.

03:38:19    4    Q    And that tells you that at least half the patients are

03:38:23    5   enjoying the reported benefit.

03:38:25    6    A    Yes.

03:38:25    7    Q    Okay.    And the median patient in MARINE did not see a

03:38:37    8   rise in LDL-C, correct?

03:38:39    9    A    That's correct.

03:38:40   10    Q    And the median patient actually saw a reduction in apo B,

03:38:45   11   correct?

03:38:45   12    A    Yes.

03:38:45   13    Q    Now, you testified at -- that in many of your patients it

03:39:15   14   takes them too long to get an appointment with a nutritionist,

03:39:22   15   so you give them the drug right away; is that correct?

03:39:25   16    A    Yes, concurrent with telling them -- informing them they

03:39:31   17   need to improve their lifestyle and that we'll make

03:39:34   18   arrangements for them to get the proper evaluation and

03:39:39   19   recommendations.

03:39:39   20    Q    Now, if you'll look in your reply -- in your report,

03:39:44   21   DX 1574, at paragraph 51, which I think may be page 19 of the

03:39:56   22   exhibit.     But, I confess I'm guessing.     Mr. Brooks will tell

03:40:00   23   me.

03:40:00   24                 Is that right, is it page 19?

03:40:02   25                     MR. BROOKS:   Eighteen.
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03:40:02    1   BY MR. SIPES:

03:40:04    2    Q    Eighteen.    So 18, you opined in the last sentence in your

03:40:08    3   report,

03:40:10    4                    "Prescribing Vascepa without first placing a

03:40:13    5         patient on an appropriate lipid-lowering diet, would,

03:40:16    6         therefore, constitute an off-label use of Vascepa,"

03:40:20    7         correct?

03:40:21    8    A    Yes.   Could you just point that -- I --

03:40:24    9    Q    So paragraph 51, the very last --

03:40:28   10                     MR. SIPES:   If we could blow up the very last

03:40:30   11   sentence.

03:40:30   12   BY MR. SIPES:

03:40:32   13    Q    It's your opinion, is it not, that,

03:40:34   14                    "Prescribing Vascepa without first placing a

03:40:37   15         patient on an appropriate lipid-lowering diet would

03:40:41   16         constitute an off-label use"?

03:40:43   17    A    Correct.    Sometimes you have to have patient safety come

03:40:47   18   before a trivial off-label use.

03:40:51   19                If I'm telling a patient we need to put you on

03:40:54   20   lifestyle modifications, but that cannot begin in the next few

03:40:59   21   days, I just feel, just like Dr. Sheinberg, that I need to

03:41:03   22   start getting those very high triglycerides down.

03:41:06   23    Q    Right.    And we'll come to that.

03:41:08   24                But in terms of the basis for the opinion you

03:41:09   25   expressed in your report, you point to the Indications and
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03:41:12    1   Usage section, the first sentence.       You state,

03:41:14    2                    "The Indications and Usage section expressly

03:41:17    3         instructs that patients should be placed on an

03:41:20    4         appropriate lipid-lowering diet and exercise regimen

03:41:23    5         before" -- and you emphasize "before" -- "receiving

03:41:26    6         Vascepa, and should continue this diet and exercise

03:41:28    7         regimen with Vascepa."

03:41:30    8                     That's what you wrote in your report, correct?

03:41:32    9    A    That is correct.

03:41:33   10    Q    And then you went on,

03:41:35   11                    "The Dosage and Administration section

03:41:37   12         repeats patients should engage in appropriate

03:41:40   13         nutritional intake and physical activity before

03:41:43   14         taking Vascepa which should continue during treatment

03:41:45   15         of Vascepa."

03:41:46   16                     That's also from your report, correct?

03:41:48   17    A    Correct.

03:41:48   18    Q    And then you go on,

03:41:50   19                    "The patient counseling information likewise

03:41:51   20         expressly instructs patients to start a diet low in

03:41:54   21         saturated fat, cholesterol carbohydrates, and low in

03:42:01   22         added sugars," correct?

03:42:01   23    A    Correct.

03:42:02   24    Q    But you're saying that sometimes patients -- it's so

03:42:04   25   urgent that you don't take time to give them nutritional
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03:42:09    1   counseling and exercise before you give them the drug,

03:42:12    2   correct?

03:42:12    3    A    Because it's impractical.       If you look at this advice,

03:42:17    4   it -- most patients can't interpret the simple nutrition label

03:42:22    5   on a package of cookies.      So to tell a patient, oh, I want you

03:42:26    6   to eat less saturated fat, many patients don't even know what

03:42:31    7   saturated fat is versus unsaturated.

03:42:34    8                As a practical method in a doctor's office, to do a

03:42:39    9   comprehensive nutritional evaluation, and then on top of that

03:42:42   10   an exercise evaluation, would take an hour or two.         How many

03:42:46   11   people in this room have actually sat in their doctor's office

03:42:50   12   and had an hour of that person's time, unless it's psychiatry,

03:42:52   13   of course.    It's not practical.     It's just not practical.

03:42:56   14    Q    Now, one of the foundations of ATP III was what's called

03:43:01   15   TLC, therapeutic lifestyle counseling, correct?

03:43:04   16    A    Yes.

03:43:04   17    Q    So ATP, in fact, emphasizes the importance of carrying

03:43:08   18   out diet and lifestyle counseling.

03:43:10   19    A    Yeah, I'm not saying it's not important.

03:43:12   20                    MR. SIPES:   Okay.    Now, if we could pull up ATP

03:43:14   21   III, PX 989 at 192.     Well, first, we'll go to the first page

03:43:23   22   to identify it, PX 191.

03:43:23   23   BY MR. SIPES:

03:43:27   24    Q    This -- PX989 is ATP, is the ATP III report, correct?

03:43:32   25    A    Correct.
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03:43:32    1    Q    You recognize that?

03:43:33    2    A    Yes.

03:43:34    3                    MR. SIPES:   And this is already in evidence.

03:43:35    4                    Everyone's nodding yes, so I'm going to say yes.

03:43:37    5                    So now let's go to page 192, Mr. Brooks, and the

03:43:44    6   very top paragraph.

03:43:44    7   BY MR. SIPES:

03:43:48    8    Q    The very first sentence here on this page says,

03:43:51    9                   "Because of the danger of acute pancreatitis,

03:43:54   10         persons with severely elevated triglycerides greater

03:43:57   11         then 2000 milligrams per deciliter should be treated

03:44:01   12         as a medical urgency," correct?

03:44:02   13    A    Yes.

03:44:03   14    Q    And this is one of the reasons why trials in severe

03:44:05   15   hypertriglyceridemia typically have inclusion criteria of 500

03:44:09   16   to 2000, or 500 to 1500, is to have the patients who aren't in

03:44:13   17   a situation of medical urgency, correct?

03:44:16   18    A    Yes, but we also heard that triglycerides vary

03:44:21   19   considerably in a day, from day-to-day within a day, and it

03:44:25   20   depends if you're a betting person.

03:44:28   21                Again, we're in Reno, but I'm not going to be

03:44:32   22   somebody calculating if you have a 10 percent chance, a

03:44:37   23   50 percent chance, a 100 percent chance of pancreatitis, I'm

03:44:40   24   not going to take that bet on the patient.        I'm going to be

03:44:43   25   conservative and say, ah, above 500, if it says the risk is
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03:44:48    1   for acute pancreatitis is a clinical consideration, then I'm

03:44:53    2   going to treat as soon as I can.

03:45:02    3    Q    And so when you treat patients with severe

03:45:06    4   hypertriglyceridemia, you are concerned that their

03:45:09    5   triglycerides may spike, so you put them on the drug.

03:45:14    6                Am I understanding you correctly?

03:45:16    7    A    Yes.

03:45:16    8    Q    And, now, let us understand that.

03:45:18    9                So treating severe hypertriglyceridemia means

03:45:21   10   keeping the patient's triglycerides are below 500 --

03:45:24   11                    MS. HUTTNER:   Your Honor, objection.      This is

03:45:26   12   clearly going into the infringement issues that were discussed

03:45:29   13   with Dr. Heinecke -- I'm sorry -- with Dr. Sheinberg and

03:45:34   14   Dr. Budoff.

03:45:34   15                    He's about to ask him about whether it's a

03:45:37   16   chronic disease, not a chronic disease.        I mean, this is not

03:45:41   17   anything that Dr. Fisher opined about, nor does it pertain to

03:45:44   18   the issues that Dr. Fisher addressed.        This is, clearly, about

03:45:47   19   infringement.

03:45:48   20                    MR. SIPES:   Your Honor, let me respond to that.

03:45:50   21                    They went into with him the idea of how he

03:45:53   22   treats these patients because of this risk in going up.             I'm

03:45:55   23   entitled to inquire into the same subject matter.

03:45:59   24                    MS. HUTTNER:   With respect to whether it's

03:46:01   25   treating for pancreatitis.      But this is going into the
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03:46:04    1   question of whether or not severe hypertriglyceridemia is a

03:46:10    2   chronic illness or an acute illness, which was -- as Your

03:46:14    3   Honor knows, that was the issue that Your Honor raised in the

03:46:16    4   summary judgment opinion with respect to infringement.          This

03:46:19    5   is clearly an infringement issue.

03:46:20    6                   MR. SIPES:    Your Honor, if she wants to object

03:46:21    7   to a question about chronic, she can object when that comes.

03:46:22    8   But this idea of preempting a whole line of questioning that

03:46:22    9   is directly on the same topic that they've just covered is

03:46:24   10   improper.

03:46:30   11                   MS. HUTTNER:    Well, I think that your

03:46:32   12   question --

03:46:32   13                   THE COURT:    Hang on, Ms. Huttner.

03:46:34   14                   I agree with Mr. Sipes.      He hasn't asked any

03:46:35   15   question about chronic versus acute illness.         Dr. Fisher did

03:46:38   16   allude to other testimony about the variation in TG throughout

03:46:44   17   the day.    That's a different issue all together.

03:46:47   18                   But Dr. Fisher was asked on direct examination

03:46:50   19   about his practice and his -- how he prescribes for patients

03:46:56   20   with high -- with severe TH -- severe HTG.        I'm not even going

03:47:02   21   to try to pronounce the actual words.

03:47:05   22                   MS. HUTTNER:    We won't think less of you, Your

03:47:08   23   Honor.

03:47:08   24                   THE COURT:    So I think that this is a fair area

03:47:11   25   of examination.     If Mr. Sipes goes into details about chronic
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03:47:15    1   versus acute, then you can object.

03:47:17    2                   MS. HUTTNER:    Fair enough.

03:47:17    3   BY MR. SIPES:

03:47:19    4    Q    So, anyway, in treating severe hypertriglyceridemia, the

03:47:24    5   goal is to keep the patients below 500 milligrams per

03:47:28    6   deciliter, correct?

03:47:29    7    A    That is correct.

03:47:30    8    Q    Yes.   And you've testified, not only do you have to put

03:47:33    9   them on quickly to get them under 500, but the patients need

03:47:37   10   to stay on their TG-lowering medication in order to keep their

03:47:41   11   triglycerides below 500 milligrams per deciliter.

03:47:44   12    A    Many do, but not all, because we've heard, also, about

03:47:47   13   drugs that can cause this -- medical conditions like

03:47:54   14   hyperthyroidism, hormones, et cetera.        But, many.   I would say

03:47:58   15   many, but not all.

03:47:59   16    Q    In fact, it was your testimony that, in general, when get

03:48:03   17   the patient below 500, you will keep them on -- the majority

03:48:06   18   of patients will need to stay on because you just don't know

03:48:06   19   if you take them off whether or not -- I think your term was,

03:48:09   20   bingo, it will go back up again, correct?

03:48:11   21    A    It definitely could go back up.

03:48:14   22    Q    Yes.   So it's your testimony that frequently a patient is

03:48:17   23   kept on triglyceride-lowering, essentially, as a prophylactic

03:48:23   24   to make sure that the triglycerides are maintained below 500,

03:48:27   25   correct?
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03:48:32    1    A    Yes.

03:48:32    2    Q    And, in your experience, even for a highly motivated

03:48:42    3   patient -- excuse me -- even for a motivated patient, it takes

03:48:46    4   at least six months for that patient to lose enough weight to

03:48:51    5   be ready to get off their medication, right?

03:48:54    6    A    Yes.   My experience, it will take months, and six months

03:48:59    7   is, you know, plus or minus.

03:49:02    8    Q    And many patients, of course, are not motivated patients,

03:49:05    9   who are able to lose sufficient weight in six months, correct?

03:49:10   10    A    That is for sure true.

03:49:15   11    Q    There is no consensus among those skilled in the art

03:49:23   12   about the mechanisms by which Vascepa produces an alleged

03:49:29   13   cardiac benefit in certain patients, correct?

03:49:31   14    A    That is correct.

03:49:32   15    Q    And those mechanisms simply -- were similarly not well

03:49:35   16   understood in 2008, correct?

03:49:37   17    A    Well, mechanisms in preclinical models certainly were

03:49:44   18   established by 2008 that would be plausible explanations, but

03:49:48   19   as Director of Translational Research, as we heard, the

03:49:52   20   ability to do direct investigations in people to confirm that

03:49:59   21   a potential mechanism is actually operating is very difficult.

03:50:03   22    Q    Now, you, in your testimony today, went through a number

03:50:08   23   of different trials of fibrates and other agents,

03:50:15   24   triglyceride-lowering agents, that were undertaken to address

03:50:20   25   cardiovasculars, correct?
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03:50:22    1    A    Yes.

03:50:23    2    Q    There were also a number of trials that went on, even

03:50:26    3   that were underway even as of March 2008, of different

03:50:30    4   mixtures of omega-3 fatty acids, correct?

03:50:33    5    A    I'm not recalling which ones.

03:50:35    6    Q    Do you recall the Alpha Omega trial?

03:50:38    7    A    I do not.

03:50:40    8                     MR. SIPES:    Mr. Brooks, if you could pull up

03:50:42    9   PX492, blow up the top.

03:50:42   10   BY MR. SIPES:

03:50:47   11    Q    So, Dr. Fisher, this is a publication called "n-3 Fatty

03:50:53   12   Acids and Cardiovascular Events After Myocardial Infarction."

03:50:58   13   The first author is Daan Kromhout, and I'm sure I've mangled

03:51:05   14   the pronunciation of his name, for the Alpha Omega trial

03:51:06   15   group, and it was published in the New England Journal of

03:51:10   16   Medicine.

03:51:11   17                Do you see that?

03:51:12   18    A    Yes.

03:51:12   19                     MR. SIPES:    And I would move PX 492 into

03:51:15   20   evidence.

03:51:15   21                     MS. HUTTNER:   Your Honor, it hasn't been

03:51:17   22   established whether Dr. Fisher has reviewed this article, and

03:51:21   23   I don't know that there's a foundation at this point.

03:51:23   24                     THE COURT:    I think that's a fair point.

03:51:25   25   Dr. Fisher said he's familiar with the article.         Perhaps you
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03:51:28    1   could lay some additional foundation, Mr. Sipes.

03:51:31    2                     MR. SIPES:     I would be happy to do so.

03:51:32    3   BY MR. SIPES:

03:51:33    4    Q    So first, it's published in the New England Journal of

03:51:35    5   Medicine, correct?

03:51:35    6    A    Yes, but I do not recall it.

03:51:37    7    Q    That is among the most prestigious medical journals,

03:51:42    8   correct?

03:51:42    9    A    Without a doubt, yes.

03:51:49   10                     MR. SIPES:     And let me just see if I can -- go

03:51:58   11   to the -- just the background -- no, I'm sorry, it's on

03:52:02   12   page 0002, the study design method.        Thank you.   The study

03:52:09   13   design, the very top.

03:52:09   14   BY MR. SIPES:

03:52:09   15    Q    Okay.

03:52:11   16                    "The Alpha Omega trial was a multicentered,

03:52:15   17         double-blind, placebo-controlled trial, with 2-by-2

03:52:18   18         factorial design which has been described in detail

03:52:21   19         previously."

03:52:22   20                     Do you see that?

03:52:23   21    A    Yes.

03:52:23   22    Q    And then if we go down, in the right-hand column -- let

03:52:28   23   me get this out -- in the second paragraph, there is --

03:52:42   24   "Patients were enrolled from 2002 through December 2006."

03:52:46   25                 Do you see that?
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03:52:47    1    A    Yes.

03:52:47    2    Q    Here we go.    I'm sorry.

03:52:54    3                 And then if we go further down, after this period --

03:53:00    4   why don't you -- keep reading down.

03:53:04    5                    "The patients received one of four trial

03:53:07    6         margarines, a margarine with no additional n-3 fatty

03:53:13    7         acids (placebo margarine), or a margarine with

03:53:14    8         approximately 400 milligrams of EPA/DHA per day, 2

03:53:19    9         grams of ALA per day, or a combination of EPA/DHA and

03:53:19   10         ALA."

03:53:24   11                     Do you see that?

03:53:30   12    A    Yes, I do.

03:53:32   13    Q    Does this bring you back to the fact that there was a

03:53:32   14   trial going on about different mixtures of EPA and DHA?

03:53:32   15    A    Right, at relatively low levels.

03:53:34   16                     MR. SIPES:   Your Honor, now I would move PX 492

03:53:38   17   into evidence.

03:53:39   18                     MS. HUTTNER:    Your Honor, I don't think he has,

03:53:41   19   as yet, established that Dr. Fisher is familiar with this

03:53:45   20   article or the study that's discussed in this article.          He's

03:53:47   21   simply pointed him to a description of the study in the

03:53:47   22   article.

03:53:50   23                     THE COURT:   I agree.   Dr. Fisher hasn't

03:53:52   24   testified that he has reviewed the article, is thoroughly

03:53:57   25   familiar with it.     Basically, you asked him what the article
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03:54:00    1   says, and he agrees that's what it says.

03:54:00    2   BY MR. SIPES:

03:54:02    3    Q    Do you recall being familiar with the Alpha Omega

03:54:05    4   trial --

03:54:05    5    A    No.

03:54:06    6    Q    -- Dr.    Fisher?

03:54:07    7                Okay.   So you were not following -- well, let me ask

03:54:10    8   you, were you following omega-3 trials during the 2000-2010

03:54:15    9   period?

03:54:15   10    A    I was more focused on the basic science of how the

03:54:21   11   omega-3 fatty acids were working in the liver.

03:54:25   12    Q    And let me ask you, are you familiar with --

03:54:32   13                     MR. SIPES:    Well, Mr. Brooks, if you could pull

03:54:33   14   up PX 956.

03:54:33   15   BY MR. SIPES:

03:54:42   16    Q    And the title here is "Cardiovascular Effects of B

03:54:45   17   Vitamins and/or n-3 Fatty Acids, The SU.FOL.OM3 Trial."

03:54:53   18                Do you see that?

03:54:53   19    A    Yes, I do.

03:54:53   20    Q    And do you recall the SU.FOL.OM3 trial?

03:54:57   21    A    I do not.

03:54:58   22                     MR. SIPES:    Okay.   And just to see if I can jog

03:55:06   23   your memory, if we go to the second page, Mr. Brooks, blow up

03:55:17   24   under Population, the first paragraph under Population.

03:55:17   25
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03:55:17    1   BY MR. SIPES:

03:55:24    2    Q    It says, the second sentence,

03:55:26    3                    ""Briefly, the SU.FOL.OM3 trial was a

03:55:29    4         double-blind, randomized, placebo-controlled

03:55:32    5         secondary prevention trial designed to test the

03:55:34    6         efficacy of folate supplementation in combination

03:55:38    7         with vitamin B6 and B12 and/or n-3 PUFA (600

03:55:45    8         milligrams of icosapentaenoic acid and

03:55:49    9         docosahexaenoic acid at a ratio of 2-to-1) on fatal

03:55:50   10         and non-fatal ischemic cardiovascular disease."

03:55:53   11                    Do you see that?

03:55:54   12    A    I do see that.

03:55:55   13    Q    And note the reference to icosapentaenoic acid and

03:55:49   14   docosahexaenoic acid is EPA and DHA.

03:56:04   15    A    Correct.

03:56:04   16    Q    And specifically there in a ratio of 2-to-1, correct?

03:56:08   17    A    That's what it says.

03:56:08   18    Q    So this is the SU.FOL.OM3 trial, another cardiovascular

03:56:14   19   outcome trial of an omega-3, correct?

03:56:17   20    A    It is.    I've never seen it before, but clearly it is.

03:56:22   21    Q    So you are not familiar with that trial either, correct?

03:56:25   22    A    No.

03:56:25   23    Q    Okay.

03:56:26   24    A    Which is good because now I have fewer questions to

03:56:31   25   answer.
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03:56:31    1    Q    Are you familiar with the Risk and Prevention Study

03:56:37    2   Collaborative Group?

03:56:39    3    A    I have a vague recollection of hearing that group --

03:56:44    4   hearing of -- of hearing about that group.

03:56:47    5                     MR. SIPES:     Okay.   Let me see -- if you're

03:56:49    6   familiar with it, why don't we pull up PX 949.         Look at the --

03:56:56    7   if you can blow up the top.

03:56:57    8   BY MR. SIPES:

03:56:57    9    Q    So this is a -- PX 949 is another article from the New

03:57:03   10   England Journal of Medicine entitled "n-3 Fatty Acids in

03:57:05   11   Patients with Multiple Cardiovascular Risk Factors."

03:57:09   12                 Do you see that?

03:57:10   13    A    I do.

03:57:10   14    Q    And it's from the Risk and Prevention Study Collaborative

03:57:15   15   Group.

03:57:15   16    A    Yes.

03:57:15   17    Q    And under Results, they note,

03:57:19   18                    "Of the 12,513 patients enrolled, 6,244 were

03:57:25   19         randomly assigned to n-3 fatty acids, and 6,269 to

03:57:30   20         placebo."

03:57:30   21                     Do you see that?

03:57:31   22    A    I do.

03:57:31   23    Q    And the term n-3 fatty acids I think we've heard before,

03:57:35   24   that's another term for omega-3 fatty acids, correct?

03:57:38   25    A    Yes.
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03:57:38    1    Q    And if we go to page 02 to 03, it reads,

03:57:49    2                   "Study procedures.    Study patients were

03:57:52    3         randomly assigned to receive one capsule daily

03:57:55    4         containing 1 gram of n-3 fatty acids (polyunsaturated

03:57:59    5         fatty acid ethyl esters) with EPA and DHA content not

03:58:07    6         less than 85 percent in a ratio that could range from

03:58:11    7         0.9 to 1 to 1.5 to 1 or a placebo (olive oil)."

03:58:18    8                    Do you see that?

03:58:19    9    A    I do.

03:58:19   10    Q    So the Risk and Prevention study was another large

03:58:25   11   cardiovascular trial of omega-3 fatty acid mixtures, correct?

03:58:26   12    A    Yes.

03:58:26   13    Q    And are you familiar with that one?

03:58:28   14    A    I haven't seen it in years, but I remember when it --

03:58:32   15   when it did come out.     But I -- I'm definitely not familiar

03:58:36   16   with the details.     I just remember the bottom line.

03:58:39   17    Q    Okay.   And this was a study that was conducted --

03:58:46   18                    MR. SIPES:   Well, if you'll turn, Mr. Brooks, to

03:58:52   19   PX 949 at 0004.     And the trial participants under the

03:59:01   20   left-hand column Results.

03:59:02   21   BY MR. SIPES:

03:59:02   22    Q    So the trial -- there was enrolled between February 2004

03:59:08   23   and March 2007 with a total 12,513 patients, correct?

03:59:14   24    A    Yes.

03:59:14   25    Q    And then the results were published in this article in
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03:59:17    1   2013, correct?

03:59:18    2    A      Yes.

03:59:19    3    Q      But you don't -- you don't recall the Risk and Preventive

03:59:25    4   study results in any detail, I take it, correct?

03:59:27    5    A      Just that it was a negative study.

03:59:30    6    Q      It -- as we go to the first page under Conclusions, the

03:59:35    7   conclusion was,

03:59:36    8                   "In a large general practice cohort of

03:59:38    9           patients with multiple cardiovascular risk factors,

03:59:41   10           daily treatment with n-3 fatty acids did not reduce

03:59:45   11           cardiovascular mortality and morbidity," correct?

03:59:48   12    A      Right, that's the part I remember.

03:59:50   13    Q      It's fair to say that a variety of trials on a variety of

03:59:54   14   mixtures of EPA and DHA were being conducted in the period up

03:59:59   15   through March of 2008, correct?

04:00:00   16    A      Yes.

04:00:01   17                    MS. HUTTNER:   Your Honor, I would object to be

04:00:03   18   that.    There was no data established on any of the studies

04:00:06   19   that Mr. Sipes asked about.      I believe that many of them were

04:00:11   20   conducted after 2008.     So I don't think it's a fair question

04:00:16   21   that was just asked.

04:00:18   22                    THE COURT:   Well, the question --

04:00:21   23                    MS. HUTTNER:   He showed him a series of -- asked

04:00:23   24   him a series of questions about clinical studies which were

04:00:26   25   not tied to when those studies were published, and then
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04:00:30    1   followed that with a question that says so there were a lot of

04:00:33    2   trials prior to 2008, you know, creating the inference that

04:00:35    3   the studies he was asking about were conducted before 2008

04:00:39    4   which I do not believe was the case.

04:00:40    5                   THE COURT.    Mr. Sipes?

04:00:41    6                   MR. SIPES:    Actually, that is the case.      We just

04:00:44    7   went through one that was enrolled between 2004 and 2007.           We

04:00:48    8   can go through the date of the others.

04:00:50    9                   But, more to the point, I asked him the general

04:00:52   10   question which is true, there were a number of trials going on

04:00:54   11   with different mixtures of EPA and DHA throughout this period

04:00:58   12   up through March of 2008, and he answered truthfully and

04:01:01   13   correctly.

04:01:02   14                   MS. HUTTNER:    Yeah, as long as it's clear that

04:01:04   15   while the studies may have been conducted during those

04:01:08   16   periods, the results of those studies were not necessarily

04:01:11   17   published prior to 2008, and I believe in several cases, at

04:01:15   18   least, that it was published after that date.

04:01:15   19                   MR. SIPES:    I will make clear that in each of

04:01:17   20   these studies the studies themselves were being conducted of

04:01:21   21   different mixtures of EPA and DHA throughout the period

04:01:24   22   through March of 2008, and the results were published later.

04:01:27   23                   THE COURT:    Well, regardless, those studies have

04:01:30   24   not been admitted, but I think the question, it's fair, and I

04:01:34   25   overrule the objection, because the question goes beyond what
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04:01:38    1   was in the various exhibits that Mr. Sipes was inquiring of

04:01:43    2   Dr. Fisher.

04:01:43    3   BY MR. SIPES:

04:01:47    4    Q    Dr. Fisher, do you recall testifying about an article,

04:01:50    5   the Surette article in your direct examination?

04:01:53    6    A    I do.

04:01:54    7                    MR. SIPES:   And if we could pull up DX 2144.

04:01:54    8   BY MR. SIPES:

04:01:58    9    Q    This is the Surette article, correct?

04:02:01   10    A    Yes.

04:02:01   11    Q    And you talked about it during your direct.        It is a

04:02:06   12   review article, correct?

04:02:08   13    A    That is correct.

04:02:08   14    Q    In fact, the word review appears quite prominently in the

04:02:12   15   upper right-hand corner of paper, correct?

04:02:15   16    A    It does.

04:02:16   17    Q    And it was published in January 15th, 2008, correct?

04:02:19   18    A    Yes.

04:02:20   19    Q    So this is review article of the science between dietary

04:02:25   20   omega-3 fatty acids published in January of 2008, correct?

04:02:27   21    A    Yes.

04:02:27   22    Q    And then you reviewed it for -- mentioning of all these

04:02:32   23   different possible biological actions of omega-3 fatty acids,

04:02:36   24   correct?

04:02:36   25    A    Yes.
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04:02:37    1    Q    The article describes a number of different actions of

04:02:41    2   omega-3 fatty acids, correct?

04:02:42    3    A    It does.

04:02:43    4    Q    It never attributes any particular biological activity to

04:02:47    5   EPA rather than DHA, correct?

04:02:50    6    A    That is correct.

04:02:51    7    Q    It speaks just generally about omega-3 fatty acids,

04:02:54    8   correct?

04:02:54    9    A    Yes.

04:02:56   10                    MR. SIPES:   Let me -- Your Honor, if I could

04:02:57   11   confer briefly with my colleagues.

04:03:24   12                            (Discussion held off the record.)

04:03:24   13   BY MR. SIPES:

04:03:24   14    Q    Dr. Fisher, you testified that, not just you, but a

04:03:35   15   number of your colleagues as well, in your experience, even

04:03:40   16   when Vascepa was approved, tended to stick with Lovaza,

04:03:44   17   correct?

04:03:45   18    A    Yes.

04:03:45   19    Q    And at deposition you testified that even if Vascepa had

04:03:57   20   been available in March of 2008, a person of ordinary skill in

04:04:03   21   the art would have stuck with Lovaza, correct?

04:04:06   22    A    I assume you're reporting what I said accurately.         But

04:04:10   23   maybe -- I -- I can hear the exact words or see them on the

04:04:15   24   deposition?

04:04:16   25                    MR. SIPES:   Sure.   Mr. Brooks, if we could play
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04:04:19    1   263, 3 to 20.

04:04:21    2                           (Deposition video recording played.)

04:04:21    3   BY MR. SIPES:

04:05:23    4    Q    And, in fact, I asked you as well, when Lovaza was

04:05:28    5   approved whether or not -- when Lovaza was approved people

04:05:33    6   were saying it's a mistake to have DHA in Lovaza.

04:05:37    7                And you said you didn't recall you or your

04:05:40    8   colleagues or people at the National Lipid Association

04:05:43    9   meetings going, "My God, they got to get this DHA out of

04:05:47   10   there."

04:05:47   11                Do you recall that?

04:05:48   12    A    Yes.

04:05:48   13    Q    And that was true, correct?

04:05:51   14    A    Correct.

04:05:52   15    Q    In fact, your testimony was there was in the

04:05:55   16   literature -- actually, it went back and forth.         There were

04:05:58   17   publications that actually say that DHA might lower LDL more,

04:06:03   18   correct?

04:06:03   19    A    That's correct.

04:06:04   20    Q    And so you said the issue had been raised before 2004,

04:06:09   21   that EPA and DHA might have differential effects, but was no

04:06:09   22   conclusions drawn about which would be superior therapy based

04:06:13   23   on that.

04:06:14   24                That was your testimony, correct?

04:06:15   25    A    I would say there was still controversy at that time.
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04:06:18    1    Q    And so this is the basis for your testimony earlier today

04:06:22    2   that people weren't switching immediately from Lovaza to

04:06:27    3   Vascepa, correct?

04:06:28    4    A    Yes.

04:06:29    5    Q    Now we know a lot more about the differential effects of

04:06:35    6   Lovaza and Vascepa, correct?

04:06:36    7    A    Yes.

04:06:37    8    Q    Now would you prefer Vascepa rather than Lovaza?

04:06:43    9    A    Depends on the application.      I think in the high

04:06:49   10   triglyceride group with the evidence-based medicine that

04:06:52   11   there's a reduction in cardiovascular risk, I would prefer

04:06:56   12   Vascepa.

04:06:57   13                I think for the situation of the severe

04:07:01   14   hypertriglyceridemic patient, particularly in the diabetic

04:07:05   15   population, that's already on a statin, I would make the

04:07:10   16   decision on other factors, for example, the availability of a

04:07:14   17   generic.

04:07:17   18                    MR. SIPES:   Your Honor, I have no further

04:07:19   19   questions at this time.

04:07:21   20                    THE COURT:   Dr. Fisher, how are you doing?        Are

04:07:34   21   you all right to continue, or do you want to request a break?

04:07:39   22                    It depends on how long Ms. Huttner plans to

04:07:42   23   redirect, is that right?

04:07:44   24                    THE WITNESS:   I have been drinking a lot of

04:07:46   25   water here.
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04:07:47    1                     MS. HUTTNER:   We can take a break, Your Honor.

04:07:49    2                     THE COURT:   Why don't we take a break.     I

04:07:51    3   realize you're also on different time zones.         Let's take a

04:07:54    4   brief recess.

04:07:54    5                     MS. HUTTNER:   And I did not believe I will be

04:07:56    6   very long on redirect, but we can complete it after.

04:08:00    7                     THE WITNESS:   I just need five minutes.

04:19:20    8                            (A recess was taken.)

04:19:20    9                     THE COURT:   Please be seated.

04:19:20   10                            REDIRECT EXAMINATION

04:19:20   11   BY MS. HUTTNER:

04:19:29   12    Q    Dr. Fisher, I just want to clarify a few points that came

04:19:34   13   up during cross-examination.

04:19:35   14                 First of all, I want to focus on your role in seeing

04:19:41   15   patients in the time frame after you came back from Oxford

04:19:46   16   which I think you said was in 2010; is that right?

04:19:49   17    A    2011.

04:19:50   18    Q    2011.    After you came back from Oxford, did you continue

04:19:52   19   to see patients in the clinics?

04:19:54   20    A    Not in the outpatient clinic, just inpatient

04:19:54   21   consultations.

04:19:59   22    Q    Okay.    And you described that in your direct testimony?

04:20:01   23    A    I did.

04:20:01   24    Q    This is the situation where you accompany fellows to

04:20:06   25   teach them how to treat patients, is that what you're
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04:20:09    1   preferring to?

04:20:09    2    A    In preventive cardiology, yes.

04:20:11    3    Q    Okay.    And in that role, I think you testified to the

04:20:14    4   fact that you evaluate the patients and you have to sign-off

04:20:18    5   on the charts of those patients as far as treatment

04:20:21    6   recommendations?

04:20:21    7    A    Yes, I'm the attending physician of record.

04:20:23    8    Q    Okay.    And since you graduated medical school in 1975,

04:20:28    9   has there been any period when you haven't seen patients aside

04:20:31   10   from the time you were at Oxford?

04:20:34   11    A    No, it's been continuous since then.

04:20:37   12    Q    And just to close the loop on this, after Vascepa was

04:20:43   13   approved, did you or others under your supervision prescribe

04:20:48   14   or recommend Vascepa for -- to patients for any reason?

04:20:52   15    A    Yes.    Short answer, yes.

04:20:54   16    Q    And in a related vein, there were a number of questions,

04:20:59   17   and I just want to clarify, and I think you did this in your

04:21:03   18   answer to Mr. Sipes' question, but just to clarify, I want to

04:21:07   19   distinguish between patients with high triglycerides on the

04:21:11   20   one hand, in other words, below 500, and patients with very

04:21:14   21   high triglycerides, above 500.

04:21:17   22                 With respect to very high patients -- I'm sorry,

04:21:21   23   with respect -- it's late in the day, Your Honor.         I'm going

04:21:24   24   start again.

04:21:25   25                 With respect to patients with severe
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04:21:27    1   hypertriglyceridemia, meaning triglycerides in excess of

04:21:31    2   500 milligrams per deciliter, did -- in that group, did you

04:21:38    3   change your prescribing practices when Vascepa was approved?

04:21:41    4    A    No.

04:21:44    5    Q    And I think you said during your direct testimony that

04:21:47    6   the goal with patients -- the medical goal with patients in

04:21:51    7   this bucket of very high triglycerides is to reduce

04:21:54    8   triglycerides to avoid pancreatitis; is that correct?

04:21:57    9    A    Yes.

04:21:58   10    Q    And in terms of the ability to lower triglycerides in

04:22:02   11   patients with very high triglycerides, is there any advantage

04:22:05   12   to Vascepa over fibrates or Lovaza?

04:22:09   13    A    No.

04:22:09   14    Q    They all lower triglycerides equally well?

04:22:12   15    A    By about the same percentage.

04:22:14   16    Q    And I think you testified that there -- fibrates were the

04:22:17   17   number one drug that you prescribed to that group to lower

04:22:20   18   triglycerides?

04:22:21   19    A    Yes.

04:22:21   20    Q    And that after Lovaza was approved, or at least after

04:22:26   21   Lovaza went generic, that in terms of the fish oil products,

04:22:31   22   there was a slight -- there was preference for Lovaza because

04:22:33   23   of the cost to the patient?

04:22:35   24    A    Yes.

04:22:36   25    Q    All right.    Now, and did that change when the REDUCE-IT
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04:22:40    1   results were announced?

04:22:42    2    A    Well, I haven't --

04:22:43    3    Q    In the group of very high triglyceride patients.

04:22:45    4    A    I don't have direct experience in that group, but -- so I

04:22:51    5   can't really -- I can't really say -- that situation did not

04:22:55    6   come up in my consultations that I've done.

04:22:59    7    Q    Okay.    So you're saying that after Vascepa came on the

04:23:02    8   market in 2013, to your -- you don't recall having treated a

04:23:06    9   patient with very high triglycerides?

04:23:08   10    A    That is correct.

04:23:09   11    Q    Okay.    Now, you were asked some questions about the

04:23:18   12   interactions between statin drugs and fibrates as it relates

04:23:25   13   to rhabdomyolysis, correct?

04:23:28   14    A    Rhabdomyolysis.

04:23:30   15    Q    I thought I got it right.

04:23:30   16    A    Just call it rhabdo.

04:23:32   17    Q    Rhabdo.    Okay.   I was trying to go for the big get there,

04:23:34   18   but I failed.

04:23:35   19                 And I think, again, that you testified during your

04:23:39   20   direct examination, but I just want to clarify, the problem

04:23:43   21   with fibrate drugs, as distinct from fenofibrate drugs, but

04:23:48   22   the problem with fibrate drugs, and, in particular,

04:23:51   23   gemfibrozil, was that it interacted -- it could interact with

04:23:55   24   the statin, particularly the statin drug that you mentioned

04:23:57   25   that was withdrawn from the market to cause this disease
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04:24:03    1   rhabdo, right?

04:24:04    2    A    Yes.

04:24:06    3    Q    And am I correct in understanding that that was because

04:24:10    4   Gemfibrozil and statin drugs have the same mechanism of

04:24:14    5   action?

04:24:14    6    A    No.    They are metabolized in the liver by an enzyme

04:24:22    7   system common to both.      So the Gemfibrozil would compete for

04:24:28    8   the enzyme, and the statin metabolites that were produced were

04:24:36    9   thought to be more toxic.

04:24:38   10    Q    And is that issue that you've just described, is that a

04:24:42   11   problem with Tricor, which is a fenofibrate drug?

04:24:45   12    A    No.    They're metabolized by a different system.

04:24:49   13    Q    And I think you said this in response to one of

04:24:52   14   Mr. Sipes' questions, but I think you said that in statin

04:24:56   15   monotherapy, meaning when a patient is just given a statin

04:25:00   16   drug --

04:25:01   17    A    Yes.

04:25:01   18    Q    -- that rhabdo also has -- there's also a possibility of

04:25:05   19   rhabdo; is that correct?

04:25:06   20    A    Yes, it's in the prescribing information.

04:25:08   21    Q    And what -- the -- the chances of a patient who is on

04:25:13   22   statin monotherapy getting rhabdo are what?

04:25:17   23    A    It's low, it's below 1 percent.

04:25:19   24    Q    And is that also true of Tricor, the fenofibrate drug?

04:25:22   25    A    Yes.
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04:25:23    1    Q    Has the fact that statin monotherapy can, at least

04:25:30    2   theoretically, cause rhabdo in a patient, has that deterred

04:25:36    3   anyone from prescribing statin drugs to patients in need

04:25:41    4   thereof?

04:25:41    5    A    Only when someone has a history of having that, you --

04:25:47    6   you have to be cautious and not use it.

04:25:51    7               But in terms of if we go primary, secondary

04:25:54    8   prevention, use the same terminology in a primary population,

04:25:58    9   a population that has not had rhabdomyolysis, then the

04:26:04   10   consideration not to prescribe it to avoid that complication

04:26:08   11   is not -- is not there.

04:26:10   12    Q    And the number of patients who are on statin monotherapy

04:26:15   13   in the United States, is that a large number or a small

04:26:17   14   number?

04:26:18   15    A    Millions of people.

04:26:19   16    Q    Now, another thing that Dr. -- I'm sorry, I'm used to

04:26:26   17   doctors -- Mr. Sipes asked you about, I think he directed you

04:26:29   18   to the 2019 ADA guidelines and to some language in the ADA

04:26:33   19   guidelines that have some language in it about -- actually,

04:26:41   20   let me -- he was asking you some questions about what the ADA

04:26:46   21   recommends with respect to -- I think it was -- it may have

04:26:48   22   been fibrate drugs or it may have been Lovaza.

04:26:52   23               But just to be clear, and, again, I think you said

04:26:54   24   this during your direct examination, the ADA -- and I'm

04:26:58   25   talking now about the population that is discussed in the
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04:27:01    1   claims in this case which is limited to this very high

04:27:05    2   triglyceride population?

04:27:05    3    A    Yes.

04:27:06    4    Q    Has the ADA taken any position on whether Vascepa should

04:27:11    5   be prescribed to that group as opposed to Lovaza or fibrates?

04:27:17    6    A    No, we saw on the excerpt during my direct testimony that

04:27:21    7   they still list fibric acid and/or fish oils for that

04:27:30    8   population.

04:27:30    9    Q    Okay.   And I believe in this context Mr. Sipes made

04:27:34   10   reference to the fact that in a recent update to the

04:27:39   11   guidelines that the ADA has now recommended that physicians

04:27:44   12   consider treating patients in the high triglyceride group,

04:27:49   13   where cardiac risk is the primary focus, on Vascepa; is that

04:27:53   14   correct?

04:27:53   15    A    That is correct.

04:27:54   16    Q    And that's as a result of the REDUCE-IT trial.

04:27:57   17    A    Definitely.

04:27:58   18    Q    But, again, that recommendation is not for the very high

04:28:02   19   triglyceride category, is it?

04:28:04   20    A    They did not include it in that category.

04:28:07   21                   MS. HUTTNER:    Now, can I have PX 272, please?

04:28:16   22   Actually, before we do that, can I have -- I think it's the

04:28:22   23   Vascepa label is DX 2248, and if you could go to the

04:28:29   24   indications and usage section.

04:28:43   25                   Excuse me one second.
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04:29:08    1                     I'm sorry, Your Honor, I think I need to go to

04:29:11    2   the old label.     Mr. Sipes, do you have the number of the

04:29:14    3   exhibit you were asking about?

04:29:22    4                     MR. SIPES:    940, PX 940 -- hang on.

04:29:26    5                     Yes, 940.    That's the 2017 label.

04:29:32    6                     MS. HUTTNER:    Mr. Gross, could you pull up

04:29:36    7   PX 940.    Yeah, if can you go to the next page to the -- and

04:29:37    8   can you blow up the usage indications section there?

04:29:59    9   BY MS. HUTTNER:

04:29:59   10    Q    Okay.    And this is the original label for Vascepa,

04:30:01   11   correct?

04:30:02   12    A    Yes.

04:30:02   13    Q    So there's only one indication on this label.

04:30:06   14    A    Yes.

04:30:06   15    Q    And that's for the reduction of triglycerides as an

04:30:13   16   adjunct to diet in adult patients with severe

04:30:18   17   hypertriglyceridemia, right?

04:30:20   18    A    Yes.

04:30:20   19    Q    Now, this language I think that Mr. Sipes directed you

04:30:34   20   to under usage considerations?

04:30:37   21    A    Yes.

04:30:37   22    Q                "Patient should be placed on an appropriate

04:30:41   23          lipid lowering diet and exercise regimen before

04:30:42   24          receiving Vascepa."

04:30:44   25                 I think -- you know, do you understand this to be an
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04:30:47    1   instruction that Vascepa should only be given after some --

04:30:53    2   you know, some nonzero period of diet and exercise?

04:30:58    3    A    Can you rephrase that?

04:31:00    4    Q    Yeah, in other words, testified in your practice when

04:31:02    5   patients come in with very high triglycerides that you give

04:31:05    6   them the drug -- you give them diet and exercise advice and

04:31:08    7   make appointments to facilitate that, but that you write the

04:31:13    8   prescription when you see the patient.

04:31:14    9    A    Yes.

04:31:15   10    Q    And you do that because you are concerned medically that

04:31:18   11   if you tell the patient to go clean up their life, and they

04:31:21   12   suffer an attack of pancreatitis, that that's going to be

04:31:25   13   problematic?

04:31:26   14    A    Yes, just like Dr. Sheinberg testified.

04:31:30   15    Q    And in terms of Dr. Sheinberg's testimony, were you here

04:31:35   16   when he testified about his understanding of the original

04:31:39   17   Vascepa label?

04:31:39   18    A    Yes.

04:31:40   19    Q    And do you agree or disagree with his reading of the

04:31:44   20   language?

04:31:44   21                    MR. SIPES:   Objection, Your Honor.     This is

04:31:45   22   totally outside the scope, it's so open ended.         Which portion

04:31:49   23   of the label?

04:31:51   24                    MS. HUTTNER:   This portion that we're looking

04:31:53   25   at.
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04:31:53    1   BY MS. HUTTNER:

04:31:53    2    Q    Dr. Sheinberg -- do you recall that Dr. Sheinberg

04:31:55    3   testified about his understanding of the indications and usage

04:32:00    4   section on the Vascepa label?

04:32:02    5    A    Yes, I remember he testified.

04:32:04    6    Q    Okay.   And specifically he testified about how he

04:32:08    7   understands Vascepa is to be used, do you recall that?

04:32:10    8    A    Yes.

04:32:11    9    Q    And do you agree with his testimony, his reading of the

04:32:14   10   label?

04:32:15   11    A    Yes.    I think he and I have similar opinions.

04:32:30   12                    MS. HUTTNER:   Can we go now to the new label,

04:32:39   13   which is DX 2248, I believe.      And can we go to -- yes.      Can

04:32:47   14   you blow up the indications and usage section?

04:32:50   15   BY MS. HUTTNER:

04:32:54   16    Q    And if we look at the second indication, which is the

04:32:57   17   original indication, correct?

04:32:59   18    A    Yes.

04:32:59   19    Q    And is the language about diet and exercise, that Vascepa

04:33:07   20   should be given after diet and exercise, has that language

04:33:11   21   been deleted from the label?

04:33:13   22    A    I don't see any mention of exercise here.

04:33:15   23    Q    Do you see any -- okay.     Do you see any indication that

04:33:19   24   diet should be modified before Vascepa is prescribed?

04:33:23   25    A    No, it says as an adjunct without specifying the order or
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04:33:30    1   the timing.

04:33:31    2    Q    Okay.    Can we go now to -- well, let me ask you one more

04:33:39    3   question about this.

04:33:39    4                 I think Mr. Sipes pointed you to the first

04:33:43    5   indication on the new label, the cardiac indication?

04:33:46    6    A    Yes.

04:33:47    7    Q    And I think he pointed you to the fact that it -- the

04:33:51    8   indication applies to adult patients with el -- I'm sorry,

04:33:55    9   elevated triglyceride levels above -- equal to or greater than

04:34:00   10   150 milligrams per deciliter, correct?

04:34:02   11    A    Yes.

04:34:02   12    Q    And I think he noted or asked you to confirm that there's

04:34:06   13   no upper end of that range in this label?

04:34:09   14    A    Correct.

04:34:09   15    Q    Are you aware of whether there was any discussion at FDA,

04:34:16   16   either the advisory committee, or at the FDA itself, any

04:34:21   17   determination made that REDUCE-IT shows anything -- shows

04:34:26   18   positive cardiac benefits with respect to patients in the very

04:34:30   19   high triglyceride bucket?

04:34:31   20                     MR. SIPES:   Objection, Your Honor.    There's no

04:34:33   21   foundation for what he knows about FDA's discussions.

04:34:36   22                     THE COURT:   I agree, and the question is

04:34:37   23   extremely broad.     It assumes his intimate awareness of the

04:34:42   24   internal discussions of the FDA.

04:34:44   25                     MS. HUTTNER:   Let me ask you this --
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04:34:45    1                     THE COURT:   And no offense to Dr. Fisher, I'm

04:34:47    2   sure you're very knowledgeable, but I haven't heard testimony

04:34:49    3   as to your practice before the FDA.

04:34:49    4   BY MS. HUTTNER:

04:34:55    5    Q    Okay.    Well, have you -- do you have any knowledge of the

04:34:58    6   FDA's process for approving drugs?

04:35:00    7    A    It's superficial.

04:35:02    8    Q    Okay.    Fair enough.

04:35:03    9    A    I have to admit.

04:35:03   10    Q    Fair enough.

04:35:04   11    A    The judge hit it on the nail.

04:35:09   12    Q    That's why she's the judge.

04:35:10   13                 Okay.   But as far as the REDUCE-IT study goes, is

04:35:13   14   there any question in your mind that it does not address the

04:35:16   15   question of whether or not Vascepa provides cardiac benefits

04:35:20   16   to patients in the very high triglyceride bucket?

04:35:22   17    A    I did not see evidence in that study to support that so I

04:35:27   18   would be interested now, actually, going to read how the FDA

04:35:32   19   reasoned for that because in the publically -- in the

04:35:36   20   published information, I didn't see a basis to reach that

04:35:40   21   conclusion.

04:35:41   22    Q    Okay.    Let's go to DDX 6.57.    This is an exhibit I think

04:35:51   23   that was used with Dr. Heinecke.

04:35:55   24                 And this is -- DDX 657, you may recall, Dr. Heinecke

04:36:00   25   testifying about this --
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04:36:01    1                   MR. SIPES:    Your Honor, this is entirely outside

04:36:03    2   the scope.    This is about a label that hasn't been discussed

04:36:06    3   either in direct or in cross.

04:36:08    4                   MS. HUTTNER:    It goes directly to the issue --

04:36:11    5   Mr. Sipes asked questions -- he basically suggested that

04:36:14    6   because there's no upper indication on the Vascepa label, that

04:36:18    7   it should be limited to people below 500, that therefore it

04:36:22    8   applies to people above 500.      The Epadel label says exactly

04:36:28    9   the same thing.

04:36:29   10                   MR. SIPES:    Your Honor, first of all, this is

04:36:30   11   Japanese label.     I'm not sure --

04:36:31   12                   THE COURT:    I understand that.     So how does this

04:36:33   13   relate to the question relating to Vascepa?

04:36:37   14                   MS. HUTTNER:    So the point is if one -- if one

04:36:38   15   can read the lack of an upper limit on an indication on a

04:36:43   16   label to mean that a regulatory body has determined that it

04:36:47   17   provides results in that population, the same is equally true

04:36:51   18   of Epadel.

04:36:52   19                   THE COURT:    But Epadel was a different

04:36:54   20   regulatory body.

04:36:56   21                   MS. HUTTNER:    Epadel was in fact a different

04:36:59   22   regulatory body.

04:36:59   23                   THE COURT:    And I think Dr. Fisher testified

04:37:03   24   it's still not approved for use in the United States.

04:37:04   25                   MS. HUTTNER:    That is correct.
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04:37:05    1                    THE COURT:   All right.    The objection is

04:37:07    2   sustained.

04:37:27    3                   Dr. Fisher, it was a good thing we took a break.

04:37:30    4                    THE WITNESS:   Yeah, I'm back to drinking water.

04:37:33    5                    MS. HUTTNER:   Mr. Sipes asked you -- if I could

04:37:37    6   have PX 0373.

04:37:37    7   BY MS. HUTTNER:

04:37:45    8    Q    Do you recall Mr. Sipes asking you some questions about

04:37:49    9   this article?

04:37:50   10    A    I do.

04:37:51   11    Q    And I want to direct your attention to page -- it's

04:38:01   12   page 1358 of this article under the caption omega-3 Fatty

04:38:01   13   Acids.

04:38:08   14                    MS. HUTTNER:   Can you bring that up, Mr. Gross?

04:38:13   15   It's on 0014.    Thank you.

04:38:13   16   BY MS. HUTTNER:

04:38:22   17    Q    This is a section of the article that is discussing

04:38:25   18   omega-3 fatty acids, correct?

04:38:27   19    A    Yes.

04:38:27   20    Q    And if I can direct your attention to the second

04:38:31   21   paragraph, it says,

04:38:32   22                   "Their outcome benefits for omega-3 fatty

04:38:34   23         acids have been reported but relate to lower doses

04:38:38   24         than required clinically to lower triglycerides."

04:38:41   25                    And it gives some references, and one of the
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04:38:43    1   references that it gives, if you look in -- if we can go to

04:38:47    2   page -- I believe it's at 22.       We can go to reference 224.

04:39:05    3    A    Yes, the JELIS study.

04:39:06    4    Q    Yes, one of the references that you cite to here is the

04:39:09    5   Yokoyama article which discusses the JELIS study, correct?

04:39:14    6    A    Yes.

04:39:15    7    Q    And it goes on to say in that same paragraph, if we go

04:39:22    8   back to page 14, it says,

04:39:31    9                    "These benefits may be explained by

04:39:33   10         antiarrythmic effects independent of triglyceride,"

04:39:40   11         correct?

04:39:40   12    A    Yes.

04:39:46   13                     MS. HUTTNER:   Excuse me, Your Honor.

04:39:46   14   BY MS. HUTTNER:

04:39:57   15    Q    What does that sentence mean?      Can you explain what that

04:40:00   16   means?

04:40:00   17    A    Well, they're saying there have been outcome benefits for

04:40:05   18   omega-3 fatty acids, but they do not seem to be related to

04:40:12   19   lowering triglycerides.      They must be from another factor, one

04:40:17   20   that they hypothesize here is antiarrythmic effects.

04:40:23   21    Q    By the way, you testified -- you gave some testimony

04:40:26   22   during direct testimony, and Mr. Sipes asked you about it on

04:40:30   23   cross, about -- you gave testimony on direct that you didn't

04:40:33   24   see any evidence in the REDUCE-IT article by Dr. Bhatt that

04:40:39   25   triglyceride lowering played any role in driving the cardiac
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04:40:44    1   benefits in REDUCE-IT.      Do you recall that?

04:40:46    2    A    I recall that.

04:40:47    3    Q    And did -- did the JELIS study reach any conclusion about

04:40:50    4   whether or not triglyceride lowering played a role in the --

04:40:55    5   the reduction of cardiac risk?

04:40:58    6    A    I do not recall their attributing the results to

04:41:04    7   triglyceride lowering.

04:41:06    8    Q    And in either the Bhatt article or elsewhere, have you

04:41:12    9   seen any evidence that suggests to you that the cardiac

04:41:17   10   benefits observed in REDUCE-IT were due to the methods of

04:41:21   11   lowering triglycerides described in the asserted claims in

04:41:26   12   this case?

04:41:27   13    A    No.

04:41:27   14                           (Discussion held off the record.)

04:41:27   15   BY MS. HUTTNER:

04:41:27   16    Q    And your answer, sir, was?

04:41:29   17    A    Was no.

04:41:32   18                   MS. HUTTNER:    Nothing further, Your Honor.

04:41:35   19                   Your Honor, I don't know -- well, I'll wait

04:41:38   20   until you excuse Dr. Fisher.

04:41:40   21                   MR. SIPES:    Uh --

04:41:41   22                   MS. HUTTNER:    I'm sorry, I'm sorry.

04:41:42   23                   MR. SIPES:    Do I get to ask questions, too?

04:41:45   24                   MS. HUTTNER:    You do, you do.     I do not have

04:41:48   25   eyes in the back of my head unfortunately.
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04:41:54    1                            RECROSS-EXAMINATION

04:41:54    2   BY MR. SIPES:

04:41:56    3    Q    The doses of omega-3 fatty acids that are used for

04:42:00    4   lowering triglycerides are 2 or 4 grams, correct?

04:42:02    5    A    Yes.

04:42:03    6    Q    Okay.    Now, let's take a look at what you were just asked

04:42:07    7   about, which is PX 373.        That's your article from 2011.

04:42:12    8                 And I want to go to the sentence that I think your

04:42:14    9   counsel just suggested was discussing JELIS among other

04:42:18   10   things.   So that's on PX 373 at 0014.

04:42:24   11                 And you'll notice --

04:42:25   12                     MR. SIPES:    And if you could blow up the --

04:42:28   13   under omega-3 fatty acids, the first sentence in the second

04:42:30   14   paragraph, Mr. Brooks, and you can have the second sentence,

04:42:33   15   too, just nor completeness.

04:42:33   16   BY MR. SIPES:

04:42:35   17    Q    So, this reads,

04:42:37   18                    "Outcome benefits for omega-3 fatty acids

04:42:39   19         have been reported but relate to lower doses than

04:42:43   20         required clinically to lower triglycerides."

04:42:46   21                     Do you see that?

04:42:47   22    A    Yes.

04:42:47   23    Q    And it cites a number of articles which relate to a

04:42:52   24   variety of omega-3 studies, JELIS on EPA, but also some

04:42:56   25   studies on mixtures, correct?
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04:42:56    1    A    Yes.

04:42:57    2    Q    And so it's lumping EPA and the other omega-3 mixtures

04:43:03    3   together, correct?

04:43:03    4    A    It's not differentiating between the two.

04:43:06    5    Q    And lower doses than those clinically required to lower

04:43:09    6   triglycerides would be below 2 grams.        It would be like one,

04:43:13    7   one and-a-half grams or so, correct?

04:43:15    8    A    Not taking into account the blood levels from the natural

04:43:19    9   sources.

04:43:19   10    Q    It's not.    It's saying the doses that are being reported

04:43:24   11   are doses that are well below 4 grams, correct?

04:43:27   12    A    Yes.

04:43:28   13    Q    And there's no suggestion of raising the dose in this

04:43:33   14   paper, correct?

04:43:35   15    A    I didn't understand that.

04:43:36   16    Q    The paper -- you don't suggest in the paper taking EPA

04:43:41   17   and administering higher doses for cardiovascular benefits,

04:43:44   18   correct?

04:43:44   19    A    That's not mentioned here.

04:43:46   20    Q    And, in fact, based on everything, the conclusion was,

04:43:49   21   for cardiovascular benefits, it's niacin or fibrates, correct?

04:43:55   22    A    Yes, on that grid you showed.

04:43:57   23    Q    Yeah.   And the conclusion was that there was insufficient

04:44:00   24   evidence for use of omega-3 fatty acids in combination with

04:44:05   25   statins for cardiovascular benefit, correct?
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04:44:08    1    A    That's what was stated there, yes.

04:44:10    2    Q    Now, I just want to make sure because I think the

04:44:12    3   testimony got little confused, you recall your counsel took

04:44:15    4   you back for the labeling for Vascepa and particularly the

04:44:18    5   indications section.

04:44:20    6                    MR. SIPES:   So if we could pull up -- so let's

04:44:20    7   first pull up the old labeling, which is PX 940.

04:44:20    8   BY MR. SIPES:

04:44:23    9    Q    And if we look there, there was the usage consideration,

04:44:29   10                   "Patients should be placed on an appropriate

04:44:31   11         lipid-lowering diet and exercise regimen before

04:44:34   12         receiving Vascepa and should continue this diet and

04:44:37   13         exercise regimen with Vascepa."

04:44:39   14                    Do you see that?

04:44:40   15    A    I do.

04:44:41   16    Q    And then, in your report you point to this section among

04:44:46   17   others in the labeling for your opinion that prescribing

04:44:49   18   Vascepa without first placing a patient on an appropriate

04:44:53   19   lipid-lowering diet would therefore constitute an off-label

04:44:58   20   use of Vascepa, correct?

04:44:59   21    A    Technically speaking, yes.

04:45:02   22    Q    And that was the opinion you expressed in your report,

04:45:04   23   correct?

04:45:04   24    A    Yes.

04:45:05   25    Q    Now, I think you testified that this usage consideration
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04:45:07    1   was removed from the labeling, correct?

04:45:11    2    A    The -- that exact phrasing, including the exercise

04:45:19    3   regimen, is not -- was not in the --

04:45:28    4    Q    New label.

04:45:28    5    A    Yeah, the portion that we were discussing.

04:45:31    6                    MR. SIPES:   The portion -- it's helpful to look

04:45:32    7   at the whole labeling, so why don't we pull up 1186, the

04:45:36    8   current Vascepa labeling.

04:45:38    9                   And it's been moved from the indication and

04:45:39   10   usage section, but if we could pull up section 2.1.          If you

04:45:44   11   could blow that up, Mr. Brooks, section 2.1.

04:45:44   12   BY MR. SIPES:

04:45:48   13    Q    So this is the dosage and administration section of the

04:45:50   14   Vascepa labeling, correct?

04:45:52   15    A    Yes.

04:45:52   16    Q    And it says, section 2.1, prior to initiation of Vascepa,

04:45:57   17   correct?

04:45:57   18    A    Yes, it does.

04:45:58   19    Q    So the labeling in the dosage and administration section

04:46:01   20   says what to do before start Vascepa, correct?

04:46:03   21    A    Uh-huh, yes.

04:46:05   22    Q    The second bullet says specifically,

04:46:07   23                   "Patients should engage in appropriate

04:46:08   24         nutritional intake and physical activity before

04:46:11   25         receiving Vascepa which should continue during
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04:46:14    1         treatment with Vascepa," correct?

04:46:15    2    A    Yes.

04:46:15    3    Q    So all the FDA has done is moved that language from the

04:46:21    4   indication and usage section to the dosage and administration

04:46:22    5   section, correct?

04:46:22    6    A    That is correct.

04:46:23    7    Q    Okay.   And your counsel asked you whether your

04:46:29    8   understanding of the indication was the same as

04:46:33    9   Dr. Sheinberg's.     Do you recall that question?

04:46:34   10    A    Yes.

04:46:35   11    Q    And the indication we're talking about that's -- let's go

04:46:41   12   to the indication section.      And the indication we're talking

04:46:46   13   about here is not the CV risk indication, we're talking about

04:46:49   14   the severe hypertriglyceridemia indication, right?

04:46:53   15                   MR. SIPES:    Let's blow that up.     That's the

04:46:53   16   second indication now on the label.

04:46:53   17   BY MR. SIPES:

04:46:55   18    Q    All right.    That was the indication that you were

04:46:57   19   agreeing with Dr. Sheinberg about, right?

04:46:59   20    A    Yes.

04:47:00   21    Q    In fact, it's your testimony that the indication of

04:47:05   22   Vascepa is for keeping triglycerides below 500 milligrams per

04:47:10   23   deciliter in a severely hypertriglyceridemic patient, correct?

04:47:13   24    A    I certainly -- the indication is to get the triglycerides

04:47:18   25   below 500.
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04:47:20    1                    MR. SIPES:   Mr. Brooks, if we could play

04:47:23    2   deposition 72 at 3 through 8.

04:47:32    3                           (Deposition video recording played.)

04:47:45    4   BY MR. SIPES:

04:47:46    5    Q    And, in fact, it's -- so it was your testimony at

04:47:52    6   deposition that in fact the indication is to reduce below 500

04:47:56    7   and to maintain that reduction below 500, correct?

04:47:58    8    A    In many patients, yes.

04:48:00    9                    MR. SIPES:   No further question, Your Honor.

04:48:02   10                    MS. HUTTNER:   I have nothing further, Your

04:48:06   11   Honor.

04:48:06   12                    THE COURT:   Well, thank you, Dr. Fisher.      You

04:48:08   13   may step down.

04:48:09   14                    THE WITNESS:   Thank you.    First I have to stand

04:48:11   15   up.

04:48:13   16                    MS. HUTTNER:   That's the hard part.

04:48:15   17                    THE COURT:   Quite true.

04:48:26   18                           (The witness was excused.)

04:48:26   19                    MS. HUTTNER:   Your Honor, at this point, our

04:48:29   20   intention would be to call our next witness which is another

04:48:33   21   expert witness named Ivan Hoffman.       He addresses commercial

04:48:39   22   success.

04:48:39   23                    And I don't know whether you want to start now

04:48:41   24   or whether you want to defer until Tuesday.

04:48:47   25                    MR. SIPES:   Your Honor, I may be able -- I won't
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04:48:51    1   speak for defendants, I believe we're proceeding at a pretty

04:48:53    2   good clip, in other words, we are a little ahead of at least

04:48:58    3   of where I expected so that we will finish in time, I believe.

04:49:01    4   Defendants will let me know if they disagree.

04:49:04    5                   And we may have a scheduling issue on Tuesday.

04:49:07    6   We have witnesses who can go, but I've been informed one of

04:49:09    7   the witnesses we were planning to bring on Tuesday may, may

04:49:12    8   have a childcare issue.

04:49:13    9                   Now, I don't think -- we have other witnesses

04:49:16   10   that we would bring but -- so that I think we will have a good

04:49:18   11   day on Tuesday, but we might not have a completely full day on

04:49:22   12   Tuesday.    So deferring Mr. Hoffman to Tuesday I don't think

04:49:24   13   would cause a problem.

04:49:25   14                   MS. HUTTNER:    I think, Your Honor, defendants

04:49:27   15   would agree with that.

04:49:28   16                   I suspect given the pace of the way the

04:49:30   17   witnesses have been going, and Mr. Sipes and I had a

04:49:34   18   discussion about it, that -- assuming that Mr. Hoffman doesn't

04:49:35   19   start today, that we would have our commercial success expert,

04:49:42   20   as well as their commercial success expert, as well as I think

04:49:47   21   two fact witnesses, Mr. Berg and Ms. Juliano.

04:49:53   22                   MR. SIPES:    It's Ms. Juliano who has the

04:49:55   23   problem.

04:49:56   24                   MS. HUTTNER:    Or Mr. Peck, who is the FDA --

04:49:59   25                   MR. SIPES:    Dr. Peck.
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04:50:00    1                   MS. HUTTNER:    It's very confusing.

04:50:02    2                   But I think we'll have enough witnesses to fill

04:50:04    3   the day on Tuesday, although at least to get through most of

04:50:09    4   the day.

04:50:09    5                   So I -- I think if we stop now we will not lose

04:50:13    6   anything in terms of being able to complete the trial on time.

04:50:17    7                   THE COURT:    Ms. Huttner, I'm mindful of the fact

04:50:19    8   you that you had asked for us to recess on Tuesday because you

04:50:22    9   indicated you had concerns about some of the -- the schedule

04:50:24   10   of one of your witnesses.      Has that been resolved?

04:50:28   11                   MS. HUTTNER:    Yes, the witness was actually

04:50:30   12   Dr. Fisher, and my concern was, if I couldn't start him on

04:50:34   13   Friday, if he couldn't finish his testimony on Friday, he

04:50:35   14   would have a problem -- we would have an empty day in between.

04:50:39   15   So that problem is no longer an issue.

04:50:41   16                   MR. SIPES:    And the only other issue is we have

04:50:42   17   agreed not to call the witnesses he responds to on Tuesday,

04:50:46   18   but there's plenty of other witnesses so it's not issue.

04:50:49   19                   THE COURT:    All right.    Then basically you both

04:50:50   20   agree I should take a recess for today.

04:50:52   21                   MS. HUTTNER:    I think we're agreeing.

04:50:54   22                   MR. SIPES:    I confess to being a little bit

04:50:54   23   brain addled, too.

04:50:55   24                   MS. HUTTNER:    It may be historic, Your Honor,

04:50:56   25   and it should be respected.
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04:50:58    1                   THE COURT:    We'll take a recess.     But, first, I

04:51:01    2   have an observation about the issue of sealed filings, and

04:51:04    3   this is why I had expressed my concern over the course of

04:51:09    4   several orders now as to the generosity in which the documents

04:51:13    5   were designated as confidential.

04:51:15    6                   For example, just in my quick viewing of two

04:51:19    7   exhibits that were not actually admitted, they were marked,

04:51:22    8   492 and 949, during Dr. Fisher's cross-examination these are

04:51:29    9   other articles that, Mr. Sipes, you asked Dr. Fisher about

04:51:33   10   relating to other studies.

04:51:35   11                   So to me they look like all the other studies,

04:51:37   12   and yet they're designated as highly confidential, and I don't

04:51:42   13   know why they would be designated as highly confidential.

04:51:45   14                   So I'm not asking you to explain, I'm just

04:51:47   15   making -- I think that's further support for my observation

04:51:50   16   that there's been an over-extensive designation of

04:51:54   17   confidential documents.      So when comes time for redaction, I

04:51:57   18   want you to be aware that I -- I'm going to scrutinize it.

04:52:00   19                   All right.    So we're ready to take our recess.

04:52:03   20   Have a good three-day weekend, hopefully you won't be working

04:52:06   21   too much over the course of the three-day weekend --

04:52:10   22                   MS. HUTTNER:    You don't really believe that,

04:52:11   23   Your Honor.

04:52:11   24                   THE COURT:    Well, Reno is beautiful this time of

04:52:14   25   the year so at least I hope you get a chance to enjoy it.
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04:52:18    1                   Thank you.

            2                   MS. HUTTNER:    Thank you, Your Honor.

            3                   MR. SIPES:    Thank you, Your Honor.

            4                                    -o0o-

            5

            6              I certify that the foregoing is a correct
                           transcript from the record of proceedings
            7              in the above-entitled matter.

            8              /s/Kathryn M. French           1/30/2020
                            Kathryn M. French, CCR #392, RPR
            9               Official Reporter

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